                                                                       FOR DISTRICT OF CQLUMIA CIRCUIT
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                        UMTED STATES CouRT OF APPEALs
      V
                      FoR THE DISTRICT OF C0LuM13IA CIRcuiT


                                Association of American Railroads,

                                           Petitioner,                        5 14 £
                                                V.

     United States Department of Transportation; Pipeline & Hazardous Materials
               Safety Administration; federal Railroad Administration;
       Anthony Foxx, Secretary of Transportation; Marie Therese Dominguez,
       Administrator, Pipeline & Hazardous Materials Safety Administration;
           Sarah feinberg, Administrator, Federal Railroad Administration;
                               and the United States,
                                          Respondents.




                                  PETITION FOR REVIEW
        Pursuant to 49 U.S.C. § 5127, 28 U.s.c. § 2344, and Federal Rule of

 Appellate Procedure 15, the Association of American Railroads (AAR) hereby

 petitions this court for review of (1) the final rule of the Pipeline and Hazardous

 Materials Safety Administration (PHM$A) entitled Hazardous Materials:

 Enhanced Tank Car Standards and Operational Controls for High-Hazard

 Flammable Trains, 80 Fed. Reg. 26,644 (May 8, 2015); and (2) PHM$A’s order

 denying AAR’ s administrative appeal of that rule (Nov. 5, 2015). The rule and

 order are attached hereto as Exhibits 1 and 2.

       Venue is proper in this court pursuant to 49 U.S.C. § 5127(a).

       This petition is timely because AAR’s administrative appeal was timely filed

on June 12, 2015, pursuant to an extension granted by the agency (see Ex. 3), and

a “timely petition for administrative reconsideration stay[s] the running of the

Hobbs Act’s limitation period until the petition ha[s] been acted upon by” the

agency. I.C.C. v. Bhd. ofLocomotive Eng’rs, 482 U.S. 270, 284 (1987).

      AAR seeks relief on the grounds that the agency actions are in excess of its

authority; arbitrary, capricious, and an abuse of discretion under the Administrative

Procedure Act; and otherwise contrary to law.




                                          1
Dated: November 12, 2015                Respectfully submitted,


                                        /5/ Thomas H. Dupree, Jr.
Kathryn D. Kirmayer                     Thomas H. Dupree, Jr.
Evelyn Nackman                          David A. Schnitzer
Sarah Grimmer Yurasko                   GIBSON, DUNN & CRuTciR LLP
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                                    2
                          CERTIFICATE Of SERVICE

       I hereby certify that on this 12th day of November, 2015, I filed a true and

correct of the foregoing with the Clerk of Court, together with a copy of the agency

actions at issue, and served by same-day messenger service the following:

Lorefta Lynch                              Marie Therese Dominguez,
Attorney General                           Administrator
U.S. Department of Justice                 Pipeline & Hazardous Materials Safety
950 Pennsylvania Ave., N.W.                Administration
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                                           Mail Stop: E27-300
Anthony Foxx                               1200 New Jersey Ave., S.E.
Secretary of Transportation                Washington, DC 20590
U.S. Department of Transportation
1200 New Jersey Ave., S.E.                 Vasiliki Tsaganos
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Sarah Feinberg                             Sarah Inderbitzin
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                 CORPORATE DISCLOSIJRE STATEMENT


Pursuant to the requirements of Circuit Rule 26.1, Petitioner states that:

      The Association of American Railroads is a trade association, and its

      members, which include all of the Class I freight railroads (the largest

      freight railroads) and Amtrak, will be affected by the final rule. It is a

      nonstock corporation and has no parent company.



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                         EXHIBIT 1

    Hazardous Materials: Enhanced Tank Car Standards and
    Operational Controls for High-Hazard Flammable Trains,
              80 Fed. Reg. 26,644 (May 8, 2015)




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                               FEDERAL REGISTER
                               Vol. 80               Friday,
                               No. 89                May 8, 2015




                               Part II


                               Department of Transportation
                               Pipeline and Hazardous Materials Safety Administration
                               49 CFR Parts 171, 172, 173, et at
                               Hazardous Materials: Enhanced Tank Car Standards and Operational
                               Controls for High-Hazard Flammable Trains; Final Rule
   26644                  Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

   DEPARTMENT OF TRANSPORTATION                         FOR FURTHER INFORMATION CONTACT: Rob              E. Regulatory flexibility Act, Executive
                                                        Benedict and Ben Supko, (202] 366—                   Order 13272, and DOT Policies and
   Pipeline and Hazardous Materials                     8553, Standards and Rulemaking                       Procedures
   Safety Administration                                Division, Pipeline and Hazardous                  F. Paperwork Reduction Act
                                                        Materials Safety Administration or Karl           C. Environmental Assessment
  49 CFR Parts 771, 172, 773, 774, and                  Alexy, (202) 493—6245, Office of Safety           H. Privacy Act
  179                                                                                                     I. Executive Order 13609 and International
                                                        Assurance and Compliance, Federal                   Trade Analysis
  [Docket No. PHMSA—2012--0082 (HM—251)J                Railroad Administration, 1200 New                J. Statutory/Legal Authority for this
                                                        Jersey Ave. SE., Washington, DC 20590.              Rulemaking
  RIN 2137—AE91
                                                                                                         K. Regulation Identifier Number (RIN)
                                                        SUPPLEMENTARY INFORMATION:
  Hazardous Materials: Enhanced Tank                                                                     L. Executive Order 13211
  Car Standards and Operational                         Table of Contents of Supplementary             XI. Regulatory Text
  Controls for High-Hazard Flammable                    Information                                    I. Executive Summary
  Trains                                      I. Executive Summary
                                                                                                         The Pipeline and Hazardous Materials
                                              II. Background and Approach to Rail Safety
   AGENCY: Pipeline and Hazardous                                                                      Safety Administration (PHMSA), in
                                                 A. Braking
   Materials Safety Administration               B. Speed Restrictions
                                                                                                      coordination with the federal Railroad
   (PHMSA), Department of Transportation         C. Track integrity, Securement, Engineer             Administration (FRA), is issuing this
   (DOT).                                           and Conductor Certification, Crew Size            final rule, titled “Hazardous Materials:
   ACTION: Final rule.                              and the Safety of Freight Railroad                Enhanced Tank Car Standards and
                                                    Operations                                        Operational Controls for HHFTs,” in
   SUMMARY: In this final rule, the Pipeline     D. Routing                                           order to increase the safety of flammable
   and Hazardous Materials Safety                E. Notification                                      liquid shipments by rail. The final rule
  Administration (PHMSA), in                     F. Oil Spill Response Planning                       is necessary due to the expansion in
  coordination with the Federal Railroad         G. Classification                                    United States (U.S.) energy production,
  Administration (FRA), is adopting              H. Packaging/Tank Car                                which has led to significant challenges
  requirements designed to reduce the        III. Recent Regulatory Actions Addressing
                                                                                                      for the country’s transportation system.
  consequences and, in some instances,             Rail Safety
                                                 A. Rulemaking Actions                                PHMSA published a notice of proposed
  reduce the probability of accidents                                                                rulemaking (NPRM) on August 1, 2014.
  involving trains transporting large            B. Emergency Orders
                                             IV. Non-Regulatory Actions Addressing Rail               See 79 FR 45015. This final rule
  quantities of flammable liquids. The                                                               addresses comments to the NPRM and
                                                   Safety
  final rule defines certain trains             A. Safety Alerts and Advisories                      amends the existing hazardous materials
  transporting large volumes of flammable       B. Operation Classification                          regulations (HMR; 49 CFR parts 171—
  liquids as “high-hazard flammable             C. Call to Action                                    180) pertaining to tank car designs,
 trains” (HHFT) and regulates their             D. Stakeholder Outreach                              speed restrictions, braking systems,
  operation in terms of speed restrictions, V. NTSB Safety Recommendations                           routing, sampling and classification,
 braking systems, and routing. The final     VI. Incorporation by Reference Discussion
                                                                                                     and notification requirements related to
 rule also adopts safety improvements in           Under 1 CFR part 51
                                             VII. Summary and Discussion of Public                   certain trains transporting large
 tank car design standards, a sampling                                                               quantifies of flammable liquids.
 and classification program for unrefined          Comments
 petroleum-based products, and                  A. Miscellaneous Relevant Comments                      Expansion in oil production has
 notification requirements. These               1. Hannonization                                     resulted in a large volume of crude oil
                                                2. Definition of High-Hazard Flammable              being transported to refineries and other
 operational and safety improvements               Train
 are necessaryr to address the unique
                                                                                                    transport-related facilities, such as
                                                3. Crude Oil Treatment                              transloading facilities throughout the
 risks associated with the growing              4. Scope of Rulemaking                              country. With a growing domestic
 reliance on trains to transport large          B. Tank Car Specification                           supply, rail transportation has emerged
 quantities of flammable liquids. They          1. New Tank Car Construction
                                                         2. Retrofit Standard
                                                                                                    as a flexible alternative to transportation
 incorporate recommendations from the
                                                         3. Performance Standard                    by pipeline or vessel, which have
National Transportation Safety Board
                                                         4. Implementation Timeline                 historically delivered the vast majority
(NTSB) and from the public comments,
and are supported by a robust economic                   C. Speed Restrictions                      of crude oil to U.S. refineries. The
                                                         D. Advanced Brake Signal Propagation       volume of crude oil carried by rail
impact analysis.
                                                            Systems                                 increased 423 percent between 2011 and
DATES: Effective Date: This final rule is                F. Classification                          2012.12 In 2013, the number of rail
effective July 7, 2015.                                  F. Routing                                carloads of crude oil surpassed
   Incorporation by reference Date: The                  G. Notification                           400,000. Further, based on
incorporation by reference of the                     VIII. Section by Section Review              information provided by the Association
publication listed in this rule is                    IX. Impact of Adopted Regulation on Existing
                                                           Emergency Orders
                                                                                                   of American Railroads (AAR), the U.S.
approved by the Director of the Federal
                                                      X. Regulatory Review and Notices             Energy Information Administration
Register as of July 7, 2015.
ADDRESSES: You may find information                     A. Executive Order 12866, Executive Order (U.S. EIA) asserts the amount of crude
                                                           13563, Executive Order 13610, and DOT   oil and refined petroleum products            -
on this rulemaking (Docket No.                             Regulatory Policies and Procedures      moved by U.S. railroads continued to
PHMSA—2012—0082) at Federal                             B. Unfunded Mandates Reform Act            increase by nine percent during the first
eRulmaking Portal: http://                              C. Executive Order 13132                   seven months of 2014, when compared
www.regulations.gov.                                    D. Executive Order 13175                   with the same period in 2013.
  ‘See U.S. Rail Transportation of Crude Oil:          ‘See Table 9 of EIA refinery report http://     4hftp:Hwwsv.eia.gov/todayinenergy/detail.cfm
Background and Issues for congress; http://fas.org/   www.eia.go v/petroleum/refinerycapacityl.      ?id=; 775L
sgp/crs/misc/R43390.pdf                                3http://wwwstb.dot.gov/stb/industiy/econ_
                                                      waybill.html.
                         federal Register/Vol. 80, No. 89/friday, May 8, 2015/Rules and Regulations                                              26645

          Figure 1: Average Weekly U.S. Rail Carloads of Crude Oil and Petroleum Products
             17,000                                                                1.7
                15,000                                                                                                                1.5

                13,000                                                                                                                t3
                                                                                                                                            rj
                11,000                                                                                                                1.1
                 9,000                                                                                                                0.9
                                                                                                                                            0
           0     7,000                                                                                                               0.7
           0     5’000                                                                                                               0.5 =
           E
           z         0    i                                   I            I                        I           I            I       0
                         2006      2007        2008         2009        2010         2011        2012         2013        2014



   Figure 1 visually demonstrates the                     regulations for the safe transportation,            comprehensive approach consistent
   considerable increase in crude oil and                 including security, of hazardous                   with the risks posed by the bulk
   petroleum shipments by rail.                           material in intrastate, interstate, and            transport of hazardous materials by rail.
      U.S. ethanol production has also                    foreign commerce.” The Secretary                      This rulemaking is intended to reduce
   increased considerably during the last                 delegated this authority to PHMSA. 49              the likelihood of train accidents
   10 years and has generated similar                    CFR 1.97(b). PHMSA is responsible for               involving flammable liquids, and
  growth in the transportation of ethanol                overseeing a hazardous materials safety             mitigate the consequences of such
  by rail.6 Ethanol constitutes 26 percent               program that minimizes the risks to life            accidents should they occur. In this
  of the total number of rail hazardous                  and property inherent in transportation             final rule, PHMSA is revising the HIvifi
  materials shipments, and is 1.1 percent                in commerce. On a yearly basis the                  to establish requirements for any “high-
  of all railroad shipments.7                            HIvifi provides safety and security                 hazard flammable train” (HHFT) that is
     Crude oil and ethanol comprise                      requirements for more than 2.5 billion              transported over the U.S. rail network.
  approximately 68 percent of the                        tons of hazardous materials (hazmat),               Based on analysis of the risk of differing
  flammable liquids transported by rail.                 valued at about $2.3 trillion, and hazmat train compositions, this rule defines an
  The inherent risk of flammability of                   was moved 307 billion miles on the                  HHFT as a train comprised of 20 or
  these materials is compounded in the                   nation’s interconnected transportation              more loaded tank cars of a Class 3
  context of rail transportation because                 network.e In addition, the HMR include flammable liquid in a continuous block
  petroleum crude oil and ethanol are                    operational requirements applicable to              or 35 or more loaded tank cars of a Class
  commonly shipped in large quantities,                  each mode of transportation. The•                   3 flammable liquid across the entire
  either as large blocks of material in a               Secretary also has authority over all               train. For the purposes of advanced
  manifest train or as a single commodity               areas of railroad transportation safety             braking systems, this rule also defines a
 train (commonly referred to as a “unit                  (Federal railroad safety laws, principally “high-hazard flammable unit train”
 train”). As detailed in the NPRM, in                   49 U.S.C. chapters 201—2 13), and this              (IIIIFUT) as a train comprised of 70 or
 recent years, train accidents/incidents                authority is delegated to FRA. 49 CFR               more loaded tank cars containing Class
 (train accidents) involving the release of 1.89. FRA inspects and audits railroads, 3 flammable liquids traveling speeds at
 a flammable liquid and resulting in fires tank car facilities, and hazardous                               greater than 30 mph. The rule ensures
 and other severe consequences have                     material offerors for compliance with               that the requirements are closely aligned
 occurred. See the Regulatory Impact                    both FRA and PHMSA regulations. FRA with the risks posed by the operation of
 Analysis, posted in the docket, for a                  also has an extensive, well-established             trains that are transporting large
 detailed description of the accidents                  research and development program to                quantities of flammable liquids. As
 considered for this rulemaking.                        enhance all elements of railroad safety,            dismissed further in this preamble and
     Federal hazardous materials                        including hazardous materials                      in the accompanying RIA, this rule
 transportation law (49 U.S.C. 5101—                   transportation. As a result of the shared primarily impacts trains transporting
 5128) authorizes the Secretary of                     role in the safe and secure                         large quantities of ethanol and crude oil,
Transportation (Secretary) to “prescribe transportation of hazardous materials by because ethanol and crude oil are most
                                                       rail, PHMSA and FRA work very closely frequently transported in high-volume
    5http://www.eia.gov/todayinenergy/                 when considering regulatory changes                 shipments than when transported in a
detail.cfm?id=; 7751.                                  and the agencies take a system-wide,                single train, and such trains would meet
    6Associalion of American Railroads. 2013.                                                              the definition of an HHFT. By revising
Railroads and Ethanol. Available online at
hftps://wwwaar.org/BackgroundPapers/Railroads
                                                           82012 Commodity Flow Survey, Research and       the definition of HHFT from that which
                                                       Innovative Technology Administration (RITA),
%2oand%2OEthanol.pdf                                   Bureau of Transportation Statistics (BTS). See
                                                                                                           was proposed in the NPRM, we have
    7hUp://ethcnolrfa.org/page/-/zfa-association-site/ hup:f/factfinder.census.gov/faces/tablesewices/jsf/ clarified the scope of the final rule and
Industzy%2OResources/RFA.EthanoLRuil.                  pages/producMew.xhtml?pid=CFS_2012_O0HO1 &          focused on the highest-risk shipments,
Transportation.and.Safety.pdffnocdn=;.                 prodType=table.                                     while not affecting lower-risk trains that
   26646                  Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

  are not transporting similar bulk                     All of these efforts are consistent with                 In this final rule, we are revising the
  quantities of Class 3 flammable liquids.              our system-wide approach.                             HMR to establish requirements specific
     PHMSA and FRA have used a variety                     PHMSA and FRA focus on                             to HHFTs. As described in greater detail
  of regulatory and non-regulatory                      prevention, mitigation and response to                throughout this document, the final rule
  methods to address the risks of the bulk              manage and reduce the risk posed to                   takes a system-wide, comprehensive
  transport of flammable liquids,                       people and the environment by the                     approach consistent with the risks
                                                        transportation of hazardous materials by
  including crude oil and ethanol, by rail.                                                                   posed by HHFTs. Specifically, Table 1
                                                        rail. When addressing these issues,
  These efforts include issuing guidance,               PHMSA and FRA focus on solutions                      describes the regulatory changes
  conducting rulemakings, participating                 designed to reduce the probability of                 implemented in this final rule and
  in rail safety committees, holding public             accidents occurring and to minimize the               identifies entities affected by this final
  meetings, enhancing enforcement                       consequences of an accident should one                rule.
  efforts, and reaching out to the public.              occur.
                                                 TABLE 1—AFFECTED ENTITIES AND REQUIREMENTS

                                                Adopted requirement                                                                 Affected entity
 Enhanced Standards for Both New and Existing Tank Cars Used in HHFTs                                        Tank Car Manufacturers, Tank Car
         New tank cars constructed after October 1, 2015 are required to meet enhanced DOT Specifica            Owners, ShipperslOfferors and Rail
         tion 117 design or performance criteria.                                                               Carriers.
      • Existing tank cars must be retrofitted in accordance with the DOT-prescribed retrofit design or
         performance standard.
      • Retrofits must be completed based on a prescriptive retrofit schedule and a retrofit reporting re
         quirement is triggered if initial milestone is not achieved.
 More Accurate Classification of Unrefined Petroleum-Based Products                                          Offerors/Shippers of unrefined petro
      • Develop and carry out sampling and testing program for all unrefined petroleum-based products,          leum-based products.
         such as crude oil, to address:
            (1) Frequency of sampling and testing that accounts for any appreciable variability of the ma
               terial.
            (2) Sampling prior to the initial offering of the material for transportation and when changes
               that may affect the properties of the material occur;
            (3) Sampling methods that ensures a representative sample of the entire mixture, as offered,
               is collected;
            (4) Testing methods that enable classification of the material under the HMR;
            (5) Quality control measures tot sample frequencies;
           (6) Duplicate samples or equivalent measures for quality assurance;
           (7) Criteria for modifying the sampling and testing program;
           (8) Testing or other appropriate methods used to identify properties of the mixture relevant to
              packaging requirements.
     • Certify that program is in place, document the testing and sampling program outcomes, and
        make information available to DOT personnel upon request.
Rail routing—Risk assessment                                                                                Rail Carriers, Emergency Responders.
     • Perform a routing analysis that considers, at a minimum, 27 safety and security factors and se
        lect a route based on its findings. These planning requirements are prescribed in 49 CFR
        § 172.820.
Rail routing—Notification.
     • Ensures that railroads notify State and/or regional fusion centers and State, local, and tribal offi
        cials who contact a railroad to discuss routing decisions are provided appropriate contact infor
        mation for the railroad in order to request information related to the routing of hazardous mate
        rials through their jurisdictions. This replaces the proposed requirements to notify State Emer
        gency Response Commissions fSERCs) or other appropriate state delegated entity about the
        operation of these trains through their States.
Reduced Operating Speeds                                                                                    Rail Carriers.
    • Restrict all HHFT5 to 50-mph in all areas.
    • Require HHFFs that contain any tank cars not meeting the enhanced tank car standards re
       quired by this rule operate at a 40-mph speed restriction in high-threat urban         10
Enhanced Braking                                                                                            Rail Carriers.
    • Require HHFTs to have in place a functioning two-way end-of-train (EOT) device or a distributed
       power (DP) braking system.
    • Require trains meeting the definition of a “high-hazard flammable unit train” (HHFUT) be oper
       ated with an electronically controlled pneumatic (ECP) braking system by January 1, 2021, when
       transporting one or more tank cars loaded with a Packing Group I flammable liquid.

   91n the August 1, 2014, NPRM, an IHIFT was         High Threat Urban Area (HTUA) means an area           Train” with at least one non-CPC 1232 tank car or
defined as a tiain comprised of 20 or more carloads   comprising one or more cities and surrounding
of a Class 3 flammable liquid. This nile defines an                                                         one non-DOT specification tank car while that train
                                                      areas including a 10-mile buffer zone, as listed in   travels within the limits of any high-threat urban
HHFT as a train comprised of 20 or more tank car      appendix A to 49 CFR Part 1580. The 50-mph
loads of a Class 3 flammable liquid in a continuous   maximum speed restriction for HHVTs is consistent     area fHTUA) as defined by 49 CFR 1580.3.
block or 35 tank car loads of a Class 3 flammable     with the speed restrictions that the AAR issued in       11A “high-hazard flammable unit train” (HHfUT)
liquid across the entire train.                       Circular No. OT—55—N on August 5, 2013. The 40-       means a train comprised of 70 or more loaded tank
   ‘°As defined the Transportation Security           mph builds on an industry imposed voluntary           cars containing Class 3 flammable liquids traveling
Administration’s regulations at 49 CFR 1580.3—        restriction that applies to any “Key Crude Oil        at greater than 30 mph.
                         Federal Register/Vol. 80, No. 89/friday, May 8, 2015 /Rules and Regulations                                           26647

                                   TABLE 1 —AFFECTED ENTITIEs AND REQUIREMENTS—Continued

                                            Adopted requirement                                                             Affected entity
     .    Require trains meeting the definition of a HHFUT be operated with an ECP braking system by
          May 1, 2023, when transporting one or more tank cars loaded with a Packing Group II or Ill
          flammable liquid.


   PHMSA and FRA received over 3,200                considered each comment and revised,               was originally proposed in the NPRM
 public comments representing over                  as appropriate, the final rulemaking to            versus the amendments being adopted
 182,000 signatories in response to the             reflect those comments. Table 2 below              in this final rule.
 NPRM and initial RIA. We carefully                 provides a high-level overview of what

                                               TABLE 2—NPRM VS. FINAL RULE COMPARISON

                 Topic                           NPRM proposal                      Anal rule amendment                        Justification
 Scope—High-Hazard         Flammable    High-hazard    flammable      train   A continuous blocl of 20 or more     PHMSA and FRA modified the
   Train.                                 means a single train carrying 20      tank cats loaded with a flam           proposed definition to capture
                                          or more carloads of a Class 3         mable liquid or 35 or more tank       the higher-risk bulk quantities
                                          flammable liquid.                     cars loaded with a flammable          transported in unit trains, while
                                                                                liquid dispersed through a train.     excluding lower-risk manifest
                                                                                                                      trains. This revision better cap
                                                                                                                      tures the intended trains.
Tank Car—New Construction               Three options for new tank car A modified version of Tank Car These design enhancements will
                                           standards (See table 13).              Option #2 from the NPRM.            reduce the consequences of
                                                                                                                      accidents involving an HHFT.
                                                                                                                      These enhancements will im
                                                                                                                      prove puncture resistance and
                                                                                                                      thermal survivability when ex
                                                                                                                      posed to fire. There will be
                                                                                                                      fewer car punctures, fewer re
                                                                                                                      leases from the service equip
                                                                                                                      ment (top and bottom fittings).
                                                                                                                      See RIA.
Tank Car—Existing Fleet                Consistent with proposed new Tank Car Option #3 from the Provides incremental safety ben
                                          tank car standards, the same           NPRM for retrofits.                  efit over the current fleet while
                                          three options for retrofitted tank                                          minimizing cost. These design
                                          car standards. It was proposed                                             enhancements will reduce the
                                          that both new and retrofitted                                              consequences of a derailment
                                          cars would meet the same                                                   of an HHFT. There will be fewer
                                          standard.                                                                  car punctures, and fewer re
                                                                                                                     leases from the service equip
                                                                                                                     ment (top and bottom fittings).
                                                                                                                     See RIA.
Tank Car—Retrofit Timeline             A five-year retrofit schedule based A risk-based ten-year retrofit Provides for greater risk reduction
                                          solely on packing group.               schedule based on packing           by focusing on the highest risk
                                                                                 group and tank car. A retrofit     tank car designs and commod
                                                                                 reporting requirement is trig       ities first. Accounts for industry
                                                                                 gered if initial milestone is not   retrofit capacity.
                                                                                achieved.
Speed Restrictions                     A 50 mph restriction across the A 50 mph restriction across the Decreases the kinetic energy in
                                         board for HHFrs and three op           board for HHFTs and a 40 mph        volved in accidents. Adopts the
                                         tions for a 40 mph restriction in      restriction in HTUA.                most cost-effective solution and
                                         specific areas.                                                            limits the impact of rail conges
                                                                                                                    tion.
Braking                                The scaling up of braking systems (1) Requires HHFTs to have in Provides a two-tiered, cost-effec
                                         culminating in ECP braking for         place a functioning two-way         tive and risk-based solution to
                                         HHFTs or a speed limitation for        EOT device or a DP braking          reduce the number of cars and
                                         those not meeting the braking          system.                             energy associated with train ac
                                         requirements.                       (2) Requires any HHFUT trans           cidents. Focuses on the high
                                                                                porting at least one PG I flam      est-risk train sets
                                                                                mable liquid be operated with
                                                                                an ECP braking system by Jan
                                                                                uary 1,2021.
                                                                             (3) Requires all other HHFUTs be
                                                                                operated with an ECP braking
                                                                                system by May 1, 2023.
  2664$                    Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

                                           TABLE 2—NPRM VS. FINAL RULE COMPARISON—Continued

                   Topic                                 NPRM proposal                        Final rule amendment                       Justification
  Classification                            A classification plan for mined Iiq-        A classification plan for unrefined   Addresses comments seeking
                                              uids and gases.                             petroleum products. Clarified          clarity of requirements. We ex
                                                                                          the materials subject to a plan.       pect the requirements would re
                                                                                                                                duce the expected damages
                                                                                                                                and ensure that materials are
                                                                                                                                properly classified in accord
                                                                                                                                ance with the HMR.
 Routing                                    Require    railroads    operating           Require    railroads   operating      Track type, class, and mainte
                                              HHFrs to conduct a routing                 HHFTs to conduct a routing             nance schedule as well as
                                             analysis considering, at a mm-              analysis considering, at a mm-         training and skill level of crews
                                             imum, 27 factors.                           imum, 27 factors.                      are included in the 27 risk fac
                                                                                                                                tors identified that need to be
                                                                                                                                considered, at a minimum, in a
                                                                                                                                route analysis. Evaluation of
                                                                                                                                these factors could result in
                                                                                                                                prevention of an accident due
                                                                                                                                to either rail defects or human
                                                                                                                                factors/errors.
 Notification                               Require trains carrying 1 ,000,000          Use the notification portion of the Addresses concerns over security
                                              gallons or more of Bakken                  routing requirements (i.e. notiti-  sensitive and confidential busi
                                              Crude oil to notify SERCs.                 cation to state/regional fusion     ness information. Addresses
                                                                                         centers) to satisfy need for per-   the need for action in the form
                                                                                         tinent information,                 of additional communication be
                                                                                                                 •           tween railroads and emergency
                                                                                                                             responders to ensure that the
                                                                                                                             emergency responders are
                                                                                                                             aware of the appropriate con
                                                                                                                             tacts at railroads to discuss
                                                                                                                             routing issues with.


   With regard to the construction of                     factor, the packing group. In the final              overall risk. PHMSA and FRA also
new tank cars and retrofitting of existing                rule, the retrofit timeline is revised to            modified the overall length of the
tank cars for use in HHFTs, PHMSA and                     focus on two risk factors, the packing               retrofit to account for issues raised by
FRA are requiring new tank cars                           group and differing types of DOT—ill                 commenters that were not considered in
constructed after October 1, 2015 to                      and CPC—1232 tank car. This revision is              the NPRM stage. In this final rule,
meet the new design or performance                        based on comments to the NPRM and                    PHMSA is adopting a risk-based
standard, if those tank cars are used as                  the development of a model to                        timeline for the retrofit of existing tank
part of an HHFT.’2 In addition, PHMSA                     demonstrate industry capacity and                    cars to meet an enhanced CPC—1232
and FRA have revised our retrofit                         learning rates. The revised timeline                 standard (Option #3) when used as part
timeline. In the NPRM, the retrofit                       provides an accelerated risk reduction               of an FIIWf. The timeline is provided in
timeline was based on a single risk                       that more appropriately addresses the                the following table:
        TABLE 3—TIMELINE FOR CONTINUED USE OF DOT SPECIFICATION 171 (DOT—il 1) TANKs FOR USE IN HHFTS

                                                        Tank car type/service                                                            Retrofit deadline
Non Jacketed DOT—ill tank cars in PG I service                                                                                     (January 1, 2017*).
                                                                                                                                   January 1, 2018.
Jacketed DOT—ill tank cars in PG I service                                                                                         March 7, 2018.
Non-Jacketed CPC—1 232 tank cars in PG I service                                                                                   April 7, 2020.
Non Jacketed DOT—li 1 tank cars in PG II service                                                                                   May 1, 2023.
Jacketed DOT—li 7 tank cars in PG II service                                                                                       May 1, 2023.
Non-Jacketed CPC—7 232 tank cars in PG II service                                                                                  July 1, 2023.
Jacketed CPC—i 232 tank cars in PG I and PG II service** and all remaining tank cars carrying PG Ill materials in                  May 1, 2025.
  an HHFT (pressure relief valve and valve handles).
   The January 1, 2017 date would trigger a retrofit reporting requirement, and tank car owners of affected cars would have to report to DOT the
   *


number of tank cars that they own that have been retrofitted, and the number that have not yet been retrofitted.
    We anticipate these will be spread out throughout the 120 months and the retrofits will take place during normal requalification and mainte
   **


nance schedule, which will likely result in fleet being retrofit sooner.


  This final rule takes a system-wide,                    with HHFTs. Specifically, the                        • Advanced Brake Signal Propagation
comprehensive approach to rail safety                     requirements in this final rule address:               Systems
commensurate with the risks associated                                          .                              • Speed Restrictions
                                                            Tank Car Specifications
                                                                                    .



                                                                                                                 Routing Requirements
  12 Other authorized tank specification as
                                            specified    however, manufacture of a DOT specification 111
in part 173, subpart F will also be permitted            tank car for use in an FIHVF is prohibited.
                         Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations                                               26649

 • Notification Requirements                               The revised RIA is in the docket and          Please also note that, given the
 • Classification of unrefined petroleum-               supports the amendments made in this           uncertainty associated with the risks of
   based products                                       final rule. Table 4 shows the costs and        HHFT shipments, Table 4 contains a
                                                        benefits by affected section and rule          range of benefits estimates. The low-end
    In this final rule, the proposals in the            provision over a 20-year period,               of the range of estimated benefits
 NPRM have been revised in response to                  discounted at a 7% rate. Table 4 also          estimates risk from 2015 to 2034 based
 the comments received and the final                    shows an explanation of the                    on the U.S. safety record for crude oil
 RIA has been revised to align with the                 comprehensive benefits and costs (i.e.,        and ethanol from 2006 to 2013,
 changes made to the final rule.                        the combined effects of individual             adjusting for the projected increase in
 Specifically, the RIA explains                         provisions), and the estimated benefits,       shipment volume over the next 20 years.
 adjustments to the methodology used to                 costs, and net benefits of each                The upper end of the range of estimated
 estimate the benefits and costs resulting                                                             benefits is the 95th percentile of a
                                                        amendment.
 from the final rule.                                                                                  Monte Carlo simulation.
              TABLE 4—20 YEAR CosTs AND BENEFITS BY STAND-ALONE REGULATORY AMENDMENTS 2015—2034

             Affected section 14                               Provision                              Benefits                           Costs

 49 CFR § 172.820                              Rail Routing+                           Cost effective if routing were to re-    $8.8 million.
                                                                                         duce risk of an incident by 0.47%.
 49 CFR § 173.41                               Classification Plan                     Cost effective if this requirement re-   $78.9 million.
                                                                                         duces risk by 7.29%.
 49 CFR § 174.370                              Speed Restriction: 40 mph speed limit   $56 million—$242 million**               $780 million.
                                                 in HTUA*.
                                               Advanced Brake Signal Propagation       $470.3 million—$1,114 million**          $492 million.
                                                 Systems.
 49 CFR part 179                               Existing Tank Car Retrofit/Retirement   $426 million—$1,706 million**            $1,747 million.
                                               New Car Construction                    $23.9 million—$97.4 million
                                                                                                                 **
                                                                                                                                $34.8 million.
 Cumulative Total                                                                      $972 million—$2,905 million**            $2,482 million.
      indicates voluntary compliance regarding crude oil trains in high-threat urban areas (HTUA)
   “+“ indicates voluntary actions that will be taken by shippers and railroads
        Indicates that the low end of the benefits range is based solely on lower consequence events, while the high end of the range includes
 benefits from mitigating high consequence events.


 II. Background and Approach to Rail                    upon the risks that they present during           To address our shared concerns
 Safety                                                 transportation. The HMR specify                regarding the risks associated with rail
    As noted above the HMR provide                      appropriate packaging and handling              carriage of flammable liquids, and the
 safety and security requirements for                   requirements for hazardous materials           large volumes of flammable liquids
 shipments valued at more than $2.3                    based on such classification, and require       transported in HHFTs, PHMSA and FRA
trillion aimually.’ The HMR are                         an offeror to communicate the material’s       are focusing on three areas: (1) Proper
designed to achieve three goals: (1) To                hazards through the use of shipping             classification and characterization; (2)
ensure that hazardous materials are                     papers, package marking and labeling,          operational controls to lessen the
packaged and handled safely and                         and vehicle placarding. The Hivifi also        likelihood and consequences of
securely during transportation; (2) to                 require offerors to provide emergency           accidents; and (3) improvements to tank
•provide effective communication to                    response information applicable to the          car integrity. This approach is designed
transportation workers and emergency                   specific hazard or hazards of the               to minimize the occurrence of train
responders of the hazards of the                       material being transported. Further, the        accidents and mitigate the damage
materials being transported; and (3) to                HMR (1) mandate training for persons            caused should an accident occur.
minimize the consequences of an                        who prepare hazardous materials for                This overview section provides a
incident should one occur. The                         shipment or who transport hazardous             general discussion of the major
hazardous material regulatory system is                                                                regulations currently in place that affect
                                                       materials in commerce, and (2) require
a risk management system that is                                                                       the safe transportation of hazardous
prevention-oriented and focused on                     the development and implementation of
                                                       plans to address the safety and security        materials by rail. These regulations
identifying a safety or security hazard,                                                               pertain to issues such as: (1) Braking; (2)
thus reducing the probability and                      risks related to the transportation of
                                                       certain types and quantities of                 speed restrictions; (3) routing; (4)
quantity of a hazardous material release.                                                              notification requirements; (5) oil spill
   Under the HMR, hazardous materials                  hazardous materials in commerce.
                                                                                                       response planning; (6) classification;
are categorized by analysis and                           The HMR also include operational             and (7) packaging requirements.
experience into hazard classes and, for                requirements applicable to each mode of
some classes, packing groups based                     transportation and the FRA inspects and        A. Braking
                                                       audits railroads, tank car facilities, and        The effective use of braking on a
   1All costs and benefits are in millions over 20     offerors of hazardous materials for
years, and are discounted to present value using a                                                    freight train can result in accident
seven percent rate and rounded.                        compliance with PHMSA regulations as           avoidance. In addition, the effective use
   14    affected sections of the Code of Federal      well as its own rail safety regulations.       of braking on a freight train can
Regulations (CFR) are in Tine 49.                      Additionally FRA’s research and                potentially lessen the consequences of
   ‘2012 Commodity Flow Survey, RITA, BTS. See
http://factfinder.census.gov/fuces/tablesewices/jsf/
                                                       development program seeks to enhance           an accident by diminishing in-train
pages/producMew.xhtm1?pid=CFS_2O12                     all elements of railroad safety, including     forces, which can reduce the likelihood
OOHOI &prodType=table.                                 hazardous materials transportation.            of a tank car being punctured and
  26650              Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

    decrease the likelihood of a derailment.    command. A two-way EOT device is              track.” See 49 CFR 213.9 and 213.307.
    The FRA has promulgated brake system slightly more effective than                         Freight trains transporting hazardous
    safety standards for freight and other      conventional air brakes because the rear materials currently operate at track
    non-passenger trains and equipment in       cars receive the emergency brake              speeds associated with Class 1 through
   49 CFR part 232. Specifically, part 232      command more quickly in an engineer           Class 5 track and, in certain limited
   provides requirements for (1) general        induced emergency brake application.          instances, at or below “excepted track”
   braking, (2) inspection and testing, (3)        liP systems use multiple locomotives       speed limits. Section 213.9 of the FRA
   periodic maintenance and testing, (4)       positioned at strategic locations within       regulations on Track Safety Standards
   end-of-train (EOT) devices, (5)             the train consist (often at the rear of the    provides the “maximum allowable
   introduction of new brake system            train) to provide additional power and         operating speed” for track Class 1
   technologies and (6) electronically         train control in certain operations. For       through Class 5 and “excepted track.”
   controlled pneumatic braking (ECP)          instance, a DP system may be used to           The speed limits range from 10 mph or
   systems.                                    provide power while climbing a steep           less up to 80 mph; however, AAR
      FRA’s brake system safety standards      incline and to control the movement of        design specifications effectively limit
   incorporate longstanding inspection and the train as it crests the incline and            most freight equipment to a maximum
   maintenance requirements related to a       begins its downward descent. The liP          allowable speed of 70 mph.
   train’s braking systems—air brakes and      system works through the control of the          In addition, the rail industry, through
   handbrakes—that have been in                rearward locomotives by command               the AAR, implements a detailed
   existence for well over 100 years.          signals originating at the lead
   However, FRA’s brake system safety                                                        protocol on recommended operating
                                               locomotive and transmitted to the             practices for the transportation of
   standards also anticipate and allow for     remote (rearward) locomotives. While
   new technology. See 49 CFR part 232,                                                      hazardous materials. This protocol, set
                                               distributed power technically is not a        forth in AAR Circular OT—55—N
   subpart F. In 1996, FRA published           braking system, the additional power
  regulations establishing requirements                                                      includes a 50-mph maximum speed for
                                               source in or at the rear of the train
  pertaining to the use and design of two- consist do provide enhanced braking for any “key train,” including any train
  way EOT devices. 62 FR 278 (Jan. 2,                                                        with 20 car loads of “any combination
                                               a train. The addition of a DP locomotive
  1997). In 2008, ERA published subpart                                                      of hazardous material.” In February
                                               allows for the braking effort to be
  E to part 232, which established design, distributed throughout the train and              2014, by way of Secretary Foxx’s Letter
  inspection, maintenance, and training        allows for a more uniform braking effort to the Association of American
  standards for railroads implementing        than with a conventional air brake             Railroads, AAR’s Railroad Subscribers
  ECP brake system technology. 73 FR                                                         further committed to a 40-mph speed
                                               system.
  61512 (Oct. 16, 2008). Two-way EOT              ECP brake systems simultaneously           limit for certain trains carrying crude oil
  devices and ECP braking systems have        send an electronic braking command to within the limits of any High-Threat
  the potential to provide enhanced           all equipped cars in the train, reducing       Urban Area (HTUA), as defined by TSA
 braking during emergency braking and         the time before a car’s pneumatic brakes      regulations   (49 CFR 1580.3).
  ECP brakes allow for enhanced braking       are engaged compared to conventional           C. Track Integrity, Securement, Engineer
  and better train control during normal      air brakes. They can be installed as an        and Conductor Certification, Crew Size
  operational brake applications.             overlay to a conventional air brake           and the Safety of Freight Railroad
 Moreover, in recent years, certain           system or replace it altogether; however, Operations
 railroads, particularly those in the         FRA regulations do require that ECP
 western half of the U.S., have shifted to    brake systems be interoperable pursuant           FRA carries out a comprehensive
 using distributed power (DP), to move        to the AAR S-4200 standard, which             railroad safety program pursuant to its
 longer trains. While DP is technically       allows for interchange among the Class        statutory authority. FRA’s regulations
 not a braking system, it can provide         I railroads. 49 GEE 232.603.                  promulgated for the safety of railroad
 some enhanced braking during an                  The simultaneous application of ECP       operations involving the movement of
 emergency braking application over          brakes on all cars in a train also             freight address: (i) Railroad track; (2)
 conventional braking systems because it significantly improves train handling by signal and train control systems; (3)
 provides an additional signal source to      substantially reducing stopping               operating practices; (4) railroad
 speed the application of air brakes.         distances as well as buff and draft forces communications; (5) rolling stock; (6)
     Three types of braking systems          within the train, which under certain          rear-end marking devices; (7) safety
 relevant to this rulemaking, two-way        conditions can result in a derailment.         glazing; (8) railroad accident/incident
 end-of-train (FOT) devices, distributed     Because ECP brakes do not rely on              reporting; (9) locational requirements
 power (liP) systems, and electronically     changes in air pressure passing from car for the dispatch of U.S. rail operations;
 controlled pneumatic (ECP) braking          to car, there are no delays related to the     (10) safety integration plans governing
 systems, and briefly introduced below.      depletion and recharging of a train’s air railroad consolidations, mergers, and
They are discussed in greater detail in      brake system. These factors provide           acquisitions of control; (ii) alcohol and
the “Advanced Braking Signal Systems” railroads with the ability to decrease               drug testing; (12) locomotive engineer
section of this rulemaking.                  congestion or to increase volume by           and conductor certification; (13)
     Two-way EOT devices include two         running longer trains closer together.        workplace safety; (14) highway-rail
pieces of equipment linked by radio that                                                   grade crossing safety; and other subjects.
initiate an emergency brake application B. Speed Restrictions                                  Train accidents are often the
command from the front unit located in           High speeds can increase the kinetic      culmination of a sequence of events that
the controlling (“lead”) locomotive,         energy involved in and the associated         are influenced by a variety of factors
which then activates the emergency air       damage caused by an accident. With            and conditions. Broken rails or welds,
valve at the rear of the train within one    respect to operating speeds, FRA has          track geometry, and human factors such
second. The rear unit of the device          developed a system of classification that as improper use of switches are leading
sends an acknowledgment message to           defines different track classes based on      causes of derailments. Rail defects have
the front unit immediately upon receipt track quality. The track classes include           caused major accidents involving
of an emergency brake application            Class 1 through Class 9 and “excepted         HHFTs, including accidents in New
                        federal Register/Vol. 80, No. 89/friday, May 8, 2015 /Rules and Regulations                                 26651

  Brighton, PA, Arcadia, OH and                  In that NPRM, we proposed that the       NPRM, and PHMSA was not persuaded
  Lynchburg, VA.                              route analysis requirements would           that they warranted the additional safety
    While this final rule does not directly   apply to certain hazardous materials        and security measures. PHMSA did
  address regulations governing the           that PHMSA, FRA and ISA believed            note, however, that DOT, in
  inspection and maintenance of track,        presented the greatest transportation       consultation with DHS, would continue
 securement, and human factors, it does       safety and security risks. Those            to evaluate the transportation safety and
 indirectly address some of these issues      hazardous materials included certain        security risks posed by all types of
 through the consideration of the 27          shipments of explosives, materials         hazardous materials and the
 safety and security factors as part of the   poisonous by inhalation (PIH materials), effectiveness of existing regulations in
 routing requirements. For a summary of       and highway-route controlled quantities addressing those risks and would
 on-going FRA related action, including       of radioactive materials. We solicited     consider revising specific requirements
 track integrity, securement, crew size,      comment on whether the proposed            as necessary.
 and positive train control, please see the   requirements should also apply to             In 2008 PHMSA, in consultation with
 “Recent Regulatory Actions Addressing        flammable gases, flammable liquids, or     FRA, issued the final route analysis
 HHFTs” portion of this rulemaking.           other materials that could be              rule. 73 FR 72182. That rule, now found
 D. Routing                                  weaponized, as well as hazardous            at 49 CFR 172.820, requires rail carriers
                                             materials that could cause serious          to select a practicable route posing the
     Careful consideration of a rail route   environmental damage if released into       least overall safety and security risk to
  with regard to a variety of risk factors   rivers or lakes. Commenters who            transport security-sensitive hazardous
  can mitigate risk of an accident. For      addressed this issue indicated that rail   materials. The route analysis final rule
  some time, there has been considerable     shipments of Division 1.1, 1.2, and 1.3    requires rail carriers to compile annual
  public and Congressional interest in the explosives; Poison Inhalation Hazard         data on certain shipments of explosive,
  safe and secure rail routing of security-  (Pill) materials; and highway-route        PIH, and radioactive materials; use the
  sensitive hazardous materials (such as     controlled quantities of radioactive       data to analyze safety and security risks
 chlorine and anhydrous ammonia). The materials pose significant rail safety and along rail routes where those materials
 Implementing Recommendations of the         security risks warranting the enhanced     are transported; assess alternative
 9/11 Commission Act of 2007 directed        security measures proposed in the          routing options; and make routing
 the Secretary, in consultation with the     NPRM and adopted in a November 26,         decisions based on those assessments.
 Secretary of Homeland Security, to          2008, final rule. 73 FR 20752.             In accordance with § 172.820(e), the
 publish a rule governing the rail routing Commenters generally did not support         carrier must select the route posing the
 of security-sensitive hazardous             enhanced security measures for a           least overall safety and security risk.
 materials. On December 21, 2006,           broader list of materials than were        The carrier must retain in writing all
 PHMSA, in coordination with FRA and         proposed in the NPRM.                     route review and selection decision
 the Transportation Security                    The City of Las Vegas, Nevada, did     documentation. Additionally, the rail
Administration (TSA) of the U.S.             support expanding the list of materials   carrier must identify a point of contact
Department of Homeland Security             for which enhanced security measures       on routing issues involving the
(DHS), published an NPRM proposing to are required, to include flammable               movement of covered materials and
require rail carriers to compile annual     liquids, flammable gases, certain          provide that contact information to the
data on specified shipments of              oxidizers, certain organic peroxides, and appropriate State, local, and tribal
hazardous materials, use the data to        5,000 pounds or greater of pyrophoric      personnel.
analyze safety and security risks along     materials. While DOT and DHS agreed            Rail carriers must assess available
rail routes where those materials are       that these materials pose certain safety   routes using, at a minimum, the 27
transported, assess alternative routing     and security risks in rail transportation, factors listed in appendix D to part 172
options, and make routing decisions         the risks were not as great as those       of the HIvW to determine the safest,
based on those assessments. 71 FR           posed by the explosive, PIH, and           most secure routes for the transportation
76834.                                      radioactive materials specified in the     of covered hazardous materials.
 TABLE 5—MINIMUM FACTORS To BE CONSIDERED IN THE PERFORMANCE OF THE SAFETY AND SEcuRim’ RIsK ANALYSIS
                                                      REQUIRED BY 49 CFR § 7 72.820
Volume of hazardous material transported                            Rail traffic density               Trip length for route.
Presence and characteristics of railroad facilities                Track type, class, and mainte Track grade and curvature.
                                                                      nance schedule.
Presence or absence of signals and train control systems along the Presence or absence of wayside Number and types of grade
  route (“dark” versus signaled territory).                                                                                          cross
                                                                      hazard detectors.                   ings.
Single versus double track territory                               Frequency and location ot track Proximity to iconic targets.
                                                                      turnouts.
Environmentally sensitive or significant areas                     Population density along the route Venues along the route (stations,
                                                                                                         events, places of congregation).
Emergency response capability along the route                      Areas of high consequence along Presence of passenger traffic
                                                                     the route, including high-con       along route (shared track).
                                                                     sequence targets.
Speed of train operations                                          Proximity to en-route storage or known threats, including any
                                                                     repair facilities.                  threat scenarios provided by the
                                                                                                         DHS or the DOT for carder use
                                                                                                         in the development of the route
                                                                                                         assessment.
Measures in place to address apparent safety and security risks    Availability of practicable alter Past accidents.
                                                                     native routes.
Overall times in transit                                           Training and skill level of crews  Impact on rail network traffic and
                                                                                                        congestion.
   26652                   federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

    The HMR require carriers to make              hazardous materials transported by rail.                While the HMR do not prescribe
    conscientious efforts to develop logical      In addition, an emergency order (Docket                 specific requirements to quantify
    and defendable systems using these            No. DOT—OST—2014--0067 17) published                    properties relevant to packaging
    factors.                                      on May 7, 2014, requires all railroads                  selection, the offeror must follow the
       FRA enforces the routing                   that operate trains containing one                     general packaging requirements in part
   requirements of § 172.820 and is               million gallons or more of Bakken crude                 173, subpart B. For example, as
   authorized, after consulting with              oil to notify SERCs about the operation                indicated in § 173.24(e), even though
   PHMSA, TSA, and the Surface                    of these trains through their States.                  certain packagings are authorized for a
   Transportation Board, to require a                                                                    specific HMR entry, it is the
   railroad to use an alternative route other     F. Oil Spill Response Planning
                                                                                                         responsibility of the offeror to ensure
   than the route selected by the railroad          PHMSA’s regulations, see 49 CFR part                 that each packaging is compatible with
   if it is determined that the railroad’s        130, prescribe prevention, containment,                its specific lading. In addition, offerors
  route selection documentation and               and response planning requirements                     must know the specific gravity of the
  underlying analysis are deficient and           applicable to transportation of     18 by              hazardous material at certain
   fail to establish that the route chosen        motor vehicles and rolling stock. The                  temperatures to ensure that outage is
  poses the least overall safety and              purpose of a response plan is to ensure                considered when loading a rail tank car
  security risk based on the information         that personnel are trained and available                or cargo tank motor vehicle per
  available. 49 CFR 209.501.                     and equipment is in place to respond to                 § 173.24b(a).
      On January 23, 2014, in response to        an oil spill, and that procedures are                      Once an offeror has classified and
  its investigation of the Lac-Mégantic          established before a spiii occurs, so that              described the material; selected the
  accident, the NTSB issued three                required notifications and appropriate                  appropriate packaging; loaded the
  recommendations to PHMSA and three             response actions will follow quickly                    packaging; and marked, labeled, and
  similar recommendations to FRA.                when there is a spill. PHMSA and FRA                   placarded the packaging and/or
  Recommendation R—14—4 requested                are addressing the issue of oil spiii                  transport vehicle in accordance with the
 PHMSA work with FRA to expand                   response plans in a separate rulemaking                HMR, the offeror must “certify” the
 hazardous materials route planning and          action. For a detailed description of                  shipment per § 172.204 of the HMR. The
  selection requirements for railroads to        PHMSA’s oil spill response plan                        certification statement indicates the
 include key trains transporting                 requirements, search for docket                        HMR were followed and that all
 flammable liquids as defined by the             “PHMSA—2014—0105” at                                   requirements have been met. As such,
 AAR Circular No. OT—55—N.                       www.regulations.gov.                                   the offeror is responsible for certifying
 Additionally, where technically                                                                        its material has been properly classified
 feasible, NTSB recoimnended that                  C. Classification                                    and all packaging requirements have
 rerouting be required to avoid                      An offeror’s responsibility to classify           been met. Improper classification can
 transportation of such hazardous                 and describe a hazardous material is a               have significant negative impacts on
 materials through populated and other            key requirement under the HMR. hi                    transportation safety as a material may
 sensitive areas.                                 accordance with §173.22 of the HMR, it be offered for transportation in an
 E. Notification                                  is the offeror’s responsibility to properly inappropriate package.
                                                  “class and describe a hazardous                          The physical and chemical properties
    Notification of hazardous materials           material in accordance with parts 172                of unrefined petroleum-based products
 routes to appropriate personnel, such as         and 173 of the HIvifi.” For transportation are complex and can vary by region,
 emergency responders, of certain                 purposes, classification is ensuring the             time of year, and method of extraction.
 hazardous materials can aid in                   proper hazard class, packing group, and Heating, agitation, and centrifugal force
 emergency preparation and in some                shipping name are assigned to a                      are common methods of separation for
 instances emergency response, should             particular material. The HMR do not                  the initial treatment of unrefined
 an accident occur. As mentioned                  prescribe a specific test frequency to              petroleum to reduce the range of values
 previously, in accordance with the              classify hazardous materials. However,                of the physical and chemical properties.
 Touting requirements in § 172.820 of the        the HMR clearly intend for the                       These methods eliminate much of the
 HMR, a rail carrier must identify a point       frequency and type of testing to be                  gaseous hydrocarbons, sediments, and
 of contact for routing issues that may          based on an offeror’s knowledge of the               water from the bulk material. Blending
 arise involving the movement of                 hazardous material, with specific                    crude oil from different sources is the
 covered materials and provide the               consideration given to the nature of                 most common method to achieve a
 contact information to the following;           hazardous material involved, the variety uniform material. However, there may
   1. State and/or regional fusion centers       of the sources of the hazardous material, still be considerable variation between
that have been established to coordinate         and the processes used to handle and                 mixtures where separation or blending
with state, local, and tribal officials on       prepare the hazardous material. Section has occurred at different times or
security issues within the area                  173.22 also requires offerors to identify            locations. While blending may generate
encompassed by the rail carrier’s rail           all relevant properties of the hazardous             a uniform profile for an individual
system; 16 and                                   material to comply with complete                     mixture of the material, it does not
   2. State, local, and tribal officials in                                                           eliminate the gaseous hydrocarbons or
                                                hazard communication, packaging, and
jurisdictions that may be affected by a          operational requirements in the HIvifi.             the related hazards. The separation and
rail carrier’s routing decisions and who                                                             blending methods both create a new
have contacted the carrier regarding               17See http://www.dot.gov/briefing-room/           product or additional byproducts that
routing decisions.                              emergency-order.                                     may result in the need to transport
   This serves as the current notification         18For purposes of 49 CFR part 130, oil means oil  flammable gases in addition to
procedure for what have historically            of any kind or in any form, including, but not       flammable liquids. Manufactured goods
been known as the most highly                   limited to, petroleum, fuel oil, sludge, oil refuse,
                                                and oil mixed with the wastes other than dredged
                                                                                                     and refined products, by definition, are
                                                spoil. 49 CFR 130.5. This includes non-petroleum     at the other end of the spectrum from
  lehttp://www.dhs.gov/fusioncenter1ocations    oil such as animal fat, vegetable oil, or other non- unrefined or raw materials. This means
and-contact-information.                        petroleum oil.                                       that the physical and chemical
                     Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                            26653

   properties are more predictable as they       finalized in September 2014, after the          173, subpart F. DOT Specification 111
   are pure substances or well-studied          NPRM was published. The development              tank cars are authorized for low,
   mixtures.                                    of this recommended practice                     medium, and high-hazard liquids and
      Crude oil transported by rail is          demonstrates the importance of proper            solids (equivalent to Packing Groups Ill,
   extracted from different sources and is      classification.                                  U, I, respectively). Packing groups are
   most often blended in large storage             The NTSB also supports routine                designed to assign a degree of danger
   tanks before being loaded into rail tank     testing for classification of hazardous          presented within a particular hazard
   cars at transloading facilities. In rare     materials, such as petroleum crude oil.         class. Packing Group I poses the highest
   cases, the crude oil is transferred          On January 23, 2014, as a result of its          danger (“great danger”) and Packing
   directly from a cargo tank to a rail car     investigation of the Lac-Mégantic                Group ifi the lowest (“minor danger”).20
   which may result in more variability of      accident, the NTSB issued three                 In addition, the general packaging
   properties among the rail tank cars.         recommendations to PHMSA and FRA.               requirements prescribed in § 173.24
   PHMSA and FRA completed audits of            Safety Recommendation R—14—6 19                 provide additional consideration for
   crude oil loading facilities, prior to the   requested that PHMSA require shippers           selecting the most appropriate
   issuance of the February 26, 2014,           to sufficiently test and document the           packaging from the list of authorized
  Emergency Restriction/Prohibition             physical and chemical characteristics of        packaging identified in column (8) of
  Order, indicated that the classification      hazardous materials to ensure the               the HMT.
  of crude oil being transported by rail        proper classification, packaging, and              For most flammable liquids, the
  was often based solely on a Safety Data       record-keeping of products offered in           authorized packaging requirements for a
  Sheet (SDS]. The information is usually       transportation. This and other NTSB             PG I material are provided in § 173.243
  generic and provides only basic data          Safety Recommendations are discussed            and for PGs II and Ill in § 173.242. The
  and offers a wide range of values for a       in further detail in the “NTSB Safety           following table is provided as a general
  limited number of material properties.        Recommendations” portion of this                guide for the packaging options for rail
  The flash point and initial boiling point     document.
  ranges on SDS referenced during the                                                           transport provided by the HIvifi for
  audits crossed the packaging group            H. Packaging/Tank Car                           flammable liquids.
  threshold values making it difficult to           As mentioned previously, in the                                                           21
                                                                                                    TABLE 6—TANK CAR
  determine the proper packing group             classification section, proper
  assignment. In these instances, it is          classification is essential when selecting       Flammable liquid,            Flammable liquid,
  likely no validation of the information        an appropriate packaging for the                      PG I                       PG II and III
  is performed at an interval that would         transportation of hazardous materials.
  allow for detection of variability in          The HIvifi provides a list of authorized       DOT 103                     DOT 103.
  material properties.                           packagings for each hazardous material.        DOT 104                     DOT 104.
     In the case of a flammable liquid                                                          DOT 105                     DOT 105.
                                                 The hazardous materials table (HMT) of         DOT 109                     DOT 109.
  (excluded from being defined as a gas
  per § 171.8 of the HMR), the proper            § 172.101 provides the list of packagings      DOT11I                      001111.
                                                 authorized for use by the HMR based on         DOT 112                     DOT 112.
  classification is based on the flash point     the shipping name of a hazardous               DOT 114                     DOT 114.
  and initial boiling point. See § 173.120       material. For each proper shipping             DOT 115                     DOT 115.
  of the Hivifi. The offeror may                 name, bulk packaging requirements are          001120                      DOT 120.
 additionally need to identify properties        provided in Column (8C) of the HMT.                                        AAR 206W.
 such as corrosivity, vapor pressure,
                                                   The offeror must select a packaging            Note 1. Sections 173.241, 173.242, and
 specific gravity at loading and reference
                                                 that is suitable for the properties of the     173.243 authorize the use of the above tank
 temperatures, and the presence and                                                            cars.
 concentration of specific compounds             material and based on the packaging
                                                 authorizations provided by the HMR.              Note 2. DOT 103, 104,105, 109, 112, 114,
 (e.g. sulfur) to further comply with                                                          and 120 tank cars are pressure tank cars
 complete packaging requirements.               With regard to package selection, the          (HMR; Part 179, subpart C).
     In addition to the regulations              HMR require in § 173.24(b) that each             Note 3. DOT 111 and 115 tank cars are
                                                 package used for the transportation of        non-pressure tank cars (HMR; Part 179, sub
 detailing the offeror’s responsibility, the                                                   part D).
 rail and oil industry, along with              hazardous materials be “designed,                 Note 4. AAR 203W, AAR 206W, and MR
PHMSA’s input, have developed a                 constructed, maintained, filled, its           211W tank cars are non-DOT specification
 recommended practice (RP) designed to          contents so limited, and closed, so that       tank cars that meet MR standards. These
                                                under conditions normally incident to          tank cats are authorized under § 173.241 of
 improve the crude oil rail safety through                                                     the HMR (see Special Provision B1, as appli
proper classification and loading               transportation.    .   there will be no
                                                                       .
                                                                                               cable).
practices. This effort was led by the API       identifiable (without the use of                  Note 5. DOT 114 and DOT 120 pressure
and resulted in the development of              instruments) release of hazardous              cars ate permitted to have bottom outlets and,
American National Standards Institute           materials to the enviromnent [andJ             generally, would be compatible with the DOT
                                                the effectiveness of the package will not      171.
 (ANSI) recognized recommend practice,
see ANSI/API RP 3000, “Classifying and          be substantially reduced.” Under this            The DOT Specification 111 tank car is
Loading of Crude Oil into Bail Tank             requirement, offerors must consider            one of several cars currently authorized
Cars.” This recommend practice, which,          how the properties of the material
during its development, went through a          (which can vary depending on                      20 Packing groups, in addition in indicating risk

public comment period in order to be            temperature and pressure) could affect         of the material, can trigger levels of varying
designated as an American National              the packaging.                                 requirements. For example, packing groups can
                                                   The packaging authorizations are            indicate differing levels of testing requirements for
Standard, addresses the proper                                                                 a non-bulk packaging or the need for additional
classification of crude oil for rail            currently indicated in the HMT and part        operational requirements, such as security planning
transportation and quantity                                                                    requirements.
                                                  19NTSB Recommendation 14—6 .http://             ‘Addfflonal information on tank car
measurement for overfill prevention
                                                phmsa.dot.gov/PHMSA/Key_Audiences/Hazrnat_     specifications is available at the following URL:
when loading crude oil into rail tank           Safety_Community/Regulations/NTSBSafety_       hftp://www.bnsfhazmatcom/refdocs/
cars. This recommended practice was             Recommendations/Bail/cLR-i 4-6,Hazmat.print.   1 326686674.pdf
   26654               federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

     by the HMR for the rail transportation         (construction approved by FRA on                  applicability of comprehensive oil spill
     of many hazardous materials, including January 25, 2011)23 The CPC—1232                          response plans (OSRPs) to high-hazard
     ethanol, crude oil, and other flammable        requirements are intended to improve              flammable trains (HHFTs) based on
     liquids. For a summary of the design          the crashworthiness of the tank cars and thresholds of crude oil that apply to an
     requirements of the DOT Specification         include a thicker shell, head protection, entire train consist (See Docket
     111 tank car, see Table 13 in the tank        top fittings protection, and pressure             PHMSA—2014—0105).
     car portion of the discussion of              relief valves with a greater flow                    On August 9, 2014, FRA published an
    comments.                                      capacity.
        In published findings from the June                                                          NPRM that proposed amendments to
                                                      Despite these improvements of the              strengthen the requirements relating to
    19, 2009, incident in Cherry Valley,           CPC—1232 on April 6, 2015 the NTSB
    Illinois, the NTSB indicated that the                                                            the securement of unattended
                                                   issued additional recommendations                 equipment. Specifically, FRA proposed
    DOT Specification 111 tanlc car can            related to legacy DOT Specification 111
    almost always be expected to breach in                                                           to codify many of the requirements
                                                   tank cars as well as the newer CPC—1232 already
    the event of a train accident resulting in tank cars. These recommendations, R—                          included in its Emergency Order
    car-to-car impacts or pileups.22 In                                                              28, Establishing Additional
                                                   15—14 and R—15—15, requested that
    addition, PHMSA received numerous                                                                Requirements for Attendance and
                                                   PHMSA require that all new arid
    petitions encouraging rulemaking, and                                                           Securement of Certain Freight Trains
                                                   existing tank cars used to transport all
   both FRA and PHMSA received letters                                                              and Vehicles on Mainline Track or
                                                  Class 3 flammable liquids be equipped
   from members of Congress urging                with thermal protection systems that              Mainline   Siding Outside of a Yard or
   prompt, responsive actions from the            meet or exceed the thermal performance Terminal. ERA proposed to amend
   Department. The AAR created the T87.6 standards outlined in Title 49 Code of                     existing regulations to include
   Task Force on July 20, 2011, to consider Federal Regulations 179.18(a) and be                    additional securement requirements for
   several enhancements to the DOT                equipped with appropriately sized                 unattended equipment, primarily
   Specification 111 tank car design and          pressure relief devices that allow the            pertaining to trains transporting PIH
   rail carrier operations to enhance rail        release of pressure under fire conditions materials or large volumes of Division
   transportation safety. Simultaneously,         to ensure thermal performance that                2.1 (flammable gases), Class 3
   F’RA conducted research on long                meets or exceeds the requirements of              (flammable or combustible liquids,
   standing safety concerns regarding the         Title 49 Code of Federal Regulations              including   crude oil and ethanol), and
   survivability of the DOT Specification         179.18(a), and that minimizes the                 Division 1.1 or 1.2 (explosives)
   111 tank cars designed to current HMR          likelihood of energetic thermal ruptures. hazardous materials. For these trains,
   standards and used for the                                                                       FRA proposed requiring attendance on
  transportation of ethanol and crude oil,       III. Recent Regulatory Actions                     all mainline and sidings that are outside
  focusing on issues such as puncture            Addressing Rail Safety                             of and not adjacent to a yard unless the
  resistance and top fittings protection.            The August 1, 2014 NPRM                       railroad has determined it would be
  The research indicated that special            extensively detailed the regulatory               appropriate to leave the equipment
  consideration is necessary for the             actions of PHMSA and ERA that were                unattended at the specific location and
  transportation of ethanol and crude oil        relevant to the transportation of large           included the location in its securement
  in DOT Specification 111 tank cars,            quantities of flammable liquids by rail.          plan. ERA also proposed requirements
  especially in HHFTs.                           Specifically, the NPRM detailed                   relating to job briefings and
      In addition, PHMSA and FRA                 regulatory actions that addressed                 communication with qualified railroad
  reviewed the regulatory history                prevention, mitigation, and response              personnel to verify equipment has been
  pertaining to flammable liquids               through risk reduction. For a                      properly secured before leaving it
 transported in tank cars. Prior to 1990,        description of the PHMSA and ERA                  unattended. Attendance would be
 the distinction between material               regulatory actions that were taken prior           required for any equipment not capable
 properties that resulted in different          to the August 1, 2014 NPRM please refer of being secured in accordance with the
 packaging, for flammable liquids in            to the “Regulatory Actions” section of             proposed and existing requirements.
 particular, was described in far more          the NPRM. We provide a brief summary FRA’s NPRM also proposed to require
 detail in § 173.119. Section 173.119           below of regulatory actions taken by              railroads to verify securement in
 indicated that the packaging                   PHMSA and ERA concurrently with,                  instances where they have knowledge
 requirements for flammable liquids are         and after the August 1, 2014 NPRM. In             that emergency responders accessed
 based on a combination of flash point,         addition we highlight some additional             unattended equipment. Finally, ERA
 boiling point, and vapor pressure. The         regulatory actions not discussed in the           proposed a new requirement that all
regulations provided a point at which a         NFRM.                                             locomotives left unattended outside of a
 flammable liquid had to be transported                                                           yard   be equipped with an operative
in a tank car suitable for compressed          A. Rulemaking Actions
                                                                                                  exterior locking mechanism. See 75 FR
gases, commonly referred to as a                     On August 1, 2014, in conjunction            53356 (Sept. 9, 2014).
“pressure car” (e.g., DOT Specifications with its NPRM—”Hazardous Materials:                          In addition to the regulatory
105, 112, 114, 120 tank cars).                 Enhanced Tank Car Standards and                    initiatives concerning oil spiii response
     In 2011, the AAR issued Casualty          Operational Controls for High-Hazard               and railroad equipment securement
Prevention Circular (CPC) 1232, which          Flammable Trains (2137—AE91)”,                     discussed above, PHMSA and FRA are
outlines industry requirements for             PHMSA, in consultation with the FRA,              committed to clarifying and improving
certain DOT Specification 111 tanks            published an Advanced Notice of                   our existing regulations through active
ordered after October 1, 2011, intended        Proposed Rulemaking (ANPRM) that                  and future rulemakings. As a result
for use in ethanol and crude oil service       sought comment on potential revisions             PHMSA and ERA continue to work with
                                               to its regulations that would expand the the regulated
                                                                                                                  community and general
   22NTSB, Railroad Accident Report—Derailment
of CNFreight Train U70691—18 With Subsequent                                                     public to implement existing regulations
                                                   23See “Background” section of the August 2014
Hazardous Materials Release and Fire, http://  NPRM for information regarding a detailed         and improve safety through regulatory
www.ntsb.govfinvestigations/Accidentfleports/  description of PHMSA and FRA actions to allow     action. PHMSA and FRA have many
Reports/RAR12O1.pdf (February 2012).           construction under CPC—1232.                      initiatives underway to address freight
                           Federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations                                    26655

  rail safety. Key regulatory actions are
  outlined below:
                                              TABLE 7—PH MSA AND FRA SAFETY INITIATIVES

       Safety initiative                                 Project summary                                               Current status
  Risk Reduction Program    ERA is developing an NPRM that will consider appropriate contents ANPRM was published on December 8, 2010,
    (2130—ACJ1).                  for Risk Reduction Programs by Class I freight railroads and how         and the comment period ended on Eeb
                                  they should be implemented and reviewed by FRA. A Risk Reduc             ruary 7, 2011. Public hearings regarding
                                  tion Program is a structured program with proactive processes and       this rule were held on July 19, 2011, in Chi
                                  procedures developed and implemented by a railroad to identify          cago, IL on July 21, 2011, in Washington,
                                  hazards and to mitigate, if not eliminate, the risks associated with     DC. The NPRM was published on February
                                  those hazards on its system. A Risk Reduction Program encour            27, 2015 and the comment period ended
                                 ages a railroad and its employees to work together to proactively        April 27, 2015.
                                 identify hazards and to jointly determine what action to take to miti
                                 gate or eliminate the associated risks.
 Track Safety Standards: FRA’s final rule prescribes specific requirements for effective rail in FRA published this rule on January 24, 2014
     Improving Rail Integ        spection frequencies, rail flaw remedial actions, minimum operator       (79 FR 4234). The final rule became effec
     rity (2130—AC28).           qualifications, and requirements for rail inspection records. The        tive on March 25, 2014.
                                 bulk of this regulation codifies current good practices in the indus
                                 try. In addition, it removes the regulatory requirements concerning
                                joint bar fracture reporting. Section 403(c) of the Rail Safety Im
                                 provement Act of 2008 (RSIA) (Pub. L. 110—432, 122 Stat. 4848
                                 (October 16, 2008)) (49 U.S.C. 20142 note)) mandated that FRA
                                review its existing regulations to determine if regulatory amend
                                ments should be developed that would revise, for example, rail in
                                spection frequencies and methods and rail defect remedial actions
                                and consider rail inspection processes and technologies.
 Positive Train Control    PlC is a processor-based/communication-based train control system ERA published the most recent PlC systems
    (PTC) (multiple             designed to prevent train accidents. The RSIA mandates that PlC          final rule on August 22, 2014 (79 FR
    rulemakings).               be implemented across a significant portion of the Nation’s rail sys     49693), addressing the de minimis excep
                                tem by December 31, 2015. See 49 U.S.C. 20157. With limited ex           tion, yard movements, en route failures,
                                ceptions and exclusions, PlC is required to be implemented on            and other issues. The final rule became ef
                               Class I railroad main lines (i.e., lines with over 5 million gross tons   fective on October 21, 2014.
                               annually) over which any PIH or toxic inhalation hazard (TIH) ma
                               terials are transported; and, on any railroad’s main lines over
                               which regularly scheduled passenger intercity or commuter oper
                               ations are conducted. It is currently estimated this will equate to
                               approximately 70,000 miles of track and will involve approximately
                               20,000 locomotives. PlC technology is capable of automatically
                               controlling train speeds and movements should a train operator fail
                               to take appropriate action for the conditions at hand. For example,
                               PlC can force a train to a stop before it passes a signal displaying
                              a stop indication, or before diverging on a switch improperly lined,
                              thereby averting a potential collision. PlC systems required to
                              comply with the requirements of Subpart I must reliably and func
                              tionally prevent: Train-to-train collisions; Overspeed derailments;
                               Incursion into an established work zone; and Movement through a
                              switch in the wrong position.
Securement                The new measures proposed in the securement NPRM would re The NPRM was published on September 9,
                              quire: (1) Crew members leaving equipment carrying specified haz          2014, and the comment closed on Novem
                              ardous materials unattended in certain areas to follow certain addi       ber 10, 2014.
                              tional procedures to ensure proper securement. (2) Railroads to
                             develop a plan identifying such locations or circumstances. (3)
                              Railroads to verify securement using qualified persons; and ensure
                             that locks on locomotive cab are secure. Include securement re
                             quirements in job briefings. (4) Railroads to perform additional in
                             spections by qualified persons when emergency responders have
                             been on equipment. (5) Railroads to install locking mechanisms on
                             locomotive doors and repair them in a timely manner.
                          The proposed rule covers equipment containing poisonous by inhala
                             tion (PIH) materials and those defined, as Division 2.1 (flammable
                             gas), Class 3 (flammable or combustible liquid), Class 1.1 or 1.2
                             (explosive) materials,24 or a hazardous substance listed in 49 CER
                             §173.31(f)(2). This includes most crude oil moved in the United
                            States.
Crew Size                 ERA has initiated a rulemaking to address the appropriate oversight Developing Rulemaking.
                            to ensure safety related train crew size.
Retrospective Regu        As part of a retrospective regulatory review PHMSA and ERA re PHMSA and ERA have evaluated the com
  latory Review 49 CER      viewed the part 174 “Carriage by Rail” section of our regulations in       ments from the public meeting and intend
  part 1 74—Carriage by     an effort to identify areas which could be revised to improve clarity.     to move forward with revisions to part 174.
  Rail (78 FR 42998).       On August 27—28, 2013 as part of this comprehensive review of
                            operational factors that impact the transportation of hazardous ma
                            terials by rail PHMSA and ERA held a public meeting.
  26656                        federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations

                                           TABLE 7—PHMSA AND ERA SAFETY INITIATIVES—Continued

           Safety initiative                                   Project summary                                                 Current status
  Oil Spill Response Plans         In this ANPRM, PHMSA, in consultation with FRA, sought comment             Published ANPRM on August 1, 2014 and the
    for High-Hazard Flam-            on potential revisions to its regulations that would expand the ap-        comment closed on September 30, 2014.
    mable Trains                      plicability of comprehensive oil spill response plans fOSRPs) to          Developing follow-up NPRM.
    (PHMSA—2014—01 05).               high-hazard flammable trains (HHFT5) based on thresholds of
                                     crude oil that apply to an entire train consist.


 B. Emergency Orders                                      restrictions, prohibitions, recalls, or out-       of emergency orders prior to August 1,
                                                          of-service orders, without notice or an            2014. Please refer to the “Emergency
    The Department has the authority to                   opportunity for hearing, to the extent             Orders and Non -Regulatozy Actions”
 issue emergency orders m certain                         necessary to abate the imminent hazard.
 instances and take action on safety                                                                         section of August 1, 2014 NPRM for a
                                                          49 U.S.C. 512 1(d). Therefore, an                  detailed description of emergency
 issues that constitute an imminent                       emergency order can be issued if the
 hazard to the safe transportation of                                                                        orders issued by the Department that are
                                                          Secretary has found that an unsafe                 relevant to the transportation by rail of
 hazardous materials. Railroad                            condition or an unsafe practice is
 transportation of hazardous materials in                                                                    large quantities of flammable liquids.
                                                          causing or otherwise constitutes an
 commerce is subject to the authority and                                                                    The table below briefly summarizes
                                                          imminent hazard to the safe
 jurisdiction of the Secretary of                         transportation of hazardous materials,             those orders and the additional
 Transportation (Secretary), including                       The NPRM extensively detailed the               emergency order issued since the NPRM
 the authority to impose emergency                        departmental actions taken, in the form            publication.

                      TABLE 8—EMERGENCY ORDERS ISSUED RELATED TO RAIL TRANSPORT OF FLAMMABLE LIQUIDS

           Emergency order                       Date issued                                                Action taken
 Emergency Order 28 (78 FR            August 7, 2013                  Addressed securement and attendance issues related to securement of certain
  48218)25 Issued by FRA.                                                hazardous materials trains; specifically, trains with:
                                                                      (1) Five or more tank carloads of any one or any combination of materials poi
                                                                         sonous by inhalation as defined in Title 49 CFR § 771.8, and including anhydrous
                                                                         ammonia (UN7005) and ammonia solutions (UN3318); or
                                                                      (2) 20 rail carloads or intermodal portable tank loads of any one or any combination
                                                                         of materials listed in (1) above, or, any Division 2.7 flammable gas, Class 3 flam
                                                                         mable liquid or combustible liquid, Class 1.7 or 1.2 explosive26 or hazardous
       .
                                                                         substance listed in 49 CER 173.31(t)(2).
 Docket No. DOT—OST—                  February 25, 2074; revised      Required those who offer crude oil for transportation by rail to ensure that the prod
  2014_0025.27                          and amended Order on            uct is properly tested and classified in accordance with Federal safety regula
                                        March 6, 2074.                  tions.28 The March 6, 2014 Amended Emergency Restriction/Prohibition Order
                                                                        required that all rail shipments of crude oil that are properly classed as a flam
                                                                        mable liquid in Packing Group fPG) Ill material be treated as PG I or II material,
                                                                        until further notice. The amended emergency order also instructed that PG Ill
                                                                        materials be described as PG III for the purposes of hazard communication.
Docket No. DOT—OST—                   May 7, 2074                     Required all railroads that operate trains containing one million gallons or more of
 2014—0067.                                                             Bakken crude oil to notify SERCs about the operation of these trains through
                                                                        their States. Specifically, identify each county, or a particular state or common
                                                                        wealth’s equivalent jurisdiction (e.g., Louisiana parishes, Alaska boroughs, Vir
                                                                        ginia independent cities), in the state through which the trains will operate.
ERA Emergency Order No.              April 27, 2075                   Mandated that trains affected by this order not exceed 40 miles per hour (mph) in
  30.                                                                   high-threat urban areas fHTUA5) as defined in 49 CFR Part 7580. Under the
                                                                        order, an affected train is one that contains: (1) 20 or more loaded tank cars in a
                                                                        continuous block, or 35 or more loaded tank cars, of Class 3 flammable liquid;
                                                                        and, (2) at least one DOT Specification 717 (DOT—i 71) tank car (including those
                                                                        built in accordance with Association of American Railroads (AAR) Casualty Pre
                                                                        vention Circular 1232 (CPC—1232)) loaded with a Class 3 flammable liquid.


  On June 30, 2014 FRA published an                         On August 29, 2014, FRA received a              routing information in the May 7, 2014
information collection request (ICR)                     joint comment from the AAR and the                 emergency order requires railroads to
notice in the Federal Register, 79 FR                    American Short Line and Regional                   provide to SERCs sensitive information
36860 with a 60-day comment period                       Railroad Association (ASLRRA) raising              from a security perspective and the
soliciting comments on the May 7, 2014                   three main points. First, AAR and                  information should only be available to
emergency order.29                                       ASLRRA asserted that the crude oil                 persons with a need-to-know for the

  24           have read “Division” instead of              27
                                                                  http://www.dot.gov/sites/dot.gov/files/   DownloadableFiles/Amended_Emergencyj3rder_
“Class.”                                                 docs/Amended%2oEmergency%200rder                   030614.pdf
  25     http://wwwgpo.gov/fdsys/pkg/fR-2013-08-         %200306;4.pdf.                                       295ee http://www.gpo.gov/fdsys/pkg/FR-2014-06-
07/pdf/201 3-1921 5.pdf
                                                            28See Docket No. DOT—OST—2014—0025. See also    39/html/2014-151 74 him.
  2GShod have read “Division” instead of
                                                         h ttp://www.phmsa.dot.gov/staticflles/PHMSA/
“Class.”
                      federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations                                      26657

    information (e.g., emergency responders that are sometimes the cause of                       inform the public and regulated
    and emergency response planners).               derailments.                                  community of a potential dangerous
    Second, AAR and ASLRRA asserted that               Emergency Order not only applies to        situation or issue. In addition to safety
    the same information is commercially            legacy DOT—ill tank cars but newer           advisories, PHMSA and ERA may also
    sensitive information that should               tank cars built to the CPC—1232               issue other notices, such as safety alerts.
    remain confidential and not be                  standard. While CPC—1232 tank cars           Please refer to the “Emergency Orders
   publically available. Finally, AAR and          have more robust protections than do          and Non-Regulatory Actions” section of
   ASLRRA asserted that the emergency               legacy DOT—Ill tank cars, recent             the August 1, 2014, NPRM for a
   order is not serving a useful purpose as        accidents have shown that those cars          description of safety alerts and
   the information required by the                 may still release hazardous material          advisories that are relevant to rail
   emergency order to be provided to the           when involved in derailments.                 shipment of large quantities of
   SERCs is already provided to emergency Derailments in 2015 in Mt. Carbon, WV, flammable liquids issued prior to the
   responders through AAR Circular OT—             Dubuque, IA, and Galena, IL involved          publication of the NPRM.
   55-N. See AAR, “Circular OT-55—N:               CPC—1232 cars and resulted in the                On April 17, 2015 PHMSA issued a
   Recommended Railroad Operating                  release of hazardous materials from           notice (Notice No. 15—7; 80 FR 22781)
   Practices For Transportation of•                those cars.                                   to remind hazardous materials shippers
   Hazardous Materials,” Aug. 5, 2013                 Analysis of certain speed restrictions     and carriers of their responsibility to
   (OT—55).                                        below 40 mph indicated that such              ensure that current, accurate and timely
      On October 3, 2014, FRA published a restrictions could potentially cause                   emergency response information is
   30-day ICR notice in the Federal                harmful effects on interstate commerce, immediately available to emergency
  Register, 79 FR 59891—59893 to extend            and actually increase safety risks.          response officials for shipments of
  the current emergency ICR supporting             Increased safety risks could occur if        hazardous materials, and such
  the crude oil train routing reporting            speed restrictions cause rail traffic        information is maintained on a regular
  requirements of the May 7, 2014                  delays resulting in trains stopping on       basis.32 This notice outlined existing
  emergency order. In this notice, FRA            main track more often and in trains           regulatory requirements applicable to
  addressed the security sensitive claim          moving into and out of sidings more           hazardous materials shippers (including
  by noting that the information does not         often requiring more train dispatching.       re-offerors) and carriers found in the
  fall under any of the fifteen enumerated FRA believes the restrictions in                     HMR, specifically in Subpart G of Part
  categories of sensitive security                Emergency Order will address an               172.
  information (SSI) set forth in 49 CFR           emergency situation while avoiding                PHMSA Notice 15—7 emphasized that
  15.5 or § 1520.5. The ICR goes on to            other safety impacts and harm to              the responsibility to provide accurate
  describe the nature of the information          interstate commerce and the flow of           and timely information is a shared
  collection and its expected burden.             necessary goods to the citizens of the       responsibility for all persons involved
      On April 17, 2015 ERA issued                United States. ERA and DOT will               in the transportation of hazardous
 Emergency Order (80 FR 23321) to                 continue to evaluate whether additional materials. It is a shipper’s responsibility
 require that certain trains transporting         action with regard to train speeds is        to provide accurate emergency response
 large amounts of Class 3 flammable               appropriate.                                 information that is consistent with both
 liquid through certain highly-populated                                                       the information provided on a shipping
 areas adhere to a maximum authorized             W. Non-Regulatory Actions Addressing paper and the material being
 operating speed limit.° Under                    Rail Safety                                  transported. Likewise, re-offerors of
 Emergency Order, an affected train is                The August 1, 2014, NPRM                 hazardous materials must ensure that
 one that contains (1) 20 or more loaded          extensively detailed non-regulatory          this information can be verified to be
 tank cars in a continuous block, or 35           actions taken to address the risks           accurate, particularly if the material is
 or more loaded tank cars, of a Class 3           associated with rail shipment of large       altered, mixed or otherwise repackaged
 flammable liquid; and (2) at least one           quantities of flammable liquids prior to     prior to being placed back into
 DOT—ill tank car (including those built the publication of that document. These transportation. In addition, carriers
in accordance with CPC—1232) loaded              non-regulatory actions included but           must ensure that emergency response
with a Class 3 flammable liquid.                 were not limited to: (1) Safety Alerts        information is maintained
Affected trains must not exceed 40 mph and Advisories, (2) Operation                           appropriately, is accessible and can be
in HTUAs as defined in 49 CFR 1580.3.            Classification, (3) the DOT Secretary’s       communicated immediately in the event
     FRA issued Emergency Order in the           Call to Action, and (4) PHMSA and FRA of a hazardous materials incident.
interest of public safety to dictate that        outreach and education efforts. Please            Also issued on April 17, 2015 was a
an appropriate speed restriction be              refer to the “Emergency Orders and           joint FRA and PHMSA safety advisory
placed on trains containing large                Non-Regulatory Actions” section of            notice (FRA Safety Advisory 2015—02;
quantities of a flammable liquid,                August 1, 2014 NPRM or the PHMSA             PHMSA Notice No. 15—11; 80 FR
particularly in areas where a derailment Web site31 for a description these non-               22778). This joint safety advisory notice
could cause a significant hazard of              regulatory efforts that are relevant to rail was published to remind railroads
death, personal injury, or harm to the           shipment of large quantities of              operating an HHFT, defined as a train
environment until the provisions of this flammable liquids. Below is a brief                  comprised of 20 or more loaded tank
final rule were issued and become                description of PHMSA and FRA efforts         cars of a Class 3 flammable liquid in a
effective. Further, by limiting speeds for since the publication of the August 1,             continuous block, or a train with 35 or
certain higher risk trains, FRA also             2014 NPRM.                                   more loaded tank cars of a Class 3
hopes to reduce in-train forces related to A. Safety Alerts and Advisories                    flammable liquid across the entire train,
acceleration, braking, and slack action                                                       as well as the offerors of Class 3
                                                     Safety advisories are documents          flammable liquids transported on such
   30See http://www.phinsa.dot.gov/pv_obj_cache/ published in the Federal Register that       trains, that certain information may be
pv_obj_id_2DA43BA3704E57
F; 958957625273D89A29FF0B00/fflename/E030        31See detailed chronology of PHMSA efforts at     32See: http://www.gpo.gov/fdsys/pkg/FR-20;5-04-
FINAL.pdf                                      hup://phmsa.dot.gov/hazmat/osd/chronology.        23/pdf/201 5-09436.pdf
 26658                 Federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations

  required by PHMSA and/or FRA                       (TSB) in Railway Investigation Report                crude oil, this data did not inform the
  personnel during the course of an                  R13D0054 (Aug. 19, 2014).                            regulatory amendments in the August 1,
  investigation immediately following an                Operation Classification continues                2014, NPRM or this rulemaking.
  accident.                                          today, and activities include
                                                     unannounced inspections, data                        C. Call to Action
    Following recent derailments
  involving HHFTs, FRA and PHMSA                     collection, and sampling at strategic                    On January 9, 2014, the Secretary
  conducted several post-accident                    terminal and loading locations for crude              issued a “Call to Action” to actively
  investigations and sought to ensure that           oil. PHMSA investigators test samples                 engage all the stakeholders in the crude
                                                     from various points along the crude oil               oil industry, including CEOs of member
 stakeholders were fully aware of each
                                                     transportation chain: From cargo tanks                companies of API and CEOs of the
 agency’s investigative authority and
                                                     that deliver crude oil to rail loading                railroads. In a meeting held on January
 cooperated with agency personnel                    facilities, from storage tanks at the
 conducting such investigations, where                                                                     16, 2014, the Secretary and the
                                                     facilities, and from pipelines connecting            Administrators of PHMSA and FRA
 time is of the essence in gathering                 storage tanks to rail cars that would
 evidence. Therefore, PHMSA and FRA                                                                       requested that offerors and carriers
                                                     move the crude across the country.                    identify prevention and mitigation
 issued the joint safety advisory notice to          Concurrently, with the publication of
 remind railroads operating HHFTs, and                                                                     strategies that can be implemented
                                                     the August 1, 2014 NPRM, PHMSA                       quickly. As a result of this meeting, the
 offerors of Class 3 flammable liquids               issued an update on the results of
 being transported aboard those trains, of                                                                rail and crude oil industries agreed to
                                                     PHMSA’s sampling and testing effort.                 voluntarily consider or implement
 their obligation to provide PHMSA and               See Operation Safe Delivery Update.35
 FRA, as expeditiously as possible, with                                                                  potential improvements, including
                                                     Based upon the results obtained from                 speed restrictions in high consequence
 information agency personnel need to                sampling and testing, the majority of
 conduct investigations immediately                                                                       areas, alternative routing, the use of
                                                     crude oil analyzed displayed                         distributive power to improve braking,
 following an accident or incident.                  characteristics consistent with those of             and improvements in emergency
    ERA issued a safety advisory notice              a Class 3 flammable liquid, PG I or II,              response preparedness and training. On
 2015—01 (80 FR 23318) on April 17,                  with predominance to PG I, the most                  January 22, 2014, the Secretary sent a
 2015 to make recommendations to                     dangerous Packing Group of Class 3                   letter to the attendees recapping the
 enhance mechanical safety of tank cars              flammable liquids with lower flash                   meeting and stressing the importance of
 in HHFTs.33 Recent derailments have                 points and initial boiling points than               this issue.36 The August 1, 2014, NPRM
 occurred involving trains transporting              packing groups II and ifi.                           provided a detailed listing of all
large quantities of petroleum crude oil                 Since the issuance of PHMSA’s
                                                                                                          voluntary actions the crude oil and rail
and ethanol. Preliminary investigation               “Operation Safe Delivery Update,”
                                                     PHMSA has continued its testing and                  industry agreed to take. See “Emergency
of the Galena, IL derailment involving a                                                                  Orders and Non-Regulatory Actions”, 79
crude oil train indicates that a                     sampling activities and refined the
                                                     collection methods. PHMSA has                       FR at 45031. Since the publication of
mechanical defect involving a broken                                                                     the August 1, 2014, NPRM the following
tank car wheel may have caused or                   purchased closed syringe-style cylinders
                                                     and is collecting all samples using these            items37 related to the call to action have
contributed to the incident. Safety                                                                      been completed.
Advisory 2015—01 recommended that                    cylinders. Utilizing these types of
                                                    cylinders minimizes the opportunity for                  • Recommended Practice 3000 (RP
railroads use highly qualified                                                                           3000)—API published a new set of
individuals to conduct the brake and                any dissolved gases to be lost to the air
                                                    during collection, thus providing                    recommended practices for testing and
mechanical inspections and                                                                               classifying crude oil for rail shipment
                                                    increased accuracy. In addition, PHMSA
recommends a reduction to the impact                                                                     and loading it into rail tank cars. These
                                                    has taken samples at other shale play
threshold levels the industry currently             locations around the United States to                guidelines were the product of extensive
uses for wayside detectors that measure                                                                  work and cooperation between the oil
                                                    compare their characteristics to that of
wheel impacts to ensure the wheel                   crude oil from the Bakken region.                    and gas industry, the freight rail
integrity of tank cars in those trains.             PHMSA plans to provide subsequent                    industry, and PHMSA to ensure crude
B. Operation Classification                         updates of its testing and sampling                  shipments are packaged appropriately,
                                                    activities as we move forward and to                 and emergency responders have the
   As part of PHMSA and FRA’s overall               work with the regulated community to                 right information. RP 3000 provides
rail safety efforts, the administration             ensure the safe transportation of crude              guidance on the material
launched a testing and sampling                     oil across the nation.                               characterization, transport
program (Operation Classification) in                  As mentioned previously the primary               classification, and quantity
August 2013 to verify that crude oil is             intent of PHMSA’s sampling and                       measurement for overfill prevention of
being properly classified in accordance             analysis of crude oil is to determine if             petroleum crude oil for the loading of
with Federal regulations. Early                     shippers are properly classifying crude              rail tank cars. RP 3000 identifies criteria
indications from the July 6, 2013,                  oil for transportation. PHMSA also uses              for determining the frequency of
derailment in Lac-Méganfic were that                this data to quantify the range of                   sampling and testing of petroleum crude
the crude oil involved in that accident             physical and chemical properties of                  oil for transport classification. It
was misclassified. Specifically, the                crude oil. While the information and                 discusses how to establish a sampling
product was assigned a PG III                       data obtained from the sampling and                  and testing program, and provides an
classification (lowest hazard), despite             analysis helped quantify the range of                example of such a program.
meeting the criteria for PG II. Therefore,          physical and chemical properties of
its hazards were not correctly identified.                                                                 36hUp://phmso.dot.gov/pvobjcoche/pvobjfd
This was later confirmed by the                       34See http://www.tsb.gc.ca/eng/rapports-reports/   AAFF3C0BBA4D0B46209E5528662AC542756F07
Transportation Safety Board of Canada’s             rai/201 3/r3d0054/rl 3d0054.pdf                      00/filename/Letter_from Secretary Foxx follow_
                                                      35See httpi/phmsa.dot.gov/pv_obf_cache/pv_         up_toJanumyj 6.pdf.
                                                    0b1id8A422ABDC; 6372E5F1 66fE34O48CCCBFED              37This is not a comprehensive list. These items
    See: httpil/www.gpo.gov/fdsys/pkg/FR-2015-04-   3B0500/fllename/07231 4 Operation_Safe               simply highlight some of the recently completed
27/pdf/201 5-096; 2.pdf.                            Delivery_Reportfinal_clean.pdf.                      call to action items.
                     Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations                                   26659

    • Transportation Technology Center        the Lynchburg, VA fire department.                  rail incidents involving hazard class 3
  Inc. (TTCI) Training—AAR and Railroad       Based on the input received from the                flammable liquids. A key component of
  Subscribers committed considerable          forum participants, PHMSA published a this initiative is to learn from past
 resources to develop and provide a           “Crude Oil Rail Emergency Response                 experiences and to leverage the
 hazardous material transportation           Lessons Learned Roundtable Report”                  expertise of public safety agencies, rail
 training curriculum applicable to            outlining the key factors that were                 carriers, and industry subject matter
 petroleum crude oil transport for            identified as having a direct impact on            experts in order to prepare first
 emergency responders. This training         the successful outcome of managing a                responders to safely manage rail
 was completed in the summer of 2014         crude oil transportation incident.8                 incidents involving commodities such
 and continues to be refined.                    In June 2014, in partnership with F’RA as crude oil and ethanol. These modules
    • Speed Reduction—Railroads began        and the U.S. Fire Administration                    are not intended to be a stand alone
 operating certain trains at 40 mph on       (USFA), PHMSA hosted a stakeholder                  training program, but are offered to
 July 1, 2014. This voluntary restriction    meeting with hazardous materials                    supplement existing programs.
 applies to any HHfT with at least one       response subject matter experts from the Estimated delivery for this project is
 non-CPC 1232 tank car loaded with           public safety, railroads, government,               May 2015.
 crude oil or one non-DOT specification      and industry to discuss best practices                 In December 2014, PHMSA re
 tank car loaded with crude oil while        for responding to a crude oil incident by engaged the emergency response
 that train travels within the limits of any rail. In coordination with the working              stakeholder group to allow all parties
 high-threat urban area (HTUA) as            group, PHMSA drafted the “Commodity Federal government, the railroad
 defined by 49 CFR 1580.3.                   Preparedness and Incident Management industry and the response community to
  D. Stakeholder Outreach                    RefeTence Sheet.” This document                     provide updates on the various
                                             contains incident management best                   emergency response related initiatives
     PHMSA and FRA are taking a focused practices for crude oil rail transportation aimed to increase community awareness
  approach to increase community             emergency response operations that                 and preparedness for responding to
  awareness and preparedness for             include a risk-based hazardous                      incidents involving crude oil and other
  response to incidents involving bulk       materials emergency response                       high-hazard flammable shipments by
  transport of crude oil and other high-     operational framework. The framework               rail.
  hazard flammable shipments by rail         provides first responders with key                     In addition to PHMSA’s efforts
  such as ethanol. Specific efforts have    planning, preparedness, and response                mentioned above, in January 2015, The
  taken place to develop appropriate         principles to successfully manage a                National Response Team (NRT), led by
  response outreach and training tools to    crude oil rail transportation incident.            Environmental Protection Agency
 mitigate the impact of future incidents.   The document also assists fire and                  (EPA), conducted a webinar titled
 The following are some of the actions      emergency services personnel in                     “Emerging Risks, Responder Awareness
 taken to by PHMSA to enhance               decision-making and developing an                   Training for Bakken Crude Oil” to
 emergency response to rail crude oil       appropriate response strategy to an                 educate responders on Bakken Crude
 incidents over the past year.              incident (i.e., defensive, offensive, or            Oil production and transportation
     In February 2014, PHMSA hosted a       non-intervention).3 In partnership with methods along with the health and
 stakeholder meeting with participants      the USFA’s, National Fire Academy                   safety issues facing first responders. In
 from the emergency response                (NFA), a series of six coffee break                 addition to the training webinar, the
 community, the railroad industry,          training bulletins were published and               NRT also intends to conduct a large
 Transport Canada and Federal partners      widely distributed to the emergency                 scale exercise scenario in 2015, to assess
 FRA, and FMCSA. The objective was to response community providing                              federal, state, and local response
 discuss emergency preparedness related reference to the response document.°                    capabilities to a crude oil incident.
 to incidents involving transportation of       Tn October 2014, to further promote                 Also in January 2015, the
 crude oil by rail. The discussion topics   the “Commodity Preparedness and                     Environmental Protection Agency (EPA)
 included: Current state of crude oil risk Incident Management Reference Sheet,” along with other Federal partners
 awareness and operational readiness/       PHMSA contracted with the Department including FEMA, USCG, DOE, DOT, and
 capability; familiarity with bulk          of Energy, Mission Support Alliance-               DHS hosted conference calls with state
 shippers of crude oil, emergency           Hazardous Materials Management and                  officials and representatives from the
response plans and procedures;              Emergency Preparedness (MSA—                        appropriate offices, boards, or
 available training resources (sources,     HAMMER) to develop the                              commissions (emergency response and
 accessibility, gaps in training); and the  Transportation Rail Incident                       planning, environmental cleanup,
needs of emergency responders/public        Preparedness and Response (TRIPR) for energy, and transportation) that play a
safety agencies.                           Flammable Liquid Unit Trains training               role in preparing or responding to an
    In May 2014, in conjunction with the   modules. These modules along with                   incident involving crude-by-rail. The
Virginia Department of Fire Programs,      three table-top scenarios offer a flexible          purpose of these discussions was to gain
PHMSA hosted a “Lessons Learned”           approach to increasing awareness of                 better understanding of how states are
Roundtable forum that consisted of a       emergency response personnel on the                 preparing to respond to incidents
panel of fire chiefs and emergency         best practices and principles related to            involving crude oil by rail and to
management officials from some of the                                                          identify key needs from each state.
jurisdictions that experienced a crude         35See http://www.phmsa.dot.gov/pv_obj_cache/    Questions centered on what actions
oil or ethanol rail transportation         pv_obj_id_0903D01 8579BF84E69l4C0BB932607F5         (planning, training, exercises, etc.) have
                                           B3F50300/fllename/Lessons Learned Roundtable
incident. The purpose of this forum was Report_FINAL_0701 14.pdf                               been planned or conducted in the state
to share firsthand knowledge about their       39This document has been widely distributed     and/or local communities, what
experiences responding to and              throughout the emergency response community and communities or areas have the greatest
managing these significant rail            is also available on the PHMSA Operation Safe       risk, regional actions or activities states
                                           Delivery Web site at http:llwww.phmsa.dot.gov/
incidents. In attendance were public       hazmat/osd/emergencyresp once.                      have participated in, and any other
safety officials from Aliceville, AL,          40See http://www.usfa.fema.gov/training/coffee_ related concerns states would like to
Cherry Valley, IL, Cass County, ND, and breaWhazmatindex.html.                                 discuss.
 26660              Federal Register / Vol. 80, No. 89/ friday, May 8, 2015 / Rules and Regulations

   Complementing the Federal                      preparedness for responding to not only identifying the risks posed by the
 government’s efforts, the railroad               crude oil, but all high-hazard flammable transportation of large quantities of
 industry has also taken on the challenge         shipments by rail. The stakeholder       flammable liquids by rail. The NPRM
to address crude oil response. API has           group will aim to meet again in the       for this rulemaking detailed the actions
built new partnerships between rail              spring of 2015 under the unified goal to and recommendations of the NTSB.
companies and oil producers. At the              provide first responders with the key     Since the publication of the August 1,
request of FRA, the API is currently             information needed to effectively         2014 NPRM, the NTSB has issued
developing an outreach program to                prepare for and manage the                additional rail-related safety
deliver training to first responders             consequences incidents involving bulk     recommendations. The table below
throughout the U.S., particularly in             shipments of energy products by rail.     provides a summary of the rail-related
states that have seen a rise in crude oil           In the meantime, PHMSA will            NTSB Safety Recommendations and
by rail. This includes working with oil          continue its efforts to increase          identifies the effect of this action on
and rail industry members to identify            community awareness and emergency         those recommendations, including those
where existing training initiatives and          preparedness through public outreach to issued to PHMSA and FRA after the
conferences can be utilized to provide           state and local emergency responder       issuance of the August 1, 2014 NPRM.
the training to as many responders as            communities, sustained engagement         It should be noted that although some
possible. Lastly, the AAR and API are            with experts from emergency response      of these recommendations are not
working together to produce a crude oil          and industry stakeholder groups, and      addressed in this rulemaking they are
by rail safety training video through            participating on interagency working      being addressed through other actions,
their partnership with Transportation            groups.                                   for example, development of guidance
Community Awareness and Emergency                                                          materials, outreach to the regulated
                                                 V. NTSB Safety Recommendations
Response (TRANSCAER).                                                                      community, and conducting research
   Moving forward, both the railroad                As previously discussed, in addition   projects. Further, some are being
industry and the Federal government              to the efforts of PHMSA and FRA, the      considered for other future rulemaking
will continue their efforts to increase          NTSB has taken a very active role in      action.
                                    TABLE 9—RAIL-RELATED NTSB SAFETY REcoMMENDATIoNs

    NTSB Recommendation                                                       Summary                                                  Addressed in
                                                                                                                                        this rule?

R—07—4, Issued April 27, 2007..   Recommends that PHMSA, with the assistance of ERA, require that railroads immediately pro            No.
                                     vide to emergency responders accurate, real-time information regarding the identity and lo
                                     cation of all hazardous materials on a train.
R—12—5, Issued March 2, 2012      Recommends that PHMSA require all newly manufactured and existing general service tank               Yes.
                                     cars authorized for transportation of denatured fuel ethanol and crude oil in PGs I and II
                                     have enhanced tank head and shell puncture resistance systems and top fittings protection
                                     that exceed existing design requirements for DOT Specification 111 (DOT—ill) tank cars.
R—12—6, Issued March 2, 2012      Recommends that PHMSA require all bottom outlet valves used on newly manufactured and                Yes.
                                     existing non-pressure tank cars are designed to remain closed during accidents in which the
                                     valve and operating handle are subjected to impact forces.
R—12—7, Issued March 2, 2012      Recommends that PHMSA require all newly manufactured and existing tank cars authorized               No.   *


                                    for transportation of hazardous materials have center sill or draft sill attachment designs that
                                     conform to the revised AAR design requirements adopted as a result of Safety Rec
                                    ommendation R—12—9.
R—12—8, Issued March 2, 2012      Recommends that PHMSA inform pipeline operators about the circumstances of the accident              Closed.   **


                                    and advise them of the need to inspect pipeline facilities after notification of accidents cc
                                    curring in railroad rights-of-way.
R—14—l, Issued January 23,        Recommends that FRA work with PHMSA to expand hazardous materials route planning and                 Yes.
 2014.                              selection requirements for railroads under the HMR to include key trains transporting flam
                                    mable liquids as defined by the AAR Circular No. 01—55—N and, where technically feasible,
                                    require rerouting to avoid transportation of such hazardous materials through populated and
                                    other sensitive areas.
R—14—2, Issued January 23,        Recommends that FAA develop a program to audit response plans for rail carriers of petro             No.
 2014.                              leum products to ensure that adequate provisions are in place to respond to and remove a
                                    worst-case discharge to the maximum extent practicable and to mitigate or prevent a sub
                                    stantial threat of a worst-case discharge.
R—14—3, Issued January 23,        Recommends that ERA audit shippers and tail carriers of crude oil to ensure they are using           Closed.
  2014.                             appropriate hazardous materials shipping classifications, have developed transportation
                                    safety and security plans, and have made adequate provision for safety and security.
R—14—4, Issued January 23,        Recommends that PHMSA work with ERA to expand hazardous materials route planning and                 Yes.
 2014.                              selection requirements for railroads under Title 49 Code of Federal Regulations 172.820 to
                                    include key trains transporting flammable liquids as defined by the AAR Circular No. OT—
                                    55-N and, where technically feasible, require rerouting to avoid transportation of such haz
                                   ardous materials through populated and other sensitive areas.
R—14—5, Issued January 23,        Recommends that PHMSA revise the spill response planning thresholds contained in Title 49            No.***
 2014.                             Code of Federal Regulations Part 130 to require comprehensive response plans to effec
                                   tively provide for the carriers’ ability to respond to worst-case discharges resulting from acci
                                   dents involving unit trains or blocks of tank cars transporting oil and petroleum products.
R—14—6, Issued January 23,        Recommends that PHMSA require shippers to sufficiently test and document the physical and            Yes.
 2014.                             chemical characteristics of hazardous materials to ensure the proper classification, pack
                                   aging, and record-keeping of products offered in transportation.
                      Federal Register/Vol. 80, No. 89/friday, May 8, 2015 /Rules and Regulations                                                 26661

                               TABLE 9—RAIL-RELATED NTSB SAFETY RECOMMENDATIONS—Continued

       NTSB Recommendation                                                         Summary                                                  Acressrd9 in

 A—i 4—14, Issued January 23,           Recommends that PHMSA requite railroads transporting hazardous materials through commu-            Partially.
  2014.                                   nities to provide emergency responders and local and state emergency planning committees
                                          with current commodity flow data and assist with the development of emergency operations
                                          and response plans.
 R—i 4—18, Issued August 22,            Recommends that PHMSA take action to ensure that emergency response information carried            No.
   2014.                                  by train crews is consistent with and is at least as protective as existing emergency re
                                          sponse guidance provided in the Emergency Response Guidebook.
 A—i 4-19, Issued August 22,           Recommends that PHMSA require railroads transporting hazardous materials to develop, im-            No.
  2014.                                   plement, and periodically evaluate a public education program similar to Title 49 Code of
                                          Federal Regulations Parts 192.616 and 195.440 for the communities along railroad haz
                                          ardous materials routes.
 R—14—20, Issued August 22,            Recommends that PHMSA collaborate with FAA and ASLRRA and Regional Railroad Asso-                   No.
  2014.                                   ciation to develop a risk assessment tool that addresses the known limitations and short
                                         comings of the Rail Corridor Risk Management System software tool.
 A—i 4-21, Issued August 22,           Recommends that PHMSA collaborate with FAA and ASLRRA and Regional Railroad Asso-                   No.
  2014.                                  ciation to conduct audits of short line and regional railroads to ensure that proper route risk
                                         assessments that identify safety and security vulnerabilities are being performed and are in
                                         corporated into a safety management system program.
 A—i 5—14, Issued April 6, 2015   ..   Require that all new and existing tank cars used to transport all Class 3 flammable liquids be      Yes.
                                         equipped with thermal protection systems that meet or exceed the thermal performance
                                         standards outlined in Title 49 Code of Federal Regulations 179.18(a) and are appropriately
                                         qualified for the tank car configuration and the commodity transported.
 A—i 5—15, Issued April 6, 2015   ..   Require that all new and existing tank cars used to transport all Class 3 flammable liquids be      Yes.
                                         equipped with appropriately sized pressure relief devices that allow the release of pressure
                                         under fire conditions to ensure thermal performance that meets or exceeds the require
                                         ments of Title 49 Code of Federal Regulations 179.18(a), and that minimizes the likelihood
                                         of energetic thermal ruptures.
 R—15—16, Issued April 6, 2015    ..   Require an aggressive, intermediate progress milestone schedule, such as a 20 percent year-         Partially.
                                         ly completion metric over a 5-year implementation period, for the replacement or retrofitting
                                         of legacy DOT—ill and CPC—1232 tank cars to appropriate tank car performance stand
                                         ards, that includes equipping these tank cars with jackets, thermal protection, and appro
                                         priately sized pressure relief devices.
 R—15—17, Issued April 6, 2015..       Establish a publicly available reporting mechanism that reports at least annually, progress on      Partially.
                                         retrofitting and replacing tank cars subject to thermal protection system performance stand
                                         ards as recommended in safety recommendation R—i 5-16.
  *
     Under A—i 2—9, NTSB recommends that MA: Review the design requirements in the MA Manual of Standards and Recommended Prac
tices C—Ill, “Specifications for Tank Cars for Attaching Center Sills or Draft Sills,” and revise those requirements as needed to ensure that appro
priate distances between the welds attaching the draft sill to the reinforcement pads and the welds attaching the reinforcement pads to the tank
are maintained in all directions in accidents, including the longitudinal direction. These design requirements have not yet been finalized by the
MA.
  **
     On July 31, 2012, PHMSA published an advisory bulletin in the Federal Register to all pipeline operators alerting them to the circumstances
of the Cherry Valley derailment and reminding them of the importance of assuring that pipeline facilities have not been damaged either during a
railroad accident or other event occurring in the right-of-way. 77 FR 45417. This recommendation was closed by NTSB on September 20, 2012.
This action is accessible at the following UAL: http:Uphmsa.dot.gov/pipeline/regs/ntsb/closed.
   ***On August 1, 2014, PHMSA in consultation with FAA published an ANPAM, 79 FR 45079, which was responsive to
                                                                                                                                               these
recommendations.


  The Department believes this                       Needed to Improve Pipeline Safety.”41             standard helps to cover the cost of
comprehensive rulemaking significantly               While the primary GAO                             developing, maintaining, hosting, and
 improves the safety of trains carrying              recommendations of this report were               accessing this standard. This specific
 flammable liquids and addresses many                related to pipeline safety, PHMSA and             standard is discussed in greater detail in
 on NTSB’s rail related                              FRA believes this rulemaking addresses            the following analysis.
recommendations. Following the                       rail related issues raised in this report.
                                                                                                       VII. Summary and Discussion of Public
publication of this rulemaking, PHMSA               VI. Incorporation by Reference                     Comments
will issue a formal response to NTSB                Discussion Under 1 CFR Part 51
regarding the recommendations above                                                                    In the August 1, 2014, NPRM, PHMSA
and how the provisions of this                         The American Association of                  solicited public comment on whether
rulemaking address those                            Railroads (AAR) Manual of Standards             the potential amendments would
recommendations.                                    and Recommended Practices, Section              enhance safety and clarify the HMR
                                                    C—Part Ill, Specifications for Tank Cars, with regard to rail transport as well as
   In addition to the NTSB                          Specification M—1002, (AAR                      the cost and benefit figures associated
recommendations above, the                          Specifications for Tank Cars) reference         with these proposals. PHMSA received
Government Accountability Office                    is available for interested parties to          3,209 submissions representing more
(GAO), in August 2014, issued a report              purchase in either print or electronic          than 181,500 individuals. Comments
entitled “Department of Transportation              versions through the parent organization were received from a broad array of
is Taking Actions to Address Rail                   Web site. The price charged for this            stakeholders, including trade
Safety, but Additional Actions Are                                                                  organizations, railroads, intermodal
                                                      41See http://www.gao.gov/assets/670/665404pdf carriers, logistic companies, rail
 26662                   Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

 customers, tank car manufacturers, parts              organizations submitted a comment                      proposed regulations; or (4) identical or
 suppliers, consultants, law firms,                    with attached membership signatures,                   nearly identical letter write-in
 environmental groups, labor                           such as: the Sierra Club (61,998                       campaigns sent in response to comment
 organizations, non-government or                      signatures], Forest Ethics petition (8,820             initiatives sponsored by different
 advocacy organizations, local                         signatures], Public Citizen (3,080                     organizations. The remaining comments
 government organizations or                           signatures], for example. All comments                 reflect a wide variety of views on the
 representatives, tribal governments,                  and corresponding rulemaking materials                 merits of particular sections of the
 state governments, Members of                         received may be viewed on the                          proposed regulations. Many include
 Congress, and other interested members                www.regulatfons.gov Web site, docket                   substantive analyses and arguments in
 of the public. Several organizations                  ID PHMSA—2012—0082.
                                                          Many comments received in response                  support of or in opposition to the
 attached the views of some of their                                                                          proposed regulations. The substantive
                                                       to the NPRM are: (1] General statements
 individual members: Credo Action                      of support or opposition; (2] personal                 comments received on the proposed
 (71,900 attached comments), Forest                    anecdotes or general statements that do                regulations are organized by topic, and
 Ethics (5,817 attached comments) and                  not address a specific aspect of the                   discussed in the appropriate section,
 Center for Biological Diversity (22,981               proposed changes; (3) comments that                    together with the PHMSA’s response to
 attached comments], for example. Other                are beyond the scope or authority of the               those comments.
                                              TABLE 1 0—OVERALL C0MMENTER BREAKDOWN42

        Commenter background                Docket IDs           Signatories                           Description and example of category
 Non-Government Organization                             58            777,602     Primarily environmental groups, but includes other Non-Governmental
                                                                                     Organizations fNGOs) such as hobby, labor, safety organization, etc.
 Individuals                                          2,695               9,364    Public submissions not directly representing a specific organization.
 Industry stakeholders                                  286                 318    Trade organizations, railroads, intermodal carriers, logistic companies,
                                                                                     rail customers, tank car manufacturers, parts suppliers, consultants,
                                                                                     etc.
 Government organizations or rep-                       170                238     Local, state, tribal governments or representatives, NTSB, U.S. Con
  resentatives.                                                                      gress members, etc.
     Total                                            3,209            181,522


                                .                     new cars both the U.S. DOT and                         Canada have met frequently to discuss
  Resolution of the comments are                      Transport Canada have worked                           harmonization efforts. Finally, Secretary
discussed within each appropriate                     diligently to ensure our standards are                 Foxx and Transport Minister Lisa Riatt
section of the final rule (e.g. tank car,             compatible and do not create barriers to               have met on multiple occasions to
speed, braking, etc.)                                 movement,                                              specifically discuss the topics addressed
                                                         Staff at Transport Canada, PHMSA,                   in this rulemaking.
A. Miscellaneous Relevant Comments                    and FRA have traditionally interacted
1. Harmonization                                      on a frequent basis to ensure                          Conclusion
                                                      harmonized efforts. In light of the
   Almost unanimously, commenters on                  significant rulemaking efforts underway                  PHMSA and FRA believe these
all sides of the issues stressed the need             in the past year in both countries, this               discussions have led to the development
to introduce harmonized standards for                 interaction has expanded regarding rail                of a harmonized final rulemaking that
the rail transport of flammable liquids,              safety efforts and the technical aspects               will not create any barriers to cross
Rail transport is a cross-border issue.               of the rulemakings.                                    border transportation. To the extent
Flammable liquids regularly cross the                   In addition to informal staff level                  possible, the amendments proposed by
U.S./Canadian border using an                         discussion, the DOT and Transport                      PHMSA and FRA in this final rule have
interconnected rail network. It is                    Canada have held more formal                           been harmonized with Canadian
essential to have a harmonization                     discussions through the Regulatory                     regulatory requirements. The table
approach. In addition, as substantial                 Cooperation Council with regard to                     below provides a summary of the areas
capital investment will be required to                improvements to rail safety. Further,                  covered by this rule and corresponding
retrofit existing cars and manufacture                leadership at both DOT and Transport                   Canadian efforts.
                                    TABLE 1 1—UNITED STATES AND CANADA HARMONIZED EFFORTS

        Issue                         U.S. position                                 Canadian position                         Harmonization impacts

Scope                    A continuous block of 20 or more tank         Tank Car Provisions apply to a single         Not Harmonized—Due to cost implica
                           cats or 35 or more cars dispersed             tank car.                                    tions in using a risk-based standard
                           through a train loaded with a flam                                                         of one car.
                           mable liquid.
New Tank Car             See Table 18 as Canada and U.S. are           See Table 78 as Canada and U.S. are           Fully Harmonized.
  Specification.           harmonized fully on this issue.               harmonized fully on this issue.

  42  should be noted that there may be some            43Flammable liquids cross the U.S/Mexican            requires all shipments to/from Mexico must be in
double-counting as individuals may have submitted     border by rail to a considerably lesser extent than    full conformance with U.S. Regulations.
comments individually and as signatories to NG0       U.SJCanada shipments. furthermore, the HMR
or industry stakeholder comments.
                     Federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations                                     26663

                         TABLE 11—UNITED STATES AND CANADA HARMONIZED EFFORTS—Continued

          Issue                    U.S. position                          Canadian position                      Harmonization impacts

 Existing Tank Car    See Table 19—Enhanced CPC—1232..          See Table 19—Enhanced CPC—1232..         Fully Harmonized.
   Specification.
 Retrofit Timeline    See Table 21. Requires a retrofitting  Except for the first phase of the retrofit Harmonized except for first phase.
                        progress report provided initial mile  schedule Transport Canada and the
                        stone is not met.                      U.S. have harmonized retrofit sched
                                                               ules and similar retrofit reporting re
                                                               quirements. Transport Canada also
                                                               includes a retrofitting progress report.
Braking              (1) Requires HHFTs to have in place a Requires a Two-way End of Train De Not Currently Harmonized—Transport
                        functioning two-way EOT device or a    vice (EOT) as per the Railway              Canada and the United States will
                        DP braking system. (2) Requires any    Freight and Passenger Train Brake          continue to work towards har
                        HHFUT transporting at least one PG     Inspection and Safety Rules. A two-        monized approach on braking.
                        I flammable liquid be operated with   way EOT may be a Sense Braking
                        an ECP braking system by January       Unit (SBU) or a locomotive func
                        1, 2021. (3) Requires all other       tioning as distributive braking power,
                        HHFUT5 be operated with an ECP        as per the U.S. definition. Transport
                        braking system by May 1, 2023.         Canada will continue to work with
                                                               Canadian industry in order to deter
                                                               mine a harmonized Canadian brak
                                                              ing requirement.
Routing              HHFT carriers must perform a routing Transport Canada required carriers to Harmonized to the extent needed—
                       analysis that considers a minimum of   complete a risk assessment within          While the applicability of the require
                       27 safety and security factors. The    six months of the issuance of an            ments and specifics of the risk anal
                       carrier must select a route based on   emergency directive to assess the          ysis on both sides of the border are
                       findings of the route analysis.         risk associated with each ‘Key            different, they generally focused on
                                                               Route” a “Key Train” operates.            the same types of shipments and
                                                                                                         cover the same overarching aspects.
Notification         Notification requirements are already Transport Canada issued a Protective Harmonized to the extent needed—
                       included in the routing requirements;  Direction 32 directing rail companies      While harmonization is not essential
                       therefore a stand-alone provision is   to share information with municipali       on this issue, DOT and Transport
                       unnecessary.                           ties to help emergency response            Canada are fundamentally aligned
                                                              planning, risk assessment and first        on the principles of notification.
                                                              responder training.
Speed                A 50-mph maximum speed restriction Transport Canada issued an Emer Harmonization                    not    essential—This
                       for all HHFTs. A 40-mph speed re       gency Directive requiring all compa        operational issue can be handled
                       striction for HHFTs operating in a     nies not operate a Key Train at a          separately on either side of the bor
                       HTUA unless all flammable liquid       speed that exceeds 50 mph and not          der.
                       tank cars meet the new or retrofitted  in excess of 40 mph in Census Met
                       tank car standards.                    ropolitan Areas.
Classification       A classification program for unrefined Transport Canada has adopted a re Harmonized to extent needed—DOT
                       petroleum-based products.              quirements to: (1) Provide a proof of      and TC are fully aligned with regard
                                                              classification, on reasonable notice       to shipper’s certifications. With re
                                                              by the Minister for any dangerous          gard to sampling plans TC is consid
                                                              goods; and (2) Classify petroleum          ering adoption of a classification plan
                                                              crude oil and petroleum products on        similar to DOT.
                                                              the basis of sampling and make
                                                              available to the Minister of Trans
                                                              port, the sampling procedures and
                                                              conditions of any given shipment.


2. Definition of High-Hazard Flammable                While Appendix A to Emergency             variety of comments representing
Train                                              Order No. 28 and the revised definition      differing viewpoints. Specifically, we
                                                   of a “key train” under AAR Circular No.      received comments representing 62,882
   In the September 6, 2013, ANPRM we              OT—55—N both include Division 2.1            signatories regarding the definition of an
asked several questions regarding AAR              (flammable gas) materials and                HHFT. The definition of a “high-hazard
Circular No. OT—55—N including if we               combustible liquids, PHMSA did not           flammable train” is a critical aspect for
should incorporate the “key train”                 propose to include them in the               this rulemaking as many of the
requirements into the Filvifi, or if it            definition of a “high-hazard flammable       requirements are tied to that threshold.
should be expanded to include trains               train” in the August 1, 2014, NPRM.          The table below details the types and
with fewer than 20 cars. Several                   Rather, PHMSA and FRA proposed to            amounts of commenters on the HHFT
commenters indicated that additional               define a high-hazard flammable train to      definition.
operational requirements should be                 mean a single train carrying 20 or more
based upon the definition for a “key               carloads of a Class 3 flammable liquid.
train” as provided by AAR Circular No.             PHMSA and FRA asked for specific
OT—55—N. Further, Appendix A to                    comment on this definition in the
Emergency Order No. 28 mirrors the                 August 1, 2014, NPRM.
definition for a “key train” as provided              In response to the proposed
by AAR Circular No. OT—55—N.                       amendments to routing, we received a
 26664               Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations

        TABLE 12—COMM ENTER                             bitumen (“dilbit”) is included in any      used. There were many comments from
     COMPOSITION: HHFT COMMENTS                         amount towards this definition. Overall the tank car construction and rail
                                                        environmental groups supported a            industries suggesting the construction of
           Commenter type               Signatories     threshold below 20 tank cars loaded        tank cars not be tied to the definition of
                                                        with Class 3 (flammable liquid)            an HRFT. Specifically, those comments
   Non-Government Organiza                              materials.                                 noted the HHFT definition should only
      tion                                    62,038       The NTSB suggested using a pre          be applied to operational requirements.
   Individuals                                   549 existing industry standard for route
   Industry stakeholders                         200
                                                                                                   Some claimed this would shift the scope
   Government organizations or                          planning, but does not support the use     of the requirements to “unit trains” as
      representatives                              95 of the 20 tank car threshold for other       opposed to capturing “manifest trains.”
                                                        purposes. Specifically, their proposal     Finally, AAR estimated (based on Class
      Totals                                  62,882 was to align the HHFT definition to the       I railroads reports) that 20 to 60 percent
                                                        OT—55N “Key Train” definition (20 tank of their trains containing 20 or more
      Below are some examples from                      cars loaded with any combination of        tank cars of flammable liquids are in
  commenters that demonstrate the range                 hazardous materials) for Routing. With     fact “manifest trains.” It was also noted
  of opinions on the HHFT definition as                 regard to tank car specifications and      that the emphasis of the NPRM and
  it relates specifically to operational                retrofits, the NTSB supports a single      other voluntary agreements has been on
  controls.                                             tank car approach.                         crude oil and ethanol. AAR provided
      Comments from the concerned public,                  Industry stakeholders took issue with the following suggested definition as a
  local government, tribal communities,                 the term “high-hazard flammable train” prospective solution: “20 or more tank
  towns and cities voiced concern with                  and the term’s connotation. The hazmat cars in block or 35 tank cars across the
  the 20-car threshold, and that the 20-car shipping industry provided a variety of train consist loaded with a flammable
  threshold is an arbitrary number that is              suggestions with most of them              liquid.” AAR claimed this definition
  not justified in the NPRM. With regard               indicating that there would be difficulty would focus on the unit train risk while
 to alternative scopes for this                        in determining if a train would meet the eliminating the inadvertent inclusion of
  rulemaking, this group of commenters                 proposed definition of an HHFT prior to manifest trains.
 had varied opinions. Some even                        shipment. The hazmat shipping                  PHMSA and FRA agree with many
 suggested that a train consisting of one              industry had issues with the ambiguity     comments regarding this issue and the
 or more tank cars carrying crude oil or               of the definition for HI-WT. Most in the   need to refine the definition. Therefore,
 any other hazardous material should be                hazmat shipping industry thought the       in this final rule, PHMSA and FRA are
 classified as an HHFT.                                definition would inadvertently include     adopting a revised definition for a high-
     Tribal communities, such as the                   manifest trains that did not pose as high hazard flammable train. The adopted
 Quinault Indian Nation and the Prairie                a risk as unit trains. It was also noted   definition of an 1-ifIFT is as follows:
 Island Indian Community felt the                      that in many situations it would be           A 1-11gb-Hazard Flammable Train means a
 proposed threshold was sufficient but                 difficult to pre-determine when an         single train transporting 20 or more loaded
 could be even more stringent.                         HIIFT would be used. The Dangerous         tank cars containing Class 3 flammable liquid
 Specifically, the Prairie Island Indian               Goods Advisory Council (DGAC) stated       in a continuous block or a single train
 Community supported, “designating                     that the term “HHFT” is not in use         carrying 35 or more loaded tank cars of a
 trains carrying more than 20 tank cars                within the industry and maybe              Class 3 flammable liquid throughout the train
 of flammable liquids as “high-hazard                  confused with other terminology such       consist.
 flammable train (HHFT).” The Quinault as “unit train,” “manifest train,” or “key                     This revision is based on further
 Indian Nation preferred a threshold of a train.” Proposed definitions from the                  justification of the threshold, the intent
 single tank car.                                      hazmat shipping industry included:         of the definition, and operational
    Environmental Groups such as the                      • Trains consisting of 20 or more tank concerns raised by commenters. Each of
 Sierra Club, Environmental Advocates                  cars loaded with crude oil or ethanol     these will be discussed further below.
 of New York, Earthjusfice, the Natural                originating from one consignee to one         With regard to the inclusion of all
 Resources Defense Council, Forest                     consignor without intermediate            hazardous materials as opposed to just
 Keepers, and Oil Change had strong                    handling.                                 flammable liquids in the definition of an
 opinions about this threshold and the                    • A train carrying a continuous block HHFT, PHMSA and FRA proposed to
 need to be more stringent. The Sierra                 of 20 or more cars of crude oil or        limit the definition to Class 3
 Club noted that there are known risks                ethanol.                                   Flammable liquids in the August 1,
associated with trains transporting less                  • A unit or block train transporting   2014, NPRM. Because the NPRM limited
than 20 tank cars loaded with crude oil, only loaded crude oil and/or ethanol                    the definition to Class 3 Flammable
particularly in legacy DOT—ill tank                   tank cars shipped from a single point of liquids, we feel expanding the
cars. The Environmental Advocates of                  origin to a single destination without     definition to include all hazardous
New York suggested eliminating the                    being split up or stored en route.         materials is beyond the scope of the
combustible liquid exception for rail                     Amongst the rail industry, there was   NPRM and thus we are unable to
transportation to capture those                       wide agreement that the FUIFT              include all hazardous materials in this
materials. Finally, a joint comment from definition proposed at the NPRM stage                   final rule. Further, as evidenced with
Earthjustice, Sierra Club, the Natural                is not a workable definition. The rail     the incidents detailed in the RIA, we
Resources Defense Council, Forest                     industry had issues with the ambiguity     believe the risk posed by the bulk
Keepers, and Oil Change suggested in                  of the definition for HHFT. Like the       shipments of flammable liquids in DOT
addition to lowering the threshold for                shipping industry, most in the rail        specification lii tank cars should be
defining an HHFT, ensuring that diluted industry thought the definition would                    included in this final rule but a similar
                                                      inadvertently include manifest trains      risk has not currently been identified
   44       comments/commenters have expressed        that did not pose as high a risk as unit   with other hazardous materials.
stances on the HHFT definition as it applies          trains. The rail industry noted that in
specifically to tank car enhancements that may                                                       PHMSA and FRA did not intend the
differ from those discussed in reference to           many situations it would be difficult to   proposed definition in the NPRM to
operational controls.                                 pre-determine when an HHFT would be include lower risk manifest trains and
                      Federal Register/Vol. 80, No. 89/friday, May 8, 2015 /Rules and Regulations                                        26665

     had crafted the definition with the idea            completed an analysis of a hypothetical Conclusion
     of capturing the higher risk associated             train set consisting of 100 cars. The
    with bulk shipments. This rulemaking                                                                   Therefore, based on the above
                                                         analysis assumes 20 cars derailed. The         justification,
     action is focused on the risks associated highest probable number of cars losing                                   PHMSA and ERA are
    with large blocks of hazardous                                                                       adding a definition for high-hazard
                                                        containment in a derailment involving a flammable trains in 171.8. Specifically
    materials. Flammable liquids,                       train with a 20-car block (loaded with                                 §
    specifically crude oil and ethanol, are.                                                            a High-Hazard Flammable Train will be
                                                         flammable liquid) located immediately           defined as a continuous block of 20 or
    the only type of commodity frequently               after the locomotive and buffer cars
    transported in this configuration. The                                                              more tank cars or 35 or more cars
                                                        would be 2.78 cars. In addition, the            dispersed through a train loaded with a
    risk of flammability is compounded in               most probable number of cars losing
    the context of rail transportation                                                                  flammable liquid. This definition will
                                                        containment in a derailment involving a serve as the applicable threshold of
    because petroleum crude oil and                     manifest train consisting of 35 cars
    ethanol are commonly shipped in large                                                               many of the requirements in this
                                                        containing flammable liquids spread             rulemaking.
   blocks or single commodity trains (unit              throughout the train would be 2.59 cars.
   trains). In recent years, train accidents!           Therefore, 20 tank cars in a block and          3. Crude Oil Treatment
    incidents (train accidents) involving a             35 tank cars or more spread throughout             In the NPRM, 79 FR 45062 PHMSA
   flammable liquid release and resulting               a train display consistent                      asked whether exceptions for
   fire with severe consequences have                   characteristics. If the number of               combustible liquids or PG III flammable
   occurred with increasing frequency (i.e., flammable
                                                                     liquid cars in a manifest train liquids would incentivize producers to
   Arcadia, OH; Plevna, MT; Casselton,
                                                       were increased from 40 or 45, the most           reduce the volatility of crude oil, and
   ND; Aliceville, AL; Lac-Mégantic,
                                                        likely number of cars losing                    what the impacts on costs and safety
   Quebec; Lynchburg, VA, Tiskilwa, IL,
   Columbus, OH, New Brighton, PA,                     containment would be 3.12 and 3.46              benefits for degasifying to these levels.
                                                       cars, respectively. This serves as one          The majority of commenters from all
   Mount Carbon, WV, Galena, IL,
                                                       basis   for the selection of the revised        backgrounds provided general support
   Dubuque, IA, Timmins, Ontario, and
                                                                                                       for pre-treatment of crude oil prior to
   Gogama, Ontario).45 As we were focused HHFT definition.
                                                           Many    commenters   highlighted            transportation. For example, Quantum
   on this particular type of risk, we will                                                   the
                                                       potential for logistical issues when            Energy supported pre-treatment, but
   continue inthis final rulemaking to
                                                       dealing with the proposed definition.           stated that the current exceptions for
   limit our focus to Class 3 Flammable
                                                       Many called it unworkable and                   combustible liquids (see § 172.102
  Liquids.
      One commenter suggested the 20-car               ambiguous. PHMSA and ERA have                   Special provisions BI) are not sufficient
  threshold was arbitrary and not founded resolved the ambiguity in the definition to incentivize pre-treatment of
  on data. As detailed in the August 1,                by further clarifying the types of trains       petroleum crude oil. It further suggested
  2014, NPRM the 20-car threshold was                  to be included. Furthermore, AAR, who adding a definition for “stabilized crude
  derived from the “key train”                         represents the Class 1 railroads in the         oil” and providing several exceptions
  requirements contained in AAR Circular U.S., provided the basis for the revised                      for  “stabilized crude oil” throughout the
  No. OT—55—N. The proposed definition                                                                 rule.
                                                       definition. AAR suggested this
  in the August 1, 2014, NPRM used the                                                                    Some industry stakeholders did not
                                                       definition would “exclude manifest
  key train definition as a starting point                                                             support   incentivizing pre-treatment of
                                                      trains and focus on higher risk unit
  because it is a threshold used in existing trains.” Many commenters suggested                        crude oil. AEPM provided results from
  railroad practices, and served as a                                                                 a survey of its members on data
                                                      that we apply the requirements of this
  means to separate the higher-risk trains                                                            regarding    the characteristics of Bakken
                                                      rulemaking to a single tank car for             crude and cited other studies on the
  that carry large volumes of flammable               simplicity. PHMSA and ERA are not
  liquids. In response to comments from                                                               stabilization of crude oil. It stated that
                                                      doing so for numerous reasons. First,           the   treatment process used in the
 both the September 6, 2013, ANPRM                    this revision would include single tank
  and the August 1, 2014, NPRM the                                                                    Bakken region is unlikely to result in
                                                      car shipments of flammable liquids              Bakken crude’s reclassification as a
  definition has been revised to focus on             which could have a significant impact
 the specific risks which are the topic of on small entities that do not transport                    combustible     liquid. AFPM stated treated
 this final rule. Commenters also                                                                     crude should not be regulated
                                                      large amounts of flammable liquids.             differently than non-treated crude
 suggested the revised threshold being                Second, while we acknowledge
 adopted in this rulemaking, as it would                                                             because,     “[o]nce ignited, the burning
                                                      applying the requirements to a single           intensity of unstabilized and stabilized
 eliminate the inclusion of most manifest tank car may resolve some logistical
 trains and focus on unit trains.                                                                     crude would not substantially differ.”
                                                      issues, such a solution would not be                Commenters also expressed differing
      Based on FRA modeling and analysis, cost justified given the number of tank
 20 tank cars in a continuous block                                                                  views on the role of packing group-
                                                      cars affected and the associated risk          based exceptions. Some commenters
 loaded with a flammable liquid and 35               with manifest trains verses the risk of an suggested more stringent packing group-
 tank cars loaded with a flammable                   HHFT. Third, we feel through fleet
 liquid dispersed throughout a train                                                                 based requirements, such as restricting
                                                     management the rail industry will be            use of PG III for crude oil. Other
 display consistent characteristics as to            able to determine the need for cars that
the number of tank cars likely to be                                                                 commenters recommended various
                                                     will be part of an HHFT. This could             packing group-based exceptions not
breached in a derailment. The operating potentially limit the number of
railroads commented that this threshold retrofitted cars. Lastly, as the definition                  proposed in the rulemaking.
would exclude manifest trains and focus of an HHFT in the August 1,                                  Conclusion
                                                                                        2014,
on higher risk imit trains. FRA                      NPRM specifically provided a 20-car                  As with any hazardous material put
                                                     threshold we feel it would be beyond            into transportation by any mode, safety
    P1ease note that the last five accidents listed
occurred in 2015 are not included in our supporting the scope of this rulemaking to change           is the Department’s top priority, and we
analysis for this rulemaking as the information from the applicability of the requirements so       will continue to conduct inspections or
those incidents is preliminary and not finalized.    drastically without notice and comment. bring enforcement actions to assure that
 26666              federal Register/Vol. 80, No. 69/Friday, May 8, 2015 /Rules and Regulations

 shippers comply with their                       Tank cars built to the new standards     Specifications for Tank Cars,
 responsibilities to properly characterize,    as adopted in this final rule will be       Specification M—1002, (AAR
 classify, and package crude oil               designated “DOT Specification 117”          Specifications for Tank Cars). Appendix
 regardless of how it is treated prior to      (DOT—117). In addition, we are adopting E provides requirements for top fittings
 transport. We also continue to work           a performance standard compliance           protection for certain tank car options.
 with various stakeholders to understand       alternative for the design and                 Replacing the current standard for the
 best practices for testing and classifying    construction of new tank cars or            DOT Specification 111 tank car is not a
 crude oil. For further discussion on          retrofitting of existing tank cars          decision that the Department takes
 Crude Oil treatment see “F.                   equivalent to the prescribed DOT            lightly. New construction and retrofit
 Classification” section of this document.     Specification 117 standards. Thus, a        standards will have considerable safety
                                               new or retrofitted tank car meeting the     and economic consequences.
   4. Scope of Rulemaking                      performance criteria will be designated     Consequently, the DOT Specification
      Some commenters requested the            as “DOT Specification 117P” (See            117 tank car would be phased in over
   proposals in the NPRM to be expanded        “Performance Standard” section). in         an aggressive but realistic timeline. We
  beyond just flammable liquids to            addition, we are adopting a retrofit         limit our discussion to new tank car
  include all hazardous materials. This       standard for existing tank cars meeting      standards in this section, but we will
  request covered all topics in the           the DOT Specification 111 or CPC—1232 separately discuss the retrofit standard,
  rulemaking. The operational controls        standard. Thus, a tank car meeting the       performance standard and
  addressed in this rule are aimed at         retrofit standard will be designated as      implementation timeline in the
  reducing the risk and consequences of       “DOT    Specification   117R” (See           subsequent sections. We seek to ensure
  incidents involving rail shipments of       “Retrofit Standard” section). In this       that the car selected will have the
  Class 3 flammable liquids. The analyses, final rule, we are adopting the                greatest net social benefits, with benefits
  data, and relevant factors considered in    requirement    that new  tank  cars         primarily generated from the mitigation
  developing this rule are specific to these constructed after October 1, 2015, used      of accident severity. We are also aware
  materials. Information has not been         to transport Class 3 flammable liquids in of, and account
                                                                                                            for, the large economic
  provided to support expanding these         an  HHVF,    meet either  the prescriptive  effects associated with regulatory
  restrictions to all hazardous materials or standards for the DOT Specification 117 changes of this scale, as tank cars are a
  to justify the associated negative          tank car or the performance standards       long-term investment. For these reasons,
  impacts on rail fluidity and costs.         for the DOT Specification 117P tank car.
                                                                                          we proposed in the NPRM three
                                              Other authorized tank car specifications,
 B. Tank Car Specification                    as specified in part 173, subpart F, will   separate DOT Specification 117 options
                                              also be permitted; however, use of a        and requested comments on each of
     Below is a discussion of the                                                         them.
                                             DOT specification 111 tank car in an
 amendments relating to tank car                                                             The options proposed in the NPRM
                                              HEIFT is prohibited.
 construction and retrofitting. This topic       The prescribed specifications and the were designed to enhance the
 is broken down into four areas: new         performance standards adopted in this        survivability of the tank car and to
 tank car construction, retrofit standard,   rule were developed to provide               mitigate the damages of rail accidents
 performance standard, and an                 improved crashworthiness when               with design features. Specifically, the
 implementation timeline.                    compared to the legacy DOT                   tank car options incorporate several
 L New Tank Car Construction                 Specification ill tank car. In addition      enhancements to increase tank head and
                                             to adopting revisions to part 179 of the     shell puncture resistance; thermal
     In the September 6, 2013 ANPRM,         Hivifi to include the new DOT                protection to extend lading containment
 PHMSA requested comments pertaining Specification 117, 117P and 117R tank                while in a pool fire environment; and
 to new construction requirements for        car standards, we are adopting revisions improved top fitting and bottom outlet
DOT Specification ill (DOT—ill) tank         to the bulk packaging authorizations in     protection during a derailment. Under
cars used in flammable liquid service.       § 173.241, 173.242, and 173.243 to          all options, the proposed system of
See 78 FR 54849. On August 1, 2014,          include the DOT Specification 117,          design enhancements will reduce the
PHMSA, in consultation with FRA,             117P, and 117R tank cars as an              consequences of a derailment of tank
issued an NPRM in response to                authorized packaging for those              cars transporting flammable liquids in
comments submitted to the ANPRM.             hazardous materials. We noted that, as      an HHFT. There will be fewer tank car
See 79 FR45015.IntheNPRM,we                  stated in the introductory text to          punctures, fewer releases from service
proposed three options for newly             § 173.241, 173.242, and 173.243, each       equipment (top and bottom fittings), and
manufactured tank cars that would            person selecting a packaging must also      improved containment of flammable
address the risks associated with the rail consider the requirements of subparts A liquid from the tank cars through the
transportation of Class 3 flammable          andB ofpartl73 oftheHMRandany               use of pressure relief devices and
liquids in HHFTs. Though commenters          special provisions indicated in column      thermal protection systems. The
differed on the applicability of new         (7) of the HMT.                             following table summarizes the tank car
construction requirements for the rail           Lastly, we are incorporating by         options proposed in the August 1, 2014,
transportation of Class 3 flammable          reference, in § 171.7, appendix E 10.2.1    NPRM. Please note the shaded cells in
liquids, all support prompt action to        of the 2010 version of the AAR Manual       the following table indicate design traits
address construction standards for tank      of Standards and Recommended                that are the same for more than one
cars.                                        Practices, Section C—Part III,              proposed option.
                                                                                                                                                                                                                                                                          __




                                                Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                                                                                                                          26667

     I________                                  Table 13: Safety Features by Tank Car Options Proposed in the NPRJVI
                                II        Bottom             1
                                                             I CRL
                                                                             Head           J Pressure I                           Shell                                            lank
                                                                                                                                                                                                      Top fittings                         Thermal
          Tank Car                        Outlet                             Shield                 Relief                   I                             Jacket                                      Protection                         Protection             Braking
                                I                             (lbs.)          .                                                  Thickness                                         Material
                                I         handle                              [ype                  Valve                                                                                                    **
                                                                                                                                                                                                                                           Systcni
                                          Bii
                                           !!                     •r4
                                                                                                                                                           -                                            TIH Top
                                                                                                                                                                                                         fittmgs                      .


                                                                                                                                                                                                       protection
                                                                                                                                                                                                 tjja;agl


                                                                                                                                                                                                                                                                  brakes
     I
     cR-ia r’:4                                                                                                                                                  ..
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                         :                                         .:4                9IA                                                                                                             accident at a

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                                                                                                                         -                                                                       Not required,
                                                                           Optional,
                                                                                                                                                                                                   but when
          DOT                                                                bare                    -           —-::                                                                            equipped per                                                     EOT
     1IIAJOOW1                        Bottom                               tankshalf                                                  .                                                                                                                          device
           -   -
     Specification
                                                                                  .                                  ,           7/16-mch-         Jackets are                                                                                   .

                                                                                                                                                                                                                                          Optional
                                     outlets are             263K            height;                 . “     -   -                 . .                 .
                                                                                                                                                                                                  -      .

                                                                                                                                                                                                 Specifications
                                                                                                                                                                                                                  .


                                                                                                                                                                                                                                                                 ( See 49
                                            -                                 -                                                  minimum            optional
                                                                                                                                                                                       -



      (Currently                      optional                               jacket                  -   c                                                                                       .

                                                                                                                                                                                                 br Tank Cars,                                                    CFR
     Authorized)                                                           tanks full               ‘-           .                                                                                Appendix F                                                       232)
                                                                             height                                                                                                                paragraph
                                                                                                                                                                                                        10.2.1
     *
        For the purposes ofthisfigure, TC-128 Grade B tiormalized steel is used to provide a consistent comparison to
        the proposed options. Section 179.200-7 provides alternative materials which are authorized for the DOT
        Specification I 11.
     **
        Please note that the PHMSA did not propose to require additional top fittings protection for retrofits


   In support of this final action,                                                        into the docket. The final RIA also                                                             of tank cars used in a HHFT subject to
PHMSA and FRA have revised the                                                             describes the baseline accidents, model                                                         the enhanced braking requirements
analysis to account for public comments                                                    inputs, and the assumptions that were                                                           addressed in the ‘Advanced Brake
                                                                                                                                                                                                                          ‘

and further research. The revisions                                                        used to develop the effectiveness rates                                                         Propagation Systems” section of this
resulted in modified effectiveness rates                                                   for each tank car option.                                                           .
                                                                                                                                                                                           rulemaking. The following table lists the
which can be viewed in the final RIA for                                                      Based on the aforementioned, in this                                                         design features of the adopted DOT
this rulemaking, which has been placed                                                     final rule, PHMSA and FRA are
                                                                                                                                                                                           Specification 117 Tank Car:
                                                                                           adopting Option 2 for new construction
                                                                        TABLE 14—ADOPTED DOT—i 17 SPEcIFIcATIoN TANK CAR

                    Tank car feature                                                                                                                                  Description
Capacity                                                                  286,000 lbs. GRL tank car that is designed and constructed in accordance with AAR Standard S286.
Thickness                                                                 Wall thickness after torming of the tank shell and heads must be a minimum of 9An inch constructed from
                                                                            TC—128 Grade B, normalized steel.
 2666$                 Federal Register/Vol. 80, No. 89/friday, May 8, 2015/Rules and Regulations

                                TABLE 1 4—ADOPTED DOT—i 17 SPECIFICATIoN TANK CAR—Continued

             Tank car feature                                                          Description
 Thermal Protection                   Thermal protection system in accordance with § 179.18, including a reclosing pressure relief device in ac
                                        cordance with § 173.31(b)(2).
 Jacketing                            Minimum 11 -gauge jacket constructed from Al 011 steel or equivalent. The jacket must be weather-tight as
                                        required in § 179.200—4.
 Head Shield                          Full-height, ‘/2-inch thick head shield meeting the requirements of § 179.16(c)(1).
 Bottom outlet                        Bottom outlet handle removed or designed to prevent unintended actuation during a train accident.
 Braking                              Braking systems determined by operational conditions, see “Advanced Brake Signal Propagation System”
                                        section.
 lop fittings                         Top fittings protection in accordance with AAR Specifications Tank Cars, appendix E paragraph 10.2.1.
                                        The adopted option excludes the TIH lop fittings protection system.


  In response to tank car-related                  industry (railroads, shippers, offerors,         from a damaged rail car. The rest of the
proposals in the NPRM, we received                 etc.) however it was fully supported by          accidents were from trains travelling from 23
comments representing many differing              the NTSB, concerned public,                       to 48 miles per hour, well above the safe
viewpoints. In sum, we received                    environmental groups, local                      speeds for the new proposed tank designs.”
comments representing approximately                communities, and cities. These groups               The Tulalip Tribes concluded that “[tJhe
                                                                                                    rail cars need to be designed in a way that
172,000 signatories.                              all requested the most robust tank car            the damages caused by a derailment are
                                                  specifications be adopted but gave very          minimized and speed limits are set at or
   TABLE 1 5—C0MMENTER COMPOSI                    little consideration to the costs of such        below the maximum speed that a tanker car
   TION: TANK CAR CONSTRUCTION                    standards.                                        can survive without a spill.
   CoMMENTS                                          Option I is the most robust design                In general terms, the arguments
                                                  proposed; it also is the most costly. The
                                                                                                    against Option I typically noted the
       Commenter type             Signatories     comments of API, Railway Supply                   overall cost of the tank car, weight
                                                  Institute Committee on Tank Cars (RSI— issues associated
Non-Government Organiza                                                                                                  with increased safety
                                                  CTC), and many others in the rail and            features, the lack of a substantial
  tion                                 162,776    shipping industry, do not support
Individuals                              9,004                                                     increase in safety when compared to
                                                  Option;. U.S. Congressman Kurt                   other options, and the inclusion of ECP
Industry stakeholders                      119    Schrader echoed many of these                    braking and TIH top fittings protection.
Government organizations or
  representatives                          140    commenters concerns when he stated               The typical arguments in support of
                                                  that, “Option 1 appears to introduce
                                                                                                   Option; were that it was the most
  Totals                               172,039    controversy, complexity, and additional robust
                                                                                                            tank car option, and the
                                                  expense without any meaningful                   incremental safety benefit is justified
    Overall, the vast majority of                 increase in safety.” In his comments,            given recent accident history.
 commenters support PHMSA’s efforts to            U.S. Congressmen Peter DeFazio stated
 adopt enhanced standards for non-                        the rail industry has major              Option 2
 pressure tank cars used to transport             concerns with the viability and                     The Option 2 tank car has most of the
 flammable liquids. For example, there            effectiveness of ECP brakes and certain          safety features as the Option 1 tank car,
 were nearly 168,700 signatories from the         roll-over protections that were included including the same increase in shell
 general public, NGOs, and government             in Option 1. If the addition of those            thickness, jacket requirement, thermal
 organizations who requested that                 protections appears likely to                    protection requirement, and head shield
PHMSA prohibit the continued use of               significantly delay the rulemaking, I           requirement. However, it does not
the existing legacy DOT Specification            would encourage PHMSA to move                    require TIM top fittings protection and
 111 tank car fleets. There were,                 forward with Option 2.                          the requirement of ECP brake equipment
however, 1,878 signatories that                      While Option I was the most robust            of Option 1. Installation of ECP brake
supported the proposals in the                   tank car proposed in the August 1, 2014, equipment largely makes up the cost
rulemaking. Moreover, there were                 NPRM, the Tulalip Tribes did not                  differential between the Option 1 and 2
approximately 159,000 signatories that           believe the design was robust enough.            tank cars, and the differences in
felt the proposed new tank car standards         Specifically, the Tulalip Tribes noted           estimated effectiveness are also largely a
do not go far enough, including three            that while, “proposed new standards for result of ECP brakes. Proposed tank car
entities representing tribal communities,        rail car designs are an improvement,”            Option 2 received more support than
the Tulalip Tribes, the Prairie Island           they are “far from providing an                  option I from the regulated industry,
Indian Community, and the Quinault               acceptable risk from tank rupture                albeit with a variation in shell and head
Indian Nation. Lastly, there were                allowing leakage or an explosion.” The           thickness for newly constructed tank
approximately 40 substantive comments            Tulalip Tribes continued stating that            cars. Many commenters in the rail
in support of the notion that alignment          the:                                             industry supported this option with an
with Canada is critical for new                     DOT—ill tanks are only safe from              8/16-inch thick shell as opposed to the
construction and retrofit designs, as            collisions for speeds up to 9 miles per hour.    proposed 9/16-inch shell.
well as retrofit timelines. Below, we            Option one only improves the safe speed for          In their comments, U.S. Congressman
discuss the comments specific to each            collisions up to 12.3 miles per hour for the     Dave Reichert and Congresswoman
tank car option proposed in the NPRM.            shell of the tank. Of the thirteen major crude
                                                 oil/ethanol train accidents in the U.S. listed   Lynn Jenkins state “we strongly
Option 1                                         in the August 1, 2014 Federal Register notice encourage PHMSA to consider Option 2
                                                 that this letter is in response to, the proposed identified in the NPRM.” Another
  Proposed tank car Option 1 received            new tank car standard would have only            commenter, Bridger, LLC (Bridger)
the least support from the regulated             prevented one of them from spilling contents stated “Bridger strongly recommends
                     Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                  26669

   that PHMSA promulgate a final rule         the same level of safety as the Option 1          that it thinks is unnecessary. It argues
  adopting the Option 2 or the Option 3       or Option 2 tank cars. This tank car             that /16” is sufficient thickness and that
  tank car design.” GBW Railcar, a railcar    requirement calls for a /i-inch shell,            “the amount of thickness strength that
  manufacturer, asserted “that PHMSA          which is thinner than Option I or                an additional Vi of an inch will afford
  adopt Option 2 as the standard for the      Option 2 tank cars. Similar to the               is negligible.”
  new tank cars.”                             Option 2 tank car, this tank car lacks              As mentioned previously, some
     Amsted Rail Company, Inc. (Amsted        TIH top fittings protection and ECP              commenters proposed an alternative
  Rail) fuiiy supports Option 2 as does the   brake equipment. This standard is the            tank car that would fall somewhere
  State of Minnesota which stated that        tank car configuration PHMSA believes            between the proposed Options 2 and 3.
  “Minnesota and its agencies support the     will be built for HHFT service in                Specifically, in their comments, AARJ
  safety features and performance level       absence of regulation, based on                  API and Hess propose a new tank car
  represented by the Option 2.” RSI—CTC       commitments from one of the largest rail design standard with an 8/ie-inch shell;
  also supports Option 2 for new tank car     car manufacturers/leasers—Greenbrier,            jacket; insulation; full-height head
  requirements but only for those tank        Inc. and the Railway Supply Institute            shields; low pressure actuation/high
  cars transporting crude oil and ethanol.    (consisting of the majority of the tank          flow pressure relief device; bottom valve
     Many commenters were opposed to         car manufacturing industry).46                    operating handle modification; and top
 both Options 1 and 2. AFPM                  Accordingly, PHMSA assumes no costs               fittings protection. In their
 represented many of these sentiments        or benefits from Option 3 for new tank            recommendations, they state, “[t]he
 when it stated that, “numerous              cars. Below are a few selected comments Hess and AAR/API recommendation
 procedural and substantive flaws of         that represent the larger overall support reflects a joint oil and rail industry
 PHMSA’s cost-benefit analysis make it       from the regulated industry.                      agreement that balances the enhanced
 clear that Options I and 2 would cost           In its comments, Honeywell                   safety from increasing shell thickness
 far more and provide little in the way      Performance Materials and                        against the risk that additional carloads
 of additional safety improvements.”         Technologies asserted, “[n]ew car                will be required to move the same
     The arguments against Option 2 were                                                      volume of product due to a decrease in
                                             construction, as proposed with CPC—
 primarily from the NTSB, concerned                                                           useable tank car capacity (maximum
                                             1232, is the most efficient way to
 public, environmental groups, local                                                          weight constraint).”
                                             enhance safety of the fleet.”
 communities, cities, and towns who, as          The Dow Chemical Company (Dow)                   Hess continues its support for Option 3
 stated above, supported Option 1. In        stated that “Dow believes that Option 3          with a thicker shell, stating:
 addition some in the regulated industry     will be the most feasible for the crude             The AARJAPI endorsed standard mirrors
 expressed their opposition for both         oil and ethanol industries.                      PFIMSA’s Options 2 and 3 in all respects,
                                                                              .   .“    Dow
 options I and 2. These entities typically   estimated “that Option 3 will achieve a          except that the design would require an 8/16
 noted the overall cost of the tank car,                                                      inch minimum shell thickness, instead of a
                                             more optimal balance between safety              /;o-inch shell (Option 2) or a /;6-inch
weight issues associated with increased      features (resulting in increased tare
 safet features, and the lack of a                                                            (Option 3) shell. Adopting this standard
                                            weight) and lading quantity, thus                 improves upon the 7/16-inch minimum shell
 substantial increase in safety when        reducing the extra number of cars (or             in Option 3 by reducing the likelihood of a
compared to other options.                  trains) that would need to be put on the release in the event of an incident. At the
    In summary, the arguments in support                                                     same time, it balances the extra protection
of Option 2 were provided by a wide         rails compared to Options 1 and 2. The
                                            size of the Option 3 car also makes it           from the additional steel with the associated
range of commenters from the regulated                                                       reduction in tank car capacity due to the
industry. These commenters supported        less likely to negatively affect loading!        increased car weight. Tank car weight and
exclusion of ECP braking and TIH top        unloading rack dimensions or fall                capacity limitations are a concern with both
fittings protection. Finally, it should be  protection systems.” Further, Dow                of Pf{MSA’s /i6-inch car proposals.
stressed that many in the regulated         “strongly encourages PHMSA to
                                            incorporate into the HMR enhanced                    In opposition, Greenbrier does not
industry supported this option with the                                                      support Option 3 and it noted a fear of
caveat that the shell thickness be 8/16-    specifications—as described in CPC—
                                                                                             having to again revisit this issue in the
inch and not 9/16-inch.                     123 2—for new DOT Specification 111
                                                                                             future if the correct tank car is not
                                           builds for Class 3 materials (other than          selected. Further, the NTSB asserted
 Option 3                                   those covered by HM—251).”                       that the /ie-inch shell and head
   Proposed tank car Option 3 received          U.S. Congressman Rep. Kevin Cramer thickness
                                           supports                                                        is too thin.
 the most support from the regulated                     the  CPC—1232      standard             In summary, the arguments against
 industry for both new construction and    because      the  analysis   leading   to  its    Option 3 were primarily from the NTSB,
 retrofitted tank car requirements and the design has been “fully contemplated.”             concerned public, environmental
 least support from the NTSB, concerned         In its comments, DGAC stated that it        groups, local communities, cities, and
public, eqvironmental groups, local        “encourages Option #3 (Enhanced CPC— towns and a rail car
                                                                                                                       manufacturer.
communities, and cities. Option 3 is       123 2) with jacket and full height
                                                                                            These arguments were primarily based
similar to the jacketed CPC—1232 tank      headshield.”       The    Independent     Fuel   on the desire to choose the most
car standard. The option revises the       Terminal Operators Association also              effective tank car that has the largest
CPC—1232 standards by requiring            supports the adoption of Option 3, but           increase in benefit over the existing
improvements to the bottom outlet          only for newly constructed cars built            fleet. In addition, these commenters
handle and pressure relief valve. It also  after   October 1, 2015. Biggs Appraisal         noted the need to adopt the most
removes options (1) to build a tank car    Service LLC offers mixed support for             appropriate tank car now and avoid
with the alternative (ASTM A516—70)        new tank car requirements. It believes           revisiting the issue in the future. The
steel type but with added shell            this is the option that best fits their          arguments in support of Option 3 were
thickness or (2) to build a tank car with  interest, but this option still has features more widespread amongst
                                                                                                                             the regulated
a thicker shell but no jacket.                                                              industry. This support was primarily
                                               46Greenbrier: http://wwxv.regulations.gov/
   This tank car is a substantial safety                                                    due to the concerns of the weight of
                                           #!docunientDetail;D=PHMSA-2012-0082-OI 55 RSI:
improvement over the current DOT           hftp://www.reguladons.gov/                       tank car, and the lack of the inclusion
Specification 111 but does not achieve     #!documentDetail;DPHMSA-2O12-OO82-O156           of ECP braking and TIH top fittings
  26670               Federal Register / Vol. 80, No. 89 / Friday, May 8, 2015 / Rules and Regulations

    protection. Many in the regulated             of the BOV is currently a regulatory          entire tank car head and can decrease
    industry supported this option with the requirement and is invaluable in an                 the likelihood of a puncture at the top
    caveat that the shell thickness should be accident scenario as it limits the                half of a tank car should a train derail.
    8/16-inch rather than /16-inch. Lastly, the likelihood of a release of lading which         In fact, half of all the punctures that
    regulated community consistently              could potentially result in a pooi fire. A occurred in the derailments considered
    supported either Options 2 or 3.              BOV designed to prevent actuation or          in this rulemaking occurred in the head
   Tank Car Component Comments                    opening in a derailment is a necessary        of the tank. Further, half of the head
                                                  enhancement. In this final rule, PHMSA punctures occurred in the top half of the
      To address comments more                    is requiring other design                     head. As the Transportation Safety
    effectively, we have arranged our             enhancements—such as improved                 Board (TSB) of Canada noted in its’
   discussion by tank car component. The          puncture resistance and top fittings          report on the Lac-Mégantic accident “a
   following is an overview of the                protection—that will reduce the volume full-head shield would have been
   requirements and a discussion of the           of lading loss from a tank car that is       beneficial, as half-head shields protect
   comments in support and opposed to             involved in a derailment. Preventing          only the bottom portion of the head.”
   certain proposed requirements.                 opening of the BOV during a derailment TSB continued that “all but 4 of the 63
   Bottom Outlet Valve Protection                will further reduce the volume lost,          derailed cars exhibited some form of
                                                 thereby mitigating environmental              impact damage (for example, denting or
      The bottom outlet valve (BOV)              damage as well as the likelihood of a
   protection ensures that the BOV does                                                        breach) in the top portion of at least one
                                                 pool fire or the severity of the fire and     head” and about “half of the tank cars
   not open during a train accident. The         environmental damage. We note that an (31) released product due to damage to
   NISB in recommendation R—12—6                 AAR task force has been convened to
   recommends that PHMSA “require all                                                          the tank car               This report gives
                                                 develop a BOV design that would               further credence to the importance of a
   bottom outlet valves used on newly            prevent opening during a derailment.          1/2 inch full-head shield. Given the
   manufactured and existing non-pressure We believe that if a car owner
                                                                                  andlor       overwhelming support, we are adopting
  tank cars are designed to remain closed        offeror chooses not to remove the
   during accidents in which the valve and handle for transportation, an easy to               in this final rule the proposal that all
   operating handle are subjected to impact install design will soon be readily                DOT Specification 117 tank cars must
  forces.” PHMSA and FRA see this issue available at a low cost. Therefore, in this include a one-half inch thick, full-height
  as one that can be cost-effectively                                                          head shield on new construction.
                                                 final rule, for new construction of the
  resolved and in general commenters             DOT—117 tank car, we are adopting as          Thermal    Protection Systems/Pressure
  agreed.                                        proposed in the NPRM that all bottom          Relief Device
      Overall the comments with regard to        outlet handles either be removed or be
  BOV protection were supportive by both designed with protection safety                          Pressure relief devices (PRU) vent
  the regulated industry and public                                                           gases or vapors under high pressure in
                                                 system(s) to prevent unintended               order to reduce the risk of a ruptured
  stakeholders. For example, Earthjustice, actuation during train accident
  the environmental group, stated that it,                                                    tank   car. The HMR limit the allowable
                                                 scenarios.                                    start-to-discharge (STD) pressure of the
  “urge[s] PHMSA to take further steps to
 reduce the risks posed by bottom outlet        Head Shields                                  PRO to approximately one-third of the
 valves.” The regulated industry also                                                         burst   pressure to provide a factor of
                                                    Currently, the HMR do not require         safety against at tank rupture. In a pool
 supports this proposal as is evident in        head shields on tank cars used to
 Growth Energy’s comment that it,                                                             fire, a loaded tank is exposed to extreme
                                                transport Class 3 flammable liquids.          heat which results in both an increase
 “support[sJ CPC—1232 design with PRD           Further, the CPC—1232 standard
 and BOV protection.” Further, R.L.                                                           in tank pressure as the lading is heated
                                                currently in effect only requires half-       and   a reduction in strength of the tank
 Banks & Associates, Inc. (RLBA) also           height head shields for newly
 supports the requirement to develop                                                          material commensurate with the
                                                constructed non-jacketed tank cars. In        increasing material temperature. When a
 better lower product discharge valves          the August 1, 2014 NPRM, PHMSA and tank car is exposed
 and valve protectors and would like to         FRA proposed a range of tank car                                       to a pooi fire the
 see the development of a performance-                                                        PRO will maintain a low pressure in the
                                                options, each of which included a full
 based specification for lower discharge                                                      tank and potentially extend the time
                                                height,           thick head shield.
 openings to ensure that the system                 Conunenters who addressed the issue      before    a tank car would thermally
 meets minimum desired requirements.            in their comments overwhelmingly              rupture.
     Although there was widespread                                                               In the Arcadia derailment there were
                                                support full-height head shield on           three   high-energy thermal failures. In
 support, some comrnenters were                jacketed tank cars subject to the new
 opposed to BOV improvements. Dow                                                            two of the three cases the tank fractured
                                                standard. For example, the NTSB noted        into two pieces and those pieces were
 stated that, “in trying to optimize the       in its comments, “[tJhe top half of tank
bottom outlet valve (BOV) for                                                                thrown     from the derailment area. In the
                                               car heads are subject to damage and           third case, the tank was nearly fractured
 derailments causing the BOV to open,          punctures during train derailments and
which is a somewhat rare occurrence in half height head shields fail to provide              around the entire circumference. The
terms of total number of derailments,                                                        AAR     T87.6 task force considered the
                                               the protection needed.” RLBA supports         possibility that the PROs did not have
design features that make the valve less       the use of full-height head shields for
safe for loading/unloading operations                                                        adequate flow capacity to expel the
                                               the heads. A concerned public                 rapidly    increasing pressure and start to
have the potential to be introduced.           individual, William A. Brake, urged that
we believe it is premature to mandate                                                        discharge pressure rating (STD).
                                               the new standard require tank cars to be Currently,
such BOV enhancements.” This was               “equipped with 1/2 full-head shields.”                      the PROs on tank car used in
generally the minority opinion as most             PHMSA and FRA agree with the              Class 3 service have a STD pressure of
                                                                                             75 or 165 psi. The PRO maintains the
support changes to the BOV.                    commenters who support the inclusion
     PHMSA and FRA disagree with those of a n/z inch full-head shields on new
                                                                                                  Railway Investigation Report R1300054
commenters who oppose improvements constructions of DOT—117 tank cars. A                     http://www.tsb.gc.ca/eng/rapports-reports/rail/
to the current BOV designs. Protection         full-height head shield protects the          201 3/r13d0054/rl 3d0054.asp.
                     Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                               26671

     internal pressure at or below the STD        discharged through the pressure relieve The 100-minute survival time is the
     pressure. When a tank bursts as a result     valve without significant tank pressure     existing performance standard for
     of exposure to fire conditions, the lower increase and considerably reduces the          pressure tank cars equipped with a
     the STD pressure, and therefore internal possibility of dangerous over                   thermal protection system and was
     pressure, the less energetic the failure     pressurization of the tank.                 established to provide emergency
    will be. The PRO in combination with             All three DOT Specification 117          responders with adequate time to assess
    the thermal protection system will            options proposed in the NPRM required a derailment, establish perimeters, and
    provide the appropriate sized pressure        a thermal protection system sufficient to evacuate the public as needed, while
    relief valve and enhance the lading           meet the performance standard of            also giving time to vent the hazardous
    containment of the tank car.                  § 179.18 of the HMR, and must include       material from the tank and prevent an
       A thermal protection system serves to a reclosing pressure release valve.              energetic failure of the tank car.
    prolong the survivability of a tank           Section 179.18 requires that a thermal        With regard to the claim that addition
    exposed to a pool or torch fire by           protection system be capable of              of thermal protection and a jacket could
    limiting the heat flux into the tank and     preventing the release of any lading         have “unintended consequences
    its lading, thereby delaying the increase within the tank car, except release             detrimental to safety..   . such as
    in pressure in the tank exceeding the        through the pressure release device,         making corrosion under the insulation
    STD pressure of the PRD. If a PRO on         when subjected to a pool fire for 100        more difficult to detect” PHMSA and
    a tank car exposed to a pooi fire is under minutes and a torch fire for 30 minutes. FRA disagree. In accordance with the
   the liquid level of the tank, the thermal     Typically, tank cars with thermal            current requirements, the owner of the
   protection system will delay the release protection are equipped with a weather- tank car has to develop a requalification
    of the lading through the PRO. Based on tight 11-gauge jacket. There was general program. This program would include
   the results of simulations using the          support for this requirement as there are an inspection method to check for
   Affect of Fire on Tank Cars (AFFTAC)          existing technologies that can vastly       corrosion to the tank. This is currently
   model, an approved thermal protection         improve the thermal survivability of the done for jacketed and insulated tank
   delays rupture of a tank until most of        existing fleet. We have summarized a        cars.
   the lading has been expelled through          few selected comments below to                 The thermal protection prolongs the
   the PRO. This results in a lower energy       provide some idea of the overall            survivability of the tank by delaying the
   available at the time of rupture.             comments.                                   moment when pressure in the tank
       Most commenters support a                    In its comments, RLBA agrees that        exceeds the start to discharge of the
   redesigned PRO because they consider it thermal insulation around the shell and pressure relief valve, thus delaying the
   as a cost-effective solution that provides a steel jacket over the thermal insulation release of flammable liquid or the
   considerable safety benefit. Some            will be highly beneficial in protecting      occurrence of an energetic rupture.
  commenters argue that for a CPC—1232          the shell from structural thermal            Because all the thermal protection
  compliant tank car, any new                   damage during a derailment fire and          systems meeting the § 179.18
  requirements should be limited to a           over pressure damage due to cargo            performance standard that PHMSA
  redesigned PRO and bottom outlet valve expansion thanks to shell heating.                  studied performed equally well in the
  protection only. Eighty-Eight Oil LLC             While many commenters echoed the         simulations, and because the
  stated in its comments, “Eighty-Eight         above comments, some comrnenters             simulations indicated the importance of
  supports allowing the CPC—1232                such as PBF Energy and the Renewable         a reclosing pressure relief valve,
  jacketed fleet to operate for its full        Fuels Association (RFA) do not think        PHMSA is not requiring a particular
  useful life with a potential retrofit         jacketing is necessary. In its opposition, system, but instead is requiring that a
  limited to an enhanced BOV handle and DGAC “believes that an across-the-                  thermal protection system meet the
  a larger pressure relief valve.” Further,     board requirement for thermal               performance standard of § 179.1$ and
  in their comments, Growth Energy and          protection and jacketing on all             include a reclosing PRO for new
  many others support the CPC—1232              flammable liquid tank cars is not           construction of the DOT—117
  design with PRO and BOV protection.          supported by incident data, and may          specification tank car. Finally, it was
      There are currently high flow            also have unintended consequences            consistently noted that there are existing
 capacity, reclosing PRO available that        detrimental to safety. .   . such as         technologies available that can vastly
 are relatively low cost and generally         making corrosion under the insulation        improve the thermal survivability of the
 easy to install on new or retrofitted tank more difficult to detect.”                      existing fleet. Thus, the thermal
 cars. Based on these facts and comments           PHMSA and FRA disagree with              protection requirements for new
 received in support of reclosing PROs,        commenters opposing the thermal              construction of the DOT—117
 PHMSA is adopting the installation of         protection requirements as proposed in       specification tank car as proposed in the
 reclosing PRO as proposed on new              the NPRM. Furthermore, on April 6,           NPRM are adopted in this final rule.
 construction of DOT—117 specification         2015 NTSB issued emergency
 tank cars.                                    recommendations stressing the                Head and Shell Thickness
      Thermal protection is intended to        importance of thermal protection in             Shell and head punctures result in
 limit the heat flux into the lading when      light of the Mount Carbon, WV and           rapid and often complete loss of tank
 exposed to fire. Thermal protection will Galena, IL derailments. In the train             contents. Minimizing the number of cars
extend the tank car lading retention for       accidents previously discussed,             punctured in a derailment is critical
a certain period of time in pool fire         approximately 10 percent of tank car         because ignited flammable liquids that
conditions. Thermal protection will           breaches were attributed to exposure to      result in a pooi fire that can quickly
prevent rapid temperature increase of         fire conditions. Consistent with current     affect the integrity of adjacent cars and
the lading and a commensurate increase minimum industry standards and                      their ability to contain their lading. In
in vapor pressure in the tank. The            Federal regulations for pressure cars for the August 1, 2014 NPRM, PHMSA and
thermal protection system, by reducing        Class 2 materials, the T87.6 Task Force      FRA proposed a range of head and shell
the heat flow rate from the fire to the       agreed that a survivability time of 100-     thicknesses ranging from /16-inch to
liquid, lowers the liquid evaporation         minutes in a pool fire should be used as 9/;6-inch. Many commenters opposed
rate, allows the evaporated vapor to be       a benchmark for adequate performance. the thicker steel but were willing to
 26672                 Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

    compromise by recommending an 8/re                 explanation for its action including a rational thickness. Specifically, the final RIA for
    inch shell thickness. More information             connection between the facts found and the         this rulemaking provides support for the
   regarding the relationship between                  choice made.                                       effectiveness of the /ie-inch thickness.
   puncture resistance and shell thickness               Commenter Eighty-Eight Oil, LLC,                 In addition, PHMSA and ERA agree
   is discussed in a subsequent section.              used the AAR’s Conditional Probability             with commenters like Greenbrier and
   Below are a few selected comments                   of Release Model (CPR) to support a                the concerned citizens who voiced a
   related to the topic.                              claim that Option 2 and Option 1 (with              desire for the most effective thickness in
      The NTSB, in support of a thicker               a /16th inch shell thickness) are not              preventing punctures. Options 1 and 2
   shell commented that:                              economically justified.                            require DOT Specification 117 tank car
      The minimum standards for new DOT—117              Greenbrier fully supported Option 2,            head and shells to be a minimum of
   tank cars should include: full height ‘/r-inch     particularly, the /ie inch shell. They             inch thick. This final rule also requires
   thick head shields; thermal protection;            believe if this thickness is not adopted,          an 11-gauge steel jacket. The final RIA
   minimum 11-gauge jacket constructed from           PHMSA and FRA will be forced to                    contains a detailed discussion of the
  AlOll steel or equivalent and weather tight;        revisit this problem in the future.                improvement in the puncture force for
  reclosing and properly sized pressure relief        Further, Greenbrier believes that when             Options I and 2 relative to the current
   valves; top fitting rollover protection            adopting a thickness PHMSA and FRA
   equivalent to pressure tank car performance;                                                          specification requirements for a DOT
                                                      should accommodate for a margin of                 Specification 111 tank car. The RIA also
   /ie-inch minimum shell thickness TC—128
  Grade B normalized steel or steel with              safety to avoid a scenario in which the            discusses the respective effectiveness
  minimum equivalent performance standards;           topic is required to be modified in the            rates of various tank specifications
  and enhanced bottom discontinuity                   future.                                            which lead to PHMSA and FRA’s
  protection for outlet valves and removal of            Exxon/Mobil supported Option 2, but decision on a shell and head thickness
  bottom valve handles during transit. The top       with 8/16-inch shell. It suggested that             of /ie-inch.
  half of tank car heads are subject to damage       unlike s/re-inch, the 8/re..inch design has
  and punctures during train derailments and                                                                The combination of the shell
                                                     been fully engineered and can be
  half height head shields fail to provide the                                                           thickness and head shield of Options 1
                                                      implemented immediately. According to
  protection needed.                                                                                     and 2 provide a head puncture
                                                     Exxon the weight increase by shell
      A concerned member of the public,                                                                 resistance   velocity of 18.4 mph. Because
                                                     thickening is 2% from 7/ie-inch to /ie..
  L)mne Campbell, urged the Department               inch and 4% from /16-inch to /ie-inch              the Option 3 tank car has a /ie-inch
  to “Select the most protective tank car            so a lesser thickness would lessen wear            shell, as opposed to the %6-inch shell
  standards, using the latest technology.            on the rail track infrastructure and                in Options 1 and 2, it has a head
  Tank Car Option #1 would require /;6-              reduce weight penalty. It is their                 puncture resistance velocity of 17.0
  inch steel, electronically controlled              understanding that an 8/ie-inch car                mph. it is for these reasons, PHMSA is
  pneumatic (ECP) brakes, and rollover               reduces risk by 81% over legacy DOT—               adopting    the /ie-inch shell thickness as
                                                     111 tank car.                                      proposed in the August 1, 2014, NPRM
  protection.”
      An environmental group, the Sierra                 API (and AAR) also supported a                 for new construction of the DOT—117
  Club, requested that “at a minimum,                modified Option 2, with an 8/;e4flch               specification tank car. See also the final
  DOT must implement the proposed                    shell thickness. They state that the               RJA.
 Pipeline and Hazardous Materials Safety             added weight of a s/re-inch shell                  Top Fittings/Rollover Protection
 Administration (PHMSA) and Federal                  thickness would be offset safety-wise by
 Rail Administration (FRA) design                    the increased number of trains on                      The top fitting protection consists of
  option [Option 1] for tank car safety              tracks. Another commenter, MTL, also               a structure designed to prevent damage
 improvements.” Further, in its                      supports an /ie—inch tank shell under              to the tank car service equipment under
 comments, the Brotherhood of                        Option 2.                                          specified loading conditions. As
 Locomotive Engineers and Trainmen                      AFPM, quoted a 2009 study                       adopted in this final rule, newly
 (BLET) fully support 9/;6-inch thickness.           conducted by Volpe that concluded,                 constructed tank cars will require top
 In its comments, RLBA stated:                       “shell thickness had a relatively weak             fittings consistent with the AAR’s
                                                     effect on preventing releases during               specification for Tank Cars, M—1002,
     RLBA believes that increasing the shell                                                            appendix E, paragraph 10.2.1. In
 thickness from /i to /i is a reasonable             derailments.” In its comments AFPM
 compromise between safety and commercial            “supports the Option 3 specification for general, there was support for some top
 viability of tank cars hauling High-Hazard         new and retrofitted rail tank cars                  fittings protection, but not for the
 Flammable materials. RLBA would not                shipping crude and ethanol in unit                 dynamic top fittings protections meeting
 support a reduction of the proposed                trains of 75 cars or more. The Option 3            a 9-mph performance standard required
 thickness from /i to 8/16 inch but would           specification tank car is an enhanced              for tank cars required for the
support an increase from 9/; to % or larger.        CPC—1232 tank car with a /r” shell and transportation of TIH materials.
The Archer Daniels Midland Company                  other enhanced safety features. The                    Further, some commenters suggested
in its opposition to Option 1 stated:               Option 1 and 2 tank cars with a                    continued development of top fittings
     The NPRM modeling used to estimate             shell provide only negligible safety               protection. PHMSA is aware that the
reduction in risk for increased tank thickness      benefits at a substantial incremental              AAR Tank Car Committee has started a
is substantially flawed, and is inconsistent        cost.”                                             working group to investigate cost
with real-world assumptions on which                    The Hess Corporation stated, “[t]he            effective advancements in existing top
PHMSA has previously relied and has                 AARIAPI recommendation supported                   fittings protections. PHMSA and FEA
actually endorsed on the record in this             by Hess is based on the Option 3 tank              are supportive of these efforts as they
proceeding. This analysis by DOT plainly            car proposed by PHMSA, but increases               would apply to both new and retrofitted
shows that shell thickness or the effect of a
jacket will not result in an appreciable            the shell thickness, of the jacketed tank          tank cars. PHMSA and FRA may
increase in puncture velocity, In this crucial      car from a v/re-inch shell to an 8/ie..inch        conduct further testing and develop
part of the NPRM analysis, by ignoring on the       shell.” In its comments, “Phillips 66              future regulatory requirements if
record, and established DOT puncture                supports the CPC—1232 at 8/re.”                    appropriate. We have summarized a few
velocity methods and studies, PHMSA has                 PHMSA and ERA disagree with those selected comments below to provide
clearly failed to articulate a satisfactory         who do not support a /16-inch                      some idea of the overall comments.
                       Federal Register! Vol. 80, No. 89/Friday, May 8, 2015 / Rules and Regulations                                          26673

      RLBA recommended that the                supported by the regulated community             Therefore, while we disagree that it is
   development of structures to contain        but was supported by those endorsing          “unproven technology,” we do not feel
   and protect the over pressure device be     the most robust tank car possible. Below the effectiveness of the TIH rollover
   continued including recessing the           are a few selected comments to provide        protection is justified when considering
   device in an inverted dome fastened to      some idea of the overall comments.            the cost of such a system and thus, we
   the shell.                                     Dow stated with regard to the              are not adopting such standards in this
      Earthjustice, an environmental group, fittings on Option that, “[oJne top
                                                                  1              rail tank final rule.
   strongly urged “PHMSA to require            car manufacturer indicated at least
   existing tank cars to have additional                                                     Braking
                                              $8,000 additional cost for § 179.102—3
  top-fittings protections (which the          dynamic load roll-over protection.               For comprehensive analyses,
   Canadian proposed rule would do).”         The thicker /1G-inch steel tank shell          conclusions, and regulatory codification
     AAR’s comments on top fittings           indicated in the NPRM may also require on the braking proposal, see “Advanced
  protection were consistent with many        even larger nozzle reinforcement pads at Brake Signal Propagation Systems.”
  other commenters. In particular the         additional cost.”
  AAR noted the importance of top                                                            Supporting Analyses and Conclusions
  fittings protections yet stressed concern      Another opposing commenter,
                                              Greenbrier, stated that it does not              The discussion below provides some
  with overly burdensome top fittings                                                        of the supporting analysis that shaped
  standards. AAR stated it “supports          support  TIH  rollover protection,
                                                                                            PHMSA and ERA’s decisions on the
  enhanced top-fittings protection, but not claiming it is an unproven technology.          requirements for the new construction
  the 9 mph standard.”                        It does, however,  support  AAR
                                              specification M—1002, appendix E,             of the DOT—117 specification tank cars.
     Because there was little substantive                                                   For   further detail and a more
  opposition to the adoption of enhanced     Paragraph 10.2.1 Top Protection.
                                                                                            comprehensive discussion of our
 top fittings protection for new                 ADM   asserted, “PHMSA    assumes          analysis, see the final RIA for this
 construction of the DOT—117                 without any supporting data that top           rulemaking. This section highlights
 specification tank car, PHMSA and FRA fittings will decrease the damage to                 particular areas that were the focus of
 are adopting such requirements              service equipment by 50 percent.”              numerous comments.
 consistent with the AAR’s specification         PHMSA and ERA agree with
 for Tank Cars, M—1002, appendix E,          commenters opposed to the TN style             Puncture Resistance
 paragraph 10.2.1 as opposed to dynamic rollover protection system proposed in                 Effective October 1, 2015, for new car
 top fittings protections meeting a 9-mph Option 1 for new construction of the              construction, the adopted specification
 performance standard.                       DOT—li 7 specification tank car. We            requirements are the same as proposed
     Under proposed Option 1, the DOT        disagree that it is “unproven                  Option 2. See the “Advanced Braking
 Specification 117 tank car would be         technology.” Specifically, this is not a       Signal Propagation Systems” section for
required to be equipped with a top          specific technology but rather a                discussion on ECP braking. Industry is
fittings protection system and nozzle       performance standard. Also, the                 currently building DOT—Ill tank cars
capable of sustaining, without failure, a   standard exists and is used for tank car       constructed to the CPC—1232 standard.
rollover accident at a speed of 9 mph,      transporting Pill commodities. There           The primary difference between Option
in which the rolling protective housing     are thousands of tank cars in operation        2 and the jacketed DOT/CPC—1232 car is
strikes a stationary surface assumed to     that meet this standard. We do not             that the former has a /16 inch thick
be flat, level, and rigid and the speed is  believe this is a matter of technology but shell. Additional required thickness
determined as a linear velocity,            rather a matter of whether a practical         provides improved shell puncture
measured at the geometric center of the     design could be developed, one that will resistance ranging from 7% to 40%
loaded tank car as a transverse vector.     not introduce excessive stresses               depending on the initial speed and
Generally this (TIH top fittings            elsewhere in the tank in the event of a        brake system employed as indicated in
protection) requirement was not             roll-over.                                     the following table:
 TABLE 16—REDucTIoN IN THE NUMBER OF PUNCTURES GIVEN TANK CAR DESIGN, INITIAL SPEED, AND BRAKE SYSTEM,
            WHEN COMPARED TO AN UNJACKETED DOT ill TANK CAR WITH A TWO-WAY EOT DEVICE

                                                                                      Two-way EOT device                          ECP
                               Tank car option                                       40 mph           50 mph            40 mph           50 mph
DOT 117 no jacket                                                                               0                0               2.3              1.4
7/16-inch w/jacket                                                                            5.0              6.5               6.8              7.2
8A6-inch w/jacket                                                                             5.6              7.3               7.3              8.0
9A6-inch w/jacket                                                                             6.2              8.1               7.8              8.7
   Tank cars with a jacket are equipped with a one-half inch thick full height head shield. A two-way EOT device is applied to the end of
car in a train to monitor functions such as brake line pressure and accidental separation of the train using a motion sensor.                the last
device also is able to receive a signal from the lead locomotive of the train to initiate emergency braking from the rear of the The  two-way EOT
                                                                                                                                 train. ECP brakes
are electronically controlled from the locomotive and can be used to initiate braking on all ECP-equipped cars in a train at substantially the same
time. See “Advanced Brake Signal Propagation Systems,” below, for additional discussion.


  Based on these effectiveness and the            Conditional Probability of Release                 Probability of Release (CPR) modeling.
associated incremental cost, PHMSA                                                                   In addition, some commenters
and FRA have chosen the 9/16 thickness              Many commenters who provided data
                                                                                                     challenged PHMSA and FEA modeling
due to its increased puncture resistance.         and analysis in an effort to refute
                                                                                                     as a weakness in our analysis. In July
See the RIA for this final rule for further       PHMSA and FRA modeling data did so                 2014, fRA released a study conducted
analysis.                                         with the use of the Conditional
                                                                                                     by Sharma and Associates entitled
 26674                Federal Register/Vol. 80, No. 89/friday, May 8, 2015/Rules and Regulations

  “Objective Evaluation of Risk Reduction           as a weakness in our analysis. for            “Detailed Puncture Analyses Tank Cars:
  from Tank Car Design & Operations                 example, Dr. Steven Kirkpatrick of           Analysis of Different Impactor Threats
  Improvements” that describes a novel              Applied Research Associates, Inc., in        and Impact Conditions”, file name:Th
  and objective methodology for                     his September 29, 2014, comments to          Detailed Puncture Analyses Tank Cars_
  quantifying and characterizing the                the NPRM, entitled “Review of Analyses       20130321_final.pdf, page 2 (page 20 of
  reductions in risk (or reductions in              Supporting the Pipeline and Hazardous        PDF file) Dr. Kirkpatrick indicates
  puncture probabilities) that resulted             Materials Safety Administration HM—          smaller impactors sizes are
  from changes to tank car designs or the           251 Notice of Proposed Rulemaking,           appropriate.48
  tank car operating environment. This               Technical Repo,” challenged the                “A significant finding from the first
  approach can be used as an alternative            methodology used in the July 2014            phases of the study is that there are
  to CPR when describing tank car                   Sharma & Associates study. These             many potential impact threats with a
  performance. The report is placed in the          comments were combined with the AAR          relatively small characteristic size.
  docket for this proceeding at PHMSA—              and its TTCI comments under docket           When the combinations of complex
  2012—0082—0209 which can be accessed              reference number PHMSA—2012—0082—            impactor shapes and off-axis impactor
  online at www.regulations.gov. The                3378 of this proceeding.                     orientations are considered, many
  following is an excerpt from the study               PHMSA and FRA stand behind the            objects will have the puncture potential
  relevant to this discussion:                      assumptions, conclusions, and                of an impactor with a characteristic size
                                                    methodology used in the Sharma               equal to or smaller than the 6-inch
     The methodology captures several
  parameters that are relevant to tank car          Associates study on puncture resistance.     impactor used in previous tank car
  derailment performance, including multiple        In addition, based on the comments           tests.”
  derailment scenarios, derailment dynamics,        received this methodology was
                                                    modified, where appropriate, to provide         • PHMSA and FRA are confident that
 impact load distributions, impactor sizes,
  operating conditions, tank car designs, etc.,     better results. Specific modifications are   the findings for the number of tank cars
 and combines them into a consistent                discussed below. For a more                  derailed in derailment simulations are
 probabilistic framework to estimate the            comprehensive discussion, see the RIA.       largely consistent with the “spread seen
 relative merit of proposed mitigation                 • The effect of derailment occurring      in actual derailment data.”
 strategies.                                        at different locations throughout the           The methodology used for calculating
    The industry’s approach (CPR) to                                                             the effectiveness of the enhanced tank
 addressing these questions has been to rely        train was included in the calculations.
 on past statistical data from accidents. RA—          • In the NPRM, 12 scenarios were          car design features, is covered in detail
 05—02, a report published by industry, and its    used for each calculated most probable        in the RIA. By combining well-
 more recent derivatives, have been used by        number of cars punctured. The                 established and new research with
 the Association of American Railroads (AAR)        scenarios have been expanded to 18,          recent, directiy applicable derailment
 and other industry partners as a means to         based on 3 track stiffness values, 3          data, this method appropriately
 address the above questions, in so far, as it     friction coefficients, and 2 derailment       considers the unique risks associated
 relates to thickness changes. This approach       initiating force values.                      with the operation of HHFTs. The table
 has shortcomings, such as:                            • Multiple analyses have been
    • Limited applicability—cannot be applied                                                    below provides the calculated
 to innovative designs or alternate operating      conducted in which the impactor               effectiveness rates of the proposed new
 conditions                                        distribution was varied towards either        car specification and retrofit
    • Inconsistency—risk numbers seem to           larger or smaller impactors.                  specification relative to existing tank
 change with the version of the data/model            In addition, the Review of Analyses        cars.
 being used                                        Supporting the Pipeline and Hazardous
    • Based on a limited dataset, that may not     Materials Safety Administration ElM—           TABLE 17—EFFECTIVENESS OF NEWLY
have good representation from all potential        251 Notice of Proposed Rulemaking,
hazards, particularly low probability-high                                                         CONSTRUCTED AND RETROFITTED
 consequence hazards, and car designs/              Technical Report offered some analysis         TANK CAR OPTIONS
features present only in limited quantities in     PHMSA and FRA do not agree with.
the general population of tank cars.               Below, PHMSA and FRA explain why                Effectiveness rates of the PKMSNFRA
    While the statistical data may be useful as    they do not agree with some of the             (NPRM Option 1) relatIve to the following
a general gauge for safety, it does not make       critiques put for the in that technical
a valuable tool for future engineering             report. For a more comprehensive              DOT—ill non-jacketed                        *0.504
decisions, or, for setting standards. Therefore,   discussion see the RIA.                       CPC—l 232 non-jacketed                       0.368
there is a distinct need to develop an                • PHMSA and FRA believe that the           DOT—ill jacketed                             0.428
objective, analytical approach to evaluate the     “ground friction coefficient values”          CPC—i 232 jacketed                           0.762
overall safety performance and the relative
risk reduction, resulting from changes to tank     used in the Sharma modeling analysis          Effectiveness Rates of the Enhanced
car design or railroad operating practices.        are methodical, reasonable, and                 Jacketed CPC—1232 fNPRM Option 3)
The research effort described here addresses       adequate for the purposes of evaluating         relative to the Following
this need through a methodology that ties          the relative performance of alternative
together the load environment under impact         tank car designs and determining the          DOT—i 11 non-jacketed                        0.459
conditions with analytical/test based              effectiveness rates of the proposed tank      CPC—l 232 non-jacketed                       0.31
measures of tank car puncture resistance           car design standards.                         DOT—ill jacketed                             0.376
capacity, further adapted for expected                • PHMSA and FRA disagree with the          CPC—1 232 jacketed                           0.01
operating conditions, to calculate resultant
puncture probabilities and risk reduction in       Review of Analyses’ critique of the              *These figures represent the percent effec
an objective manner. While not intended to         Sharma modeling’s “assumed impactor           tiveness when comparing the DOT—i 17 and
predict the precise results of a given             distribution” and reiterate that the          DOT—li7R against’ the existing fleet in the
accident, this methodology provides a basis        Sharma modeling’s assumptions are             first column. For example a DOT—1i7 is 50%
                                                                                                 more effective than a DOT—i 11 non-jacketed
for comparing the relative benefits or risk        generally consistent with “real life
reduction resulting from various mitigation        observations.” In his critique, Dr.
strategies.                                        Kirkpatrick states that a larger impactor
                                                                                                  4 Detailed Puncture Analyses Tank Cars:

                                                                                                 Analysis of Different hnpactor Threats and Impact
    In addition, some commenters                   size should have been used for the            Conditions” can be found at: http://
challenged PHMSA and FRA modeling                  analysis. However, in his report,             www.fta.dot.gov/eLfb/details/L04420.
                          Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                                       26675

   Weight Penalty                                          weight on rail. Recently, the AAR and FRA              and 286,000 lbs. is more than the weight
                                                           increased that limit to 286,000 pounds, or a           that will need to be added to comply
     Some commenters raised concerns                       23,000 pound increase. Greenbrier’s legacy
   about potential loss of lading capacity                                                                        with this rule. This is true for both the
                                                           263,000 pounds, 30,000 gallon, tank cars
   due to the increased weight of the new                  weigh 68,000 pounds (light weight) and have            current crude and ethanol fleet and new
  tank cars. Concerns were raised about                    a load limit of 195,000 pounds. Greenbrier’s           tank cars (including jacketed and non-
  the loss of capacity of new or retrofitted               proposed tank car of the future with a /16             jacketed CPC—1232 cars) as they would
  tank cars because of the increased                       inch shell weighs 90,500 pounds, has a                 have been placed into this service over
  weight of the tank car resulting from the                volume capacity of 30,000 gallons and a load           the next 20 years in the absence of this
  added safety features. The additional                    limit of 195,500 pounds. In other words,               rule. Therefore, the vast majority of tank
  features that will affect the tare weight                while the weight of the proposed car                   cars will be able to comply with this
  of the tank car include an 11-gauge                      increases by 22,500 pounds, the volume                 rule without realizing any meaningful
  jacket, thicker shell and full height,                   capacity actually increases by 100 gallons             loss in capacity. Consequently we have
                                                           and the weight capacity increases by 500
  1/2-inch thick head shield.                              pounds.                                                not accounted for any capacity losses in
     The majority of commenters in the                                                                            our analysis. The issue of a weight and
  rail and shipping industries cited the                     PHMSA and FRA disagree with                          capacity limitations is addressed in-
  potential loss of lading capacity due to                commenters’ claims that the rule will                   depth in the RIA.
 the increased weight of the new tank                     necessarily reduce the load limit (i.e. the
                                                                                                                  Conclusion
 cars as a central concern related to the                 weight of the lading) of current and
 selection of a tank car specification.                   future crude and ethanol tank cars in                      Based on the previous discussion as
 While most comments from the rail and                    the absence of this rule, and                           well as the RIA, in this final rule,
 shipping industries were concerned                       consequently disagrees with the claim                   PHMSA and FRA are adopting Option 2
 with potential loss of lading capacity,                  that the increased tare weight will                     (see braking section of this rulemaking
 one commenter, Greenbrier, actually                      necessitate an increase in the number of                for discussion of braking systems to be
 refuted the claims of weight issues made                 carloads required to move a given                       included on tank cars) as the DOT
 by a larger portion of the regulated                     amount of product. The maximum                          Specification 117 tank car standard for
 community. It noted that there are                       allowable GRL is 286,000 pounds.                        new construction. The table below
 those:                                                   PHMSA and FRA believe that, for all                     further summarizes details of the
 who suggest that a /16 inch shell thickness              but an inconsequentially small number                   adopted enhanced tank car design
 will significantly lower the volume capacity             of such tank car loads, the difference                  standard (DOT specification 117)
 of the tank car. The legacy DOT—ill tank                 between the current weight of a loaded                  compared with the DOT 1IA100W1
 cars were limited to 263,000 pounds total                car using standard operating practices                  Specification currently authorized.
                                      TABLE 18—SAFETY FEATURES OF DOT SPECIFIcATIoN 117 TANK CAR

      Tan k car          Bottom         GRL      Head shield      Pressure        Shell                         Tank        Top fittings
                      outlet handle     (lbs.)      type         reliet valve   thickness        Jacket        material                                    Btakin g
                                                                                                                            protection
                                                                                                                                             system
 Selected Option:     Bottom out-        286K    Full-height,   Reclosing       9A6-inch    Minimum 11-       TC—128      Must be          Thermal pro-   Depend-
   DOT Specifica-        let handle                ½ inch         pressure        Mm-        gauge jacket       Grade      equipped per      tection       ent on
   tion 117 Tank        removed                    thick head    relief de-       imum.      constructed        B, nor-    AAR Sped-         system in     service
   Car.                 or de-                     shield.       vice,                       from AlOl 1        malized    fications for     accord-
                        signed to                                                            steel or           steel.     Tank Cars,        ance with
                        prevent                                                              equivalent,                   appendix E
                        unin-
                                                                                                                                             § 179.18.
                                                                                             The jacket                    paragraph
                        tended ac-                                                           must be                       10.2.1.
                        tuation                                                              weather-tight.
                        during a
                        train acci
                        dent.
DOT 1J1AIOOW1.        Bottom Out-       263K     Optional;      Reclosing       7A6-inch    Jackets are op-   TC—128      Not required,    Optional       EOT de
Specification (Cur-     lets are                   Bare           pressure        Mm-         tional.           Grade      when                            vice
  rently Author-       Optional.                  Tanks half      relief valve.   imum.                         B, nor-    equipped per                    (See 49
  ized).                                          height;                                                       malized    AAR Speci-                      CFR
                                                  Jacket                                                        steel•.    fications for                   part
                                                  Tanks full                                                               Tank Cars,                      232)
                                                  height.                                                                  appendix E
                                                                                                                           paragraph
                                                                                                                            10.2.1.
  *
   For the purposes of this figure, TC—128 Grade B normalized steel is used to provide a consistent comparison to the proposed options. Section 179.200—7 pro
vides alternative materials, which are authorized for the DOT Specification 111.


2. Retrofit Standard                                     fittings protection and steel grade). If               existing tank cars authorized for
                                                         existing cars do not meet the retrofit                 transportation of ethanol and crude oil
   In the August 1, 2014 NPRM, we                        standard by the adopted                                in PG I and II be equipped with
proposed to require that existing tank                   implementation timeline, they will not                 enhanced tank head and shell puncture
cars meet the same DOT Specification                     be authorized for use in HHFT service.                 resistance systems and top fittings
117 standard as new tank cars, except                    See the “Advanced Brake Signal                         protection. However, PHMSA chose not
for the requirement to include top                       Propagation Systems” section of this                   to include top fitting protections and
fittings protection. In this final rule, we              rulemaking for discussion of braking                   changes in steel grade as part of any
are adopting retrofit requirements for                   systems to be included on tank cars.                   retrofit requirement, as the costliness of
existing tank cars in accordance with                       In Safety Recommendation R—12—5,                    such retrofit is not supported with a
Option 3 from the NPRM (excluding top                    the NTSB recommended that new and                      corresponding appropriate safety
  26676                  Federal Register / Vol. 80, No. 89/Friday, May 8, 2015 / Rules and Regulations

   benefit.° We do apply the retrofit                  timeline, any tank car used in a HHF            considerably different from the
   standard to tank cars carrying all                  must meet or exceed the DOT                     economics of retrofitting the newer and
   flammable liquids in HHFTs, and not                 Specification 117, 117P, or the 117R            costlier CPC—1232 tank cars.” Bridger’s
   just ethanol and crude oil in PG I and              standard. Those tank cars not retrofitted       main concern is that the price of tank
   II. Retrofitted legacy DOT—ill tank cars            would be retired or repurposed. Further,        cars has increased significantly, with a
   will be designated as “DOT—li 7R.”                  if it can be demonstrated that an              CPC—1232 costing 80% more (in 2014)
      In consideration of adopting a retrofit          existing tank car can meet the new             than the DOT—ill (in 2008); and it
   standard, two aspects were considered               performance standards, it will be              noted this is very important because it
   thoroughly: (1) The technical                       authorized for use in a HHFT as a DOT          is not equitable, as its competitors have
   specifications of the retrofit standard             Specificationll7P.                             less costs per tank car and undergo the
   compared to the current fleet                                                                      same operations (using a retrofitted
  composition and (2) the corresponding                 General Retrofit Comments
                                                                                                      DOT-ill).
  retrofit schedule timeline. The timeline                 We received a variety of comments             The comments of Edward D. Biggs III
  for retrofits will be discussed in greater            representing differing viewpoints in          question whether any other
  detail in the upcoming section of this                response to the proposed tank car             modifications (including jacketing) for
  document entitled “Implementation                     retrofit standard. Overall, 45                DOT ill tank cars built with
  Timeline.” In this section, we will focus             commenters supported the retrofit of          normalized steel shells are necessary.
  on the technical specifications of the                existing fleets; 56 commenters opposed           Cargill estimated that it would cost in
  retrofit standard when compared with                  the retrofit of the existing fleets and 41    excess of $45 million to retrofit its
  the current fleet composition.                        commenters asserted the retrofit              existing fleet of tank cars. Cargill
      PHMSA firmly believes that reliance               standards as proposed in the NPRM did expects that retrofitting costs will be
  on HHFTs to transport millions of                     not go far enough. We have summarized $60,000 per tank car, more than twice
  gallons of flammable liquids is a risk                a few selected comments below to              the figure assumed by PHMSA.
  that must be addressed. For the                       provide some idea of the overall                 In its comments, AFPM stated that it
  purposes of flammable liquids, under                  comments.                                     supports “the Option 3 specification for
 the proposals in the August 1, 2014                       E.I. du Pont de Nemours and                new and retrofitted rail tank cars
 NPRM, the legacy DOT Specification                     Company requests that PHMSA,                 shipping crude and ethanol in unit
  iii tank car would no longer be                       “authorize the continued use of existing trains of 75 cars or more. The Option 3
 authorized for use in an HHFT after the                DOT iii tank cars for non-crude and          specification tank car is an enhanced
 dates specified in the proposed retrofit               non-ethanol Clftss 3 flammable service       CPC—1232 tank car with a 7/16” shell
 schedule. In recent derailments of                     for the remainder of their useful life.      and other enhanced safety features. The
 HHFTs, the DOT Specification iii and                  Non-HHFT shipments of crude oil and           Option 1 and 2 tank cars with a 9/16”
 CPC—1232 tank car has been identified                 ethanol also should be permitted in           shell provide only negligible safety
 as providing insufficient puncture                    DOT iii tank cars for the remainder of        benefits at a substantial incremental
 resistance, being vulnerable to fire and              their useful life.”                           cost.”
 top-fittings damage, and they have                        Eighty-Eight Oil, LLC asserted its           The RSI—CTC supported retrofits in
 bottom outlet valves that are can be                  belief that “the CPC—1232 jacketed fleet accordance with Option 3 for all PG I
 inadvertently opened in accident                      [should be permittedl to operate for its      and PG II flammable liquid tank cars.
 scenarios. These risks have been                      full useful life with a potential retrofit    But it supports only the addition of PRV
 demonstrated by recent accidents of                   limited to an enhanced BOV handle and and BOV protection at requalification
 HHFTs transporting flammable liquids.                 a larger pressure relief valve.”              for Class 3, PG ff1 tank cars. RLBA
     In the August 1, 2014, NPRM, we                       PHMSA sought to limit the                 echoes RSI—CTC with its
 proposed to limit continued use of the                unnecessary retirement or repurposing         recommendation that existing cars be
DOT Specification iii tank car to non                  of tank cars while implementing               retrofitted with the latest design of self-
HHFTs. In addition, we proposed to                     meaningful safety improvements on the closing high capacity over pressure
authorize the continued use of legacy                  existing fleet. This final rule requires      devices that meet the same standards as
DOT Specification iii tank cars in                     the tank cars used in an HHFT to be           new car construction.
combustible liquid service. The risks                 retrofitted to specifications equivalent to       In addition to the previous general
associated with flammable liquids, such               Option 3 in the NPRM. This enables             comments on the retrofitting of existing
as crude oil and ethanol, are greater                 tank car owners to realize the full useful tank cars, the following notable issues
than those of combustible liquids. The                life of an asset. The final rule does not      were frequently cited when discussing
requirements proposed in the NPRM                     impact existing DOT—ill tank cars used the topic. In the following, we discuss
were not applicable to HHFTs of                       in Class 3 flammable service that are not comments on each issue, concerns
materials that are classed or reclassed as            a part of an HHFT.                            raised and our response to the
a combustible liquid. Existing HMR                        In support of retrofitting existing       comments.
requirements for combustible liquids                  fleets, GBW noted that:
will not change as a result of this final                                                           Shop Capacity
                                                          GBW will be making substantial capital
rule. Thus, except for those tank cars                investments and will hire, train, and certify     Numerous commenters asserted that
intended for combustible liquid service,              400 new employees over the next year,         shop capacity is insufficient to retrofit
after the established implementation                  creating jobs throughout the United States.   existing fleets in a timely and cost-
                                                      Moreover, GBW is making its capital           effective manner or in accordance with
  4The cost to retrofitting a tank car with the       investments now to expand retrofit capacity   the schedule proposed in the NPRM.
proposed top fitting protection is estimated to be    and conducting hiring activity in advance of  Specifically, RSI—CTC noted that there
$24,500 per tank car, while the comparable            afinalnile.
effectiveness rates are low. However, the                                                           are tiers of retrofitting that vary based
effectiveness rates were calculated assuming cars         In its comments, Bridger noted their      on complexity. For example, retrofitting
punctured would release all lading through the        economic concerns over an overly              a legacy non-jacketed DOT—ill is a
breach regardless of top fittings damage. With
improved puncture resistance, lading loss through     burdensome retrofit standard, noting          much more intensive process than
damaged top fittings will become a more significant   “the economics of retrofitting the older      retrofitting the most recent jacketed
point of release.                                     and cheaper DOT—ill tank cars is              CPC—i232. RSI—CTC asked in their
                      Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                           26677

   comments that PHMSA and FRA                         and supply of the materials needed for        distinguishing the cars that need a major
   consider the complexity of these                    the components of the tank cars (i.e.,        versus minor retrofit leads PHMSA to
   retrofits and the shop capacity to                  steel plates and sheets, new valves, etc.). conservatively assume all DOT legacy
   complete them in our analysis. We agree PHMSA and FRA also understand the                         tank cars will require the replacement of
   and have since revised our analysis                 limitations of the existing labor force.      the trucks and wheel sets.
   accordingly. See RIA. Below are some                For example, a skilled labor force
   additional comments that represent                  (welders, metal workers, machinists,          RepurposefRetirement
   issues related to shop capacity.                    etc.) must be hired and trained to               In the August 1, 2014 NPRM, we
       In its comments, Eighty-Eight Oil,              perform the necessary retrofit work           proposed, except for top fittings
   LLC stated, “[a]ccording to the                     correctly and safely. We agree with           protection, to require existing tank cars
   regulatory impact analysis in the NPRM many of the issues raised by                               that are used to transport flammable
   (page 89), PHMSA suggests that 66,185              commenters and have revised our                liquids as part of a HHFT to be
   cars can be retrofitted over 3 years, or           analysis with regard to the retrofit           retrofitted to meet the selected option.
   22,061 cars per year. This estimate is             standard.                                      Those not retrofitted would be retired,
   considerably higher than the                                                                      repurposed, or operated under speed
  AliTranstek study estimate of 3,000 per             Trucks                                         restrictions for up to five years, based on
  year or RSI’s estimate of 5,700 per year               Many public commenters raised               the packing group assignment of the
   (after a one year ramp up period).”50              technical issues and potential                lading being transported. The following
  Eighty-Eight Oil, LLC continues,                    implementation problems from an               commenters had varying opinions about
   “during this timeframe, thousands of               industry-wide retrofit for HHFTs. For         this assumed strategy.
  new cars were manufactured to handle                example, the API public comment noted             The RSI—CTC asserted that the
  the growing business but there has not              issues with the extra weight on stub sills minimum early retired tank cars rather
  been a repair facility of any significant           and tank car structures, and issues with than retrofit will be approximately 28%
  size put into service. The costs of                 head shields and brake wheels/end             (25,600 tank cars). However, the AAR
  retrofitting existing cars will cause               platforms, and issues with truck              supports the repurposing of legacy tank
  many cars to be retired rather than                 replacement. Below is a list of               cars to Canadian oil sands service.
  retrofit thus adding to the shortage of             comments that represent concerns over         Eastman Chemical Company       “.   .  also
                                                                                                                                            .


  cars in the network.”                               how the retrofit standard will affect the     agrees with PHMSA’s proposal to retain
       Honeywell Performance Materials and existing trucks of tank cars.                            the exception that permits flammable
  Technologies stated that the “backlog                  Amsted Rail believes PHMSA                 liquids with a flash point at or above 38
  for present mechanical needs and                    underestimated the cost of a new car          °C (100 °F) to be reclassified as
  requalification on all tank cars will be            and, in its comments, lists the prices for combustible liquids and allow existing
  increased.” In addition a report                    several components, suggesting $20,000 DOT Specification lii tank cars to
  commissioned by RSI and authored by                 for complete car set of new trucks            continue to be authorized for these
 Braille noted that shop capacity could               versus the $16,000 amount used by             materials.”
 be a considerable issue when                         PHMSA.                                           The Massachusetts Water Resources
 determining a retrofit standard.51 A                    It is RSI—CTC’s understanding that         Authority, “supports the requirement of
 similar report commissioned by API and modifications will add 13,000 pounds to Packing Group Ill in the enhanced car
 authored by TFC international noted                  cars; that trucks will require                standards as this provides consistency
 similar concerns.52 API also expressed               modification from 263,000 to 286,000;         in providing packaging appropriate to
 implementation concerns about shop                   and that new wheel sets will cost             handle all flammable liquids. These
 capacity, the current backlog of car                 $10,000 per car; and that new roller          flammable liquids pose a safety and
 orders, and engineering capacity. Both              bearings, axles, and adaptor possibly          environmental risk regardless of the
 these reports are discussed in the final            will be added to the car. In its               packing group.”
 RIA but it should be noted both these               comments, Amsted Rail Company, Inc.               Bridger, does not agree with PHMSA’s
 reports based their findings on the 5               also asserted that trucks will need            assumption that DOT—ill jacketed and
 year retrofit schedule which has since              replacement on 29,302 ethanol tank cars CPC—1232 jacketed cars would be
 be revised.                                          (pre 2011), 28,300 crude oil tank cars       repurposed for use in Canadian oil
     In general, commenters expressed                 (pre CPC—1232), and 36,000 tank cars in sands service, as it requires heating coils
 concern about the availability of                    “other” Class 3 flammable liquid             and insulation in the tank car.
 materials, the availability of skilled              service.                                          The Independent Petroleum
 labor, and facilities to conduct the                    PHMSA and FRA believe that the            Association of America (JPAA) stated in
 needed procedures involved in a                     majority of tank cars constructed in the      its comments, “PHMSA’s timeline for
retrofit. PHMSA and FRA considered                   last decade are equipped with trucks,         DOT—ill railcars is predicated on the
these and other concerns when                        save a particular sized bearing and           assumption that DOT—ills now in use
 determining a retrofit standard.                    bearing adaptor, that are rated for           for PG I or PG II hazmat will be moved
     PHMSA and FRA understand the                    286,000 pound gross rail load service.        into PG III service. Even heavy Canadian
concerns with regard to shop capacities. Further, the AAR’s Engineering and                        crudes once mixed with diluents and
Specifically, concerns about the time                Equipment Committee rules require             shipped as “dilbit” or “railbit” are not
that will be required to acquire                     replacement of trucks (bolster and side       expected to qualify as PG III materials,
additional resources needed to build                 frames) and wheel sets when the gross         and therefore will not qualify as a home
and ramp up facilitates to conduct                   rail load of a rail car is increased from     for the displaced DOT—ill railcars.”
retrofits, as well as the manufacturing              263,000 to 286,000 pounds. As a result,           DGAC asserted, “[t]here is an
                                                     what would otherwise be a relatively          assumption that all Legacy DOT 111
    5OJ should be noted that this estimate was later small cost of approximately $2,000 to         Jacketed and CPC—1232 Jacketed tank
revised to 6,400 units per year by RSI—CTC.
    51
                                                     replace the bearing and adaptor, car          cars would be assigned to Canadian oil
           httpil/www.regulations.gov/#Idocument
Detail;D=PFIMSA-2012-0082-341 5.                     owners are required to replace the            sands; however, under Transport
    52See http://www.regulations.gov/#!document      trucks and wheel sets at the cost of          Canada, these cars may also have to be
Detail;D=PHMSA-2012-0082-341 8.                      $24,000/truck. The paucity of data            retrofitted based on regulations.”
  2667$              federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

      Growth Energy suggests the shift to         PHMSA and FRA understand the                nearly fractured around the entire
   Canadian oil sands service is greatly       concerns of the commenters and note            circumference. In addition, NTSB
   overestimated, and underestimates the       the intent of the rule was not to require      restated the importance of thermal
   costs of doing so (requires retrofit for    adding thickness to existing tank cars,        protection in their April 6, 2015
  heating coils), costs of moving cars, and    but rather to improve the puncture             Recommendations. These
  the costs of moving leases. According to     resistance to the existing cars to be          recommendations, R—l5—14 and 15,
  Exxon Mobil Corporation, “[tjhe DOT          equivalent to a tank with a thicker shell.     requested that PHMSA require that all
  proposal to move DOT—ill tank cars to        As it would not be technically feasible        new and existing tank cars used to
  oil sands service is not feasible as the     to add ‘/ath of an inch of steel to a /;6-     transport all Class 3 flammable liquids
  diluted bitumen to be shipped is PG I        inch shell and head when retrofitting a        be equipped with thermal protection
  or II and carried predominantly in unit      tank car, PHMSA will permit existing           systems that meet or exceed the thermal
  trains. There is limited projected growth    DOT—ill fleets to be retrofitted at            performance standards outlined in Title
  in other, non-flammable products             currently authorized shell thicknesses         49 Code of Federal Regulations
  moved by rail.”                              (/16-inch].                                    179.18(a) and be equipped with
     In their comments, Earthjustice,                                                        appropriately sized pressure relief
  Forest Ethics, Sierra Club, NRDC, and         Top Fittings Protection
                                                                                             devices that allow the release of
  Oil Change International asserted, “the          The NTSB believes that any retrofits      pressure under fire conditions to ensure
  proposed rule would allow the DOT—            should have top fittings protection,         thermal performance that meets or
  ill and other unsafe tank cars to be          citing incidents in Cherry Valley, IL and
  shifted to tar sands service. The rule is                                                  exceeds the requirements of Title 49
                                               Tiskilwa, IL due to where those tank
 thin on analysis to support this shift.                                                     Code of Federal Regulations 179.18(a),
                                               cars breached. NSTB stated they will
  However, on its face, it would be                                                          and that minimizes the likelihood of
                                               not consider Safety Recommendation R—
 indefensible to allow unsafe tank cars to                                                   energetic thermal ruptures.
                                                12—5 as “acceptable” unless top fittings
 be used to ship tar sands bitumen             protection is included in the retrofitting       Jackets and thermal protection are
 diluted with chemicals that contain           requirements.                                 critical in the survival of a tank car
 volatile components. Accidents                    PHMSA is aware that the AAR Tank          experiencing a thermal event. Thus,
 involving diluted bitumen are notorious       Car Committee has started a task force        thermal protection is adopted as
 for being impossible to clean up.”            to evaluate potential advancements in         proposed. However, we do note that the
    Based on these and other comments,         existing top fittings protections. PHMSA new regulation provides flexibility for
 PHMSA and FRA acknowledge that the            and FRA urge industry to consider             innovation to meet the performance
 assumption of no retirements and the          enhancements that will apply to both          standard.
 level of repurposing needed to be             new and retrofitted tank cars. PHMSA          Steel Retrofit
 revisited. In response to these               and FRA are not requiring such
 comments, PHMSA and FRA have made            protection in a tank car retrofit in this         Much like the argument against
 adjustments to their analysis, and the        final rule. While we do believe this is      requiring added thickness to retrofitted
 final RIA to account for retirements as      an important safety feature, it is not cost cars, many posed the relevant concern
 opposed to shifting of tank cars to tar      justified.                                    that a retrofit standard that called for a
sand service.                                                                               change in the type of steel used would
    Many of the comments with regard to       Thermal Protection Systems/Pressure           be technically infeasible and result in
new construction also apply to the            Relief Device                                 the scrapping of existing tank cars. The
retrofit specifications. Below PHMSA              In its comments, the Dow stated, “[it]    RSI—CTC requests that non-normalized
and FRA discuss the various                   does support thermal protection for           steel tank cars should be authorized for
components of a retrofit tank car             crude oil and ethanol.   .   .Dow suggests retrofit as there are 47,300 DOT—Ill
specification (see also new construction      that PHMSA consider non-CPC—1232              tank cars currently in service.
as many of those comments apply to            cars to be a higher retrofitting priority.” Normalizing the steel after the tank car
both new and existing tank cars). The         Dow continues, “[hjowever, addition of has been constructed is impractical. The
below discussion highlight those              insulation and a jacket to existing DOT      requirements to this would create
comments that were focused on the             Specification lii cars may introduce         considerable cost which would not
retrofit standard.                            Plate clearance issues, so not all existing increase the ultimate strength of the
                                              cars will be able to be retrofitted.         steel.
 Shell Thickness
                                              Additionally, methods for attaching              Normalization does change the
   Many commenters posed a concern            heavier jackets to prevent shifting          mechanical properties of the steel;
 that a retrofit standard that called for an during train handling will require            specifically, a slight improvement in
 increased thickness would be                 engineering analysis; finite element         upper shelf toughness and a shift to a
technically infeasible and result in the     analysis of the stub sill design may also     lower ductile-brittle transition
scrapping of existing tank cars. For         be necessary to determine if existing         temperature. PHMSA and FRA
instance, in its comments, Cargill           designs are capable of handling the           understand the concerns of the
asserted that it is not feasible to retrofit increased weight. Estimated cost for all     commenters and note the intent of the
an existing tank car built with a /m-inch the engineering and AAR approval                rule was not to require a change to the
steel shell to conform to a /16-inch shell application fees is $85,000 per                materials specification to existing tank
requirement. RSI—CTC also stated that        certificate of construction, as per a        cars, but rather to improve the puncture
Option 1 is not feasible for retrofits.      major rail supplier.”                        resistance to the existing cars to be
Further, GBW “does not believe it is             PHMSA and FRA do not agree. As           equivalent to a tank constructed of the
practical or economically feasible to        stated above, in the Arcadia derailment, referenced steel. PHMSA and FRA
bring existing tank cars fully up to the     there were three high-energy thermal         believe that should a car owner decide
proposed standards for new tank cars         failures. In two of the three cases, the     to retrofit a tank car, the owner must
particularly with respect to the s/is inch tank fractured into two pieces and those consider the material properties of
shell thickness proposed for the Option pieces were thrown from the derailment normalized steel on the design of the
1 and Option 2 tank car.”                    area. In the third case, the tank was        retrofit.
                           federal Register/Vol. 80, No. 89/friday, May 8, 2015/Rules and Regulations                                                              26679

 However, tank cars otherwise                           Conclusion                                                  and will be designated ‘DOT      ‘


 conforming to the HMR and                                                                                          Specification 117R.” The retrofit
 manufactured of non-normalized steel                      Except for top fittings protection and                   requirements include the addition of an
 may remain in service when retrofitted.                steel retrofit, retrofits will conform to                   11-gauge jacket, full height head shield,
                                                        Option 3, subject to brake requirements                     and a modified bottom outlet
                                                        that depend on the tank car’s service,                      configuration.
                           TABLE 19—SAFETY FEATURES OF RETR0FIHED DOT SPEcIFIcATIoN 117R TANK CAR

                 Bottom outlet han-   GRL       Head shield      Pressure          Shell                                         Top fittings    Thermal pro-
    Tank car                                                                                   Jacket       Tank material                         tection sys-     Braking
                        die           (lbs.)       type         relief valve    thickness                                        protection            tern

 Selected op-    Bottom outlet han-    286K    Full-height,     Reclosing      6-iflCh      Minimum ii-     Authorized          Not required,    Thermal pro-     Dependent
   tion: DOT       die removed or                1/2-iflCh        pressure       mm-          gauge          steel at the         but when         tection sys-    on serv
   Specifica-      designed to pre-              thick head       relief         mum.         jacket con-    time of              equipped         tern in ac-     ice.
   tion 117R       vent unintended               shield,         valve.                       structed       construc-            per AAR          cordance
   retrofitted     actuation during                                                           from           tion.               Specifica-        with
   tank car.      a train accident.                                                           AtOll                              tions for         §179.18.
                                                                                              steel or                           Tank Cars,
                                                                                              equivalent,                        appendix E
                                                                                              The jacket                         paragraph
                                                                                              must be                             10.2.1.
                                                                                              weather-
                                                                                              tight.
 DOT iii         Bottom outlets are    263K    Optional;        Reclosing      7A6-inch-    Jackets are     TC—728              Not required,    Optional         EOT de
  A100WI           optional.                    bare tanks       pressure        mm-          optional.       Grade B,            but when                         vice
  Specifics-                                     half height;    relief          imum.                        normalized          equipped                         (See 49
  tion (cur-                                    jacket           valve.                                       steel.              per AAR                          CFR
  rently au-                                    tanks full                                                                       Specifics-                        part
  thorized).                                    height.                                                                          tions for                         232).
                                                                                                                                 Tank Cars,
                                                                                                                                 appendix E
                       ,                                                                                                         paragraph
                                                                                                                                  10.2.1.
  *For the purposes of this figure, TC—128 Grade B normalized steel is used to provide a consistent comparison to the proposed options. Section 179.200—7 pro
vides alternative materials which are authorized for the DOT Specification 111.


3. Performance Standard                                Thermal Protection Systems/Pressure                      used in HHFTs in § 173.241, 173.242,
   The prescribed performance standards                Relief Device                                            and 173.243. This timeline was based
 adopted in this rule were developed to                   The tank car must be equipped with                    on the packing group.requirements in
 provide improved crashworthiness                      a thermal protection system. The                         the HMR. The HMR require both the
when compared to the legacy DOT—ill                    thermal protection system must be                        proper classification of hazardous
 tank car and to foster innovation in the              designed in accordance with § 179.18                     materials and the selection and use of
 development of tank cars. In the NPRM,                and include a reclosing PRD in                           an authorized packaging. Packing
PHMSA and FRA proposed a                               accordance with § 173.31 of this                         groups assign a degree of danger posed
performance standard in which the                      subchapter.                                              within a particular hazard class. Packing
design, modeling and testing results                                                                            Group I poses the highest danger (“great
would be approved by the Associate                     Bottom Outlet                                            danger”) and Packing Group III the
Administrator for Railroad Safety/Chief                   If the tank car is equipped with a                    lowest (“minor danger”). In the NPRM,
Safety Officer at FRA.                                 bottom outlet, the handle must be                        PHMSA proposed a timeline in
   Accordirgly, the final rule requires                removed prior to train movement or be                    accordance with the following table:
that the tank car design must be                       designed with a protection safety system
approved, and the tank car must be                     to prevent unintended actuation during                        TABLE 20—TIMELINE FOR CONTINUED
constructed to the conditions of an                    train accident scenarios.                                      USE OF DOT SPECIFICATION 111
approval issued by the Associate                                                                                      TANK CARS IN HHFT SERVICE
Administrator for Railroad Safety/Chief                Top Fittings Protection
Safety Officer, FRA. The performance of                  Tank cars tanks meeting the                                  Packing group
                                                                                                                            .                        DOT—ill not
                                                                                                                                                    authorized after
the tank car is subject to the following:              performance standard must be equipped
                                                       per AAR Specifications Tank Cars,                        I                               October 1, 2017.
Puncture Resistance
                                                       appendix E paragraph 10.2.1 (IBR, see                    II                              October 1,2078.
   The tank car must be able to                        § 171.7 of this subchapter). A tank car                  III                             October 1, 2020.
withstand a minimum side impact                        that meets the performance
speed of 12 mph when impacted at the                   requirements will be assigned to “DOT                      As discussed in the August 1, 2014
longitudinal and vertical center of the                Specification 117P.” Builders must be                    NPRM, PHMSA and FRA were
shell by a rigid 12-inch by 12-inch                    able to demonstrate compliance with                      confident the risk-based approach
indenter with a weight of 286,000                      the performance standards and receive                    proposed provided sufficient time for
pounds. Further, the tank car must be                  FRA approval prior to building the cars.                 car owners to update existing fleets
able to withstand a minimum head                                                                                while still prioritizing the highest
impact speed of 18 mph when impacted                  4. Implementation Timeline
                                                                                                                danger material. Specifically, given the
at the center of the head by a rigid 12-                In the August 1, 2014 NPRM, we                          estimates of the current fleet size,
inch by 12-inch indenter with a weight                proposed a risk-based timeline for                        composition, and production capacity of
of 286,000 pounds.                                    continued use of the DOT—ill tank car                     tank car manufacturers expressed by
  26680              Federal Register/Vol. 80, No. 89/friday, May 8, 2015 /Rules and Regulations

   comments submitted in response to the           The Grain Processing Corporation                Retrofit Timeline (Length and
   ANPRM, we were confident that a two           requests that, “when setting the timeline         Approach)
   year phase-in of packing group I              for compliance, please work closely
   flammable liquids would not result in a       with car builders to have an accurate               Overall, commenters agree that
   shortage of available tank cars intended      understanding of when new cars can               retrofits must occur, but the suggested
  for HHFTs. This strategy would have            reasonably be made available to the              timelines range from zero to ten years.
  also provided additional time for tank         market.” This commenter further stated,          In addition, RSI and API commissioned
  cars to meet the DOT Specification 117         “current conditions indicate that it will        separate reports that evaluated the
  performance standard if offerors were to      take much more than three to five years           NPRM’s proposed timeline and
  take steps to reduce the volatility of the    to replace non-compliant cars in the              demonstrated the potential detrimental
  material. Nevertheless, we did seek           market.”                                          effects of an overly aggressive timeline.
  comment as to whether the proposed                                                              PHMSA has summarized and discussed
  phase-out period provided sufficient             The American Chemistry Council                 the differing viewpoints on the retrofit
  time to increase production capacity          (ACC) stated that tank car shop capacity          schedule.
  and retrofit existing fleets.                 will not support PHMSA’s regulatory                  Generally, the comments of citizens,
     As proposed in the August 1, 2014          timeline and some ACC members have                environmental groups, tribal
  NPRM, DOT Specification 111 tank cars         reported waits of approximately two               communities and local government
  may be retrofitted to DOT Specification       years from when a tank car is ordered             either supported the timeline as
  117 standards (as a DOT Specification         until the time it was delivered. The ACC          proposed in the NPRM or focused on an
  117R), retired, repurposed, or operated       also relayed RSI information stating that         even more aggressive timeline than
 under speed restrictions. Further, we          the current order backlog is about                proposed. Some commenters even
 proposed limiting the future use of DOT        53,000 cars.”                                     suggested the immediate ban of DOT
 Specification 111 tank cars only if these         The Dakota Gasification Company                111 Specification tank cars. For
 tank cars are used in a HHFT. Under the        asserts that:                                     example, two tribal communities, the
 proposal, DOT Specification 111 tank                                                             Quinault Indian Nation and the Prairie
 cars would be able to continue to be              PHMSA should consider how an influx of
                                                a very large number of DOT 111 cars for           Island Indian Community, represented
 used to transport other commodities,                                                              the views of many citizens,
 including flammable liquids, provided          retrofit in a market already seeing backlogs
                                                for routine maintenance work will permit           environmental groups when they
 they are not in a HHFT. In addition, all                                                          stressed the need for an immediate and
retrofitted tank cars (including the            shippers to meet the proposed timelines in
                                                the nile. The rulemaking states there are          “total phase-out of the DOT 111.”
DOT—ill tank cars meeting the CPC—                                                                Amtrak encourages PHMSA to require
                                                80,500 DOT 111 cars and 17,300 CPC 1232
 1232 standards) are authorized for use                                                           the use of the selected option on as
for their full service life. This proposal      cars in Flammable Service or a total of 97,800
                                                cars potentially in need of some form of          aggressive a schedule as manufacturing
provided tank car owners and rail                                                                 and retrofit capabilities permit.
                                               retrofit. A record number of tank cars have
carriers with the opportunity to make
operational changes that focus on the          been produced the past few years.                     As demonstrated in the final RIA,
                                               Retrofitting this number of cars while             PHMSA and FRA do not believe a more
greatest risks and minimize the                keeping up with yearly maintenance and
associated cost impacts. In response to                                                           aggressive fimeline than what was
                                               standard repairs will be unattainable within       proposed in the NPRM is achievable or
the proposed amendments regarding the          the proposed Umeframe given the current
rdtrofit timeline, we received a variety                                                          prudent. In fact, an overly aggressive
                                                shop system.                                      timeline could have a negative impact
of comments representing differing
viewpoints.                                                                                       on safety or the environment. See the
                                                   In addition a report commissioned by          environmental assessment for this
  Harmonization                                 RSI and authored by The Braille Group            rulemaking.
                                                noted that there could be considerable
    Commenters state that it is essential       issues with a five year retrofit standard          The comments of the regulated
 that the U.S. position on retrofit             when considering production levels,              industry regarding the implementation
 timelines is consistent with Canada’s.         fleet size and the predicted growth of           timeline varied, but a general consensus
 PHMSA has been in close coordination          both.53 A similar report commissioned             for a ten-year time frame emerged. The
 with Transport Canada to ensure the           by API and authored by ICF                        regulated community was generally
 seamless transition with regard to the        International noted similar concerns.54           consistent in noting that the timeline
 retrofit of the existing North American       API also expressed concerns about shop            should account for both the tank car
 DOT Specification lii fleets. To that         capacity, the current backlog of car              type and the packing group of the
 end, PHMSA recognizes the importance          orders, and engineering capacity. Both            material.
 of harmonization and does not foresee         the RSI and the API reports are                     In addition to comments on the
 any issues at this time with cross-border     extensively discussed in the final RIA            timeline, PHMSA and FRA received
 retrofit implementation timelines.            but it should be noted that both these            many comments on our packing group
Retrofit Capacity                              reports based their findings on the               based approach. Specifically, many in
                                               NPRM’s five-year retrofit schedule                the regulated community noted that
   The capability of the industry to                                                             while the proposed method is risk
handie retrofit tasks and requirements         which has since been revised.
                                               Regardless, based on the comments                 based, it only accounts for the risk of the
within the proposed timeline was a                                                               material itself and not the risks posed by
topic of great interest among                  received, PHMSA and FRA have
                                               modified our analysis and revised the             the various types of tank cars used in
commenters. Many questioned PHMSA                                                                HHFTs. The general consensus was that
and FRA’s assumptions regarding the            final RIA to account for changes in
                                               retrofit capacity.                                a retrofit timeline that accounted for the
retrofit capacity of the industry. The                                                           type of tank car would provide the
comments summarized and discussed                                                                greatest risk reduction in the shortest
below provide an indication as to the            53See hup://www.regulationsgov/
                                               #!documentDetoi1;D=PHMSA-201 2-0082-34 15         amount of time. Below are some
commenters’ main concerns on this                54See http://www.regulations.gov/               relevant comments regarding the
topic.                                         #!documentDetall;D=PHMSA-2012-0082-34 18          proposed timeline.
                        Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                             26681

        GBW suggested that, “[wihile the              enabling of the production of full height crews, and number of facilities. In the
     timeline [for retrofitting] is aggressive,       head shields within repair shops.                   model, the values for these variables are:
     the tank car repair industry, by                     In addition to these comments, RSI—             a learning rate of .95 (which is relatively
     expanded [sic] capacity at existing              CTC, API, Exxon, APfM and many                      low for similar industries) 56, one crew
     facilities and through new entrants into         others in the regulated industry                    (initially) per facility, and 40 facilities.57
     the industry, should be able to meet             provided specific alternative retrofit             Using these values as the starting point,
     PHMSA’s proposed timeline.”                      timelines which can be viewed in the               a parametric analysis was performed to
        Further, RSI—CTC stated that PHMSA docket for this rulemaking. PHMSA and show the values required to meet the
     and FRA should retrofit crude oil and           FRA reviewed comments, alternative                  industry forecasted production.
    ethanol tank cars first then other Class         timelines, and data regarding the retrofit              To determine the capacity of the
     3 tank cars. It noted that retrofit capacity timeline and revised our                               industry, FRA used facility registration
    is only 6,400 units per year whereas             implementation schedule accordingly.                data to identify 60 current tank car
    PHMSA assumes 22,061 units per year.             PHMSA is confident that retrofits can be facilities capable of performing heavy
    RSI—CTC continues, “there are 50K non- accomplished in the revised timeline                          retrofits. Further, FRA identified 160
    jacketed tank cars in service (23K crude adopted in this final rule.                                 tank car facilities capable of performing
    and 27K ethanol/legacy and CPC 1232)                 In developing the retrofit schedule,            light modifications, which include
    that cannot be retrofitted by 10/01/             PHMSA and FRA examined the                         adding a valve and bottom outlet to the
    2017—only 15K can be retrofitted by              available shop capacity, the comments              jacketed CPC—1232 cars. FRA also
   that time.”                                       received, historical performance of the            accounts for industry concerns
       Growth Energy requested a 3- to 10-          rail industry dealing with retrofit                 regarding the readiness of current tank
   year retrofit schedule. Arkema Inc.,             requirements, and the potential impacts car facilities to perform retrofit services
   “agrees with the RSI—CTC’s December 5, associated with the retrofit schedule.                        by maintaining the ramp-up period
   2013 recommendation to adopt, at a                   PHMSA has accepted feedback                     provided by commenters. In addition to
   minimum, a 10-year program allowing              regarding its assumption of no                      the existing capacity, FRA’s model
   compliance to be achieved in phases              retirements and the impracticality of               assumes that capacity will increase to a
   through modification, re-purposing or            transferring jacketed tank cars to tar              degree over time.
   retirement of unmodified tank cars in            sands service. This final rule and the                  FRA’s model indicates the 6,400
   Class 3, flammable liquid service.”              RIA now consider the number of cars                 retrofits per year would require 40
       Quantum Energy, Inc. stated, if              that could be retired early as a result of          facilities to dedicate one crew to these
   PHMSA elects not to adopt this                   the rule and the associated costs of               retrofits. As a result, the remaining
   exclusion for treated crude oil that they        doing so. PHMSA believes that rail cars            capacity (60 total facilities identified by
   support “at minimum establishing a               will be retired early when their owners            FRA) would focus on the normal
  phase-out date of October 1, 2022 for the have weighed the cost of meeting                           workload including requalifications,
  use of DOT—ill tank cars in                      retrofit requirements against the                   bad order repairs, and reassignments. As
  transporting stabilized crude oil.”              marginal cost of acquiring a replacement a result, FRA’s model assumes:
      The Washington Utilities and                 rail car early.                                          • 40 facilities capable of heavy
  Transportation Commission (WLJTC)                     Further, to aid in the analysis of an          retrofits. F’RA selected this number as a
  stated that tank cars that meet the AAR          appropriate retrofit timeline, FRA                  conservative estimate—in reality the
  CPC—1232 standards and were built                developed a model to project the tank               number of facilities dedicated to heavy
  after October 1, 2011, should be allowed car retrofit capacity over time. The                        retrofits may be higher. It accounts for
  to continue in service for their economic model is based on Wright’s learning                        industry concerns regarding the
  life, except for the transportation of           curve theory, which suggests that every             readiness of current tank car facilities to
 Packing Group I materials past October            time the total number of units that have perform retrofit services;
 1, 2016. Further, WUTU recommends                 been produced doubles, productivity                     • A new crew (2 employees) will be
 that the proposed timeline for phasing            will increase by a given percentage. This added to each facility every 3 months,
 out DOT Specification lii tank cars              percentage is known as the learning                 beginning in month 4;
 should be expedited for Packing Group            rate.                                                    • After 24 months, no additional
 I and II materials by a year, and that all            The starting point of the analysis was         resources are added; the only changes in
 existing tank cars more than 10 years            to analyze the rail industry’s forecast, as capacity are based on the Wrights
 old have a thorough tank shell thickness represented in the Brattle Group Report                     learning curve theory,58
 inspection to ensure the tank is suitable commissioned by RSI—CTC. Using the                              • The learning rate is 0.95; and
 for PG II and PG III, Class 3 flammable          Brattle reports figure of 6,400 retrofits                • The learning rate is for the facility,
 liquids. Any tank that shows significant per year the FRA model was able to                          not individuals. It is assumed the crew
signs of corrosion should be taken out            determine that the Brattle report would             members all have the required skill set
of crude, ethanol, and any other Packing have to assume 40 facilities would be                        to perform the work.
Group I or II service immediately.                required to dedicate one crew to                        In support of these assumptions,
     Suggesting an alternate retrofit             retrofits. After making this                        Figure 2 indicates the cumulative
strategy, Eighty-Eight Oil, LLC stated,           determination on the number of
“Eighty-Eight supports a 7 year retrofit          facilities, FRA sought to include other                56Represents a 5 percent rate of improvement.
                                                 variables      to model    additional    potential   See http://wwwfos.org/news/reference/ca1c/
schedule.” According to Eighty Eight,
the requirements for retrofitting cars           scenarios. The intent being to depict the leorn.htm.    57The variable of 40 facilities is a result of a
will necessitate a longer time frame than        extent      to which the “heavy                  55 parametric analysis. FRA also ran the model with
proposed in the NPRM, given: the “car            capacity will increase to a degree over             80, 60, and 40 facilities and 40 enabled us to
                                                 time. The variables for the FRA model               recreate industry’s production forecast.
cleaning” process and preparation for                                                                   58Every thne production doubles the required
“hot work” or retrofitting; training             included the learning rate, number of
                                                                                                     resources and time, decrease by a given percentage,
workers for tank car repair work;                                                                    known as the learning rate. The learning rate for
                                                     55Heavy refrofits include those that go beyond  repetitive welding operations is 95 percent,
approval (via the AAR) of high-flow              simply adding a valve and bottom outlet to the      meaning that when production doubles, the
pressure relief valve technology; and the jacketed cPc—1232 cars.                                    required resources and time are multiplied by 0.95.
  26682                Federal Register / Vol. 80, No. 89 / Friday, May 8, 2015 I Rules and Regulations

  production schedule for industry’s               on these assumptions, the FRA model         exceeding the industry’s projection is
  model (based on The Brattle Group                indicates that a heavy retrofit capacity    achievable.
  report), as well as FRA’s model. Based



                                Figure 2: Industry vs. FRA Projection of Retrofit Capacity
                   12,000



                   10,000

             r,)

                   8,000



                   6,000


             E     4,000



                   2,000



                       0
                            0                 5                   10                   15               20                    25
                                                                       Time (months)
                                                          ERA model                   Industry Forecast


   The most extensive retrofits (the              risk factor, tank car type, we were able     implementation timeline for the retrofit
 “heavy retrofits”) would need to take            to not only account for the                  of existing tank cars to the NPRM’s
 place in the initial phases of the               characteristics of the hazardous material    Option 3 standard when used as part of
 implementation timeline, thus making             but also those of the means of               FIHFT. This risk-based retrofit schedule
these stages critical to the overall              containment of that material. This           will be codified in authorized packaging
 implementation timeline. Stakeholders            revision as well as the outputs of FRA
generally agree that a 120-month                                                               section in part 173, subpart F of HMR
                                                  model discussed above provided an            and the prescriptive retrofit standard is
timeline for light retrofits is acceptable.       accelerated risk reduction that more         detailed in § 179.202—13. This timeline
Conclusion                                        appropriately addresses the overall risk.
                                                  PHMSA and FRA also modified the             is based on public comment, the FRA
   In the NPRM the retrofit timeline was          overall length of the retrofit to account   modeling output and historical
based on a single risk factor, the packing        for issues raised by commenters. The        performance of the rail industry dealing
group. The packing group is a                     rationale for the change in retrofit        with retrofit requirements. This timeline
characteristic of the hazardous material.         schedule is discussed in further detail     accounts for an initial ramp-up period
In the final rule the retrofit timeline was       in the RTA for this final rule.             as well as incremental improvements
revised to focus on two risk factors, the           Based on the commenters’ input and        based on a learning curve throughout
packing group of the material and                 additional analysis, in this final rule,    the implementation timeline. The
differing types of DOT—ill and CPC—               PHMSA and FRA are adopting a                implementation timeline adopted is
1232 tank cars. By adding the additional          packing group- and tank car-based           outlined in the following table:
                      TABLE 21—TIMELINE FOR CONTINUED USE OF DOT SPEcIFIcATION lii (DOT—ill)
                                                           [Tanks for Use in HHFrsJ

                                     Tank car type/service                                                    Retrofit deadline
Non Jacketed DOT—ill tank cars in PG I service                                                    (January 1,2077*) January 1, 2018.
Jacketed DOT—ill tank cars in PG I service                                                        March 1, 2018.
Non-Jacketed CPC—1 232 tank cars in PG I service                                                  April 1, 2020.
Non Jacketed DOT—l 11 tank cars in PG II service                                                  May 1, 2023.
                     federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                               26683

               TABLE 21—TIMELINE FOR CONTINUED USE OF DOT SPECIFICATION 111 (DOT—111)—Continued
                                              [Tanks for Use in HHFT5J

                                        Tank car type/service                                                              Retrofit deadline
 Jacketed DOT—ill tank cats in PG II service                                                            May 1, 2023.
 Non-Jacketed CPC—l 232 tank cats in PG II service                                                      July 1, 2023.
 Jacketed CPC—1232 tank cars in PG I and PG II service** and all remaining tank cars carrying PG        May 1, 2025.
   Ill materials in an HHF (pressure relief valve and valve handles).
   *The January 1, 2017 date would trigger a retrofit reporting requirement, and tank car owners of affected cars would have to report to DOT the
 number of tank cars that they own that have been retrofitted, and the number that have not yet been retrofitted.
   **
     We anticipate these will be spread out throughout the 120 months and the retrofits will take place during normal requalification and mainte
 nance schedule, which will likely result in fleet being retrofit sooner.


  Executive Orders 12866, 13563, and                • The total number of tank cars                 the severity of an accident being
13610 require agencies to provide a              retrofitted to meet the DOT—117R                   reduced by 36%. A slower speed may
meaningful opportunity for public                 specification;                                    also allow a locomotive engineer to
  participation. Accordingly, PHMSA                 • The total number of tank cars built           identify a safety problem ahead and stop
  invited public comment twice (the               or retrofitted to meet the DOT—ll7P               the train before an accident occurs,
  September 6, 2013, ANPRM and August             specification;                                    which could lead to accident
  1, 2014, NPRM) on retrofit timeline               • The total number of DOT—ill tank              prevention.
  considerations, including any cost or          cars (including those built to CPC—l232              A purpose built model developed for
  benefit figures or other factors,              industry standard) that have not been              FRA by Sharma and Associates, Inc. was
  alternative approaches, and relevant           modified;                                          used to simulate a number of derailment
  scientific, technical and economic data.          • The total number of tank cars built           scenarios to evaluate the survivability of
  Such comments aided PHMSA and FRA              to meet the DOT—il7 specification; and             the tank cars proposed in the NPRM
  in the evaluation of the proposed                 • The total number of tank cars built           equipped with different brake systems
  requirements. PHMSA and FRA have               or retrofitted to a DOT—il7, ll7R or               and operating a range of speeds. The
  since revised our proposed retrofit            li7P specification that are ECP brake              results of the simulations were the most
 timelines to address the public                 ready or ECP brake equipped.                       probable number of tank cars derailed
                                                    While this requirement applies to any           and punctured. The results were used to
  comments received.
                                                 owner of non-jacketed DOT—ill tank                 calculate the effectiveness of the tank
    PHMSA and FRA have made                      cars in PG I service, the Department of            car enhancements, speed reduction and
 regulatory decisions within this final          Transportation would accept a                     brake systems individually in in
 rule based upon the best currently              consolidated report from a group                  combination with one or both of the
 available data and information. PHMSA           representing the affected industries.             other parameters. The model and
 and FRA are confident that retrofits can        Furthermore, while not adhering to the            simulation are discussed in detail in the
 be accomplished in the revised timeline         January 1, 2017 retrofit deadline triggers        March 2015 letter report prepared by
 adopted in this final rule. However,            an initial reporting requirement, it              Sharma and Associates, Inc. This letter
 PHMSA and FRA will continue to                  would also trigger a requirement which            report is available in the docket for this
 gather and analyze additional data.             would allow the Secretary of                      rulemaking.
 Executive Order 13610 urges agencies to         Transportation to request additional                 As tank car enhancements, brake
 conduct retrospective analyses of               reports of the above information with             systems, and speed are interrelated
 existing rules to examine whether they          reasonable notice.                                aspects of this rulemaking and can have
 remain justified and whether they                                                                 an effect on each other, various
 should be modified or streamlined in            C. Speed Restrictions
                                                                                                   combinations of these variables were
 light of changed circumstances,                    Speed is a factor that contributes to          evaluated by FEA modeling. For
 including the rise of new technologies.         derailments. Speed can influence the              example, by modifying the variables of
 Consistent with its obligations under           probability of an accident, as it may             speed (30 mph-50 mph), tank car
E.O. 13610, Identifying and Reducing             allow for a brake application to stop the         enhancements (shell thickness, steel
Regulatory Burdens, PHMSA and FRA                train before a collision. Speed also              type, jacketing and head shielding), and
will retrospectively review all relevant         increases the kinetic energy of a train           braking (TWEOT, UP and ECP), FRA
provisions in this final rule, including         resulting in a greater possibility of the         was able to create a matrix which could
industry progress toward meeting the             tank cars being punctured in the event            compare the effectiveness and benefits
established retrofit timeline.                   of a derailment. The kinetic energy of an         of numerous combinations of these
    To this end, the first phase of the          object is the energy that it possesses due        variables. The table below describes the
timeline includes a January 1, 2017              to its motion. It is defined as the work          speeds that were evaluated with the
deadline for retrofitting non-jacketed           needed to accelerate or decelerate a              various combinations of tank car
DOT—ill tank cars in PG I service. If the        body of a given mass.                             enhancements and braking systems.
affected industry is unable to meet the            Kinetic Energy = ½ (Mass) x
January 1, 2017 retrofit deadline a              (Velocity)2                                       TABLE 22—SPEEDS EVALUATED IN THE
mandatory reporting requirement would              Based on this calculation, given a                  ERA’S PURPOSE BUILT MODEL
be triggered. This reporting requirement         fixed mass, if an accident occurred at 40
would require owners of non-jacketed             mph instead of 50 mph, we should                   Speeds         I             Description
                                                                                                   evaluated
DOT—ill tank cars in PG I service to             expect a reduction of kinetic energy of       -




report to Department of Transportation           36 percent. After consultations with              50 mph   ....       Proposed maximum speed.
the following information regarding the          engineers and subject matter experts, we          40 mph   ....       Proposed maximum speed in
retrofitting progress:                           can assume that this would translate to                                 High-Threat Urban Areas.
 26684             federal Register/Vol. 80, No. 89/Friday, May 6, 2015 /Rules and Regulations

  TABLE 22—SPEEDS EVALUATED IN THE Option 1: 40-mph Speed Limit in All                         TABLE 23—C0MMENTER
   FAA’S PURPOSE BUILT MODEL— Areas                                                         COMPOSITION: SPEED COMMENTS
   Continued                                    All HHFTs are limited to a maximum
                                             speed of 40 mph, unless all tank cars             Commentet type              Signatories
     Speeds               Description        containing flammable liquids meet or
   evaluated                                                                             Non-Government Organiza
                                             exceed the proposed performance               tion                                  85,023
  30 mph ....  Speed in the range at which standards for the DOT Specification 117       Individuals                              5,475
                 most of derailments under tank car.                                     Industry stakeholders                      265
                 consideration in this rule Option 2: 40-mph Speed Limit in Areas        Government organizations or
                 making occurred.                                                          representatives                           58
                                             With More Than 100,000 People
                                                All HHFTs—unless all tank cars             Totals                                90,821
     Given the data from FRA and Sharma
  & Associates, PHMSA anticipates the        containing flammable liquids meet or
                                             exceed the proposed standards for the          Overall, the comments of citizens,
  reductions in the speed of trains that                                                 environmental groups, tribal
                                             DOT   Specification 117 tank car—are
  employ less safe tank cars, such as the                                                communities and local govermnent
                                             limited to a maximum speed of 40 mph
  non-jacketed DOT—ill tank car, will                                                    representatives supported more
                                             while operating in an area that has a
  prevent fatalities and injuries and limit                                              restrictive speed limits. These
                                             population of more than 100,000
  the amount of damages to property and                                                  comments were essentially focused on
                                             people.
  the environment in an accident.                                                        how speed restrictions would provide
  Simulation results indicate that limited. Option 3: 40-mph Speed Limitin High-         safety benefits to local communities or
 safety benefits would be realized from a Threat Urban Areas (HTUAs)                     the environment. Referencing data from
 reduction in speed as the tank car fleet      All HHFTs—unless all tank cars            the NPRM, these groups expressed
 is enhanced as proposed in this NPRM.       containing flammable liquids meet or        concerns that derailments and releases
 Please refer to the RIA for a detailed                                                  of crude oil and ethanol present public
                                             exceed the proposed standards for the
 analysis of the impact of speed on the                                                  safety risks and have occurred at lower
                                             DOT Specification 117 tank car—are
 number of cars derailed and punctured                                                   speeds than the speed limits proposed
                                             limited to a maximum speed of 40 mph
 when paired with a range of tank car                                                    in NPRM. Environmental groups and
                                             while the train travels within the
 enhancements and braking options.                                                       affiliated signatories, in particular,
                                             geographical limits of HTUAs.               voiced concerns that releases of
     In response to the Secretary Foxx’s       In addition, PHMSA proposed to add        hazardous materials in derailments
 Call to Action, the rail and crude oil      a new § 174.310(a)(3)(iv) to Part 174—      could have far-reaching adverse impacts
 industries agreed to consider voluntary     Carriage by Rail that would prohibit a      on environmental quality, including
 operational improvements, including        rail carrier from operating HHFTs at         water quality and biological diversity.
 speed restrictions in high consequence      speeds exceeding 30 mph if the rail         Some commenters asked PHMSA to
 areas. As a result of those efforts,        carrier does not comply with the            consider making the proposed speed
 railroads began operating certain trains   proposed braking requirements set forth      restrictions applicable to specific
 at 40 mph on July 1, 2014. This            in the Advanced Brake Signal                 environmental areas, such as in the
 voluntary restriction applies to any       Propagation Systems section of the           vicinity of water resources or national
 “Key Crude Oil Train” with at least one NPRM. The intention of this                     parks. In illustration of these
 non-CPC 1232 tank car or one non-DOT requirement was to further reduce risks            viewpoints, Clean Water Action has
 specification tank car while that train    through speed restrictions and               stated:
travels within the limits of any high-      encourage adoption of newer braking
threat urban area (HTUA) as defined by      technology while simultaneously                The agencies’ promotion of a 40 miles per
                                            reducing the burden on small rail            hour speed, when in fact nine of the major
49 CFR 1580.3.                                                                           13 train accidents (Table 3 of the NPRM]
                                            carriers that may not have the capital      occurred with speeds under 40 miles per
    In the August 1, 2014, NPRM, PHMSA
                                            available to install new braking systems.   hour does not seem justified nor is it in the
and FRA proposed to add a new
                                               On the issue of speed restrictions,      public interest. Fire resulted in 10 of the 13
 § 174.310 to include certain operational PHMSA received public comments                accidents, three of which were involved in
requirements for a HHFT. Among those        representing approximately 90,821           speeds over 40 miles per hour and five of
operational requirements was a proposal                                                 which were between 30 miles per hour and
                                            signatories. Comments in response to
to limit the speed of an HHFT.              the NPRM’s speed restrictions were          40 miles per hour. The 6 accidents involving
Specifically, the NPRM proposed to add wide ranging, with comments both                 crude oil resulted in over 1.2 million gallons
a new § 174.310 to Part 174—Carriage                                                    of oil being spilled [. . .] Clean Water Action
                                            supporting and opposing speed               encourages the agency to analyze reducing
by Rail that would establish a 50-mph       restrictions. Some commenters
maximum speed restriction for HHFTs.                                                    travel speeds to 30 mph and lower. [. . .1
                                            supported the speed restrictions            Clean Water Action respectfully encourages
This 50-mph maximum speed                   explicitly as they were proposed in the     the agency to examine additional speed
restriction for HHFTs was generally         NPRM. Other commenters opposed the          restrictions in areas near public drinking
consistent with the speed restrictions      NPRM’s speed restrictions and proposed      water supplies and sensitive environments.
that the AAR issued in Circular No. OT— alternatives, such as different speed              Three entities representing tribal
55—N on August 5, 2013.                     limits or different geographical            communities, the Tulalip Tribes, the
    In § 174.310(a)(3), PHMSA also          standards for use in determining where      Prairie Island Indian Community and
proposed three options for a 40-mph         a speed limit is applicable. Further,       the Quinault Indian Nation, expressed
speed restriction for any HHFT unless       many commenters did not directly            specific concerns with regard to the
all tank cars containing Class 3            support or oppose any of the proposed       speed restrictions proposed in the
flammable liquids meet or exceed the        speed restrictions, but rather chose to     August 1, 2014, NPRM. The Tulalip
proposed standards for the DOT              comment generally. Below is a table         Tribes noted that “[tjhe maximum speed
Specification 117 tank car. The three 40- detailing the types and amounts of            limit for the trains should not be higher
mph speed limit options are as follows:     commenters on the speed proposals.          than the maximum speed the rail cars
                     Federal Register! Vol. 80, No. 69 / Friday, May 8, 2015 ! Rules and Regulations                                         26685

   can survive in the case of an accident.          would result from the proposed speed         percent, and these shipments of crude
   Only lowering the speeds to 40 miles             restrictions. Overall, these commenters      oil and petroleum are occurring in the
   per hour is inadequate to protect life           and other stakeholders stated that speed    parts of the U.S. where there is also
   and property.” The Prairie Island Indian restrictions would lead to: (1) Increased           strong demand to move coal and grain
   Community supported this viewpoint               congestion; (2) slower or less              by rail. Along with crude oil shippers,
   and expressed concern noting the                 predictable delivery times for various      shippers of coal, grain, ethanol, and
   proximity of a crude oil route to their          products, including crude oil, ethanol,     propane have expressed concerns that
   primary residential area and gaming              and agricultural commodities; (3)           rail service has been slow.
   enterprise. They continued that they             increases in the number of tank cars           In response to these congestion issues,
   “would like to see the non-enhanced             required to ensure consistent timely         the Surface Transportation Board (STB)
  HHFT trains slowed down even further, delivery service due to increases in                    called hearings in April and September
  to 30 miles per hour through residential transit times; (4) increased costs to                2014 to address rail “service problems,”
  areas or through areas with critical or          shippers and carriers; (5) constrained       and in October, STB required “weekly
  sensitive infrastructure (like nuclear           investments in the rail network’s            data reports” from all Class I
  power plants).” Finally, the Quinault            infrastructure and capacity due to           railroads.6061 The EIA information and
  Indian Nation conveyed their support of reduced rail carrier revenues; (6)                    the STB’s actions appear to reflect the
  a 40-mph restriction in all areas with           diversions of crude oil and ethanol          commenters’ concerns regarding the
  further research being completed on the transport to other modes of transport;                current rail transportation environment,
  benefits of a 30-mph restriction in all          and (7) slower passenger or commuter         characterized by increased demand, rail
  areas.                                           rail service.                                service issues, and competition among
     In addition, some individual citizens,           Several commenters stated that the        shippers of different commodities for
  environmental groups, and local                  proposed speed restrictions would            the available rail service supply.
  communities expressed concern that               result in additional congestion. These          Among the proposed speed
  speed restrictions might protect some            commenters emphasized that the rail          restrictions, many rail users and
  cities and towns while potentially               network is already congested and has         operators and other stakeholders have
  leaving others exposed to safety risks.          “fluidity” issues. Dow and the DGAC          expressed that Option 1—a 40-mph
  Consequently, many individual citizens, suggested that the proposed speed                     speed limit for HHFTs in all areas—
  environmental groups, and local                  restrictions could inadvertently increase    would have the greatest negative impact
  government representatives supported             the risk of incidents due to congestion.     on network fluidity. The Independent
  Option 1, the 40-mph speed limit for            According to multiple commenters,             Petroleum Association of America
  HHFTs in all areas, or proposed an               increased congestion and subsequent          (IPAA) and the North Dakota Petroleum
  alternative lower speed limit to be             reductions in network fluidity could          Council (NIJPC) delineated how Option
  applied as a nation-wide speed limit.            “ripple” across the rail network and         1, in particular, would create a chain of
 These commenters did not address for             would affect various commodities that         effects in the rail network and increase
 the costs of implementing Option 1;              are transported by rail, not just crude oil   costs to shippers or carriers:
 rather, they emphasized that Option l’s          and ethanol.
                                                      PHMSA received comments from a               The consequences of the proposed 40-mph
 geographical standard (“all areas”) is                                                          speed restriction in all areas would be
 the most protective, and most beneficial, coalition of agri-business organizations              significantly longer turnaround times for unit
 of the three speed options proposed and that have been affected by “service                    trains, thus necessitating the need to have
 would benefit all communities, large             disruptions” and “severe backlogs,”           more railcars in the shipping fleet. Longer
 and small. As Earthjustice, Forest               including the Agricultural Retailers          turnaround times alone will make railcars in
 Ethics, Sierra Club, et al. have                 Association, National Corn Growers            short supply on the first day the new nile
 expressed:                                       Association, U.S. Dry Bean Council, and       takes effect. A 10-mph reduction in speed
                                                  various state associations. According to      equates to a twenty percent increase in
    Imposing a 40 m.p.h. speed limit only in      these commenters, the agricultural            turnaround time (assuming 50 mph average
 the largest cities or ‘high-threat urban areas’  sector has succeeded at producing             train speed), requiring a twenty percent
 would be far less protective of the public       agricultural commodities, such as grain       increase in fleet size.
 than requiring safer speed limits in all                                                           Other commenters have described
 populated and sensitive areas. First, the        and oilseed, at “record or near-record”
 option that would focus speed restrictions on levels, but faces difficulty in making           how transit times and costs to shippers
 areas with more than 100,000 people              timely deliveries due to increased            and carriers would increase. The Alaska
 excludes far too many populated areas that       demand for freight rail service. This         Railroad Corporation stated that a
 [are] in harm’s way. for example, many U.S.      increased demand is due in part to            common route from Anchorage to
cities that have experienced dangerous and        “non-agricultural segments of the U.S.        Fairbanks, Alaska, would “take an extra
potentially deadly HHFT derailments would economy,” such as crude oil                           69 minutes” with a maximum speed of
not be covered by safer speed limits using       production, and has caused a relative          40 mph. Bridger has stated that “an
this threshold, including Lynchburg, Virginia scarcity of rail service supply and               increase in round-trip transit time for
(78,000 people); Painesvile, Ohio (20,000
                                                 competition among shippers seeking to          Bridger’s unit trains from North Dakota
people); and Vandergrift, PA (5,000 people).     use rail transport. These commenters           to the East Coast from 15 days to 20
    Comments from rail network users             have stated that the NPRM’s proposed
and operators generally supported less           speed restrictions would further strain          5https://www.aar.org/newsandevents/Freight-
restrictive speed limits. They were              the transport of commodities.                  Rail-Trafflc/Documents/201 4-11 -06-railtraffic.pdf
                                                                                                  60STh News Releases. Available online at:
essentially concerned with the cost                  Affirming these commenters’
                                                                                                hup://www.stb.dot.gov/newsrels.nsf/
impacts of the proposed speed                    concerns, the Energy Information               13c1d2f251 65911f8525687a00678fa7/b9b95d;200
restrictions. In illustration of these           Administration (EIA) has stated that rail      b9d81 985257cad006a1 33a?OpenDocument and
potential cost impacts, the rail network         traffic has increased by 4.5 percent from      http://www.stb.dot.gov/newsrels.nsf/
users and operators provided some                January through October 2014 compared          1 3c1d2f251 6591 1f8525687000678fa7/037f6
                                                                                                ab62281 bba985257d380068208a?Openflocuwent
Industry-specific data and analysis on           to the same period in 2013. Over the              61 STh Decision Document. Available
                                                                                                                                        online at:
the detrimental effects to network               same period, carloads of crude oil and         http://wwsv.stb.dot.gov/decisions/readingroom.nsf/
fluidity and the additional costs that           petroleum products have increased 13           WebDecfsionlD/43850?OpenDocument
 26686                Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

   days will increase the cost per barrel       highway transport, and this would                    negative impacts on industry, but, if a
   [. . .] by 33%.” In addition to impacting expose users of the nation’s highways to speed restriction were to be
  rail carriers and oil and gas producers,      increased flammable cargos transported implemented, Option 3 should be
  the proposed speed restrictions could         by trucks.                                           implemented as it would minimize
  impact a wide variety of shippers. The           Rail users and operators have stated             these negative impacts.
  Council on Safe Transportation of             that the proposed speed restrictions and               Regarding Option 2, the 40-mph
  Hazardous Articles (COSTHA) relayed           subsequent reductions in network                    speed limit in areas with a population
  that one of its members, a large              fluidity would have adverse effects on              of 100,000 or more, commenters raised
  manufacturer and distributor of               passenger or commuter rail, and they                additional concerns. One commenter
  consumer products, estimated increased state that network fluidity is already                     stated that the risk to a population from
  costs of $80 million annually to its          stressed for these types of rail. The               a train accident depends less on the size
  operations alone due to the proposed         National Railroad Passenger Corporation of the population in a given area than
  speed restrictions.                           (Amtrak) has commented:                             on the proximity of that population to
      Rail users and operators predicted          Amtrak believes that any significant              the railway. Thus, Option 2 might not
  that the proposed speed restrictions         slowing of the general railroad system could         accurately address the true number of
  would constrain their ability to invest in have an adverse effect on the performance of people threatened by railway accidents.
  the rail network’s infrastructure (i.e. add intercity passenger rail service, which has           The Kansas City Southern Railway
  capacity) at a time when capacity is         already been slowed by the recent increase of Company stated that the term “area” is
  already stressed. Adding capacity would freight traffic, including the increase in the            “unacceptably vague,” and Option 2 is
  be one way in which the railroads might number of Key Crude Oil Trains.                           therefore “unworkable.” This concern
  seek to counteract the potential network Similarly, the Sao Joaquin Partnership                   was echoed by other commenters.
  fluidity impacts resulting from the          has contextualized this effect for                      Some commenters expressed that
  proposed speed restrictions. Union           commuters, stating:                                  Option 2 would also adversely impact
  Pacific Railroad Company has stated                                                               network fluidity. While significantly
                                                  Overly restrictive speeds will reduce the
 that investments to expand capacity are fluidity       of the rail network and may reduce          less restrictive in a geographical sense
 risky, expansions require 2—3 years or        rail capacity for both people and freight.           than Option 1, some commenters, such
  more to complete, and the decision to        Passenger rail service via ACE Train carries         as Amsted Rail and the National
 invest depends significantly on the           over 1 million riders from Stockton to San           Shippers Strategic Transportation
  “ability to generate returns at              Jose each year servicing major technology            Council, still considered Option 2 to be
 reinvestible levels.” Thus, if the            employers in Silicon Valley providing high           overly restrictive or costly.
 proposed speed restrictions have a            wage opportunities for San Joaquin residents.           Some commenters considered Option
 significant impact on revenues or             Slowing freight will delay transit along this        2 to be an acceptable “compromise”
 returns, railroads have implied that they     important   trade  rail corridor.
                                                                                                   between competing concerns for the
 might not be capable of investing in the Thus, if the proposed speed restrictions efficiency of the rail transportation
 rail network’s infrastructure at a rate       affect the performance of commuter                  system and enhanced safety. According
 that sufficiently addresses recently          trains, adverse impacts on labor output             to the State of Minnesota:
 increased demand for rail transport.          might also occur.
 Railroads have also stated that they have                                                            Option 1, a 40 MPH speed limit in all
                                                  Regarding industry data or
 been investing greatly in the rail           projections, PHMSA often times could                 areas, would have extensive negative effects
                                                                                                   on the shipment capacity, reliability, cost,
 network’s infrastructure, but the costs of not corroborate the data provided by                   and overall system velocity for Minnesota
 adding capacity have increased in            industry stakeholders. Some                          and its market connections. Option 2, a 40
 recent years. Thus, according to the         commenters did not supply data, while                MPH limit in areas with more than 100,000
 railroads, the proposed speed limits          others supplied only limited data.                  people, would be an acceptable limit for
 would increase costs in a business           PHMSA made efforts to acquire and                    trains using tank cars not conforming with
 environment that is already                  analyze different data that was required the improved performance specifications,
 characterized by increasing costs, which for the RIA and the rulemaking’s                         and would put relatively limited strain on
 stresses the railroad’s ability to make      decision-making process.                             system velocity and capacity compared to
 new capital investments and add                  Despite having voiced some cautions              Option 1. The cost benefit analysis supports
 capacity.                                                                                         this compromise order.
                                              about speed restrictions, some rail
     Rail users and operators and other       network users and operators expressed                   Nevertheless, relatively few
 stakeholders have projected that             their support for the voluntary speed                commenters expressed support for
reduced network fluidity due to speed         restrictions that were agreed upon by               Option 2 as proposed in the NPRM.
restrictions could result in rail-to-         industry members as a result of                     Comparatively, there was much wider
highway diversions or other modal             Secretary Foxx’s Call to Action and                 support for Option 1 and Option 3 as
shifts. As the American Association of        subsequent Letter to the Association of             proposed in the NPRM, with different
Private Rail Car Owners (AAPRCO)              American Railroads published on                     groups of commenters expressing their
commented, “Since the railroad                February 21, 2014.62 These voluntary                respective support for each.
network is already near or over capacity speed restrictions are generally                             Regarding the NPRM’s 30-mph speed
in many places, and consists                  consistent with the proposed 50-mph                 limit, some commenters were in
overwhelmingly of single and double-          maximum speed limit and Option 3, the support, echoing the rationale that
track lines, widespread, new speed            40-mph speed limit in HTUAs. Notably, reduced speeds enhance the safety
restrictions would have a major impact        Option 3had substantial support among profile of conventional braking systems.
[...]. The impact in some cases could be the rail network users and operators and Other commenters thought that the 30-
diversion of freight to less-safe             related trade associations. Some                    mph speed limit should be adopted, but
highways.” Commenters have stated, if         commenters concluded that all                       asserted that it would be more
the proposed speed restrictions were to       proposed speed restrictions would have appropriate to make it a requirement for
negatively influence rail network                                                                 all tank cars that did not meet or exceed
fluidity, some crude oil and ethanol             62Available online at: httpil/www.dot.gov/       the standards of Specification DOT—117.
transport by rail would be diverted to        briefing-room/Ietter-association-american-railroads Different commenters asked that the
                     Federal Register/Vol. 80, No. 89/friday, May 8, 2015 /Rules and Regulations                              26687

  tank cars without enhanced braking              In addition to demonstrating that its      accidents. In other words, the proposed
  systems be required to travel at speeds      proposed speed restrictions will benefit speed restrictions could shift safety
  under 30 mph, such as 20 mph or 18           public safety, PHMSA must evaluate the risks from rail transportation to highway
  mph. Multiple concerned citizens asked       impact of its regulations on diverse          transportation. PHMSA has taken this
  that a 30-mph speed limit be required        stakeholders. In some cases, PHMSA is         into consideration and generally agrees
  for all HHFTs, irrespective of their         required by law to conduct and publish with this line of reasoning as presented
  braking systems.                             a cost/benefit analysis, among other          by commenters.
     Some commenters were opposed to           legal requirements. Therefore, while             Many concerned citizens and local
  the 30-mph speed limit. These                some of the proposed speed restrictions communities stated that rural areas or
  commenters either opposed speed              are more restrictive and may lead to          small towns should have the same
 restrictions in general or they supported    greater safety benefits than others,           speed restrictions and safety protections
 higher or less restrictive speed limits.     PHMSA must consider concurrently the as highly populated areas. This is a
 For many rail users and operators and        cost of implementing each proposed             valid statement, which PHMSA
 other stakeholders, the 30-mph speed         speed restriction and evaluate the net         considered. However, in terms of
 limit appeared to be unnecessary in          effect on a diverse set of stakeholders.       potential injuries and fatalities, PHMSA
 light of the 50-mph maximum speed            PHMSA must also consider the costs             believes that the damages from a
 limit and the 40-mph speed limit in          and benefits to the various stakeholders derailment in a densely populated area
 HTUAs, which have already gained             of alternatives. As such, the costs           are more likely to be catastrophic, than
 support as voluntary speed restrictions      imposed on industry and society at large damages from a derailment in a less
 for certain tank cars transporting crude     by the proposed speed restrictions are         densely populated area. Further, the
 oil. Further, multiple commenters            an important factor in our regulatory         application of speed restrictions to
 pointed out that some of the enhanced        analysis and decision-making.                 densely populated areas is less costly
 braking systems proposed in the                 PHMSA believes that an overly              because only a small portion of the rail
 NPRM—namely, two-way EOT devices             restrictive speed limit would present         network is located within the limits of
 and DP braking systems—are already           costs that outweigh benefits, and this        these areas and railroad operating
 widely adopted by industry. If two-way       was echoed by many commenters.                practices already account for other
 EOT devices and OP braking systems are      These comnienters expressed the                kinds of restrictions, e.g.. railway
 already widely adopted, the 30-mph           outlook that the proposed speed               crossings and signals, in urban areas.
speed limit would not be generally           restrictions would present significant            PHMSA determined that there is a
applicable to HIWTs, unless the 30-mph       new costs, caused primarily by                 trade-off between the safety benefits of
speed limit also required HHFTs to           substantial negative effects on rail           the proposed speed restrictions and the
equip and/or operate ECP braking             network fluidity. As a result of its           costs incurred by rail network operators
systems. For more information regarding      understanding of commodity flows and           and users, including offerors, tank car
ECP braking systems, please see the          rail network fluidity, PHMSA agrees            manufacturers, tank car-related
Braking Section of the final rule.           that speed restrictions could result in:      businesses, rail carriers, rail passengers,
                                             An increase in the number of tank cars        and consumers of products transported
   In addition to the aforementioned         needed to ensure consistent delivery
comments, PHMSA received other                                                             by rail. PHMSA found that the proposed
                                             service due to increases in transit or        speed restriction that offers the greatest
comments in relation to speed                “turn” times; increased congestion;
restrictions. These comments have been                                                     safety benefits is also the most costly;
                                             slower or less predictable delivery times conversely, the least costly speed
grouped together where appropriate and       for some products transported by rail,
paraphrased.                                                                               restriction offers the least safety
                                            including crude oil, ethanol, and              benefits.
  Response to Comments Related to Speed agricultural commodities; slower                      To further refine this analysis,
 Restrictions                               passenger or commuter rail service; and PHMSA has focused its attention on
                                            increased costs to shippers and carriers. identifying the proposed speed
    As a safety organization, PHIvISA       Moreover, if an overly restrictive speed       restriction that confers the greatest
 works to reduce the safety risks inherent limit were codified in the
                                                                          final rule, the amount of benefit per dollar of cost.
 in the transportation of hazardous         negative effect on network fluidity            PHMSA has determined that Option 3
 materials in commerce by all modes of      could become an indefinite burden on          confers the greatest amount of benefits
 transportation, and in this rulemaking,    carriers, shippers, rail passengers, and      per dollar of costs, which lends support
 has focused its efforts on the safety of   other stakeholders, since adding              for the implementation of a 40-mph
 the transportation of large quantities of  capacity to the rail network would            speed limit in HTUAs. See the Final
 Class 3 flammable liquids by rail. To      likely be costly, time-intensive, and in      RIA for detailed cost and benefit figures.
 demonstrate that speed restrictions        some cases not feasible.                          Accordingly, PHMSA has decided not
 relate directly to safety risks, PHMSA         Therefore, if the proposed speed          to apply the 40-mph speed limit to all
 has provided data to demonstrate the      restrictions were to significantly hinder areas (Option 1) because this would be
 relationship between speeds, kinetic      rail network fluidity, PHMSA believes          overly restrictive and highly costly to a
 energy, tank car punctures in a           that some diversion of crude oil and           variety of stakeholders, and it confers
 derailment, and subsequent releases of    ethanol transport to highways could            the least benefits per dollar of costs.
hazardous material into the                occur. Given substantial rail-to-truck         PHMSA has also taken into
environment (See RIA). As a result of      diversions, the proposed speed                 consideration the fact that Option 2 has
the Sharma modeling, PHMSA agrees          restrictions might also lead to increased a lower benefit-cost ratio than Option 3,
with the commenters’ concerns that         safety risks in the wider transportation       which lends further support for Option
derailments and releases of hazardous      system, especially the highway                 3 and raises concerns about Option 2.
material could have adverse impacts on transportation system, which could in                  Regarding Option 2, PHMSA agrees
public safety and the environment and      turn result in increased highway               with some of the commenters’ concerns
has proposed to reduce safety risks        accidents involving Class 3 flammable          and acknowledges some of the potential
through the implementation of speed        liquids and increased costs related to         problems presented by Option 2’s
restrictions.                              responding to or mitigating highway            geographical standard, “an area [. .
  26688             Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

     that has a population of more than         duly considered, but PHMSA is not           and related comments are discussed in
     100,000 people.” Specifically, PFIMSA      electing to adopt them. PHMSA was not the “Advanced Brake Signal
    recognizes that the size of a population    provided with sufficient data to            Propagation” section below.
    does not always relate to the proximity     demonstrate concretely that any one           Various commenters expressed
    of a population to a potential railway      alternative lower speed limit would be      concerns for the environment and
    accident. Proximity may be a better         superior to the speed restrictions          thought speed restrictions should be
    indicator of potential damages or harm      proposed in the NPRM. These                 applicable in environmentally sensitive
    in the event of a derailment. PHMSA         commenters either did not disclose how areas, such as in the vicinity of water
    also recognizes that the threshold of       a given damage reduction estimate was       resources or navigable waterways. In
    100,000 people may present difficulties     formulated, or their suggestion for an      response, PHMSA affirms that our
    for purposes of compliance and              alternative speed limit lacked an           organizational mission includes
    enforcement. Further, PHMSA reiterates empirical basis.                                 protecting the environment from the
    that the implementation of Option 2           The BLET and other commenters have risks of transporting hazardous
   would be more costly and confers fewer stated that additional accident modeling materials in commerce. PHMSA
   benefits per unit of costs than Option 3. could be conducted at different speeds,       acknowledges the importance of
   This cost/benefit analysis, the problems such as 30 mph. PHMSA believes                 environmental concerns and that speed
   presented regarding the geographical        additional accident modeling could          restrictions may be an effective way to
   standard of Option 2, and the general       help determine if alternative lower         protect the environment from releases of
   lack of commenter support for Option 2      speed limits would reduce the severity      hazardous material. Releases of
   as proposed, have led PHMSA to not          of an accident more effectively than the hazardous materials
                                                                                                                  in a derailment
   elect to codify Option 2 in the Final       proposed speed restrictions. In response could have significant
                                                                                                                     adverse impacts
   Rule.                                       to this and other comments about the
       Regarding Option 3, PHMSA believes costs and benefit calculations related to        in these  areas. Further,  these areas
   that the implementation of Option 3                                                     might not be highly populated or part of
                                               speed, further modeling was conducted
   would yield significant safety benefits,                                                a designated HTUA and consequently,
                                               from speeds of 30 mph through 50 mph
  especially in the nation’s most                                                          might   not be protected by the proposed
                                               (See table 22).
  populated areas where derailments are           In contrast to alternative lower or      speed restrictions.
  more likely to be catastrophic. PHMSA        more restrictive speed limits, some            Citizens Acting for Rail Safety (CARS)
  also believes that the costs of              commenters suggested a different, less      suggested using the Environmental
  implementing Option 3 are justified.         restrictive alternative: PHMSA should       Protection Agency (EPA)’s definition of
  PHMSA is confident that the                 not impose new speed restrictions at all. “environmentally sensitive areas” or
  geographical standard, HTUAs, is            For example, Biggs Appraisal Service         using a pipeline safety definition, which
  practical and well-defined and thus,        has stated, “The railroads have speed        pertains to “areas that are unusually
  would be understood for compliance          limits on every section of track that they sensitive to environmental damage.”
  and enforcement purposes. Namely, the operate. [. . .] Why put additional               PHMSA believes these sources might
  HTUA designation has been codified          restrictions on the railroads when they      provide a sound basis for defming an
  since 2008 in 49 CFR Section 1580.3. In already have systems in place that               environmentally sensitive area, or
  addition, PHMSA recognizes the              work?” Regarding this point, PHMSA          similar areas, in order to extend the use
  importance of industry cooperation to       recognizes that there are FRA               of speed restrictions and offer specific
  date on the issue of a 40-mph speed         regulations in place pertaining to speed protections to the environment.
 limit in HTUAs. For these reasons,           restrictions and track classes, and some    However, under 49 CFR 172.820,
 PHMSA is electing to adopt Option 3, a       railroads have voluntarily chosen to        routing analyses are required of
 40-mph speed limit for HHFTs in              implement speed restrictions. However, railroads carrying certain hazardous
 HTUAs.                                       the FEA regulations relate to track         materials. The final rule will codify
      PHMSA must also conduct its final       classes and do not address the specific     these same routing requirements for
 rulemaking with due consideration to        risks of HHYTs, and the voluntary speed railroads transporting Class 3 flammable
 the scope of its proposed rulemaking.       restrictions in place do not carry the       liquids in a HHFT. By performing a
 Some of the commenters suggested            weight of law. PHMSA believes that the routing analysis, railroads transporting
 alternative, more restrictive speed limits increased number of derailments and           flammable liquids in a HHFT will be
 that were significantly lower than the      accidents in recent years has                required by the HMR to consider, among
 speed limits proposed in the NPRM.          demonstrated that the speed limit            other things, “environmentally sensitive
 These speed limits cannot be adopted        systems in place require enhancements, or significant areas,” and they must base
 because PHMSA must codify                   such as the proposed speed restrictions. their routing selection on the analysis.
regulations in its Final Rule that are       Accident modeling data has shown that PHMSA believes this is ultimately a
reasonably aligned with what PHMSA           reducing speeds from 50 mph to 40 mph more effective approach to reducing
has proposed in previous stages of the       is an effective way to reduce safety        risks to environmentally sensitive areas
rulemaking in order to afford the public risks, namely the number of punctures           than the promulgation of speed
and interested parties an opportunity to that occur in a derailment. To                  restrictions that are specific to those
comment on the agency’s proposed             implement no speed restriction at all       areas. Further, in the NPRM, PHMSA
actions.                                     would require a deliberate decision to      did not propose a definition for the
      Other commenters suggested             forego certain safety benefits.             designation of environmentally
alternative lower speed limits that are          In the NPRM, PHMSA proposed an          sensitive areas nor did it propose to base
approximate or comparable to the             additional speed restriction of 30 mph      speed restrictions on environmental
proposed speed restrictions. For             for tank cars that are not equipped and     criteria. PHMSA believes it would be
example, the City of Chicago suggested       operated with either a two-way EOT          outside the scope of this rulemaking to
a 35-mph speed limit in HTUAs. These         device or a OP system. Furthermore, the require lower speeds in these areas.
alternative lower speed limits that were NPRM proposed requirements for                      PHMSA would like to respond to
approximate or comparable to the speed certain tank cars to be equipped with             other comments related to speed
restrictions proposed in the NPRM were ECP braking systems. These proposals              restrictions enumerated below.
                    Federal Register / Vol. 80, No. 89/ friday, May 8, 2015 / Rules and Regulations                         26689

  1. Speed Restrictions Should Be             responsive approach to mitigate these         times for offerors and carriers with
 Harmonized                                   risks.                                        retrofitted tank cars.
     PHMSA has cooperated and will               Comments suggesting that proposed
                                              speed restrictions should apply to the        5. Speed Restrictions Could Be Lessened
 continue to cooperate with Transport                                                       Over Time If Technology Improves
 Canada and other appropriate                 transport of all hazardous materials by
                                              rail were considered. However, PHMSA             Technological improvements are
 international bodies. PHMSA seeks to
                                              did not propose this in the NPRM, and         oftentimes the “triggering” or
 harmonize the proposed operational
 controls whenever it is feasible and         this suggestion cannot be adopted in the “initiating” event for a new rulemaking
                                              Final Rule due to concerns that it is not    or some other regulatory action. PHMSA
 justified. As of April 23, 2014, Canada
                                              reasonably aligned with what has been        agrees that there is a possibility that
 issued an Emergency Directive that
                                              proposed. Moreover, the operational          speed restrictions could be reduced or
 established a 50-mph maximum speed                                                        eliminated amid significant
                                              controls addressed in this rule,
 limit for certain trains carrying                                                         technological improvements in the rail
                                              including speed restrictions, are aimed
 “Dangerous Goods,” which is
                                              at reducing the risk and consequences of transportation industry.
comparable to the 50-mph maximum              incidents involving rail shipments of        6. Speed Limits Should Apply Only to
speed limit established through the           Class 3 flammable liquids. The analyses, Specific Configurations
cooperation of the Department and                                                                                    and/or a
                                              data, and relevant factors considered in     Specific Number of Tank Cars, Such as
AAR. These actions demonstrate that           developing this nile are specific to these a Continuous
PHMSA and Transport Canada have                                                                            Block of 20 or More Tank
                                              materials. Information has not been
already achieved harmonization in some                                                     Cars
                                              provided to support expanding these
respects.                                     restrictions to all hazardous materials or       PHMSA agrees with this point of
    Nevertheless, speed restrictions do      to justify the associated negative            view. Based on commenter feedback, we
not necessarily need to be harmonized         impacts on rail fluidity and costs.          have revised the NPRM’s proposed
between Canada and the U.S. In the                                                         HHFT definition to comprise trains with
final rule, PHMSA is implementing a           3. PHMSA Lacked Important Data That          a continuous block of 20 or more tank
geographical standard for speed              Could Be Used To Estimate Costs or            cars or trains with a total of 35 or more
restrictions that is specific to U.S.        Benefits Pertinent to Speed Restrictions tank cars carrying Class 3 flammable
geography. Also, train speeds can be         and/or More Cost/Benefit Analysis             liquids. In doing so, PHMSA seeks to
adjusted fairly easily, and differences in   Should Be Conducted                           address higher risk unit train
speed limits between localities in the           Various commenters have identified        configurations. In other words, PHMSA
U.S. and Canada would not present an         factors that contribute to costs or           seeks to regulate trains that transport a
undue burden on locomotive operators.        benefits that PHMSA has not included          substantial number of Class 3 flammable
Harmonization of speed restrictions is       in its cost/benefit analysis. PHMSA          liquid-carrying tank cars while avoiding
not essential.                               published a Draft RIA alongside the          unwarranted regulation of trains that
 2. Speed Restrictions Should Only           proposed rule to address the                 transport smaller quantities of
 Apply to Tank Cars Carrying Certain         requirements of Executive Order 12866, flammable liquids in a “manifest” train.
 Hazardous Material(s); or Alternatively, to explain the basis of its cost/benefit        For additional information regarding the
 to the Rail Transport of All Hazardous      analysis, and also to encourage              scope of the Final Rule, please refer to
 Materials                                   stakeholder discussion of cost/benefit       the section describing the definition of
                                             analyses pertinent to this rulemaking.       an HHFT.
    PHMSA typically uses the hazardous       Since the NPRM, PHMSA has improved
 materials classes (Hazard Classes 1         upon its cost/benefit analyses and has       7. Speed Limits Should Be Based on
 through 9) to distinguish the risks of      published a final regulatory impact          Track Conditions, Classes, or Quality!
 different hazardous materials. In recent    analysis in conjunction with the final       Integrity.
 years, increased crude oil and ethanol      rule based on comments received and              While track conditions and quality are
 production have presented increased         data provided.                               an important part of rail safety, PHMSA
 risks to the rail transportation system,                                                 believes that creating a system of speed
 but other types of flammable liquids        4. Speed Limits Should Apply to Trains
                                                                                          restrictions based on these track factors
 could present similar risks. By defining    Consisting of “Enhanced” Tank Cars, as is not warranted at this time. PHMSA
 a HHfT as a train with a continuous         Well as to Trains With One or More           did not propose in the NPRM to base
block of 20 or more tank cars or a total     Tank Cars That Are Not “Enhanced”            speedlimits on these factors. The
 of 35 or more tank cars containing a           An “enhanced” tank car is one that        commenters did not provide sufficient
Class 3 flammable liquid, we address         meets or exceeds the retrofit standards      data to show how and to what degree
the specific risks of increasing crude oil or the standards set forth by                 new speed restrictions would relate to
and ethanol production while also           Specification DOT—117. Specification         track conditions or quality. The
anticipating the potential for future risks DOT—117 tank cars and retrofitted tank       commenters did not propose any
presented by the increased production       cars have advanced technology and            specific system for the implementation
or transport of other Class 3 flammable     present less safety risks to the rail        of speed restrictions based on track
liquids.                                    transportation system, the public, and       conditions or quality.
   PHMSA disagrees with commenters          the environment than “legacy”                     Further, FRA regulations codified in
who suggested that the proposed speed       Specification DOT 111 tank cars. In          49 CFR part 213—Track Safety
restrictions only apply to crude oil, or    addition, PHMSA believes that there          Standards already enforce a system of
alternatively, only to crude oil and        should be incentives for tank car owners speed limits based on track classes. One
ethanol. PHMSA believes that Class 3        and lessors to retrofit or upgrade their     commenter stated that the
flammable liquids present similar risks     fleet of tank cars. By retrofitting or       aforementioned FRA regulations render
and as such, basing the proposed speed      upgrading their tank cars, a carrier can     the NPRM’s speed restrictions
restrictions on a given hazardous           transport their tank cars at speeds above “redundant.” On this point, PHMSA
material’s classification as Class 3        the proposed speed restrictions, and this disagrees because the proposed speed
would be a comprehensive and                could advantageously shorten transit         restrictions are specific to the risks of
  26690              Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

    Class 3 flammable liquids and the type,        One commenter stated that the HTUA and subsequent displacement of other
    number, and configuration of tank cars      designation is “irrelevant” in the            commodities in the rail system. In such
    in a train. The proposed speed              context of reducing rail safety risks, as     a case, poor service could not
    restrictions offer additional safety        it was designed for the identification of necessarily be attributed to PHMSA’s
    benefits.                                   terrorist targets. PHMSA disagrees. The       proposed speed restrictions.
       Also, the final Rule extends the         HTUA designation is also applicable to        Nevertheless, PHMSA is also concerned
    routing requirements of 172.820 to the the reduction of rail safety risks because with the impact of the proposed speed
    transport of Class 3 flammable liquids      it encompasses many areas that, if they      restrictions on rail network fluidity, and
    by rail in HHFTs. Under these routing       were involved in a derailment, could          seeks to limit their potential negative
   requirements, railroads transporting         result in widespread damages. The            effects.
   HHFTs will be required to consider           likelihood that a derailment would              The AAR proposed and implemented
    “track type, class, and maintenance         result in catastrophic damages is greater voluntary speed restrictions to mitigate
   schedule” and “track grade and               in HTUAs than most other areas. A            the risks of crude oil transport. Thus far,
   curvature,” among other factors, in their different commenter criticized Option 3 these voluntary speed restrictions have
   choice of routes. Railroads moving           and the HTUA designation because it          not been applicable to ethanol transport
   HHFTs must base their routing decision was seen as overly restrictive and                 by rail. When considering additional
   on this analysis, effectively taking into   includes “dozens of areas.” PHMSA             speed restrictions, PHMSA looks at
   consideration the potential problems        disagrees on the basis that only              cost/benefit analysis from a holistic
   presented by track conditions, classes,     approximately 7% of the rail network is perspective and does not give any one
   or quality.                                 located within the limits of HTUAs.           industry or stakeholder a preference in
      One commenter stated that a 30-mph           Regarding alternative geographical        its analysis. PHMSA seeks to extend the
   speed limit should be in place for the      standards, PHMSA affirms that there are safety benefits of the proposed speed
   segments of track that are in use for       costs involved in creating new                restrictions to the transport of all Class
   passenger service. Trains in freight rail   regulatory standards, potential issues        3 flammable liquids, including ethanol,
  service and passenger rail service share     with implementation and clarity, and         as well as limit the negative effect of
  significant portions of the nation’s rail    benefits involved in consistencies           these speed restrictions on overall rail
  infrastructure, so implementing this         between federal regulations. In this         network fluidity and the costs borne by
  suggestion would be overly restrictive.      respect, the HTUA designation would          all industry participants, including
  8. The Proposed Speed Limits Are             be easier, more effective, and clearer to    ethanol producers.
  Based on Inadequate Geographical             implement in accordance with a 40-mph            PHMSA acknowledges that, after the
  Standards                                    speed limit because it has been codified final rule takes effect, the adopted speed
                                               since 2008 in Title 49, CFR.                 restrictions will have a direct impact on
      PHMSA considered different              Accordingly, rail network users and           ethanol producers and carriers. There
  geographical standards in its                operators already have a compliance          will be an increase in burden or costs to
  development of the proposed speed           history with this regulation. Conversely, shippers and carriers of ethanol if, prior
  restrictions, and commenters offered        rail network operators are not familiar       to the rulemaking, they had moved
  various alternative geographical            with PER and other alternative                ethanol above 50 mph. Union Pacific
  standards, including references to          geographical criteria, and there would       has stated, “Freight trains often operate
  Bureau of the Census criteria or data for be a particular cost attached to                at speeds between 50 mph and 70
  urban areas. However, the commenters        introducing novel geographical criteria.     mph.” Thus, freight trains could have
  did not submit an accompanying cost!                                                     moved ethanol above 50 mph prior to
 benefit analysis of the alternative          9. Slow Rail Operations Have Already
                                              Affected   U.S.  Ethanol Production          the rulemaking.
 geographical standards, and these                                                 by          Nevertheless, commenters did not
 alternatives in many cases were not          Limiting the Amount of Ethanol That
                                                                                           adequately relate to what degree the 50-
 adequately elaborated so that PHMSA          Can Be Transported by Rail, and the
                                                                                           mph maximum speed limit would
 could analyze whether or not they            Proposed Speed Restrictions Will
                                              Negatively Impact Ethanol Transport          decrease the actual operating speeds of
 would be superior to the proposed                                                         HHFTs carrying ethanol. Overall, fewer
 speed restrictions.                              According to the Michigan Agri           commenters expressed concerns about
     The NTSB proposed the “potential         Business Association, the Michigan           the 50-mph speed limit than about the
 impact radius” (PER) model as an             Farm Bureau, and businesses in the           three 40-mph speed limits. In addition,
 alternative geographical standard. NTSB ethanol industry, slow rail service has           industry cooperation with the
 likened PER to an approach used by           already impacted the ability of ethanol     Department has already established 50
 PHMSA’s gas pipeline regulations. PER       producers to effectively ship and deliver mph as a maximum speed limit for
 might be an effective geographical          ethanol to consumers. To that effect,        certain trains. In Canada, Transport
 standard for pipeline safety, but it is not Homeland Energy Solutions has stated         Canada issued an Emergency Directive
 clear if this standard would also be        that the presently slow rail service has     in April 2014 requiring all companies to
 suitable for rail transportation safety.    been difficult to overcome and               not operate a “Key Train” at speeds that
Rail transport involves a wider variety      additional speed restrictions applicable exceed 50 mph. For these reasons, it is
of commodities and amounts                   to ethanol transport will further hinder     PHMSA’s understanding that the 50-
transported, which presents a wider          the industry, potentially causing some       mph maximum speed limit is a common
variety of risks that are mode-specific.     producers to shut down.                      industry practice and implementing this
On this basis, PHMSA does not believe            In response, PHMSA asserts there are speed limit would not drastically
that PER would be better than the            many factors that might be slowing           change the maximum speeds at which
geographical standards proposed in the       existing rail operations. Reduced speed      most trains carrying hazardous
NPRM. Furthermore, PHMSA believes            is only one factor that might result in      materials, including ethanol, operate.
that the HTUA designation is in fact         slow rail service. For example, the              In addition to the 50-mph maximum
responsive to the need for greater           contributing factors of poor rail service    speed limit, ethanol shippers and
protections in the areas that present the    might include the rapid increase in the      carriers are directly affected by the 40-
greatest risks or “potential impact.”        production and transport of crude oil        mph speed limit in HTUAs as a result
                      Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations                                         26691

    of the final rule. As with the 50-mph      10. Voluntary Speed Restrictions Are                 restrictions so that “manifest” trains
    maximum speed limit, however, it is not Sufficient and Should Not Be Codified;                  would not be regulated to the same
    clear to what extent HHFTs carrying       or Voluntary Speed Restrictions Are                   degree as a unit train of Class 3
    ethanol would be affected. BNSF has       Insufficient and Should Be Codified                   flammable liquid.
   indicated that rail speeds through            PHMSA believes the speed
   population centers of 100,000 or more,                                                              PHMSA has revised its definition of
                                              restrictions should be codified.                      an HHVF in response to commenter
   which would also include all HTUAs,        Recommended practices, such as
   are already “at or below 40 mph.” This                                                           feedback on typical train configurations
                                              voluntary speed restrictions, do not                  involving Class 3 flammable liquids,
   suggests the costs impacts of the 40-mph carry the weight of law. Recommend
   speed limit in HTUAs would be                                                    ed              including crude oil and ethanol. The
                                              practices do not provide legal recourse               revised definition would allow rail
   minimal.                                   in the event a railroad moves an HHVF
      For other carriers or entities within                                                        carriers to configure up to 34 tank cars
   the ethanol industry, Option 3 might       at speeds exceeding voluntary speed                  carrying flammable liquids so long as
                                              restrictions thus increasing the                     there are not 20 or more tank cars in a
   introduce new costs to them, but
                                              likelihood of catastrophic damage in a               continuous block. A train that
  PHMSA believes the costs are justified
                                             train accident. Further, without the
  by additional safety benefits. Since                                                             distributes hazmat-carrying tank cars
                                              codification of these requirements, the
   Option 3 refers to a 40-mph speed limit                                                          (i.e., configures them to limit the size of
  in HTUAs, only a small portion of the       speed restrictions could be lifted
                                             altogether in a premature manner,                     continuous blocks) in a consist would
  rail network—around 7% of the nation’s                                                           most likely pose a lower risk than a
                                             increasing safety risks. Codifying the
  track—will be affected by this new                                                               train with continuous blocks of cars
  speed restriction. On balance, Option 3    speed restrictions will ensure that the
                                             safety benefits of speed restrictions are             containing hazmat. Moreover, the
  is the least costly of the three speed                                                           threshold of 35 or more total tank cars
  options proposed and concentrates its      realized indefinitely and cannot be
                                             prematurely lifted without the                        prevents a rail carrier from being able to
  protections in the areas where a                                                                 transport an essentially unrestrained
                                             appropriate procedural requirements.
  derailment is most likely to be                                                                  quantity of Class 3 flammable liquid
                                             Further, this codification allows
  catastrophic and safety benefits are                                                             tank cars by continually and
                                             PHMSA and FRA to ensure compliance
  greatest. The ability to limit the cost                                                          purposefully avoiding the configuration
  impacts of the proposed speed              by exercising oversight and taking
                                             appropriate enforcement actions.                      of a 20th tank car in a continuous block.
 restrictions on industry, including                                                               As such, the revised HHFT definition
  ethanol shippers, carriers, and others,    11. Speed Restrictions Could Have                     will limit the impact of the proposed
 has lent support to PHMSA’s decision to Unintended Consequences, Such as                          speed restrictions on “manifest” trains.
 implement Option 3. PHMSA believes          Increased Delays to Vehicles Stopped at
 the new costs to ethanol industry           Railroad Crossings or Carriers Choosing              12. Speed Restrictions Will Influence
 participants are limited and justifiable.   Not To Configure a 20th Tank Car in                  Externalities, Such as Noise
     PHMSA does not intend to                Order To Avoid Speed Restrictions                    Disturbances
 unjusfifiably introduce costs into the         Regarding increased delays to
 operations of stakeholders, especially                                                              PHMSA agrees that the proposed
                                             vehicles stopped at railroad crossings,               speed restrictions might result in
 those who qualify as small businesses or commenters did not provide specific
 small entities. For this reason, and in                                                           externalities, such as reduced noise
                                             data regarding the time or cost burden                disturbances. PHMSA has taken into
 compliance with the Regulatory              of this kind of delay. PHMSA recognizes
 Flexibility Act (RFA) (5 U.S.C. 601—                                                              consideration the most significant
                                            this could be a consequence of the                    externalities that would result from this
 612), PHMSA must conduct a regulatory proposed speed restrictions, but is
 flexibility analysis addressing the                                                              rulemaking. PHMSA’s review of the
                                            unable at this time to quantify the time
rulemaking’s economic impact given                                                                comments, analysis of costs and
                                            burden or cost of increased vehicle
that the rulemaking is likely to “have a    delays at railroad crossings. PHMSA                   benefits, and coordination between
significant economic impact on a            expects the cost of these delays would                regulatory, economic, and technical
substantial number of small entities.”      not be substantial.                                   subject matter experts has facilitated a
The nilemalting’s RFA demonstrates              Regarding train configurations and the            critical evaluation of the NPRM’s
that the impact to small entities as a      proposed speed restrictions, PHMSA                    proposed speed restrictions.
result of this rulemaking will be limited seeks to limit the implementation of                       The following table summarizes the
and should not cause any small entities     speed restrictions to train consists with             NPRM’s proposed speed restrictions and
to cease operations. Please refer to the    a substantial number of tank cars                     presents some of PHMSA’s analysis as
RFA section for additional explanation      carrying Class 3 flammable liquids. In                to whether or not a given speed
of the final rule’s impact on small         practical terms, PHMSA seeks to limit                 restriction would be an effective
entities.                                   the effect of the proposed speed                      regulation.
                                            TABLE 24—ANALYSIS OF SPEED RESTRICTIONS

      The NPRM’s proposed
        speed restrictions                                                             Analysis

Option 7: 40-mph speed limit in all Option 1 was the most restrictive of the three 40-mph speed limits proposed. Option 1 was the most costly
 areas.                              and confers the least benefits per dollar of costs. Also, the costs presented by Option 1 significantly out
                                     weighed the benefits of Option 1 in PHMSA’s cost/benefit analysis, even when using the highest value in
                                     the benefit range to evaluate Option l’s net effect. Further, PHMSA believes the effect of Option 1 on
                                     rail network fluidity could be substantial.
Option 2: 40-mph speed limit in Commenters stated that Option 2’s geographical standard is inadequate and unworkable. There was rel
 areas with mote than 700,000        atively little explicit support for Option 2 among commenters. Option 2 confers significantly less benefits
 people.                             per unit of costs than Option 3.
  26692                federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

                                        TABLE 24—ANALYsIS OF SPEED REsTRIcTIONs—Continued

        The NPRM’s proposed
          speed restrictions                                                                Anal sis

  Option 3: 40-mph speed limit in Option 3 would yield significant safety benefits, particularly in the nation’s densely populated areas, which
    High-Threat     Urban     Areas    present an increased likelihood of the occurrence of a catastrophic event, likewise, Option 3 confers the
    (HTUAs).                           most safety benefits per unit of costs. In addition, the geographical designation of High-Threat Urban
                                       Area (HTUA) is workable, defined, and codified in Part 1580 in Title 49 CFR.
  50-mph maximum speed limit for The 50-mph maximum speed limit for HHFTs does not introduce new costs to stakeholders that offer or
    HHFTs.                             ship crude oil. A 50-mph speed limit for HHFTs is in line with widely adopted practices due to trade as
                                       sociation and industry cooperation with regulatory bodies. It is also considerably harmonized with Trans
                                       port Canada’s April 2014 Emergency Directive.
  30-mph speed limit for HHFTs with- The 30-mph speed limit for HHFTs without a two-way EOT device or DP braking systems would not be
    out enhanced braking systems.      generally applicable, provided that HHFTs are in compliance with the requirements for the use of these
                                       enhanced braking systems in the Final Rule. Speed limits pertinent to the use of ECP braking systems
                                       are discussed in the Braking Section of the Final Rule.


 Conclusion                                         action with regard to train speeds is               (‘pounding”) on the rails. These are
                                                    appropriate.                                        major contributing factors to
      In the final rule, PHMSA and FRA are                                                              derailments. In-train forces resulting
   adopting requirements for speed              D. Advanced Brake Signal Propagation
                                                                                                        from the application of conventional air
   restrictions for HHFTs. Specifically, this Systems                                                   brakes also can directly contribute to
   rulemaking adds a new § 174.310 to Part         Since the passage of the First Safety                derailments, particularly in emergency
   174—Carriage by Rail. Section                Appliance Act of March 2, 1893, freight                 situations, as freight cars can be
   174.310(a)(2) establishes a 50-mph           train operations in the U.S. have                       forcefully bunched together when the
   maximum speed restriction for HHFTs.         traditionally relied on air brakes to slow             train is brought to a stop quickly. These
  In addition, § 174.310(a)(2) establishes a and stop a train.64 This conventional air                  forces may also be amplified by the
  40-mph speed limit for HHFTs within          brake system has proven to be reliable,                 longitudinal slosh effect of a liquid
  the limits of high-threat urban areas        but it has drawbacks. When a train is                   lading, such as crude oil or ethanol.
  (HTUAs) as defined in 49 CFR 1580.3,          long and heavy, as is typically the case               Such factors have led PHMSA and FRA
  unless all tank cars containing a Class      in the context of an HHFT, a                            to consider advanced brake signal
  3 flammable liquid meet or exceed the        conventional air brake system can easily                propagation systems as a way to
  retrofit standards, the performance          take over one-half mile to bring a train                improve safety in the transportation of
  standard, or the standards for the DOT       to a stop, even with the emergency                      Class 3 flammable liquids by rail,
  Specification 117 tank car provided in       brakes applied. Moreover, the length of                 particularly with respect to longer trains
  Part 179, Subpart D of the Hazardous         a train will significantly affect the time              transporting 70 or more tank cars loaded
  Materials Regulations (HMR). The 40-         it takes for the conventional air brakes                with Class 3 flammable liquids. These
 mph speed limit for HIIFTs within the         to apply to the entire consist. It can take             more advanced systems have the
  limits of HTUAs is in line with Option       a number of seconds for the air brake                   capability to stop trains more quickly
 3 proposed in the NPRM.                       system to function as air is removed                    and reduce the number of braking
                                               from the system to engage the brakes,                   induced derailments.
     In addition as discussed previously       beginning with the cars nearest to the
 on April 17, 2015 FRA issued                  locomotive and working towards the                       Types of Brake Signal Propagation
 Emergency Order 30 to require that            rear of the train. for example, in a 100-                Systems Considered in the NPRM
 certain trains transporting large amounts car train it could take up to 16 seconds                        Brake signal propagation systems are
 of Class 3 flammable liquid through           as the brakes fully apply sequentially                   interconnected arrangements of braking
 certain highly-populated areas adhere to from front-to-back. This lag in air brake                     components that operate together to
 a maximum authorized operating speed application time from the front to the                            slow or stop a train. Compared to
 limit.63 Under Emergency Order 30, an        back of the train also can result in                      conventional air brakes, these systems
HHFT with at least one DOT—ill tank            significant in-train buff and draft forces.              can reduce the number of cars impacted
car (including those built in accordance These in-train forces can lead to wheel                        (e.g., derailed or punctured), can
with CPC—l232 loaded with a Class 3            damage (e.g. slid flat spots) and can                    dissipate the kinetic energy associated
flammable liquid) must not exceed 40          negatively impact rail integrity as these                with train accidents, and in some
mph in HTUAs as defined in 49 CFR             flat spots create a vertical impact force                 instances can prevent an accident from
 1580.3. As this final rulemaking does                                                                 occurring through accident avoidance.
not become effective for 60 days from            64 The conventional sir brake system
                                                                                        was            In the NPRM, PHMSA and FRA
publication FRA believes the                  invented by George Westinghouse in approximately
                                              1869. It relies on sir pressure to apply and release
                                                                                                       considered three advanced brake signal
restrictions in Emergency Order 30 will       the air brakes on each car in a train’s consist. There   propagation systems that would
address an emergency situation while          is an air brake line that connects each car to an air    contribute to the safe transportation of
avoiding other safety impacts and harm        source provided by the locomotive. When the air          Class 3 flammable liquids when
                                              brakes are in the release position, the locomotive is
to interstate commerce and the flow of        providing air pressure to prevent the air brakes from
                                                                                                       transported in bulk by rail: Two-way
necessary goods to the citizens of the        applying. When air pressure is reduced in the            end-of-train (EOT) devices, distributed
United States. FRA and DOT will               system during a service application, the air brakes      power (DP) systems, and electronically
continue to evaluate whether additional will apply. (Note: There are also hsndbrakes on                controlled pneumatic (ECP) braking
                                                  each car and each locomotive and an independent
                                                  brake on each locomotive. Hsndbrskes are not
                                                                                                       systems.
 63See http://www.phmsa.dot.gov/pv_obj_cache/     activated by a train’s air brakes system.               Two-way EOT devices include two
pv_ob_id_2DA43BA37O4E57F1958957625273             Independent brakes may be applied and released       pieces of equipment linked by radio that
D89A29FFOBOO/filenome/EO3OF1NAL.pdf.              separately from the train’s air brake system.)       initiate an emergency brake application
                         Federal Register/Vol. 80, No. 89/friday, May 8, 2015 /Rules and Regulations                                                        26693

   command from the front unit located in                 probability of punctures in the event of    installed. All cars in a train, as well as
   the controlling (“lead”) locomotive,                   a derailment, although the updated          locomotives, must be equipped with
   which then activates the emergency air                 modeling determined that ECP brakes         wiring to allow the brake system to be
   valve at the rear of the train within one              provide an approximate safety benefit of relayed through the entire train before
   second. The rear unit of the device                    26—30 percent in terms of reduced           the train can operate in ECP brake
   sends an acknowledgment message to                     probability of tank car punctures.          mode.68 As a result, an ECP brake
   the front unit immediately upon receipt                PHMSA and FRA conducted additional system is not efficient in a situation
   of an emergency brake application                      analysis of the results provided in the     where a substantial number of cars are
   command. A two-way EOT device is                       updated analysis and determined that        not equipped to handle ECP brakes.
   slightly more effective than                           ECP brakes were almost 20 percent more This aligns with the experiences learned
   conventional air brakes because the rear               effective than a two-way EOT device or      from the operation of ECP-equipped
   cars receive the emergency brake                       DP unit when weighted based on the          trains by BNSF Railway (BNSF) and
   command more quickly in an engineer                    quantity of product spilled in a            Norfolk Southern Railway (NS), which
  induced emergency brake application.                    derailment.                                 indicate that ECP braking technology
     DP systems use multiple locomotives                     The simultaneous application of ECP      can be implemented most effectively on
  positioned at strategic locations within               brakes on all cars in a train also           unit trains that tend to be kept in
  the train consist (often at the rear of the             significantly improves train handling by dedicated service (i.e. primarily used in
  train) to provide additional power and                 substantially reducing stopping              unit trains that are essentially
  train control in certain operations. For               distances as well as buff and draft forces transporting a single commodity, such
  instance, a DP system may be used to                   within the train, which under certain        as crude oil). Applying ECP brake
  provide power while climbing a steep                   conditions can result in a derailment.       systems in this manner has been
  incline and to control the movement of                 Because ECP brakes do not rely on            demonstrated to be successful both
  the train as it crests the incline and                 changes in air pressure passing from car domestically and internationally as
  begins its downward descent. The DP                    to car, there are no delays related to the   discussed in further detail below.
  system works through the control of the                depletion and recharging of a train’s air
  rearward locomotives by command                        brake system. These factors provide          Public Comments to the Brake System
  signals originating at the lead                        railroads with the ability to decrease      Proposal in the NPRM
  locomotive and transmitted to the                      congestion or to increase volume by             Given the increased risks associated
 remote (rearward) locomotives. DP                       running longer trains closer together.66    with an accident involving HHFFs, we
 systems are a mature technology and are                 Further, under current FRA regulations, specifically requested comments in the
 in widespread use on Class I railroads,                 trains relying on ECP brakes are allowed September 6, 2013, ANPRM on the use
 particularly those operating west of the                to run for longer distances between         of advanced brake signal propagation
 Mississippi River. While distributed                   brake inspections (up to 3,500 miles),       systems to reduce the number of cars
 power technically is not a braking                     which decreases the time equipment           and energy associated with derailments.
 system, the additional power source in                 spends out of service. See “ECP              Based on comments to the ANPRM and
 or at the rear of the train consist can                Efficiencies” discussion in the RIA.         the ERA simulation data described
 provide enhanced braking for a train.                  ERA’s existing regulations also permit
     EGP brake systems simultaneously                                                                above, in the August 1, 2014, NPRM we
                                                        significant flexibility related to the       proposed to require that each HHFT be
 send an electronic braking command to                  handling of cars with inoperative brakes equipped with an enhanced brake signal
 all equipped cars in the train, reducing               due to the fact that ECP braking systems propagation system (i.e., equipped with
 the time before a car’s pneumatic brakes               allow train crews to electronically
 are engaged compared to conventional                                                                more than just conventional air brakes)
                                                        monitor the effectiveness of the brakes      along with an implementation schedule
air brakes. They can be installed as an                 on each individual car in a train and
overlay to a conventional air brake                                                                  that would minimize the impacts on rail
                                                        provide real-time information on the         carriers. Specifically, subject to one
system or replace it altogether; however,               performance of the entire braking
FRA regulatIons do require that ECP                                                                  exception, we proposed to require the
                                                        system of the train.67 ECP braking           following:
brake systems be interoperable pursuant                 system technology also reduces the wear
to the AAR S—4200 standard, which                                                                       • Hl{FTs are to be equipped with a
                                                        and tear on brake system components         two-way EOT device as defined in 49
allows for interchange among the Class                  affd can reduce fuel consumption. The
I railroads. 49 CFR 232.603. The                                                                    CFR 232.5 or a DP system as defined in
                                                        combination of all these factors allows     49 CFR 229.5, by October 1, 2015.
modeling performed for the NPRM by                      for more efficient operations, which
Sharma & Associates suggested that ECP                                                                  • After October 1, 2015, a tank car
                                                       results in ECP-equipped trains having        manufactured in accordance with
brakes could reduce the severity of an                 higher utilization rates. These
accident when emergency braking is                                                                  proposed § 179.202 or § 179.202—11 for
                                                       efficiencies are addressed in detail in      use in a HHFT must be equipped with
applied by 36 percent (meaning that 36                 the RIA, which is included in the
percent fewer cars would be expected to                                                             ECP brakes.
                                                       docket.                                          • After October 1, 2015, HHFTs
puncture in the event of a derailment of                    Because U.S. railroads have
a 100 car train) compared to                                                                        comprised entirely of tank cars
                                                       traditionally relied on conventional air     manufactured in accordance with
conventional air brakes.65 Additional                  brakes, existing tank cars and
modeling (discussed in detail below)                                                                proposed § 179.202 and § 179.202—11
                                                       locomotives (to a lesser extent) have not (for Tank Car Option 1,
conducted after the NPRM, supports the                                                                                         the PHMSA and
                                                       been built with ECP brake technology         FRA Designed Car, only), except for
finding that ECP brakes reduce the
                                                                                                    required buffer cars, must be operated in
                                                           66PHM$A and FRA recognize that the outer
   65The estimates for ECP braking systems in the      length of trains will ultimately governed by ECP brake mode as defined by 49 CFR
NPRM have been revised based on updated                structural factors, such as the length sidings.          232.5.
modeling from Sharma & Associates. See Letter             67A train equipped with ECP brakes may depart
Report: Objective Evaluation of Risk Reduction         its initial terminal with 95 percent operative brakes,     This wiring could be used to by-pass a car or
from Tank Car Design & Operations Improvement—         whereas a train equipped with conventional air           locomotive if it were not equipped with ECP brakes.
Extended Study,” Sharma & Associates, March            brakes must have 100 percent operative brakes at         However, the train must have a minimum of 95
2015. The final rule relies on the updated modeling.   departure.                                               percent effective brakes. See 49 CFR 232.609.
  26694               Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

    To reduce the burden on small                brakes for tank car standards are offered than to suggest ECP offers marginal
  carriers that may not have the capital         but ALL tank cars carrying hazardous             benefits,” particularly when the
  available to install new braking systems,      materials should be equipped with the            increased effectiveness of DP systems is
  we proposed an exception. If a rail            highest level of brakes and brake                only 18 percent. The California Public
  carrier does not comply with the               signaling systems.”                              Utilities Commission and California
  proposed braking requirements above,             Other concerned public,                        Governor’s Office of Emergency Services
  we proposed that the carrier may               Congressional, Indian tribes and                 in their joint comment also noted that
  continue to operate HHfTs at speeds            environmental group commenters                  the 2006 study, “ECP Brake System for
 not to exceed 30 mph. Additionally, we          expressed support for ECP brakes as             Freight Service: Final Report,”
 sought specific comment on the                  proposed in the NPRM. Most stated               identifies a number of benefits related to
 capacity of tank car and locomotive             generally that they were in favor of the        the implementation of ECP braking
 manufacturing and retrofit facilities to        most stringent and advanced brakes              including: reduced stopping distances
 install advanced brake signal                   available for HHFTs. The Regional               up to 70 percent, reduction in undesired
 propagation systems, estimated costs of         Tribal Operations Committee                     emergency brake applications, improved
 ECP braking systems, alternative                commented that the final rule must              train handling, and reduced fuel
 simulations or modeling data to validate        “require state-of-the art braking systems consumption.
 the results of the FRA commissioned            for crude-by-rail trains to protect the             Additionally, some commenters noted
 analysis, and the interaction of safety        public in the face of what the [NTSB]            that EOT devices or DP systems are
 and environmental benefits when                has called ‘unacceptable public risks.”          already the base standard for industry
 coupled with speed restrictions or             Cost was not generally discussed by              and expressed concerns that codifying
 enhanced tank car standards. The table         those commenters who supported ECP              the requirement to equip one of those
 below details the types and amounts of         brakes, and cost did not appear to be a         two systems would not increase safety
 commenters on the braking proposals.           deciding factor in selection of a braking        in any significant manner. The BLET
                                                option for the commenters who                   stated in its comment that,    “.   .   .the
           TABLE 25—C0MMENTER                   supported use of ECP braking systems.           EOT requirement already exists in 49
    COMPOSITION: BRAKING COMMENTS               Specifically, these commenters desired          CFR 232.407.” As a result, it contended
                                                the tank car braking enhancements that          that the proposed EOT device
         Commenter type         Signatories     would result in the greatest                    “requirement was picked simply to have
  Non-Government Organiza                       improvemen      ts in safety for those in       no   economic impact on railroads
    tion                             100,738 proximity to the rail network as well as           because they were already complying
  Individuals                          8,622 for environmentally sensitive areas                with this rule.” The BLET noted that,
  Industry stakeholders                  217 along such routes.                                 “achieving cost savings is a worthy
  Government organizations or                      Commenters such as environmental             goal,” but urged that “it cannot be a goal
    representatives                        19 groups and state agencies supported               that comes at the risk of providing no
                                                ECP braking based on the modeling data additional safety benefits by
    Totals                          109,596 provided by PHMSA and FRA. The                      preservation of the status quo.” Further,
                                               Center for Biological Diversity, in its         the   BLET contended that, “[tJhe use of
    Most of the commenters support the
                                               comment with almost 23,000                      distributed power is also currently being
 proposed requirements for enhanced
                                               signatories, stated:                             done for business purposes of being able
 braking systems beyond conventional
 air brakes on HHFTs. Of those                    Given that  the  ECP system  would only      to   run longer, heavier trains due to more
 commenters who identified the braking         reduce the potential for tank car punctures by locomotive tracive effort provided at
 issue in their response, approximately        36%, it is unconscionable to allow the option the rear or within a train.”
 98 percent of signatories specifically        of a potentially cheaper distributed power          The Brotherhood of Maintenance of
                                               system, which would only reduce accident        Way     Employees Division (BMWED) and
 supported mandating ECP brakes for            severity by 18%.         Given the imminent
 HHFTs. Whereas, two percent of
                                                                  .   .
                                                                                               the Brotherhood of Railroad Signalmen
                                               hazard that HHFTs pose to human health and (BRS) in their joint comment support
 signatories opposed specifically              the environment, the most effective brake
 mandating ECP brakes for HHFTs in             system that has been shown to be readily        ECP braking if the requirement also
 favor of two-way EOT devices, DP              available for these trains must be employed,    includes a restoration of the 1,000—1,500
 systems, any enhanced braking, or no          and PHMSA must not offer a choice that         mile interval for brake and mechanical
 enhanced braking.                             would drastically increase the severity of      inspections to be performed by a
    Environmental groups, concerned            accidents.                                     qualified inspector.
public, other governmental                        Clean Water Action supports ECP                  Concerned public, shippers, trade
organizations, Indian tribes, local            brakes in their comment stating “[t]o          associations,    other governmental
governments, towns and cities, NGOs            slow HHFTs[,J all rail cars should be          organizations, and rail carriers were the
and trade associations were among the          equipped with the [ECP] brake system           main groups commenting in opposition
main groups supporting the mandating           whose effectiveness has been shown to          to   ECP brakes for HHFTs in favor of
of ECP brakes for HHFTs. It should be         be 36%.” It also comments that, “[ejven two-way EOT devices, DP systems, any
noted that while 98 percent of                though industry believes the ECP adds           enhanced braking or no enhanced
signatories supported ECP brakes, these significant time and cost investment and braking. While these commenters
commenters largely did not provide            the benefits will not be realized for           represented a small minority of the
additional data supporting the proposal months or years in the future, the                    overall number of signatories who
in the NPRM. Some concerned public            technology seems to offer significant           identified braking systems in their
commenters supported expanding the            benefits such as real time monitoring,          response, several of these commenters
braking proposal to require that all tank reduced wear and tear on the brake                  provided cost analyses or brake system
cars transporting hazardous materials be system, and fuel savings.” Clean Water               effectiveness data tp compare against
equipped with ECP brakes. In an online Action further noted that, “[ut would
write-in campaign, over 3,000 public                                                              69f, “ECP Brake System for Freight Service:
                                              have been encouraging for the industry          Final Report,” Booz Allen Hamilton, 2006, hftp://
commenters state: “[tJbree revels of          to embrace a proven technology rather           www.fto.dot.gov/eLib/Detoils/L02964.
                       Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                             26695

  the data presented by PHMSA and FRA                    measured by the decrease in kinetic                    makes little difference whether the
  under the NPRM.                                        energy during the derailment, with a                  brake commands are delivered within
    Comments on ECP Effectiveness                        decrease in the number of cars expected 2.5 seconds (using ECP) or within four
                                                         to be derailed at 1.2—1.6 cars.                        seconds (using DP). Even though the
       Prior to publication of the August 1,                While these figures do tend to show                delay in braking commands with ECP
    2014, NPRM, FRA conducted                            that ECP brakes are more effective than               and DP can be as much as 4—5 seconds
   simulations using the Train Energy &                  DP systems, the figures developed by                  (a result of the difference in build-up
   Dynamics Simulator (TEDS) program                     TCI are indeed lower than those                       time for the brake cylinder pressure),
   developed by Sharma & Associates to                   presented in the Sharma & Associates                  the difference in stop distance is
   demonstrate the increased effectiveness modeling. However, it is unclear what                               “virtually unnoticeable.” Based on its
   of ECP brakes compared to conventional brake ratio TTCI used In its modeling.72 2009 testing, Union Pacific concluded
   brakes, EOT devices, and DP systems.                  The current maximum allowable brake                   that braking and train handling were
   The simulations were conducted to                     ratio for conventional braking is 10—11               virtually as good with UP systems as the
   better understand the effect on energy                percent, depending on the car. The                    ECP test train. Moreover, Union Pacific
   dissipation and stopping distance of                  modeling for conventional braking that                found that increasing its use of
   different brake signal propagation                    was done by Sharma & Associates used                  distributed power resulted in benefits
   systems. The results of these                         a simulated brake ratio of ten percent.               nearly identical to using ECP braking,
   simulations suggested that advanced                  Because the in-train forces are greatly                without the significant operating issues
   brake signal propagation systems,                    reduced when using ECP brakes, AAR                     created by ECP brake systems.
   especially ECP brake systems, decrease               guidelines allow for a higher brake ratio Specifically, it states that there are
   brake signal propagation time(s) and                 for ECP brakes than conventional                       considerable compatibility and
   decreased kinetic energy of a train in a             brakes. The maximum brake ratio for                    reliability issues with ECP brakes that
   derailment compared to the                           ECP brakes is about 13 percent. This                  make them a less effective option, such
   conventional air brake system. Many                  should translate into shorter stopping                as power failures as well as hardware
   commenters in opposition to ECP brakes distances and decreased energy in the                               and software issues.
   challenged PHMSA and FRA’s                           event of a derailment for trains                          Honeywell Performance Materials and
   effectiveness claims in the NPRM.                    equipped with ECP braking systems, but Technologies commented in opposition
       AAR challenged the modeling done                 it is not evident from the information                of ECP braking based on how ECP brake
  by Sharma & Associates based on                       provided by AAR whether TTCI                          systems operate stating, “the new design
  several factors. It states that the number accounted for the higher allowable                               is not compatible with present fleet
  of simulations was too limited and                    brake ratio in its modeling.                          braking systems” and “[i]t is our
  conducted on trains of 80 cars or less.7°                Additionally, while TTCI                           understanding that all cars, including
  AAR’s Transportation Technology                       “reproduces” certain recorded stopping the locomotive, in a train would need to
  Center, Inc. (TTCI) undertook its own                 distances in derailments, it does not                 be equipped with the ECP brakes to be
  modeling of the effect of ECP brakes,                 actually simulate a derailment. Instead,              effective.” Concerns that all cars in a
  with an independent review by Applied the TTCI model simply calculates the                                  train must be equipped with ECP brakes
  Research Associates. According to AAR, energy dissipation as a train is slowed                              in order for the system to function was
  the TTCI modeling considered                         to stop when a blocking force is applied. echoed by other commenters in
 additional factors that are not in the                The blocking force is intended to act as               opposition of ECP brakes. Bridger
  Sharma & Associates modeling. These                   a surrogate for the force applied by the              commented that “cars equipped with
 include the force applied to cars past                cars in a derailment, but this is a poor               ECP brakes cannot be intermixed with
 the point of derailment, potential for                corollary to a derailment outcome                      cars equipped with conventional
 derailment to occur at different points               because energy dissipation by itself is                airbrakes. Thus, any tank cars set out
 on a train, and the variability in a train’s insufficient to quantify damages. It does en-route for defects will be difficult to
 response to different types of                        not take into account other factors, such move to destination. This will slow the
 derailment. Using the Aliceville, AL,                 as location of impact and size of                     cycle times on the cars and may also
 derailment as a proxy, TTCI concludes                 impactors that are of equal importance                add operational costs for the railroads in
 that the energy of the derailment would to energy. Therefore, we question                                   having to make special movements to
                                                                                                      the
 have been decreased by 12 percent had                 exactness of TTCI’s results with respect ‘rescue’ stranded ECP eQuipped cars.”
 ECP brakes been used instead of the                   to modeling the effectiveness of ECP                      BNSF submitted that the benefits of
 distributed power in use on that train.               brakes.                                               ECP brakes—in the context of avoiding
 Utilizing simulated speeds of 30, 35, 40,                 AAR also suggests that the                        the spillage or ignition of flammable
 45, and 50 mph, respectively, as well as              conditional probability of release (CPR;              liquids moved by rail—do not come
 multiple advanced brake systems—such the probability of a release if a tank                                 close to justifying the costs, complexity
                                                                                                        car
 as conventional brakes with two-way                   is in an accident), will also depend on               and lost productivity that would result
 EOT and head-end devices71 and                       the specific tank car specification                    from an ECP brake requirement,
 distributed power (rear, middle of the                selected by PHMSA. For example, if the especially when compared to realizing
train, and buried 2/3)—TTCI’s modeling CPR is five percent that means                                        the benefits from a UP system, which is
suggests that a train using ECP brakes is will only be a five percent                             there
                                                                                            chance of a      proven technology. BNSF goes on to
 10.5—13.3 percent more effective as
                                                      release from the 1.2 to 1.6 cars derailing state that a train equipped with ECP
                                                      due to the absence of ECP brakes,                      brakes, on average, would have
    70    initial round of simulations were, in fact,                                                        approximately two fewer cars per train
80 car trains. for the final rule 100, 80, 50 and 20  everything else being equal.
car trains were modeled.                                   Union Pacific concluded that multiple derail than a similar train equipped
    71  head-end device (also known as front-of-train remote trains (i.e. DP systems) have                   with UP. BNSF has experience with ECP
unit or front unit) is placed in the locomotive. It   essentially the same stopping                          brakes on unit trains in a captive,
receives data from the E0T device that is. placed on                                                         closed-loop environment. What BNSF
the rear car of the train. In two-way EOT systems,    performance as ECP brakes, and that it
the head-end device is able to initiate emergency                                                            has found is that the ECP braking
braking at the rear of the train within one second.       72The braking ratio is the relation of the braking equipment is more expensive to
See 49 CFR 232.403 and 405.                           force to the weight of the car or locomotive.          maintain, requires specialized skills and
  26696               Federal Register/Vol. 80, No. 89/friday, May 8, 2015/Rules and Regulations

  shopping capabilities, and has not ever,       collisions, derailments caused by                 necessary to factor in train control
  in BNSf’s experience, been successfully        excessive speed, unauthorized                     issues. Therefore, PHMSA and FRA
  applied outside of a limited, closed-loop      incursions by trains onto sections of             have specific braking requirements for
  environment. BNSF goes on to say that         track where maintenance activities are             trains that are transporting 70 or more
  while crude and ethanol make up five          taking place, and movement of a train              loaded tank cars of Class 3 flammable
  percent of its shipments they travel on       through a track switch left in the wrong           liquids at speeds in excess of 30 mph.
  70 percent of the BNSf network. This          position. The Rail Safety Improvement             These requirements are intended to
  will result in training and repair needs      Act (RSJA) of 2008 mandated an end of              further enhance safety based on the
  across a majority of their network for a      2015 deadline to implement PTC across             operations conducted for longer, heavier
  commodity that is only a small fraction       70,000 miles of the rail network. 74 See          trains.
  of their freight shipments.                   “Positive Train Control Systems,” 75 FR               Any high-hazard flammable unit train
   Comments on Availability and Cost            2598 (January 15, 2010), FRA Docket               (HHFUT) operating in excess of 30 mph
                                                No. FRA—2008—0132; for further                    must have a functioning ECP brake
  • The Independent Petroleum                   information. 75
   Association of America (WAA), BNSF                                                             system that complies with the
                                                   BNSF commented that ECP brake                  requirements of 49 CFR part 232,
   and Plains Marketing, LP opposed ECP         implementation would require a re
   brakes noting that there are only two                                                          subpart G. PHMSA and FRA define an
                                               write of the PTC algorithm, which                  HHFUT as a single train consisting 70
   known manufacturers of ECP brakes,          would then need to go through the FRA
   and that all current sales are overseas.                                                       or more tank cars loaded with Class 3
                                               approval process. Furthermore, physical
   BNSF noted that the systems of the two                                                         flammable liquids. This definition is
                                               and logical interfaces between ECP                 intended to capture those operations
   manufacturers (New York Air Brake and       brake and PTC equipment would have
   Wabtec) are not believed to be                                                                where tank cars and locomotives are
                                               to be designed and tested. BNSF is not
   interoperable. In addition, these                                                             primarily used in captive service trains
                                               currently aware of any adverse
   manufacturers do not currently produce                                                        that are transporting large quantities of
                                               interactions between the two systems.
  ECP brake components in sufficient                                                             Class 3 flammable liquids (such as
                                               Additionally, it commented that rail
  volumes to handle this regulatory                                                              crude oil and ethanol) and are running
                                               shop capacity is already strained due to
  requirement. Amsted Rail stated that         the PTC mandate, and would be further             in a continuous loop. The ECP braking
  there are only six trains currently          congested by a requirement for ECP                requirement goes into effect as of
  operating with ECP brakes in the United      brakes.                                          January 1, 2021 for any HHFUT
  States.                                                                                        transporting one or more loaded tank
     AAR, Greenbrier, Amsted Rail, the        Analysis of the Final Rule Requirements car of a Packing Group I flammable
  National Grain & Feed Association, RSI      Related to Advanced Brake Propagation              liquid, and goes into effect as of May 1,
  and AFPM provided cost estimates per        Systems                                            2023 for all other HHFUTs.
  tank car for ECP brakes ranging from           This final rule requires all FHIFTs                 While PHMSA and FRA are
  $5,300 to $15,000—above the PHMSA           operating in excess of 30 mph to have             establishing a requirement to implement
  estimate of $3,000 for new construction     enhanced braking systems. The type of             ECP brake systems for certain
  and $5,000 for retrofits.                   enhanced brake system that a railroad             operations, we recognize that the
     AAR, Bridger and AFPM provided           will be required to use is based on a             railroad industry may develop a new
  cost estimates per locomotive for ECP      refined approach that allows PHMSA                 brake system technology or an upgrade
 brakes ranging from $20,000 to               and FRA to implement real brake                   to existing technology that is not
 $88,000—in contrast to the PHMSA             system safety improvements by taking              addressed in 49 CFR part 232, subparts
 estimate of $79,000. These commenters       into consideration the amount of Class             E (for two-way EOTs) and G (for ECP
 also indicated that PHMSA                    3 flammable liquids being transported             braking systems). This rulemaking is not
 underestimated the size of the affected     by a train as well as the type of                  intended to “lock in” the status quo
 locomotive fleet.                           operation that the train uses to transport with respect to ECP brake systems as the
    AAR commented that 9,849 carmen,         Class 3 flammable liquids. At a baseline only form of brake system that can be
 27,143 engineers, and 41,015                level, any train that contains a                  used on unit trains operating in excess
 conductors would need training—above continuous block of 20 or more loaded                     of 30 mph while transporting 70 or more
 the PHMSA estimate of 4,500 engineers       tank cars or a total of at least 35 loaded        loaded tank cars of flammable liquids.
 and 4,500 conductors. The majority of       tank cars throughout the train consist            In the event that a new technology is
 commenters in opposition to ECP brakes containing Class 3 flammable liquids                   developed, railroads should apply to
 stated that the cost of equipping the       must have in place, at a minimum, a               FRA to obtain special approval for the
 system is too high. Additionally, many      functioning two-way EOT device or a               technology pursuant to part 232, subpart
were concerned that the installation        DP system to assist in braking. Based on F.
process and overlay of these braking         FRA analysis and modeling by Sharma                    Finally, PHMSA and FRA believe that
systems is too complex. PHMSA and           & Associates conducted in March 2015,              it makes practical sense to except trains
FRA discuss the cost-benefit analysis of it is expected that a two-way EOT                     operating at speeds not exceeding 30
ECP braking in further depth in the RIA. device or DP locomotive at the rear of                mph from the requirements related to
                                            a train can reduce the number of cars              HHFUTs. This enables shortline and
Comments on Integration of ECP Brake
                                            punctured by 13—16 percent compared                regional railroads and railroads without
Systems with Positive Train Control
                                            to conventional air brakes. However,              the capital necessary to equip unit trains
    Many commenters both in support of      with longer, heavier trains it is                 with ECP brakes or that choose not to
and opposition to ECP brakes                                                                  equip their trains with these systems to
mentioned positive train control (PTC)         https://www.aar.org/policy/posftfve-train      continue transporting Class 3 flammable
in their comments. PTC is a set of highly control.                                            liquids, albeit at slower speeds in order
advanced technologies designed to              7Public Law 110—432—Rail Safety Improvement
                                            Act of 2008, hups://www.fra.dot.govleLiblDetails/ to protect public safety and the
automatically stop or slow a train before L03588.                                             environment. It also is important to note
certain types of accidents occur. PTC is       75http://www.gpo.gov/fdsyslpkglFR-201 0-01-151 that such railroads will be required to
designed to prevent train-to-train          pdf/E9-31362.pd[                                  transport Class 3 flammable liquids in
                         Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations                                             26697

  tank cars that comply with the new                  approximately 3,060 miles round-trip        was not raised until after the close of the
  standards.                                          from the Powder River Basin to Palos,       comment period.80 While dynamic
    Effectiveness of ECP Brake Systems                AL.79 PHMSA and FRA are unaware of          braking does provide an alternative to
                                                      any accidents or incidents (such as a       pneumatic brakes for slowing a train in
       ECP braking is a proven technology             derailment) along these routes to date      non-emergency situation and allows a
    that is a reliable and effective way to          that could be attributed to operational      train to operate more efficiently, trains
    slow and stop a train, and to prevent            issues with ECP brakes.                      that use dynamic braking and not ECP
    accidents from occurring, while also                Some commenters have noted that           brakes do not get business benefits from
    allowing for more efficient operations.          there has not been widespread adoption ECP brakes. AAR analyzed data from a
   ECP brakes have been used in North                of ECP brakes in the U.S. There are a        small number of trips of ECP-equipped
   American railroad operations since at             number of factors that contribute to this. trains and found that 89 percent of the
    least 1998. PHMSA and FRA recognize              First, the positive train control (PTC)      time that the train was braking, it was
   that there have been hurdles in the               requirement diverted significant capital not using ECP brakes in whole or in
   deployment of ECP brakes. However,                (financial and human) toward signal          part. AAR, therefore, estimated that 85
   the technology has continued to                   systems at a time when those resources       percent of the fuel and wheel savings
   improve since 1998 and carriers are in            might have otherwise been directed at       benefits are currently realized through
   a better position now to ensure that ECP ECP brakes. Second, it has been difficult use
                                                                                                       of dynamic brakes. PHMSA and
   brakes are successfully implemented.              to implement ECP brakes outside of a         FRA accept that the fuel and wheel
   The railroad industry has effectively            limited type of service in part because       savings should be reduced to account
   addressed crosstalk and interoperability they are not compatible with the                     for the use of dynamic braking, but the
   issues and has updated AAR Standard              conventional air brakes (this is             reduction should be smaller than 85
   8—4200 accordingly. We expect that               particularly true stand-alone systems,       percent. The ability to use ECP brakes
   concerns related to maintenance and              which are less expensive). This means        in conjunction with dynamic brakes
  repair issues that arise during normal            that ECP brakes would only be used on        further improves fuel efficiency by as
  operations will be resolved through               unit trains that are in captured service     much as five percent above dynamic
  adequate training of operating crews              and both the car owner and the railroad braking alone, depending on the routes
  and maintenance personnel, which has              agree on its use. Further, the limited       and railroad practices. For instance,
  been factored into the cost of this rule.76 usage contributes to unfamiliarity with
                                                                                                 Canadian Pacific achieved a fuel savings
  These issues are discussed in detail in           the technology and likely contributes to of 5.4 percent when ECP brakes were
  the “Reliability and Technological                many of the operational and                  used along with dynamic brakes during
  Readiness” section of the RIA, which             maintenance difficulties expressed by         testing in Golden, British Columbia, on
  has been added to the docket.                    railroads in their comments. Third,
      There are currently six unit coal trains there are market inefficiencies that have a route that has particularly
  being operated with ECP brake systems                                                          advantageous terrain for maximizing the
                                                   limited implementation of ECP brakes.         fuel benefits associated with ECP
  in the U.S. These began as waiver test           ECP brakes are most likely to be
 trains; however, all but one are now in                                                         braking.81 Because not all terrain will be
                                                   implemented on a voluntary basis              as advantageous as this test region,
 regular revenue service. NS began                 where owner of ECP-equipped cars has
 operating unit coal trains using ECP                                                            PHMSA and FRA have reduced the
                                                   control over a seamless operation of unit estimated fuel efficiency benefits by 50
 braking systems in 2007, and it is                trains from the originating location to
 currently operating five ECP-equipped                                                          percent, corresponding to a fuel
                                                   the delivery location, such as what is       improvement rate of 2.5 percent on top
 unit coal trains. These trains presently          found in Australia or South Africa. In
 make trips from coal mines in                                                                  of dynamic braking. However, this
                                                   the U.S. most cars owners have little        estimate is conservative and likely
 Southwestern Pennsylvania to the                  incentive install ECP brakes because
 Keystone Generating Station near                                                               understates the fuel efficiency benefits.
                                                   they tend to bear most of the upfront            PHMSA and FRA also accept that
 Shelocta, PA (two 100-car or more                 cost of installing the braking system,
 trains; approximately 350 miles round-                                                         benefits   related to wheel savings should
                                                   while most of the benefits (such as          be reduced to account for the use of
trip) and to a generating station near             decreased fuel consumption) are
Blafrsville, PA. NS also operates unit                                                          dynamic braking, but, that they should
                                                  realized by a separate entity, the            be   reduced by less than 85 percent
coal trains originating in the mines of            operating railroad. Notwithstanding, car suggested by AAR. Railroads will
Southwest Virginia that transport coal to owners might still have an incentive to
a power plant in Clover, VA                                                                     continue to experience brake induced
                                                  install ECP brakes if they were to realize wheel wear where pneumatic brakes are
(approximately 700 miles round-trip).78 greater utilization due to less
Additionally, in 2014, NS began                                                                 used, but if the railroads rely on
                                                  inspections. However, FRA understands dynamic braking they will face a cost
operating a unit coal train with BNSF             that railroads effectively eliminated the
providing operating crews while the                                                             not considered in other parts of the
                                                  incentive to install ECP brakes by            analysis, increased rail wear, with an
train operates over BNSF’s rail line that treating such cars as being in premium
travels between the Powder River Basin service, resulting in higher cost                        attendant increased risk of broken rail
                                                                                      per use. accidents and increased track
and Macon, GA. BNSF, independently,                    AAR contends that most of the
has operated a 135-car ECP-equipped                                                             maintenance costs. PHMSA and FRA
                                                  benefits from ECP brakes, such as more        estimate   that the use of dynamic braking
unit coal train since 2008 that travels           efficient fuel consumption and reduced
                                                  wheel wear, are currently realized               80AAR gave a presentation on dynamic braking
    76PHMSA and FRA estimates that railroads will through the widespread use of dynamic during meetings with the Office of Information and
need to train approximately 51,500 employees.                                                  Regulatory Affairs of the Office of Management and
    77ECP Brake Implementation on Norfolk
                                                  braking. PHMSA and FRA did not
                                                                                               Budget held under Executive Order 12,866.
Southern, presentation to RSAC, October 25, 2007, address this issue in the NPRM and it            81Wachs, K., Aronian, A., Bell, S. Electronically-
hups://rsac.fta.dot.gov/meetings/20071 025.php.                                                      controlled Pneumatic (ECP) Brake Experience at
  EIectronically Controlled Pneumatic Brake          7BNSF Operates Southern Company Coal Train      Canadian Pacific. Proceedings from the 2011
Rulemaking, presentation to RSAc, February 20,    Equipped with New-Generation Braking System, 25    International Heavy Haul Conference, Calgary AB.
2008, https:/Irsac.fta.dot.gov/meetings/          January, 2008, https://www bnsf coin/media/news!   2011, available at http://www.thha.net/IEL4/
20080220.php.                                     articles/2008/01/2008-01-25a.html.                 uploads/assets/fin00258.pd[
  26698                Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations

    in conjunction with ECP brakes would                 an ECP-equipped Canadian Pacific train train made up of DOT—117 tank cars,
    reduce the dynamic brake induced rail                found that the railroad achieved a fuel              traveling at 50 mph is approximately the
   wear by at least 25 percent based on                  savings of 5.4 percent from ECP brakes               same as a 64-car train of the same cars
   Canadian Pacific’s experience.82                      during testing in Golden, British                    traveling at the same speed operating
   Further, in spite of initial increases in             Columbia. The Australian experience                  with a two-way EOT device. We have
   thermal mechanical shelling due to                    also is instructive because, in contrast to established a baseline cut-off at 70 cars
   heavy “experimenting” by train crews                  the experience in the U.S., a number of              in an effort to maximize the return on
   during the familiarization phase,                    railroads in that country have                        investment for ECP brakes, by capturing
   Canadian Pacific found a four percent                 voluntarily invested heavily in ECP                  only those trains transporting Class 3
   improvement in average wheel life.8                  brakes,86 Australian railroads have been flammable liquids in dedicated service.
   Once operations “settle in,”                         using ECP brakes on a portion of its fleet               In the NPRM, PHMSA and FRA relied
   improvements in wheel life may reach                 for over a decade,87 and they currently               on data produced by Sharma &
   ten percent, thus reducing the estimated operate more than 28,000 cars in ECP                             Associates that showed a 36 percent
   wheel wear benefit by 75 percent                     brake mode. The types of trains that                 effectiveness rate of ECP brakes over
   instead of the 85 percent esthnated by               Australian railroads have equipped with conventional air brakes, as expressed in
   AAR.                                                 ECP brakes share many similarities to                 the probable number of cars punctured.
      Although PHMSA and FRA agree                      HHFUTs in the U.S. Both fleets operate               In March 2015, Sharma & Associates
  with those commenters who support                     in heavy haul service, stay in extend                performed additional modeling that
  ECP braking on unit trains, we disagree               blocks, and transport commodities that               takes into account the comments
  with the suggestion from the BMWED                    are a substantial source of revenue for              received after publication of the NPRM
  and BRS that FRA should restore the                   the railroad. These Australia railroads              and additional accident information
  1,000—1,500 mile interval requirement                 have adopted ECP brakes based on                     provided by FRA. See “Letter Report:
  for brake/mechanical inspections. The                 expected business benefits (e.g. heavier, Objective Evaluation of Risk Reduction
  3,500 mile interval has a proven record               longer trains), but have found that ECP              from Tank Car Design & Operations
  of safety in the seven years of operations brakes allow for shorter stopping                               improvement—Extended Study,”
  on the NS and BNSF railroads. The use                 distances and real time monitoring,                  Sharma & Associates, March 2015. This
  of real-time equipment health                         which makes them safer than                          updated, purpose-built model from
  monitoring capabilities on ECP                        conventional brakes. These issues are                Sharma & Associates supports the view
  equipped trains is an effective safety                discussed in detail in the “Australian               that ECP brakes provide a substantial
  tool that justifies the extended                     Experience” section of the RIA, which                 safety benefit in emergency braking
  inspection intervals. Allowing for longer is part of the docket.                                           situations compared to conventional air
  distances between inspection stoppages                    By setting the HHFUT threshold at 70 brakes, two-way EOT devices, and DP
 provides a benefit to railroads without               tank cars of flammable liquids, we                   systems. While a comprehensive
  decreasing safety by keeping safe                    expect to maximize the benefits of ECP               discussion of effectiveness rates is
 equipment in-service for longer periods brakes on the higher risk trains whose                             provided in the March 2015 Letter
 of time (each brake test and mechanical tank cars are primarily in dedicated                               Report (which has been added to the
 inspection can take from two to eight                 service, while reducing the                          docket) and the RIA, some highlights are
 hours to complete and may delay a train implementation challenges that would                               provided below.
 even longer depending on available                    be caused by requiring ECP brakes for                    Puncture hazards result from a variety
 personnel and scheduling). As of                      any train meeting the definition of an               of factors, including operating
 October 2014, NS initiated train                      HIIFT. By focusing the ECP brake                     conditions, speed of the train, and the
 operations under a 5,000 mile                         system requirements on trains over the               type of tank car involved, which can
 inspection waiver to test the                         70-car threshold that travel in excess of make it difficult to objectively quantify
 effectiveness of a longer inspection                  30 mph, we ensure that trains with the               the overall safety improvement that ECP
 interval on the unit coal train that it               greatest associated risk (based on                   brakes provide. The updated model
 runs with BNSF in a ioop between the                  volume of product) will be equipped                  provided by Sharma & Associates
 Powder River Basin and Macon, GA.                     with the advanced brake signal                       encapsulates a variety of factors in an
     ECP brake systems based on the AAR                propagation system that has the highest effort to assess the real-world impact of
 S—4200 standard also have been                        known effectiveness in reducing the                 the various braking alternatives
 exported successfully for use in Canada, kinetic energy of a train during a                                considered in the NPRM. The Sharma
 Australia, and South Africa. As an                    derailment. This will reduce the number model is validated by the general
 example, the Quebec Cartier Mining                    of cars derailed and punctured. We base agreement between the actual number of
Railway (QCM) in Quebec, Canada                        our decision on estimates related to an             tank cars punctured in 22 hazardous
began using ECP-equipped trains in                     average 100-car unit train transporting             material derailments provided by FRA
 1998.84 The use of ECP brake systems                  Class 3 flammable liquids. FRA and                  and those predicted by the model.
has allowed QCM to experience a 5.7                    PHMSA’s modeling shows the risk                         The March 2015 Letter Report from
percent reduction in fuel usage and a 15 posed by a 100-car ECP-equipped unit                              Sharma & Associates used the most
percent increase in throughput                                                                             probable number of tank cars punctured
capacity.85 As noted above, a report on               raifroad-brakes/1000208809/?&er=NAhup://             to evaluate the benefits of the tank car
                                                       www.fta.dot.gov/us/content/1 713).                  enhancements, brake systems, and
                                                          86 South Africa is another
                                                                                     strong adopter of ECP speed. The derailment scenarios were
    82Wachs,K.,p.4                                    brakes, with about 7,000 railcars equipped with
    B3Wachs, K., p 6                                  ECP brake technology. It is similar to Australia in
                                                                                                           simulated for a 100-car train at different
    84”Stop that train!” March 1, 2009, http://       that ECP brakes are being used in heavy haul coal    speeds with the first car subjected to a
spectntm.ieee.org/transportation/mass-transit/stop service where the trains operate in a continuous        brief lateral force to initiate the
that-train.                                           loop and the railroads own their own railcars for    derailment. At the point of derailment,
   85 “Quebec Cartier pioneers
                                safer, more efficient this service.
railroad brakes,” Canadian Mining Journal,
                                                                                                           Sharma & Associates applied a retarding
                                                                  ECP Brake—Now it’s Arrived, What’s the
December 12, 2006, accessed 12—22—2004 at             Consensus?,” Sismey, B. and Day, L., Presented to    force to all of the cars in the train that
hftp://www.canadianininingiournal.com/news/           the Conference on Railway Excellence, 2014,          was equivalent to an emergency brake
quebec-cartier-pioneers-safer-more-efflcient          Adelaide, Australia.                                 application. For a train with
                      Federal Register! Vol. 80, No. 89/ Friday, May 8, 2015 I Rules and Regulations                                             26699

 conventional air brakes, Sharma &                  propagation was initiated at both ends              system was consistently the top
 Associates modeled a brake initiation              of the train. For a train with ECP brakes,          performer in terms of the most likely
 propagated from the front (point of                the model had all cars simultaneously               number of cars punctured, while two-
 derailment or “POD”) to the rear of the            receiving the braking signal with a brake           way EOT devices and DP systems with
 train. For a train with a two-way EOT              ratio of 12 percent. As reflected in the            a locomotive at the rear consistently
 device or a OP locomotive at the rear of           table below, for DOT—117 and DOT—                   out-performed conventional air brake
 the train, the emergency brake signal              117R type tank cars, the ECP braking                systems.
                  TABLE 26—MOST LIKELY NUMBER OF PUNCTURES: 100-CAR TRAIN, WITH POD AT HEAD END

                                                                                      S eed           Conventional       2-way EOT
                                   Tank type                                                            brakes           (DP: lead +        ECP Brakes
                                                                                        ph                                  rear)

 7Ae-inch TC128, 11 gauge jacket, ‘/2-inch full-height head shield                             30               4.7               3.9                3.3
                                                                                               40               8.0               7.1                5.3
                                                                                               50              12.2               9.8                9.1
 9A6-inch TC128, 11 gauge jacket, ‘/2-lflCh full-height head shield                            30               3.8               3.2                2.6
                                                                                               40               6.6               5.9                4.3
                                                                                               50              10.2               8.2                7.6


  Based on the analysis in the 2015                up to 30 percent when compared to                    projected to reduce the number of cars
Letter Report from Sharma & Associates,            conventional air brake systems (with a               punctured by up to 16 percent. These
PHMSA and PEA believe that ECP                     minimal variation based on train speed),             numbers are reflected in the table
brakes, in isolation, can be expected to           while a two-way LOT device or DP                     below, for DOT—117 and DOT—117R
reduce the number of cars punctured by             locomotive at the rear of the train is               type tank cars.
                             TABLE 27—RISK IMPROVEMENT DUE TO BRAKING WITH POD AT HEAD END

                  100 Cars behind POD                               Most likely number of punctures            % Improvement due to brakes only

                                                S eed          Conven-       2-way EOT                        Conven-       2-way EOT
                Tank type                                        tional      (DP: lead +    ECP brakes         tional       (DP: lead ÷      ECP brakes
                                                 , h
                                                                brakes          rear)                          brakes          rear)
7/16-inch TC128, 11 gauge jacket, ‘/2-inch
   full-height head shield                              30             4.7            3.9              3.3              0              17            30
                                                        40             8.0            7.1              5.3              0              11            34
                                                        50            12.2            9.8              9.1              0              20            25
9A6-inch TC128, 11 gauge jacket, ‘/2-inch
  full-height head shield                               30             3.8            3.2              2.6              0              16            32
                                                        40             6.6            5.9              4.3              0              11            35
                                                        50            10.2            8.2              7.6              0              20            25
     Average                                                                                                                           16            30


   Sharma modeling indicates the ECP               based on the simulations of derailments             cars punctured for trains operated in
brake system always provides an                    at different points in the train. FRA’s             ECP brake mode. This is expected given
advantage over the conventional air                simulations considered derailments at               that if a derailment occurs at the 50th
brake system in terms of likely number             locations with 100, 80, 50, and 20 cars             car in a train rather than the first car in
of tank cars punctured. This is true               trailing the point of derailment. A                 the train, there are fewer cars to derail
regardless of the location of the                  polynomial fit of the resulting                     after the POD. However, in every
derailment within the train because the            derailment and puncture results data                simulation, the likely number of cars
brakes are being applied to each car in            from the simulations enabled FRA to                 punctured on a train that uses ECP
the train at the same time. However, a             evaluate the results of a derailment at             braking to effectuate an emergency stop
number of commenters suggested that                any location in the train through
the scenarios modeled by Sharma &                                                                      was lower than the likely number of
                                                   interpolation and extrapolation. The
Associates may overstate the                       results of the evaluation indicated that            cars punctured on a train that uses a
effectiveness of ECP brake systems                 POD does impact the estimated number                two-way LOT device or OP system with
because its model focused on measuring             of cars punctured for any of the                    the locomotive at the rear to effectuate
derailments at the front of a train. As a          simulated brake systems, including a                the same emergency stop. See Tables 29
result, FRA conducted further analysis             reduction in the estimated number of                and 30.

    TABLE 28—MOST LIKELY NUMBER OF PUNCTURES: 100-CAR TRAIN, WITH POD DISTRIBUTED THROUGHOUT TRAIN

                                                                                                      Conventional      2-way EOT
                                  Tank type                                       Speed, mph            brakes          (DR lead +      I   ECP brakes
                                                                                                                           rear)

7A6-inch TC128, 11 gauge jacket, 1/2-inch full-height head shield                             30                3.4              2.8                2.6
 26700                Federal_Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

    TABLE 28—MosT LIKELY NUMBER OF PUNCTURES: 100-CAR TRAIN, WITH POD DISTRIBUTED THROUGHOUT TRAIN—
                                                                     Continued

                                                                                                   Conventi               2-way EOT
                                  Tank type                                      Speed, mph                               (DR lead +        ECP brakes
                                                                                                     brakes
                                                                                                                             rear)

                                                                                            40                6.8                  6.2               4.65
                                                                                            50                9.3                 7.92                7.2
 9A6-inch TC128, 11 gauge jacket, 1/2-inch full-height head shield                          30                2.8                  2.4                2.2
                                                                                            40                5.6                  5.1                3.8
                                                                                            50                7.8                  6.6                6.0

               TABLE 29—RIsK IMPROVEMENT DUE TO BRAKING, WITH POD DISTRIBUTED THROUGHOUT THE TRAIN

                   100 Cars behind POD                           Most likely number of punctures             % Improvement due to brakes only
                                                              Conven-       2-way EOT                       Conven-          2-way EOT
                 Tank type                    Speed, mph       tional       (DP: lead +   ECP brakes          tional         (DP: lead +    ECP brakes
                                                               brakes          rear)                         brakes             rear)
7/16-inch 1C128,  11 gauge jacket, 1/2-inch
  full-height head shield                              30             3.4           2.8             2.6                0               18              24
                                                                                    6.2            4.65                0                9              31
                                                       50             9.3          7.92             7.2                0               15              23
9A6-inch TC128, 11 gauge jacket, 1/2-inch
  full-height head shield                              30             2.8           2.4             2.2                0               14              21
                                                       40             5.6           5.1             3.8                0                9              32
                                                       50             7.8           6.6             6.0                0               15              23
     Average                                                                                                                           13              26


  Using this information, PHMSA and               severity, using information about the             assigning derailments between 35 and
FRA conducted further analysis of the             quantity of product released that is in           45 mph to the 40 mph effectiveness rate,
data. We estimated effectiveness at 30,           the historical record. PHMSA and FRA              and assigning derailments over 45 mph
40, and 50 mph, and took a weighted               assigned historical derailments under 35          to the 50 mph effectiveness rate. This
average of those results based on                 mph to the 30 mph effectiveness rate,             analysis is reflected in Table 30, below.
    TABLE 30—EFFEcTIvENESs RATE OF ECP BRAKES WEIGHTED BY VOLUME OF PRODUCT SPILLED IN A DERAILMENT

                                                                                                                             ECP effec      Cumulative
                                                                                          TotspHI           Sh      f         iien           effective
                                                                                                          total volume
                                                                                                                                               fo)
                                                                                                                                (%)
Below 34 mph                                                                        33      798,433              22.8             20.10               4.6
35-44 mph                                                                            8      1488350              49.2             25.80              12.7
45 mph and above                                                                     5       980180                28              8.60               2.4

    Total                                                                           46      3499656                 100                              19.7


Because the effectiveness rates are lower         devices or DP systems, when weighted              from the front (i.e. DP ¾), PHMSA and
at 30 mph and at 50 mph than they are             by severity using the amount of product           FRA also looked into this configuration.
at 40 mph, this process would result in           spilled in a derailment.                          It found that ECP brakes also
an effectiveness rate of about 20 percent,          As there were comments related to               outperformed the DP 2/3 option. See
which signifies the benefit of ECP                placing a DP locomotive in the middle             Figure 3. This analysis is addressed
brakes compared to two-way EOT                    of the train, approximately two-thirds            more fully in the RIA.
                          Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                           26701


                          figure 3: Number of DOT 117 (9/16-inch) tank cars punctured based on
                                         location of first car derailed at 40 mph
                7.5


                6.5


                5.5
            z

            : 4.5     -




           ç3.5


                2.5


                1.5
                      10         20      30      40        50        60         70          80       90       100      110
                                                         Derailment Location
                            • Conventional    • TWEOT     A DP 2/3        X ECP fNBR 12%)        X ECP (NBR 14%)



   The results of the simulations in the       brakes, increased the number of                    Many of the commenters also noted
 March 2015 Letter Report from Sharma          locomotives required to be equipped             that we were not equipping enough
 & Associates and the FRA analysis of          with ECP brakes, and reduced the per            locomotives with ECP brakes in our cost
 the data show that advanced brake             locomotive cost for ECP-equipped                estimates. In the NPRM, we estimated
 signal propagation systems reduce the         locomotives.                                    that 900 locomotives would need to be
rates of puncture in derailing tank cars         Many of the commenters noted that            equipped with ECP brakes. For the
relative to a conventional air brake           our estimate for retrofitting a tank car       purposes of the final rule, this number
 system, with ECP brake systems                with ECP brakes was low. In the NPRM,          was increased to 2,532. This number
 demonstrating the best overall                we estimated that the cost to implement        was derived based on the determination
performance. The risk reduction                the ECP brake system requirements              that there would be approximately 633
benefits for ECP brake systems are most        would range between $3,000 and $5,000          HHFUTs on the U.S. rail network at
pronounced for long trains. As trains         per car. PHMSA and ERA now believe              peak crude oil production. PHMSA and
become shorter, the differences in            that the appropriate cost estimate is           ERA estimated that there would be an
puncture rates become diminished              between $7,000 and $8,000. For our              average of three locomotives per unit
between ECP brakes and two-EOT                analysis we used $7,633 per car, which          train and included a 25 percent spare
devices or DP systems with a                  is based on the estimated number of             ratio to account for locomotives that are
locomotive at the rear because of the         new and retrofit cars that will need to         out-of-service or potentially diverted to
limited time needed to initiate               have ECP brakes applied. Our updated            other uses. AAR suggested that the
emergency braking. Thus, additional           cost estimate is for an overlay system          entire Class I locomotive fleet would
requirements for advanced brake signal        and includes the cost of maintenance for        need to be ECP-equipped, but with our
propagation systems are feasible for          the system.                                     revised estimates, which consider the
addressing risks related to HHFTs, and           For the NPRM, PHMSA and FRA                  number of locomotives needed operate
ECP brake systems are particularly            determined that all of the tank cars in        633 HHFUTs, we feel that AAR
appropriate for HHFUTs. A full                the fleet would need to be equipped            significantly overstates the number of
explanation of the benefits calculation       with ECP brakes. To reduce the costs           locomotives that need to be ECP
can be found in the RIA.                      and for the purposes of this final rule,       equipped.
Availability and Costs of ECP Brake           we have assumed that only tank cars                In the NPRM, we also assumed that
Systems                                       that are part of unit trains carrying Class    all of the locomotives would be
                                              3 flammable liquids would need ECP             retrofitted with ECP brakes at a cost of
  In the RIA for this final rule, PHMSA       brakes, as they are the only train             $80,000 per locomotive. The rail
and FRA revised the assumptions made          consists that would be requird to              industry currently purchases around
for the August 1, 2014, NPRM,                 operate with an ECP braking system.            1,000 new locomotives every year due
including the following: Increased the        Thus, over a calculated 20-year period,        to retirements of older locomotives and
estimate on the per car cost of installing    we reduced the number of tank cars             growth in rail transport demand.
ECP brakes, reduced the number of tank        needing ECP brakes from more than              PHMSA and FFA assume that new
cars required to be equipped with ECP         130,000 to 60,231.                             locomotives will be ordered with ECP
  26702                 Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

  brakes, which reduces the costs to an           throughout the U.S. fleet of locomotives        of ton mileage. This includes carmen
  incremental amount of to $40,000 per            and rail cars. As discussed above, NS          who had not been considered in the
  locomotive, after the base cost of              and BNSF have used ECP brakes on six           training calculations in the NPRM. Also,
  electronic brake equipment (such as             unit coal trains, but U.S. railroads have       in the NPRM, we assumed a two-week
  CCB—II or Fastbrake).88 We also include        not used ECP brake systems in                   training period; however, based on FRA
  additional costs such as battery               conjunction with unit trains                    participation in ECP brake training
  replacement, cable replacement, and            transporting flammable liquids, such as         experience, we determined that the
  additional jumper cables to allow a            crude oil and ethanol. FRA and PHMSA            number of hours needed to trains these
  locomotive not equipped with ECP               estimate that there will be 633 HHFUTs          employees would be substantially less.
 brakes to assist in operating an ECP            on the U.S. rail network at peak crude          Carmen that are not involved in
  equipped train.                                oil production, and the railroad industry       performing single car tests can be
    Regarding the availability of ECP            will need 2,532 locomotives and 60,231          trained in a one-day formal training
 brakes, both known manufacturers of             tank cars to be ECP-equipped in order           session and a week of intermittent on
 ECP systems (New York Air Brake and             to comply with the ECP braking                  the job training. Single car test users
 Wabtec) provided comments to the                requirements. We revised our estimates          will need an additional half-day of
 NPRIvI. Neither expressed the concern           from the NPRM based on comments                 formal training and an additional week
 that they would be unable to                    received that manufacturers will                of on the job training.
 manufacture the amount of components            produce approximately new 1,000
 necessary to meet any regulatory                locomotives per year and more than              Implementing ECP Brake Systems With
 requirements as other commenters                11,000 tank cars per year could be fitted
                                                                                                PTC Technology
 claim. Regarding comments raising               with ECP brakes (with approximately                ECP brake technology provides
 concerns about the interoperability of          one third of those being new car               separate safety benefits not captured in
 ECP braking systems from the two                construction and two thirds of those           FRA’s PTC regulations. PTC-preventable
 manufacturers, PHMSA and FRA                    being retrofits on existing tank cars). By     overspeed derailments may occur
 believe that newly built systems will be        establishing the dual implementation           because of an inadequate or improperly
 built to the updated industry standard,         schedule for ECP brake systems, we are         functioning brake system, but accidents
 AAR 5—4200, which requires full                 providing the railroads and                    involving brake failure were never
 compatibility (interoperability) of ECP        manufacturers of locomotives and tank           counted among PTC-preventable
 braking systems in accordance with 49          cars with the ability to establish a            accidents. Only one accident in the
 CFR 232.603.                                   realistic schedule to equip the                 group of accidents reviewed by PHMSA
                                                locomotives and tank cars with ECP              and FRA for this rulemaking, at
  Implementation Schedule                       brake systems in a timely and efficient         Rockford, IL, had the potential to have
    Railroads are required to operate an        manner. However, there is a possibility        been prevented by PTC technology, and
  HHFT with either a two-way EOT                that as railroads amass ECP-equipped            then only if ancillary features were
  device or a DP system immediately once        trains, some trains will be run in ECP          adopted. In that accident, a flash flood
 the final rule becomes effective. There        brake mode in advance of the deadline.         caused the track’s base to wash away.
 are two deadlines for the                      The expectation is that railroads will         Railroad procedures require trains be
 implementation of the requirements             have incentives to put ECP-equipped            warned of flash flood threats, which
 pertaining to HHFUTs. The first requires       trains in service once acquired to take        usually leads to a speed restriction. It is
 that trains meeting the definition of an       advantage of the business benefits             not a requirement of the PTC
 HHFUT comprised of at least one tank           related to operating in ECP brake mode         regulations, but if a railroad had its PTC
 car loaded with a Packing Group I              (e.g., reduced fuel consumption, longer        system in place and the speed
 flammable liquid be operated with an           inspection intervals, etc.).                   restriction warning was automated, it
 ECP braking system by January 1, 2021,                                                        would have restricted the train’s speed,
                                                 Training for ECP Brake Systems                making it likely the crew would have
 when traveling in excess of 30 mph. The
 second requires that all other trains              Although there is not a specific           been able to stop in half the range of
 meeting the definition of an HHFUT (i.e.        training requirement in this final rule,      vision.
 those trains not transporting one or            ERA and PHMSA recognize that the                  Although ECP braking systems
 more tank car loaded with a Packing             implementation of ECP brake systems           typically are directed at different types
 Group I flammable liquid) be operated           will require training for operating           of incidents than those that are PTC
 with an ECP braking system by May 1,            employees and inspection personnel            preventable, PHMSA and FRA do
 2023, when traveling in excess of 30            that perform service on trains equipped       believe that the use of ECP brakes
mph. We believe a dual phase-in period          with ECP brakes. The substantive               coupled with the implementation of
is a practical timeline for effective            training requirements for each railroad       PTC technology could result in
implementation of the ECP braking               employee or contractor are addressed in        significant safety benefits. Trains
                                                49 CFR 232.605. We expect that                 equipped with electronics throughout
system requirement, and it ensures that
ECP braking systems will be installed to        railroads will comply with the ECP            the train consist will be able to use that
cover the expected peak year of crude           braking system training requirements in       electronic network as a platform for
oil production. This schedule takes into        § 23 2.605 to ensure that applicable          future safety innovations, such as hand
account feedback received during the            railroad personnel have the knowledge         brake and hatch sensors.
comment period and estimates related            and skill necessary to perform service             While commenters such as BNSF
to the retrofit schedule for DOT—117R           related to ECP braking systems.               raised concerns, PHMSA and FRA do
tank cars.                                         In the NPRM, we assumed that 9,000         not believe that the implementation of
   ECP brake systems have not been              employees would need to be trained on         the ECP brake system requirement will
installed on a widespread basis                 ECP brake systems. After a review of          necessitate a rewrite of braking
                                                comments, we increased the estimate of        algorithms on HHfUTs operating over
  88 cc II and Fastbrake are
                             the commercially   additional people that need to be             PTC routes. We do recognize that using
available base brake equipment offered by New   trained on ECP brake systems to about         ECP brakes systems will allow for real
York Air Brake and Wabtec respectively.         51,500 employees based on a percentage        time equipment health monitoring and
                   Federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations                                26703

 higher permitted braking ratios. A          whether they remain justified and                   variability of the material during
 railroad may find it beneficial to create   whether they should be modified or                  transportation;
 a more efficient algorithm than is          streamlined in light of changed                        • Sampling methods that ensure a
 possible with conventionally braked         circumstances, including the rise of new           representative sample of the entire
 trains in order to implement some of        technologies. Consistent with its
 these ECP brake system benefits into its                                                       mixture, as packaged, is collected;
                                             obligations under E.O. 13610,
 PTC system. The more efficient              Identifying and Reducing Regulatory                    • Testing methods to enable complete
 algorithm could allow for increased         Burdens, PHMSA and FRA will                        analysis, classification, and
 fluidity and more throughputs over          retrospectively review all relevant                characterization of the material under
 railroad routes on ECP-equipped trains.     provisions in this final rule, including           the HMR;
If a railroad decided to edit its braking    industry progress toward ECP                           • Statistical justification for sample
 algorithms to account for the advanced      implementation.                                    frequencies;
braking capabilities of ECP brake
systems on PTC routes, such changes            E. Classification                                    • Duplicate samples for quality
likely would be considered “safety                In its recommendation, R—14—6, the            assurance purposes; and
critical” modifications requiring FRA         NTSB recognized the importance of                     • Criteria for modifying the sampling
approval. See 49 CFR 236.1021.                requiring “shippers to sufficiently test          and testing program.
However, given that the ECP brake              and document the physical and
                                                                                                    This proposal would also add a
requirements for HHfUTs do not go into         chemical characteristics of hazardous
effect until January 1, 2021 at the           materials to ensure the proper                    § 173.41(b), linking the shipper’s
earliest, railroads will have sufficient      classification, packaging, and record-            certification requirements, as prescribed
time to make desired edits to braking          keeping of products offered in                   in § 172.204, to this sampling and
algorithms and submit any necessary           transportation.” PHMSA supports                   testing program for mined gases and
requests for approval to FRA. Therefore,      NTSB’s recommendation. As discussed               liquids.
PHMSA and FRA do not view the                 previously, PHMSA and FRA audits of                   In addition, the proposed § 173 .41(c)
editing of braking algorithms as an           crude oil facilities indicated the                would require that the sampling and
impediment to accomplishing the               classification of crude oil transported by testing program be documented in
requirements of this rulemaking or            rail was often based solely on a generic          writing and retained while the program
complying with FRA’s PTC regulations.         Safety Data Sheet (SDS). PHMSA                    remains in effect. The proposed section
  Conclusion                                  believes that establishing                        requires the sampling and testing
                                              documentation and criteria for                    program must be reviewed and revised
    Based on the above discussion, a new      classification sampling and testing
 section § 174.3 10(a)(3) is being created                                                      and/or updated as necessary to reflect
                                              frequency will increase consistency and changing circumstances. The most
 to adopt new braking requirements for        accuracy of the data and improve
 HHFTs. Specifically, this provision                                                           recent version of the sampling and
                                              confidence in package selection, hazard testing program, must be made available
 requires that a HHFT (as defined in          communication, and ultimately safety in to the employees who are responsible
 § 171.8) must be equipped and operated       the transportation of hazardous
 with a two-way EOT device or DP                                                               for implementing it. When the sampling
                                              materials. Considering the challenges
 system. Heightened braking                                                                    and testing program is updated or
                                              posed by materials with variable
 requirements are being adopted to cover      composition and potentially variable             revised, all employees responsible for
 trains that transport 70 or more tank        properties, such as crude oil, providing         implementing it must be notified and all
 cars of flammable liquids while              criteria for sampling and testing a              copies of the sampling and testing
 operating over 30 mph. Unit trains that      critical first-step in safe transportation.      program must be maintained as of the
 meet this threshold must be equipped            Given the responsibility on the offeror date of the most recent version.
with ECP brakes and must be operated         to properly classify materials,89 PHMSA
 in ECP brake mode based on a dual                                                                 PHMSA further proposed to add a
                                              proposed a new regulatory requirement new § 173.41(d) that would mandate
 implementation schedule. The first           in this area. The NPRM proposed to add that each person required to develop
requires that trains meeting the              a new § 173.41 that would explicitly             and implement a sampling and testing
 definition of an HHFUT comprised of at
                                             require a sampling and testing program            program maintain a copy of the
least one tank car loaded with a Packing
                                              for mined gases and liquids, including           sampling and testing program
Group I material be operated with an
                                             crude oil. Under the proposed new                 documentation (or an electronic file
electronically controlled pneumatic
(ECP) braking system after January 1,         § 173.41(a), this program would be               thereof) that is accessible at, or through,
2021. The second requires that all other     required to address the following key             its principal place of business and must
trains meeting the definition of an          elements that are designed to ensure              make the documentation available upon
HHFUT be operated with an ECP                proper classification and                         request, at a reasonable time and
braking system after May 1, 2023.            characterization of crude oil:
                                                    Frequency of sampling and testing          location, to an authorized official of
   PHMSA and FRA have made
regulatory decisions within this final       to account for appreciable variability of DOT.
                                             the material, including the time,                     In response to the proposed
rule based upon the best currently
available data and information. PHMSA        temperature, means of extraction                  requirements for a sampling and testing
and FRA are confident that ECP               (including any use of a chemical),°° and program, we received a number of
implementation can be accomplished by        location of extraction;                           comments representing approximately
the compliance date adopted in this                 Sampling at various points along           65,200 signatories. The majority of these
final rule. However, PHMSA and FRA           the supply chain to understand the                signatories were part of write-in
will continue to gather and analyze                                                            campaigns for environmental groups.
                                                89 Under 49 CFR 173.22.
additional data. Executive Order 13610                                                         Below is a table detailing the types and
                                                90This accounting for the method of extraction
urges agencies to conduct retrospective      would not require disclosure of confidential      amounts of commenters on the
analyses of existing rules to examine        information.                                      classification plan proposal.
  26704                Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

     TABLE 31—C0MMENTER COMPOSI                           commenters including local                   representatives, environmental groups,
     TION: CLAssIFIcATION COMMENTS                        governments, safety organizations, and       individuals, and others supported use of
                                                          individual citizens among others. Many the term “characterization.”
             Commenter type              Signatories      comments in support of the rulemaking           As used in the NPRM and March 6,
                                                          highlighted the importance of proper         2014 Emergency Order, the term
     Non-Government Organiza                              classification for emergency responders. characterization was intended to convey
        tion                                    62,045       Although the classification of crude      the comprehensive nature of the
     Individuals                                  3,098 oil has not caused derailments, we
     Industry stakeholders                           23 disagree
                                                                                                       offeror’s responsibility to fully classify
     Government organizations or                                    that expanding existing            and describe their material in
        representatives                              29 classification requirements will not           accordance with Parts 172 and 173. This
                                                          impact transportation safety. In this        includes identifying additional
           Totals                               65,195 rulemaking, PHMSA is proposing new              properties of the hazardous material
                                                          or amended requirements as part of a        which are not specified by the proper
        Most industry stakeholders were                   comprehensive approach to improving          shipping name, but are necessary to
    either content with the measures                     the safe transportation of flammable         meet packaging requirements in Part
    currently in place to classify mined                 liquids by rail. This includes ensuring       173. We agree that the current
    gases or liquids or supported use of API that proper packaging, operational                       classification requirements as required
    RP 3000.°’ However, other commenters                 controls, and hazard communication           by § 173.22 encompasses the
    believed both the current and proposed               requirements are met, all of which are       requirement to fully describe the
    regulations were insufficient.                       important to mitigate the negative           material, including considering all
    Environmental groups, the NTSB, local, effects of derailment, and are                             appropriate hazard classes, selecting the
    tribal or state government organizations, determined by classification. As                        correct packing group, selecting the
    and individuals felt that the DOT                    discussed previously, PHMSA and FRA most appropriate proper shipping name,
   should clarify and expand the proposed audits of crude oil facilities indicated                    and obtaining complete information to
   requirements. Specifically, commenters the classification of crude oil                             follow all packaging instructions.
   addressed: The need for enhanced                      transported by rail was often based          However, we disagree that hazard class
   classification; use of the term                       solely on a Safety Data Sheet (SDS).         testing is sufficient to provide the
   “characterization;” inclusion of specific While the classification of manufactured information necessary to comply with
   materials in the testing and sampling                 products is generally well understood        § 173.22. Therefore, we are clarifying
   program; variability of mined liquids                 and consistent, unrefined petroleum-        the sampling and testing program to
   and gases; applicability and “sampling                based products potentially have             include a requirement to “identify
   along the supply chain”; sampling                    significant variability in their properties properties relevant to the selection of
   methodology and documentation;                       as a function of time, location, method      packaging through testing or other
   incorporation and use of API RP 3000                  of extraction, temperature at time of       appropriate means,” in place of using
   standards; specific testing methodology; extraction, and the type and extent of                   the term “characterization.” This
   and applicability of testing                         conditioning or processing of the            provides greater specificity and clarity
  requirements.                                         material. Unrefined petroleum-based          to the purpose and type of testing
       Industry stakeholders questioned the             products refers to hazardous                 required.
  need for regulatory amendments                        hydrocarbons that are extracted from the         Several commenters addressed the
  expanding the existing classification                 earth and have not yet been refined.         inclusion of specific materials in the
  requirements. Several industry                        These products may undergo initial           sampling and testing program
  stakeholders stated that there is no                  processing such as for the removal of        requirements, with some commenters
  justification for creating additional                 water and light gases, and which may         preferring broader applicability and
  classification requirements because                   undergo further processing, but have not some narrower. Comments ranged from
  misclassification has had no role in the              gone through a quality assurance!            supporting expanding the applicability
  derailments or impact on safety.                      quality control process such that the        of classification sampling and
 Specifically Exxon Mobil stated that                   properties of the product being offered      documentation requirement to all
 Bakken crude oil is not different from                 for transportation are known and             hazardous materials, clarifying the
 other light crudes and is correctly                    consistent. As such, we believe it is        definition of “mined liquids and gases”
 classified. It referenced API modeling,                necessary to require development and        to specify inclusion of hazardous
 which has indicated that Bakken crude                  adherence to a consistent and               byproducts and wastes or materials
 will behave similarly to other crudes in               comprehensive sampling and testing          derived from hydraulic fracking or other
 a fire. AFPM further stated that the                   program, and to provide oversight for       methods of extraction, and limiting the
 “only misclassification” PHMSA found such a program.                                               applicability of the definition to only
 during investigations was incorrect                       Several conunenters indicated that the include petroleum crude oil.
 packing group on shipping papers for                  term “characterization” was not              Commenters on both sides were
 cargo tank motor vehicles, but crude oil defined, unnecessary, or requires                         concerned that the phrase “mined
 was otherwise communicated and                        clarification. This term was used in the     liquids and gases” did not clearly
 packaged appropriately. PHMSA                         March 6, 2014 Emergency Order                specify which materials were covered
 received support for implementing an                  regarding classification to highlight the    by the rulemaking. Trade Associations
 enhanced classification and                           comprehensive nature of the existing         such as API, AFPM and DGAC stated
 characterization from a wide range of                 requirements. DGAC, API and other            that the term “mined liquids and gases”
                                                       commenters stated that the term              is “not used by the petroleum industry.”
     elThi5 recommend practice went through a          “characterization” is not used elsewhere Other commenters questioned which
public comment period in order to be designated as     in the regulations and is confusing.         specific materials met the definition of
en American National Standard. The standard
addresses the proper classification of crude oil for
                                                       Industry stakeholders also expressed         “mined liquids and gases.”
rail transportation and quantity measurement for       concern that the types of testing                We disagree with NTSB’s request to
overfill prevention when loading crude oil into rail   required for characterization was            expand the sampling and testing
tank cars.                                             unclear. Local and other government          program to all hazardous materials.
                     Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                               26705

     PHMSA does not believe there is             This includes petroleum-based liquid          and suggested duplicate sampling
     sufficient justification to expand the      and gas wastes and byproducts, such as       provided an undue burden. Commenters
     rule to all hazardous materials or          condensates, which exhibit variability.      also suggested providing statistical
     manufactured liquids such as ethanol.       Furthermore, use of the term                 justification for sample frequencies was
    The intent of the sampling and testing       “unrefined” provides greater                 an undue burden, or that the provision
    plan is to address materials that have       clarification to the other requirements of should be delayed to allow time for
     inherent variability of properties.         the testing and sampling program.            compliance. Public and environmental
    Further, we did not propose to expand        Therefore, specifying unrefined              groups supported more detailed
    the applicability beyond mined liquids       petroleum-based products clarifies the       mandates to ensure uniformity,
    and gases.                                   identification of mined liquids and          thoroughness, and clarity. While some
       We disagree with commenters who           gases with variable properties intended      commenters supported certification
    suggested the sampling and testing           by the NPRM, without creating an             requirements, others recommended
    program should be expanded to address undue burden.                                       removing the requirement or modifying
    all other byproducts or wastes created         Some commenters addressed the              the language. Commenters on both sides
    by the extraction process of all mined      question in the NPRM asking for               agreed the requirement to sample “along
    liquids and gases, including byproducts information on the variability within a          the supply chain” is not sufficiently
    or wastes created by the hydraulic          region. API identified several factors        clear, and should be clarified.
    fracturing of natural gas. The HIvifi       that affect variability, not addressed in       The one area where the concerned
    already requires classification of all      the NPRM, such as, “stability of             public, environmental groups, and
   hazardous materials before                   petroleum crude oil to be loaded, single industry stakeholders agreed was that
   transportation and compliance with all       source vs. multiple sources, type of tank API RP 3000 should be adopted or
   packaging requirements. Commenters           car loading facility, changes in crude oil permitted as a method of compliance
   did not provide sufficient data to justify production characteristics.” It further        with the proposed requirements. API
   expanding costs and recordkeeping for a stated that the requirement to include            further described that many
   sampling and testing program to these        factors affecting variability in             requirements in the proposed paragraph
   additional materials.                        § 173.41(a)(1) describe the materials in     § 173.41(a)(1) would align with API RP
       We also disagree with commenters         the form they are extracted from the         3000 requirements, if clarifications were
   who suggested the testing and sampling ground, but not the form they are                  made. API provided detailed
   requirements should be limited to only       shipped. Similarly, API and other            recommendations for amending the
   petroleum crude oil. As stated              commenters express concern that the           requirements in § 173.41. In addition to
  previously, the extraction process and       requirement in § 173.41(a)(3) to sample       areas mentioned elsewhere in the
   initial conditioning of petroleum crude     material “as packaged” suggests that          comment summary, API recommended
  oil may include the production of other sampling may only be performed after               changing the requirement for “statistical
  unrefined petroleum-based products,          the crude oil has been loaded into a         justification” to “quality control
  which may have variable properties that transport vehicle.                                justification” to allow other equivalent
  must be identified.                              We agree with API, that the intent of    methods for quality control, changing
      We agree with commenters that state      these requirements is to capture factors     the requirement for duplicate sampling
  the phrase ‘mined liquids and gases’         that may contribute to variability of the    to allow other equivalent methods, and
  needs further clarification. As proposed, material as offered for transportation.         removing the requirement to specify
  the term “mined liquids and gases”           We are clarifying § 173.41(a)(1) to          criteria for changing the program.
  referred to liquids and gases extracted      specify that the program must account            We disagree that the responsibility for
  from the earth through methods such as for “any appreciable variability of the            compliance with the program is unclear.
 wells, drilling, or hydraulic fracturing.     material” with a list of recommended         It is the responsibility of the offeror to
 While the term “mined liquids and             factors. This provides offerors the          certify compliance with the sampling
 gases” was proposed in the rulemaking, flexibility to identify the factors                 and testing program. The term “offeror”
 the RIA only included offerors related to contributing to variability in their             is used throughout the regulations to
 the production and extraction of              specific operation. We are also              specify applicability for transportation
 petroleum liquids, liquefied petroleum        amending § 173.41(a)(3) to replace “as       functions and is defined under “person
 gases (including propane), and natural        packaged” with “as offered” to clarify       who offers” in § 171.8. In response to
 gases when measuring affected entities.      that the sampling may occur before the        comments stating that “sampling along
 No data was provided by commenters to crude oil has been loaded into a                    the supply chain” is unclear, we are
justify benefits from expanding the           transport vehicle.                            clarifying this language. The intent of
 definition beyond petroleum liquids,             Commenters expressed interest in         this provision is to require sampling
 liquefied petroleum gases, and natural       clarifying the responsibility for            both before the product is initially
gases extracted from the earth. This list     development and execution of the             offered and when changes that may
includes both unrefined and refined           sampling and testing program. For            affect the properties of the material
petroleum-based products. However,            example, one consultant stated, “the         occur (i.e., mixing of the material from
unrefined products have the greatest          term ‘offeror’ and sampling program          multiple sources).
potential for variability of chemical and requirements are too broad to effectively            We disagree the other requirements of
physical properties. The properties of        determine who is ultimately responsible the program are unnecessary, unclear, or
refined petroleum-based products              for compliance.” Individuals and             overly burdensome, as each provision is
shipped from extraction sites are             environmental groups suggested               designed to ensure adequate sampling
consistent. Therefore, we are clarifying      specifying that “each operator” or           and testing to address the unique
the scope of this section to apply to         “custody transfer point” should be           characteristics and variability of the
unrefined petroleum based products.           responsible for complying with the           properties of these materials. Moreover,
Specifying “unrefined petroleum-based sampling and testing program. Industry these requirements align with and
products” refers to hazardous•                stakeholders, including AFPM,                provide greater specificity regarding
hydrocarbons that are extracted from the recommended “less prescriptive                    existing regulations requiring proper
earth and have not yet been refined.          mandates” for the sampling program           classification. However, we also agree
 26706               Federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations

   with API that an equivalent level of           unrefined petroleum-based products. As previously, PHMSA has purchased
   safety and quality control intended by         part of the requirements adopted in this closed syringe-style cylinders and is
   the requirements for “duplicate                rule, each person required to develop a       collecting samples using these
   sampling” arid “statistical justification”     sampling and testing program make the         cylinders. Utilizing these types of
   can be reached through other measures.         documentation available upon request          cylinders minimizes the opportunity for
   Therefore, we are adopting “quality            to an authorized official of the              any dissolved gases to be lost during
   control measures for sampling                  Department of Transportation. This            collection, thus providing increased
   frequencies,” in place of “statistical         provides sufficient oversight and will        accuracy. In addition, PHMSA has taken
   justification.” We are also adding “or         ensure that offerors are complying with       samples at other shale play locations
   equivalent measures for quality                the requirements. Should an offeror not around the United States to compare
   assurance” to the requirement for              comply, PHMSA and FRA officials will          their characteristics to that of crude oil
   “duplicate sampling.”                          be able to take enforcement action. In        from the Bakken region. PHMSA
     Finally, we are not adopting API RP          addition, requiring dissemination of test continues to examine the role of vapor
   3000 as a requirement at this time. As         results to third parties is not necessary     pressure in the proper classification of
  indicated in the NPRM, we did not               as the emergency response guidebook           crude oils and other flammable liquids.
  contemplate or propose adopting API             already provides information on the           Further we continue to explore
  RP 3000 in the NPRM, as it had not yet          hazards of specific materials and             collaborative research opportunities
  been finalized. Furthermore, the boiling        through the routing requirements,             examining the classification of
  point test specified in the API RP 3000         fusion centers can provide a mechanism flammable liquids. Any specific
  does not align with the requirements            for authorized individuals to acquire         regulatory changes related to vapor
  currently authorized in the HIvifi.             information about the amount of those         pressure would consider further
  Shippers must continue to use the               materials transported.                        research and be handled in a future
  testing methods for classification of              PHMSA did not propose requiring           rulemaking.
  flammable liquids outlined in § 173.120        third-party involvement with testing or          Furthermore, since the publication of
  and flammable gases in § 173.115.               submitting test results to a third party in the NPRM, the North Dakota Industrial
  However, API EP 3000 is otherwise              the NPRM and, as such, is not adopting        Commission issued Oil Conditioning
  consistent with the sampling program           any such requirements. PHMSA did not Order No. 25417, which requires
  requirements in paragraph 1 73.41(a)(1)—       propose regulatory changes to                 operators of Bakken crude oil produced
  (6) and may be used to satisfy these           classification test procedures, and as        in the state of North Dakota to separate
  adopted sampling provisions.                   such, is not adopting any such                the gaseous and light hydrocarbons from
 Furthermore, voluntary use of API RP            requirements. Furthermore, in the             all Bakken crude oil that is to be
  3000 provides guidance for compliance          NPRM, PHMSA stated that we are not            transported. The order also prohibits
 with these provisions, but still allows         proposing a requirement for the               blending of Bakken crude oil with
 flexibility for meeting requirements            retention of test results.                    specific materials.92
 through other methods.                             PHMSA requested comments on the               PHMSA appreciates any action that
     Comments regarding the specific             role of vapor pressure in classifying         improves the safe transportation of
 testing methodology ranged from                 flammable liquids and selecting               crude oil or other hazardous material.
 specifying more limited sampling and            packagings, as well as whether vapor          As with any hazardous material put into
 testing program requirements to                 pressure thresholds should be                 transportation by any mode, safety is
 mandating a more robust, detailed               established. Under existing                   our top priority, and we will continue
 sampling and testing program. Local             requirements and those proposed in this to conduct inspections or bring
 and state governments, enviromnental            final rule, shippers must select all          enforcement actions to assure that
 groups, and individuals recommended             appropriate tests for the changing            shippers comply with their
 mandating who performs testing (e.g.,           factors appropriate to the location and      responsibilities to properly characterize,
 requiring third-party oversight of testing      nature of their activities, and follow       classify, and package crude oil
 program or specifying tests could only          requirements under § 173.115 relating to regardless of how it is treated prior to
 be performed by third party without            vapor pressure when applicable.               transport. We also continue to work
 financial interest in company).                Individuals, government organizations,        with various stakeholders, including
 Commenters also recommended                    and environmental groups such as              other government agencies such as the
requiring dissemination of test results to      Delaware Riverkeeper Network                  Department of Energy, to understand
third parties such as DOT, local                supported mandating vapor pressure            best practices for testing and classifying
governments, emergency responders, or           testing to increase safety and .accuracy.     crude oil. See also Section VI “Crude
the public. Industry stakeholders               Environmental groups and offeror              Oil Treatment” for additional
recommended limiting testing to                 Quantum Energy also suggested                 discussion on this issue.
flashpoint and boiling point                    packaging selection should be based on            This comprehensive rule seeks to
determination. Other commenters                 vapor pressure. Industry stakeholders,        improve the safety of bulk shipment of
recommended mandating specific,                 such as the Dangerous Goods Advisory          all flammable liquids across all packing
additional tests. Commenters expressed          Council (DGAC) and AFPM stated vapor groups, and is not limited to Bakken
particular interest in either mandating         pressure testing was unnecessary.             crude. The enhanced tank car standards
that vapor pressure be tested or                    PHMSA did not propose any other           and operational controls for high-hazard
clarifying that it is never required for        specific changes related to vapor             flammable trains are not directly
flammable liquids.                              pressure in the NPRM and, as such, is         impacted by the order recently imposed
    Requiring third-party oversight of          not adopting any such requirements. We in North Dakota. Any specific regulatory
testing program or specifying tests could       appreciate the comments received on           changes related to treatment of crude oil
only be performed by third party                this issue and will consider them in any would consider further research and be
without financial interest in company is        future action.                                handled in a separate action.
not necessary as PHMSA and FPA will                 PHMSA has continued its testing and
already have oversight of the sampling          sampling activities and refined the              9zfittps://wwwdmrnd.gov/oijgas/Approved
and testing program requirements for            collection methods. As mentioned              or2541 7pdf
                     Federal Register! Vol. 80, No. 89! Friday, May 8, 2015 /Rules and Regulations                             26707

      Commenters suggested other changes       Conclusion                                   support for additional routing
   affecting the applicability of the             Based on the justification above,         requirements for HHFTs. The majority
   sampling and testing program. AfPM          PHMSA is adopting the proposed               of commenters supported the
   recommended addressing “exemptions” standardized sampling                                amendment as proposed in the NPRM;
   or “less prescriptive alternatives.” Some program                     and  testing
                                                         requirements for unrefined         however, some commenters supported
   trade associations suggested exempting      petroleum-based products with changes the expansion of the routing
   materials from requirements for the         intended to clarify the intent of            requirements beyond what was in the
   classification program when transported requirements                                     NPRM.     Some industry commenters
   in DOT—117s. Other commenters                             . This sampling and testing
                                               program requirements for unrefined           expressed opposition to additional
   suggested exempting petroleum crude         petroleum-based products will be             routing requirements for HHFTs.
   oil from the sampling requirements          codified in the new § 173.41. We are not Commenters also took the opportunity
   when assigned to packing group I or         incorporating API RP 3000 by reference. to identify other issues related to
   when crude oil is pre-treated.             However, shippers may still use API RP routing beyond the proposal to require
   Commenters also recommended changes 3000 as voluntary
                                                       a             way to comply with rail carriers who transport HHFTs to
  to the packing group assignment and         the newly adopted sampling                   perform routing assessments. Below is a
  classification process for Class 3.         requirements. It should be noted that all table detailing the types and amounts of
  Environmental groups recommended            of the testing provisions of API RP 3000 commenters on the routing proposal.
  requiring either Bakken crude oil or all    do not align with the requirements in
  petroleum crude oil to be classified as     the HMR. As the testing provisions were                TABLE 32—C0MMENTER
  Packing Group I. Industry stakeholders      not proposed to be modified, shippers           CoMPosmoN       : ROUTING COMMENTS
  agreed that crude oil should be             must continue to use the testing
  permitted to be classified as packing       methods for classification of flammable              Commenter type         Signatories
  group HI. AAR recommended                   liquids outlined in § 173.120 and
  prohibiting use of the combustible                                                       Non-Government Organiza
                                              flammable gases in § 173.115. It should         tion                              85,017
  liquid reclassification criteria for        be noted that PHMSA may consider the         Individuals                           2,292
  petroleum crude oil. Government             adoption of the non-codified testing         Industry  stakeholders                   20
  representatives, environmental groups       provisions of API RP 3000 in a future        Government    organizations or
  and individuals suggested prohibiting       rulemaking.                                     representatives                       30
 the use of Packing Group ifi for Class 3
  flammable liquids.                          F. Routing                                      Totals                            87,359
     In the NPRM, PHMSA asked how to             PHMSA proposed in the August 1,
 provide flexibility and relax the                                                            Commenters who either supported the
                                              2014 NPRM, in § 174.3 10(a)(1), to           proposal in the NPRM or the expansion
 sampling and testing requirements for        modify the rail routing requirements         of the proposal in the NPRM were
 offerors who voluntarily use the safest      specified in § 172.820 to apply to any       primarily concerned members of the
 packaging and equipment replacement         HHFf. The routing requirements                public, environmental groups, tribal
 standards. However, we did not propose discussed in the NPRM reflect the                  communities, local governments, and
 exemptions from the sampling and            practices recommended by the NTSB in Congressional representatives.
 testing program or changes to the           recommendation R—14—4, and are in            Commenters in support, such as
 assignment of packing groups for            widespread use across the rail industry      Congressman Michael F. Capuano,.
 petroleum crude oil or in the NPRM          for security-sensitive hazardous             recognized the value of expanding the
 and, as such, is not adopting any such      materials (such as chlorine and              scope of the route planning regulations
 requirements. The current hazard            anhydrous ammonia). As a result, rail        to include routing HFWI’s away from
 classification criteria are sufficient for  carriers would be required to assess         dense population centers and
 assigning packing group when proper         available routes using, at a minimum,        environmentally sensitive areas, stating,
 sampling and testing occurs. We             the 27 factors listed in Appendix D to       “I fully support requiring HHFT carriers
 disagree that pre-treatment of crude oil,   Part 172 (hereafter referred to as           to perform a routing risk analysis and
 use of DOT—117 tank cars, or other          Appendix D) of the HMR to determine          then select their route based on the
 exemptions discussed by commenters          the safest, most secure routes for           findings of that analysis.”
 adequately ensures the safest packaging security-sensitive hazardous materials.             Additionally, the NTSB commented,
 and equipment replacement standards         Additionally, the requirements of            “we believe that the proposed rule, if
to justify opting out of the sampling and § 172.820(g) require rail carriers to           implemented, would satisfy the intent
testing requirements for the materials       establish a point of contact with state      of Safety Recommendation R—14—4,”
adopted by this rulemaking.                  and/or regional fusion centers who          which urges an expansion of the route
Furthermore, these exemptions do not         coordinate with state, local, and tribal    planning requirements to include trains
provide an equivalent level of safety for officials on security issues as well as        transporting flammable liquids.
identifying properties to ensure             state, local, and tribal officials that may     The Prairie Island Indian Community
compliance with packaging                    be affected by a rail carrier’s routing     provided a specific example of a
requirements in Part 173. The sampling decisions and who directly contact the            community that could be directly
and testing program is important to         railroad to discuss routing decisions.       affected by the implementation of the
accurately classify these materials for     This requirement will in essence             routing requirements. They noted that
transportation and fully comply with        capture threshold notification               their community is home to “hundreds
the packaging and operational controls      requirements for HHFTs as discussed in of tribal member residents, potentially
in the HMR. Therefore, we are not           further detail in the next section.          thousands of visitors and employees at
limiting the assignment of packaging            In response to the proposed              the Treasure Island Resort and Casino,
group for petroleum crude oil, or           amendments to routing, we received           a dry cask storage facility currently
providing exceptions to the sampling        comments representing approximately          hosting 988 metric tons of spent nuclear
and testing program for applicable          87,359 signatories. An overwhelming          fuel, an operating nuclear power plant
materials.                                  majority of commenters expressed             with two reactors and approximately
 26708              Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

   635 metric tons of spent nuclear fuel in   choices by carriers are not disclosed to     propose any provisions for communities
   the fuel pooi.” They noted that “if ever   the public and are kept secret. Some         to make unilateral decisions to disallow
   there was a case for rail routing risk     commenters also supported increased          HHVT shipments, and such a
   assessment, this is it.” With this, the    oversight of routing analyses, either        requirement may call into question
   Prairie Island Indian Community            through evaluation by a third party or       issues of preemption. Also, local
   provided their support for                governmental entities.                        government crude by rail prohibitions
   implementing routing requirements for        These route analysis and selection         could have detrimental impacts on the
  HHFTs.                                     requirements exist for the transportation fluidity of the entire national rail
     Some commenters proposed                of security-sensitive materials, such as      network, including passenger service.
  expanding upon the existing risk factors poisonous-by-inhalation materials,              With respect to the use of route analysis
  listed in appendix D. Recommended          certain explosives and certain                information for the purpose of
  expansions to appendix D included a        radioactive materials. As such,               improving infrastructure, PHMSA and
  factor to avoid routes that pass through   information about the analyses and            FRA believe that by expanding the
  areas that experience a high density of    routes of shipments should only be            routing requirements to HHFTs, more
  commuters at peak times. Additionally,     released to those with a need-to-know,       routes will be analyzed, and
  environmental groups and concerned         in order to maintain confidentiality for      infrastructure needs will be identified
  public urged considering a route’s         both business and security purposes. In by the railroads as an indirect benefit.
  proximity to watersheds and water          accordance with voluntary practices and However, codifying the use of this
  supplies. Environmental advocate           existing requirements, including the         information for purposes beyond route
  Scenic Hudson, Inc. commented that the Secretary’s May 7, 2014 Emergency                analysis and selection was not proposed
  route assessment should include            Order (Docket No. DOT—OST—2014—              and is outside the scope of this
  avoiding National Parks and other          0067), routing information is shared         rulemaking.
  historical landmarks, such as those        with appropriate state, local, and Tribal       Commenters who opposed additional
  identified by the National Trust for       authorities.                                 routing requirements for HHFTs include
  Historic Preservation or designated as        Furthermore, as § 172.82 0(e) states,     trade associations, rail carriers and rail-
 National Heritage Areas by Congress.        rail carriers must restrict the              carrier related businesses. While these
     PHMSA and FRA recognize the             distribution, disclosure, and availability commenters represented a minority of
 assertion by some commenters that the       of information contained in all route        those who responded to routing
 list of 27 risk factors in appendix D       review and selection decision                proposals from the NPRM, concerns and
 should be expanded to address various       documentation (including, but not            issues were raised. The AAR, the
 additional specific risk factors. These     limited to, comparative analyses, charts, Institute for Policy Integrity and the
 comments are beyond the scope of this       graphics or rail system maps) to covered Illinois Commerce Commission (ICC)
 rulemaking. In the NPRM, PHMSA and          persons with a need-to-know, as              state that PHMSA needs to be aware of
 FRA did not propose revisions to            described in 49 U.S.C. Parts 15 and          the implications of expanding the
 appendix D, nor did we solicit              1520, which govern the protection of         additional routing requirements to
 comments on revising the current list of sensitive security information. DOT             HHFTs. These commenters assert that
 risk factors in appendix D. However,        provides oversight for route analysis,       such an expansion will narrow the
 given the number of concerns raised by      selection and updating. As § 172.820(e)      routes over which HEFTs may operate
 commenters on this particular issue,       provides, rail carriers must maintain all and will force HHFTs to travel the same
 PHMSA and FRA believe it is important route review and selection                         lines thus causing distributional effects
 to clarify that the 27 factors currently    documentation, which DOT may review on the network. AAR stated that
 listed in appendix D are inclusive of the in the course of its regulatory and            network fluidity would be negatively
 more specific factors that several         enforcement authority. Specifically,          impacted by clogging certain routes. In
 commenters suggested adding to the list. FRA personnel oversee compliance with addition, the ICC stated that the AAR
 For example, “watersheds” are expected routing regulations by completion of              and ASLRRA have put in place
to be considered under risk factor          regular security audits of Class I and       voluntary agreements with the
 number 13 in appendix D entitled           shortline railroads (Class II and III). Part Department to mitigate the
 “environmentally sensitive or              of the security audit involves review of     consequences of an incident, should one
significant areas”, and “national           route selection documentation to ensure occur, and that those are sufficient. A
landmarks” are expected to be               that the selection was completed,            concerned public commenter noted that
considered in risk factor number 12         documented, and considered the               the number of factors a route analysis
entitled “proximity to iconic targets.”     appropriate risk factors specified in        should be narrowed from 27 to 5—7.
Also, it is important to emphasize that,    appendix D to part 172.                          PHMSA and FRA disagree with
in addition to numerous other factors, a        Additionally, PHMSA and FRA              comments in opposition to expanding
route assessment must address venues        received comments that supported             routing requirements to rail carriers
along a route (stations, events, places of allowing an “opt out” for communities         transporting HHFTs. We believe that
congregation), areas of high                to choose not to allow HHFTs to be           any effects on the network that
consequence, population density, and        transported through their areas.             negatively impact fluidity or
the presence of passenger traffic along a Additionally, King County, WA voiced           distributional effects will be minor
route. Hence, the concerns raised by        support for the proposed requirements,       compared to the safety benefits of the
commenters, while beyond the scope of but urged the use of the information               proposed requirements. Commenters
this rulemaking, are generally already      gathered from the route analyses to          who expressed concern regarding the
addressed by the risk factors in            identify critical infrastructure needs       negative impact that applying routing
appendix D.                                 along a route such as additional crossing requirements to HHFTs would have on
    Commenters also expressed concerns      gates, signals and track integrity to        the rail network did not provide data to
regarding the risk analysis done by rail    avoid collision and derailment.              support their claims. Additionally,
carriers and how that information is           PHMSA believes these comments are         comments implying a strain on the
used, shared or evaluated. Many             outside the scope of the requirements        network caused by increased
commenters shared concern that routing proposed in the NPRM. PHMSA did not operational requirements focused on
                     Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                  26709

    speed restrictions proposed in the              explosives, and certain radioactive           current notification). DOT issued the
    NPRM. A route selection performed in           materials). Therefore, the cost impact is Order under the Secretary’s authority to
   accordance with § 172.820(e) does not           primarily limited to shortline and             stop imminent hazards at 49 U.S.C.
   expressly prohibit a carrier from               regional railroads (Class 2 and Class 3).      5121(d). The Order was issued in
   selecting a particular route. Instead,          We anticipate this to be a minimal            response to the crude oil railroad
   carriers must use their analysis to select      burden on shortline railroads, as they        accidents previously described, and it is
   the practicable route posing the least          typically operate a single route and           in effect until DOT rescinds the Order
   overall safety and security risk. Carriers      therefore would lack alternative routes       or a final rule codifies requirements and
   may also choose to install or activate          to analyze. It should be noted that           supplants the requirements in the
   mitigating measures to address any of           ASLRRA did not comment on this                Order.
   the safety and security risks found.            specific proposal.                                In the August 1, 2014, NPRM, PHMSA
   Additionally, rail carriers must identify          The amendments in this final               proposed to codify and clarify the
   and analyze practicable alternative             rulemaking relating to rail routing will      requirements of the Order and requested
   routes over which it has authority to           require rail carriers transporting an         public comment on the various parts of
  operate if such an alternate route exists.       HHFT to: (1) Conduct an annual route          the proposal. As also previously
  Furthermore, in accordance with                 analysis considering, at a minimum, 27         discussed, there have been several
  Appendix D, carriers are required to            risk factors listed in Appendix D prior        significant train accidents involving
  assess a number of factors that would           to route selection; and (2) identify a         crude oil in the U.S. and Canada over
  generally be representative of potential        point of contact for routing issues, and       the past several years, resulting in
  network strains or congestion, including        who to directly contact the railroad to        deaths, injuries, and property and
  assessment of “rail traffic density” and        discuss routing decisions, and provide         environmental damage. These accidents
  “trip length for route.”                        this information to state and/or regional have demonstrated the need for
     Also, as required by § 172.820(g), a         fusion centers and state, local, and tribal improved awareness of communities
  carrier transporting an HHFT will be            officials in jurisdictions that may be         and first responders of train movements
  required to establish a point of contact        affected by a rail carrier’s routing           carrying large quantities of hazardous
  with a State or regional fusion center,         decisions. In addition, PHMSA and FRA materials through their communities,
  which have been established to                  believe that the requirement for rail          and thus being prepared for any
  coordinate with state, local and tribal         carriers to establish fusion center            necessary emergency response.
  officials on security issues.                   contacts will address the need for                In the August 1, 2014, NPRM, PHMSA
 Additionally, a carrier transporting an          notification requirements, as discussed       specifically proposed to add a new
 HHFT will be required to establish a             in further detail in the “Notification”       section (S 174.310), “Requirements for
 point of contact with state, local, and          section below. By not adopting the            the operation of high-hazard flammable
 tribal officials in jurisdictions that may       separate notification requirements            trains,” to subpart G of part 174. We
 be affected by a rail carrier’s routing         proposed in the NPRM and instead               proposed notification requirements in
 decisions and who directly contact the          relying on the expansion of the existing paragraph (a)(2) of this section. Unlike
 railroad to discuss routing decisions. In       route analysis and consultation                many other requirements in the August
 turn, state, local, and tribal officials can    requirements of § 172.820, to include          1, 2014 NPRM the notification
 use this to inform local emergency              HHFTs, we are focusing on the overall          requirements were specific to a single
 responders along routes traveled by             hazardous materials regulatory scheme.         train that contains one million gallons
 HHFTs. By limiting the routes HIIFTs                                                           or more of UN 1267, Petroleum crude
travel on, it will allow resources for           G. Notification
                                                                                                oil, Class 3, as described by § 172.101 of
 emergency response capabilities to be               On May 7, 2014, DOT issued an             this subchapter and sourced from the
focused on heavily trafficked routes             Emergency Order (“the Order”)                 Bakken shale formation in the Williston
while minimizing risk to vu]nerabilffles         requiring each railroad transporting one Basin (North Dakota, South Dakota, and
adjacent to the rail network. PHMSA              million gallons or more of Bakken crude Montana in the United States, or
and FRA believe that this will further           oil in a single train in commerce within Saskatchewan or Manitoba in Canada).
bolster the ability for state and local          the U.S. to provide certain information       As proposed rail carriers operating
officials to respond to rail related             in writing to the State Emergency             trains that transport these materials in
incidents while furthering                      Response Commissions (SERCs) for each this amount would be required to
communication between the railroads             state in which it operates such a train.       within 30 days of the effective date of
and state and local governments and the         The notification made under the Order          the final rule to provide notification to
availability of this information to first       must include estimated frequencies of          the SERC or other appropriate state
responders through established                  affected trains transporting Bakken            delegated entities in which it operates
emergency communication networks,               crude oil through each county in the          within 30 days of the effective date of
such as fusion centers.                         state, the routes over which it is            the final rule. Information required to be
                                                transported, a description of the             shared with SERCs or other appropriate
 Conclusion                                     petroleum crude oil and applicable            state delegated entity would include the
   Based on the above justification,            emergency response information, and           following:
PHMSA and FRA are modifying the rail            contact information for at least one               • A reasonable estimate of the
routing requirements specified in               responsible party at the host railroads.      number of affected trains that are
§ 172.820 to apply to any HHFT, as the          In addition, the Order required that          expected to travel, per week, through
term is defined in this final rule              railroads provide copies of notifications each county within the State;
(5 171.8; See discussion in HHVT                made to each SERC to FRA upon request              • The routes over which the affected
section). We estimate the cost impact to        and to update the notifications when          trains will be transported;
be approximately $15 million, as Class          Bakken crude oil traffic materially                • A description of the petroleum
1 railroads have already been required          changes within a particular county or         crude oil and applicable emergency
to perform these analyses for materials         state (a material change consists of 25       response information required by
already subject to routing requirements         percent or greater difference from the        subparts C and G of part 172 of this
(poisonous-by-inhalation, certain               estimate conveyed to a state in the          subchapter; and,
 26710              Federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations

    • At least one point of contact at the          In the NPRM, PHMSA proposed                             stating “SERCs should be notified of
  railroad (including name, title, phone         regulations consistent with the Order                      residue” when crude oil trains are
  number and address) responsible for            (i.e., trains transporting one million                     passing through their States. We
  serving as the point of contact for the        gallons or more of Bakken crude oil).                     received only one opposing comment
  State Emergency Response Commission            Assuming that 29,000-gallons of crude                     that the requirements were too strict
 and relevant emergency responders               oil are contained in each tank car,                       from AFPM, which said “SERC
 related to the railroad’s transportation of     approximately 35 tank cars in a train                     notifications should be tied to
 affected trains.                                would trigger the notification                            shipments of crude oil or ethanol in
    In addition, as proposed in the August       requirement. For purposes of the Order,                   ‘unit trains,’ meaning trains that have 75
 1, 2014 NPRM, railroads would be                DOT had previously assumed that this                      cars or more shipping crude oil or
 required to update notifications prior to       was a reasonable threshold when                           ethanol.” This viewpoint is significantly
 making any material changes in the              considering that the major incidents                      greater than the one million gallons
 estimated volumes or frequencies of             described in the NPRM all involved                        trigger proposed in the NPRM.
 trains traveling through a county and           trains consisting of more than 70 tank                       DOT agrees with the majority of
 provide copies to FRA upon request. In         car tanks carrying petroleum crude oil,                    cornmenters who believe the one
 response to the proposed notification           or well above the threshold of one                        million gallons threshold for triggering
 requirement for rail shipments of crude        million gallons. The threshold in the                      the notification requirements is too
 oil, we received a number of comments          Order was based on a Federal Water                         lenient. As previously noted, the order
 representing approximately 99,856              Pollution Control Act mandate for                          required “each railroad transporting one
 signatories.                                   regulations requiring a comprehensive                      million gallons or more of Bakken crude
                                                spill response plan to be prepared by an                   oil in a single train in commerce within
       TABLE 33—C0MMENTER                       owner or operator of an onshore                            the U.S. provide certain information in
      COMPosITIoN: NOTIFICATION                 facility.93                                                writing to SERCs for each state in which
                                                   Again, the majority of commenters                       it operates such a train.” After careful
      Commenter type           Signatories
                                                who expressed their viewpoints                            consideration of the comments and after
                                                regarding the proposed notification                       discussions within PHMSA and FRA,
 Non-Government Organiza                        requirements asked for PHMSA to lower                     we believe that using the definition of
   tion                              90,869     the threshold and therefore expand the                    the HHFT for notification applicability
 Individuals                          8,888     applicability of notification                             is a more conservative approach for
 Indust,y stakeholders                   22     requirements. For example, the NTSB                       affecting safer rail transportation of
 Government organizations or                    commented that “[a] threshold of one                      flammable liquid material, and it is a
   representatives                       77     million gallons (approximately 35 tank                    more consistent approach because it
  Totals                             99,856
                                                car loads) is significantly above a                       aligns with the proposed changes to
                                                reasonable risk threshold and should be                   other operational requirements,
                                                lower. At a minimum the threshold                         including routing. Furthermore, the
    Overall, the vast majority of
                                                should be set no higher than the value                    routing requirements adopted in this
 commenters support PHMSA’s efforts to          of an HHFT (20 cars).” These proposals                    final rule reflect the substance of NTSB
 establish some level of notification           were echoed by the environmental                          Safety Recommendation R—14—4, and
 requirements for the operation of trains      groups, congressional interest, the                        are in widespread use across the rail
 carrying crude oil as proposed in 49           concerned public, and in particular the                   industry for security-sensitive
 CFR 174.310(a)(2). However, they are          Massachusetts Water Resources                              hazardous materials (such as chlorine
 divided on certain aspects of the   -

                                               Authority and Division of Emergency                        and anhydrous ammonia).
 proposed notification to SERCs of             Management. Other commenters such as                           Each state is required to have a SERC
 petroleum crude oil train transportation.     Flat Head Lakers suggested an even                         under the Emergency Planning and
 The overwhelming majority of                  lower threshold; for example, “[t]he                       Community Right-to-Know Act of 1986
 commenters suggested a lower threshold        threshold for this reporting requirement                   (EPCRA). 42 U.S.C. 11001(a). The
 to trigger the notification requirements.     should be 35,000 gallons per train; the                    EPCRA is intended to help local entities
 In the NPRM, PHMSA proposed a                 amount carried by one tank car, rather                     plan for emergencies involving
 threshold of one million gallons for a        than one million gallons.” To further                     hazardous substances.94 Generally,
 single train containing UN1267,               illustrate the point, some commenters                     SERCs are responsible for supervising
 Petroleum crude oil, Class ifi, sourced       such as Powder River Basin wanted the                     and coordinating with the local
 from the Bakken region. With near             notification threshold reduced even                       emergency planning committees (LEPC)
unanimity, commenters believe the one          more by stating “[wie ask DOT to                          in states, and are best situated to convey
million gallons threshold is too high          broaden its advance notification                          information regarding hazardous
and the idea of limiting it to just Bakken     requirements to include all trains                        materials shipments to LEPCs and state
crude oil was too narrow (e.g., include        transporting any quantity of Class ifi                    and local emergency response agencies.
all crude oils from all areas, or include      (flammable liquid) material.” Finally,                    At the time of the issuance of the Order,
all Class III flammable liquids). In           the Wasatch Clean Air Coalition                           DOT determined that SERCs were the
general, comments fell into one of four        suggested the lowest threshold possible,                  most appropriate recipient of written
categories related to proposed                                                                           notifications regarding the trains
notification requirements: (1) Defining                  40 CFR 112.20. The Federal Water                transporting large quantities of Bakken
threshold requirements that trigger            Pollution Control Act, as amended by the Oil              crude oil. After issuance of the Order,
notification; (2) notification                 Pollution Act of 1990, directs the President, at
                                               section 311(j)(1)(C) (33 U.S.C. 1321(j)(1)(C)) and        the railroads requested that the fusion
applicability and emergency response;          section 311(j)(5) (33 U.S.C. 1321(j)(5)), respectively,   centers be permitted as an appropriate
(3) public dissemination/sensitive             to issue regulations ‘establishing procedures,            point of contact to satisfy notification
information; and 4] defining commodity         methods, and equipment and other requirements for         requirements. Railroads already share
type for notification purposes. These          equipment to prevent discharges of oil and
                                               hazardous substances from vessels and from                information with fusion centers under
comments are discussed in further              onshore facilities and offshore facilities, and to
detail below.                                  contain such discharges.”                                  http://www2epa.gov/epcra.
                     Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                 26711

    existing § 172.820 of the HMR,                   recommends that PHMSA require               “each railroad transporting one million
    PHMSA’s regulation governing                     railroads transporting hazardous            gallons or more of Bakken crude oil in
    additional planning requirements for             materials to develop, implement, and        a single train in commerce within the
    transportation by rail of certain                periodically evaluate a public education U.S. provide certain information in
    hazardous materials and thus many                program similar to 49 CFR 192.6 16 and     writing to the SERCs for each state in
    have an established relationship with            195.440 for the communities along           which it operates such a train.” While
    these entities. DOT had also received            railroad hazardous materials routes.”      we proposed the same language in the
    inquiries regarding the Order’s                     Environmental groups such as the        NPRM as it related to setting up the
    implications for Tribal Emergency                Sierra Club commented that “rail           notification requirements and the
   Response Commissions (ThRCs). TERCs operators carrying volatile crude in any                 SERCs, after careful review of the
   have the same responsibilities as SERCs, amount must be required to notify states comments and discussions within
   with the Chief Executive Office of the            and emergency responders of the crude      PHMSA and FRA, we believe that using
   Tribe appointing the TERC.95                      compositions, quantities, and frequency the definition of the HHFT for
       In response to this request and other         of transport; and that this information    notification applicability and emergency
   questions regarding the order, DOT               must be made available to the public.”      response is appropriate. This will align
   issued a Frequently Asked Questions               Some commenters wanted the                 it with the proposed changes to the
   (FAQs) guidance document to address              notification applicability expanded
   these inquiries.96 In that document,                                                         § 172.820 requirements, and since those
                                                    greatly, and Delaware Riverkeeper           will be expanded to apply to HHfTs,
   DOT explained that if a State agrees it          Network noted that SERCs should be          the notification requirements in
   would be advantageous for the                    “notified of sampling and testing           paragraph (g) of § 172.820 will now
   information required by the Order to be results, and that those results should be cover all flammable
                                                                                                                      liquids transported
   shared with a fusion center or other             made available to the general public,       in an HHFF, including crude oil and
   State agency involved with emergency             SERCs, the DOT, fusion centers, Tribal      ethanol. The expansion of the routing
  response planning and/or preparedness, emergency responders, and local                       requirements and deferring to the
   as opposed to the SERC, a railroad may           [emergency responders] ERs.”               reporting requirements therein, as
   share the required information with that Numerous commenters also stated that
                                                                                               adopted in this final rule, reflect the
  agency instead of the SERC. DOT also              they believed “local emergency             NTSB recommendation R—14—4, and
  explained that railroads were not                 responders should be provided with         enable industry to make use of current
  required to make notification under the           information about all hazmat traveling     practices for security-sensitive
  Order to TERCs, but, rather, that DOT             through their jurisdictions,” including    hazardous materials (such as chlorine
  would be reaching out to Tribal leaders           villages, towns; and cities. Some          and anhydrous ammonia).
  to inform them that TERCs could                   commenters also provided general
  coordinate with the appropriate SERC in support for notification requirements                    After issuance of the Order, railroads
  a state for access to data supplied under described in AAR Circular No. OT—55—               were concerned that certain routing and
  the Order.                                       N,97 which contains the recommended         traffic information about crude oil
      In the NPRM, PHMSA proposed                  railroad operating practices for           transport required to be provided 1o
  requirements for notification to SERCs           transportation of hazardous materials.      SERCs would be made available to the
  consistent with the notification                 Finally, the Prairie Island Indian         public under individual states’
 language of the Order (i.e., trains               Community touched on the issue of          “Sunshine” laws. DOT engaged in
 transporting one million gallons or more including ThRCs in that “unfortunately discussions with railroads and invited
 of Bakken crude oil). Notification made           there was no mention of notifying Tribal states to participate to address this valid
 under the Order had to include                    Emergency Response Commissions             concern, and the FAQ document was
 estimated frequencies of affected trains          (ThRC). Indian tribes have the same        the outcome of those discussions. As is
 in each county in the state, their routes, responsibilities and obligations under            explained in the aforementioned FAQ
 a product description and emergency               the Emergency Preparedness and             document, DOT preferred that this
 response information, and contact                 Community Right-to-Know Act (EPCRA) information be kept confidential, and
 information.                                      passed by Congress in 1986. EPCRA          acknowledged that railroads may have
     Comrnenters had varied opinions               established requirements for federal,      an appropriate claim that this
 regarding who the appropriate recipient state and local governments, Indian                  information constitutes confidential
 of this information should be (e.g.              tribes, and industry regarding              business information, but that such
 SERCs, fusion centers, emergency                 emergency planning and Community            claims may differ by state depending on
responders, etc.). For example, the               Right-to-Know reporting on hazardous        each state’s applicable laws. DOT also
NTSB stated that DOT should “codify               and toxic chemicals. The Community          encouraged the railroads to work with
Safety Recommendation R—14—14,                    Right-to-Know provisions were meant to states to find the most appropriate
which recommends that PHMSA require increase public knowledge and access to means for sharing this information
railroads transporting hazardous                  information on chemicals at individual      (including fusion centers or other
materials through communities to                  facilities, their uses, and releases into   mechanisms that may have established
provide emergency responders and local the environment.”                                      confidentiality protocols). However, the
and state emergency planning                          DOT agrees with the general scope of Order and DOT’s subsequent guidance
committees with current commodity                 the commenters who suggested making         did not require nor clarify that states
flow data and assist with development             more information available for first       sign confidentiality agreements to
of emergency operations and response              responders and emergency planners, but receive this information, and did not
plans.” The NTSB further stated that              we disagree on the best method to          designate or clarify that the information
DOT should “codify Safety                         disseminate the information to the         could be considered Sensitive Security
Recommendation R—14—19, which                     members of this community. As              Information (SSI) under the procedures
                                                  previously noted, the Order required       governing such information at 49 CFR
    95http://www2.epa.gov/sftesfproduction/files/                                            part 15. DOT understands that despite
201 3-08/documents/epcrajactsheet.pdf                  http://www.regulations.gov/           confidentiality concerns, railroads are
   Dohttp://www.fta.dot.govfeLib/Detaiis/L05237.  #!documentDetail;D=PHMSA-2012-0082-0009.   complying with the requirements of the
  26712                Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

   Order and have provided the required        Plains Marketing said that while it                  discussed before, DOT prefers that this
    information to States.                     “recognize[s] that providing this                    information be kept confidential for
      In the NPRM, PHMSA proposed              information allows local first responders security reasons, and acknowledges that
   notification requirements consistent        to better prepare to respond to                      railroads may have an appropriate claim
   with the Order. However, we did not         accidents, we do caution PHMSA that                  that this information constitutes
   include any specific language regarding providing this information could be in                   confidential business information, but
   public access to sensitive information      conflict with confidentiality                        that such claims may differ by state
   requirements, but we did ask readers to     requirements, and that PHMSA should                  depending on each state’s applicable
   comment on two questions: (1) Whether ensure that the disclosure is limited to                   laws. DOT has also encouraged the
   PHMSA should place restrictions in the only emergency responders and related                     railroads to work with states to find the
   HMR on the disclosure of the                agencies.” Other government groups,                  most appropriate means for sharing this
   notification information provided to        like the National Association of SARA                information (including fusion centers or
   SERCs or to another state or local          Title Ill said, “rail carriers may                   other mechanisms that may have
   government entity; and (2) Whether          designate the information being                     established confidentiality protocols).
   such information should be deemed 531, provided as a trade secret or as security                After careful review of the comments
   and the reasons indicating why such a       sensitive, but may not demand that the              and after discussions within PHMSA
   determination is appropriate,               SERCs or other recipients sign                      and FRA, we believe that adopting the
   considering safety, security, and the       nondisclosure agreements.” However,                 notification (and information sharing)
   public’s interest in this information.      concerned public commenter K. Denise                process associated with the additional
      Commenters had varying opinions on Rucker Krepp, former MARAD                                planning requirements under § 172.820
  this issue. A concerned member of the                                                Chief
                                              Counsel and former Senior                            is the best approach. Under this
  public indicated, “I do NOT recommend U.S. House of RepresentativCounsel,                        approach, the transportation of crude oil
  that the public be informed of train                                            es
                                              Homeland Security Committee, said:                   by rail (or any other flammable liquid
  schedules due to terrorism concerns,”                                                            carried as part of a HHFT) can: (1)
  while others asserted, “I support the          The Department of Transportation cannot
                                              limit the  sharing  of information   to State        Avoid the negative security and
  community’s right to know,” and                                                                  business implications of widespread
  “residents within the zone around train Emergency Response Commissions to trains                 public disclosure of routing and volume
                                              containing more than one million gallons of
  routes that could be affected need to       Bakken crude oil. Railroad carriers are              data; and (2) preserve the intent of the
  know what’s going through their             required by the Implementing                         Order to enhance information sharing
  communities and over their water            Recommendations of the 9/Il Commission               with emergency responders by utilizing
  supplies, where it will pass and when,      Act of 2007 (9/11 Act, Public Law 110—53)            fusion centers as they have established
  in order to make decisions about            to share all routing and cargo shipment              protocols for communicating with
  personal exposure.” Enviromnental           information with state, local, and tribal            emergency responders on hazmat rail
  groups including Earthjustice, Forest       authorities. Section 1512 of the 9/11 Act
                                             requires   railroad  carriers to conduct             issues as indicated in the following
 Ethics, Sierra Club, NRDC, and Oil                                                               passage from the Frequently Asked
 Change International commented,             vulnerability assessments and draft security
                                             plans.   The  Department    of Homeland    Security  Questions on DOT’s May 7, 2014
  “[t]here should be no restrictions on the                                                       Emergency Order Regarding Notification
                                             fDHS) is required to review these
 disclosure of information provided to       assessments and plans in consultation with           to Communities of Bakken Crude Oil
 SERCs or other emergency responders.” public safety and law enforcement officials.               Shipments:
 The NTSB stated, “[cJlassifying route       DHS can’t properly consult with these
 information about hazardous materials       officials if they don’t know what is being              Fusion Centers are established on a State
 as 331 would unreasonably restrict the      transported through their jurisdiction.              and regional basis, with one of their purposes
                                             Similarly, DHS can’t seek input from state           being to share emergency response
 public’s access to information that is                                                           information. Railroads currently routinely
 important to safety. While the general      and local officials if they don’t know the           share data on their shipments with Fusion
 public may not require detailed             routes  by  which   the goods   are being            Centers. Given that railroads and Fusion
 information such as: Numbers, dates,        transported.                                         Centers have already established protocols
 and times  —   people should know if they       Finally, Senators Wyden, Merkley,                for sharing information under existing
 live or work near a hazardous materials     Boxer, and Feinstein stated, “[b]ecause              confidentiality agreements, in some
 route.”                                     railroads provide crude oil routes                   situations, there might be advantages to
     Certain industry groups, like the                                                            States and railroads in utilizing fusion
                                             online, reporting information to                    Centers instead of SERCs for the sharing of
 AFPM, suggested that “PHMSA should          emergency responders (with no limits                information required by this EO. DOT also
 clarify that SERC notifications are         on ‘information sharing’) should not                noted that there is an existing mechanism for
 sensitive security information exempt      pose additional security concern.”                   Tribal Nations to interact with the Fusion
from state Freedom of Information Acts           DOT agrees with the commenters that Centers through the State, Local, Tribal and
and sunshine laws.” As for rail carriers, this is a difficult and complex issue, and Territorial Government Coordinating
many of them supported Great Northern widespread access to security sensitive                    Council. Similarly, DOT recognizes that
Midstream’s assertion that “disclosing                                                           individual States may have an agency other
                                            information could be used for criminal               than the SERC or Fusion Center that is more
private information in the public           purposes when it comes to crude oil by
domain with respect to origination and                                                           directly involved in emergency response
                                            rail transportation. For example, the FBI planning and preparedness than either the
destination, shipper designation or         and the federal Bureau of Alcohol,                   SERC or Fusion Center.’°°
otherwise, introduces the potential for     Tobacco, Firearms and Explosives are
act of terrorism with no corresponding                                                               Expansion of the routing requirements
                                            participating in a vandalism                         in this final rule addresses the NTSB’s
benefit from such disclosure.” It went      investigation of a November 2014
on to say that PHMSA must “mandate                                                               recommendation R—14—4 and are in
                                            incident in Vivian, S.D., where a two-               widespread use across the rail industry
to preempt state law requiring              foot piece of the rail line was blown up
notification to any party other than        using the explosive tannerite.98 As                  headlines/Railroad-vandalism-in-South-Dakota
emergency response (i.e., no public                                                              under-in vestigation-28501 8691.html.
dissemination).” Petroleum storage and          98”Rajfroad Vandalism in South Dakota Under         99hftp://www.fta.dot.gov/Elib/Document/3873.
distribution services companies like        hivestigaUon,” http://www.ksfy.com/home/                100 http://www.f
                                                                                                                     ro.dot.gov/EIib/Document/3873.
                     Federal Register/Vol. 80, No. 89 /Friday, May 8, 2015 /Rules and Regulations                               26713

     for security-sensitive hazardous            a 12 month period, which will help           to ethanol due to similar risks in a pool
     materials (such as chlorine and             emergency response agencies or               fire to crude oil,” and that “SERC
     anhydrous ammonia). Additionally,           planning groups in planning for a whole notification requirements should extend
     AAR Circular OT—55—N outlines a             year.                                        to crude oil sourced from other regions,
     procedure whereby a community may              In the NPRM, PHMSA proposed               not just the Bakken formation, since
     request a list of the types and volumes     regulatory text consistent with the Order Bakken crude is not significantly
    of hazardous materials that are              which specified notification of              different from other crude oil or
    transported through the community so         information regarding the transportation flammable liquids.” Local communities,
    that emergency responders can plan and specific to Bakken crude oil. With                 cities, and towns were consistent in
    prepare.                                    regard to singling out Bakken crude oil      their belief as expressed by the City and
       In addition, on January 27, 2015,         from crude oil extracted from other         County of Denver that “notification
    AAR’s Safety and Operations                 geographic locations, DOT                    requirement should be extended to
    Management Committee approved               acknowledges that under the current          apply to all HHFTs, not only those
    changes to OT—55 (AAR Circular No.          shipping paper requirements there is no transporting Bakken petroleum crude
    01—55—0), and those changes became          distinction between Bakken crude oil         oil.” NGO’s like the National Fire
    effective January 27, 2015, and             and crude oil sourced from other             Protection Association (NFPA) thought
    superseded 01—55—N, which was               locations. This may present compliance that “all crude oil and ethanol should be
    previously issued August 5, 2013.           and enforcement difficulties,                included” and that “NFPA has not
    AAR’s 01—55—0 revised the                   particularly with regard to downstream       found any reference to similar
    Transportation Community Awareness          transportation of Bakken crude oil by        requirements on notification of SERCs
    and Emergency Response                     railroads after interchange(s) with an        regarding ethanol train transportation.
   Implementation (TRANSCAER®)                  originating or subsequent rail carrier.      This seems to be an omission in this
   program listed in Section V. Section V      Previously, DOT explained in the FAQs proposed rulemaking and NFPA
   states that “railroads will assist in       document that railroads and offerors          questions whether there should be a
   implementing TRANSCAER, a system-           should work together to develop a             companion requirement that applies
   wide community outreach program to          means for identifying Bakken crude oil        specifically to ethanol.” Rail carriers
   improve community awareness,                prior to transport, such as a designating believe, as expressed by Continental
   emergency planning and incident             a Standard Transportation Commodity          Resources, Inc., that “all petroleum
   response for the transportation of          Code (81CC) that would identify crude        crude oil” should be included, and that
   hazardous materials.” Specifically, the     oil by its geographic source. DOT also       there is “no significant difference
   key revised text of 01—55—0 “[u]pon         stated that for purposes of compliance       between Bakken and other crude. Also,
   written request, AAR members will           with the Order, crude oil tendered to        [wel do not support a separate SIC code
   provide bona fide emergency response        railroads for transportation from any        for Bakken.”
   agencies or planning groups with            facility directly located within the            DOT agrees with comments that
   specific commodity flow information         Williston Basin (North Dakota, South         Bakken crude oil should not be the
   covering all hazardous commodities          Dakota, and Montana in the United            determining factor (with respect to a
  transported through the community for        States, or Saskatchewan or Manitoba in       commodity type) for notification
  a 12 month period in rank order.”            Canada) is Bakken crude oil.                 requirements. As previously noted, the
      The request must be made using the           In the NPRM, PHMSA solicited             Order required “each railroad
  form included as Appendix 3 by an            comments surrounding commodity              transporting one million gallons or more
  official emergency response or planning type, and if the applicability of                of Bakken crude oil in a single train in
  group with a cover letter on appropriate notification requirements should be             commerce within the U.S. provide
  letterhead bearing an authorized            expanded to include threshold                certain information in writing
  signature. The form reflects the fact that quantities of all petroleum crude oils or SERCs for each state which to the
                                                                                                                   in        it
  the railroad industry considers this        all HHFTs (versus only trains                operates such a train.” Although we
  information to be restricted information transporting threshold quantities of            were consistent with this instruction in
  of a security sensitive nature and that     Bakken crude oil), and even commodity the NPRM, we now agree with the vast
 the recipient of the information must        types (e.g., ethanol, etc.).                 majority of commenters that
 agree to release the information only to         Commenters generally stated that         applicability should be broadened to
 bona fide emergency response planning crude oil sourced from the Bakken shale include more commodity
                                                                                                                        types and/or
 and response organizations and not           formation should not be the only             source locations of crude oil. This final
 distribute the information publicly in       determining factor of commodity type        rule invokes the notification
 whole or in part without the individual      for notification purposes. Congressman      requirements for HHFT. This aligns it
 railroad’s express written permission. It Michael Capuano stated that he                 with the proposed changes to the
 should be noted that commercial              “supports carrier notification for both
 requirements change over time, and it is Bakken crude oil and ethanol                     § 172.820 requirements which also will
                                                                                          now apply to HHFTs, and thus, the
 possible that a hazardous materials          shipments.” Environmental groups, like associated notification requirements
transported tomorrow might not be                                                                                                  in
                                             Powder River Basin, have the view that       paragraph (g) of § 172.820 will now
 included in the specific commodity           “any quantity of Class Ill (flammable       cover more than crude oil sourced from
flow information provided upon               liquid) material, including combustible      the Bakken formation and more
request, since that information was not      liquids” should be included, “not just       commodity types (e.g., ethanol).
available at the time the list was           Bakken crude oil.” Trade associations,
provided.                                    like the Independent Petroleum               Conclusion
     In summary, Section V is now revised Association of America (IPAA), assert               Based on the above discussion,
to require “all hazardous commodities        that it “do[es] not support any              PHMSA and FRA are removing the
transported through the community for        distinction between Bakken crude and         notification requirement language
a 12 month period in rank order”             other oil types.” The NTSB echoed            proposed in the NPRM under
instead of just the top 25 commodities.      these opinions and said, “SERC               § 174.3 10(a)(2) and is instead using as a
In addition, Section V was inserted with notification requirements should extend substitute the contact information
   26714               Federal Register / Vol. 80, No. 89 / Friday, May 8, 2015 / Rules and Regulations

      language requirement that is already           practices and additional safety measures analysis and selection process must be
      part of the additional planning                that while not mandatory, may enhance completed by March 31, 2016. For
      requirements for transportation by rail        safety and compliance. In this final rule, subsequent route analyses, commodity
      found in § 172.8 20 of the HMR that now we are redesignating paragraphs (k)(2)                data from the entire previous calendar
      applies to HHfTs. As provided in               through (k)(4) as (k)(3) through (k)(5)        year (i.e. 12 months) must be used.
      § 172.820(g), each HHFT must identify a and adding a new paragraph (k)(2) to                  PHMSA will amend the HMR in a future
     point of contact (including the name,           incorporate by reference the AAR               action to remove the transitional
     title, phone number and email address)          Manual of Standards and Recommended provision.
     related to routing of materials identified Practices, Section C—Ill, Specifications
     in § 172.820 in its security plan and          for Tank Cars, Specification M—1002             Section 173.41
     provide this information to: (1) State         (AAR Specifications for Tank Cars),               In this final rule, we are adding a new
     and/or regional fusion centers                 Appendix E, Design Details                      section 173.41 prescribing a sampling
     (established to coordinate with state,         implemented April 2010.                         and testing program for unrefined
     local and tribal officials on security                                                        petroleum-ba   sed products. This section
     issues and which are located within the Section 171.8
                                          -




                                                                                                   specifies what must be included in a
     area encompassed by the rail carrier’s            Section 171.8 provides definitions          sampling and testing program in
     system); and (2) State, local, and tribal      and abbreviations used within the HMR. paragraph (a). Paragraph (b) of this
     officials in jurisdictions that may be         In this final rule, we are adding a new        section requires shippers to certify that
     affected by a rail carrier’s routing           definition for high-hazard flammable           unrefined petroleum-based products are
     decisions and who directly contact the         train meaning, a single train                  offered in accordance with this
    railroad to discuss routing decisions.         transporting 20 or more loaded tank cars subchapter, to include the requirements
        Not adopting the separate notification of a Class 3 flammable liquid in a                  prescribed in paragraph (a). Paragraph
    requirements proposed in the NPRM              continuous block or a single train              (c) provides the requirements for
    and instead relying on the expansion of carrying 35 or more loaded tank cars of                documentation, retention, review and
    the existing route analysis and                a Class 3 flammable liquid throughout          dissemination of the sampling and
    consultation requirements of § 172.820         the train consist. In addition, in this        testing program. Finally, paragraph (d)
    to include HHFTs would allow this              final rule, we are adding a new                of this section states that each person
    change to function within the overall          definition for high-hazard flammable           required to develop a sampling and
   hazardous materials regulatory scheme.          unit train meaning a single train              testing program make the
   This provides for consistency of                transporting 70 or more loaded tank cars documentation available upon request
   notification requirements for rail              containing Class 3 flammable liquid.           to an authorized official of the
   carriers transporting material subject to       Section 172.820                                Department of Transportation.
   routing requirements, i.e., trains
   carrying: (1) More than 2,268 kg (5,000            Section 172.820 prescribes additional Section 173.241
   lbs.) in a single carload of a Division 1.1, safety and security planning                         Section 173.241 prescribes the bulk
   1.2 or 1.3 explosive; (2) a quantity of a      requirements for transportation by rail.       packaging requirements for certain low
   material poisonous by inhalation in a          Paragraph (a) of this section provides         hazard liquids and solid materials
   single bulk packaging; (3) a highway           the applicability for when a rail carrier      which pose a moderate risk. Paragraph
  route-controlled quantity of a Class 7          must comply with the requirements of           (a) provides which specifications of rail
   (radioactive) material; and now (4) Class this section. In this final rule, we are            tank cars may be used to transport
  3 flammable liquid as part of a high-           revising   § 172.820(a) to add a new           hazardous materials when directed to
  hazard flammable train (as defined in           applicability requiring that any rail          this section by Column (8C) of the
                                                  carrier transporting an HHF (as
  § 171.8). Specifically, a single train          defined
                                                                                                 § 172.101 HMT. In this final rule, we are
  carrying 20 or more carloads of a Class                   in § 171.8) must comply with         revising paragraph (a) to add an
  ifi flammable liquid in a continuous           the additional safety and security              authorization for DOT Specification 117
 block or a single train carrying 35 or           planning requirements for                     tank cars and to prohibit the use of DOT
 more tank cars of a Class ifi flammable         transportation by rail.                        Specification 111 tank cars for Class 3
                                                      Paragraph (b) of this section requires     (flammable liquids) in Packing Group III
 liquid across the train consist will have
                                                 rail carriers compile commodity data to        in HHFT service, after May 2025.
 to comply with the additional planning          inform their route analyses. PHMSA is
 requirements for transportation by rail                                                        Additionally, we are authorizing the
                                                 revising this paragraph to account for         retrofitting of DOT Specification 111
 in § 172.820.
                                                 rail carriers’ initial analysis and require tank cars to allow
 VIII. Section by Section Review                                                                                      their use after May
                                                 that commodity data be compiled no             2025 provided they meet the
                                                 later than 90 days after the end of the        requirements of the DOT—117R
 Section 171.7
                                                 calendar year; and that in 2016, the data specification
     The National Technology Transfer                                                                            or the DOT—117P
                                                 must be compiled by March 31. In               performance standard as specified.
 and Advancement Act of 1995 (15                 addition, this section requires the initial Finally,
 U.S.C. 272) directs agencies to use                                                                       the section notes that
                                                 data cover six months, from July 1, 2015 conforming retrofitted
 voluntary consensus standards in lieu of to December 31, 2015. For their initial                                          tank cars are to
 government-unique standards except                                                            be marked “DOT-117R” and
                                                analysis, rail carriers are only required      conforming performance standard tank
 where inconsistent with law or                 to collect data from the six-month
 otherwise impractical. Section 171.7                                                          cars are to be marked “DOT—117P.”
                                                period described in this section,
lists all standards incorporated by             additional data may be included, but is        Section 173.242
reference into the HMR and                      not required by this final rule. In this            Section 173.242 prescribes the bulk
informational materials not requiring           final rule we are providing rail carriers      packaging requirements for certain
incorporation by reference. The                 the option to use data for all of 2015 in      medium hazard liquids and solids,
informational materials not requiring          conducting their initial route analyses.        including solids with dual hazards.
incorporation by reference are noted           Regardless if six or 12 months of data          Paragraph (a) provides which
throughout the HMR and provide best            are used, a rail carrier’s initial route        specifications of rail tank cars may be
                            Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and
                                                                                            Regulations                                      26715
      used to transport hazardous materials    Specification 117 tank cars and to
      when directed to this section by Column prohibit the use of DOT Specification                   following table unless they meet the
                                                                                                      performance standard DOT—I 17P or are
      (8C) of the § 172.101 HMT. In this final 111 tank cars for Class 3 (flammable
      rule, we are revising paragraph (a) to                                                          retrofitted to meet the requirements of
                                               liquids) in Packing Group U and UI, in                 the DOT—117R specification as
      add an authorization for DOT             HHFT service, after the dates in the                   specified:
            Packing group                   DOT 111 not authorized after                   DOT 111 built to the P—132ftindustrY standard not

      II                    May 1, 2023 (non-jacketed and jacketed)                    July 1, 2023 (non-jacketed) May 1, 2025 (jacketed).
      Ill                   May 1, 2025                                                May 1, 2025.


      Finally, the section notes that                   hazard liquids and dual hazard
      conforming retrofitted tank cars are to
                                                                                                      tank cars and to prohibit the use of DOT
                                                        materials which pose a moderate risk.         Specification 111 tank cars for Class 3
      be marked “DOT—1;7R” and                          Paragraph (a) provides which                  (flammable liquids) in Packing Group I,
      conforming performance standard tank              specifications of rail cars may be used
      cars are to be marked”DOT—117P.”                                                                in HHFT service, after the dates in the
                                                        to transport hazardous materials when         following table unless they are
              .
      Section 173.243                                   directed to this section by Column (8C)       retrofitted to meet the performance
                                                        of the § 172.101 HMT. In this final rule,     standard DOT—117P or the requirements
    Section 1 73.243 prescribes the bulk                we are revising paragraph (a) to add an       of the DOT—117R specification as
  packaging requirements for certain high-              authorization for DOT Specification 117       specified:
          Packing group                     DOT 111 not authorized after                  DOT 117 built to the         i32ftindustrY standard not

  I                         January 1, 2017 (non-jacketed report trigger)              April 1, 2020 (non-jacketed).
                            January 1, 2018 (non-jacketed)                             May 7, 2025 (jacketed).
                            March 1, 2018 (jacketed)
      ,


 Finally, the section notes that                        this subchapter or an authorized tank     (129,727 kg) upon approval by the
 conforming retrofitted tank cars are to                specification as specified in part 173,   Associate Administrator for Safety,
 be marked “DOT—117R” and                              subpart F of this subchapter. Finally,     Federal Railroad Administration (FRA).
 conforming performance standard tank                  Paragraph (a)(5) requires owners of Non This section also provides
 cars are to be marked “DOT—117P.”                                                                                            a reference to
                                                       Jacketed DOT—li 1 tank cars in PG I        § 179.13 which provides authorization
 Section 174.310                                       service in an HHFT, who are unable to      for a gross weight on rail of up to
                                                       meet the January 1, 2017 retrofit          286,000 pounds (129,727 kg).
     In this final rule, we are adding a new           deadline specified in § 173.243 (a)(1) to
   section 174.3 10 prescribing                        submit a report by March 1, 2017 to        Section 179.202—4
  requirements for the operation of                    Department of Transportation. The            Section 179.202—4 specifies that the
  HHFTs. A rail carrier must comply with               report must include information           wall thickness after forming of the tank
  these additional requirements if they               regarding the retrofitting progress.       shell and heads on a DOT—117 tank car
  operate an HHFT (as defined in § 171.8).
                                                       Section 179.200                           must be, at a minimum, /16 of an inch
  Paragraph (a)(1) requires that any rail
                                                          The heading for § 179.200 is revised   of AAR TC—128 Grade B normalized
  carrier operating an HHFT is subject to
                                                      to include the DOT—i 17 specification.     steel. Although not proposed in the
  the additional safety and security
                                                                                                 NPRM, in this final rule, we are also
  planning requirements in § 172.820 (i.e.            Section 179.200—1                          authorizing /8 of an inch of ASTM A
 routing). Additionally, Paragraph (a)(2)
 requires that all trains are limited to a                The heading for § 179.200—i is revised 5 16—70 in accordance with § 179.200—
                                                      by stating that tank cars built under the  7(b) that is currently allowed by the
 maximum speed of 50 mph. The train is
                                                      DOT—1i7 specification must meet the        HMR. Both grades of steel must be
 further limited to a maximum speed of
                                                      applicable requirements of § 179.200,      normalized.
 40 mph while that train travels within
 the limits of high-threat urban areas                i79.201, and 179.202.                      Section 179.202—5
 (HTUAs) as defined in § 1580.3 of this       Section 179.202—1                                        Section 179.202—5 specifies that the
 title, unless all tank cars containing a       Section 179.202—1 prescribes the                    DOT—1i7 specification tank car must
 Class 3 flammable liquid meet or exceed applicability
                                                           of the DOT—117 tank car                  have a tank head puncture resistance
the retrofit standard DOT Specification      standards and specifies that each tank                 system constructed in conformance with
 117R, the DOT Specification 117P            built under such specification must                    the requirements in § 179.16(c).
performance standards, or the standard
                                             conform to the general requirements of                 Additionally, the section specifies the
for the DOT Specification 117 tank car.
Paragraph (a)(3) requires HHFTs and          § 179.200 and the prescriptive standards               tank car must be equipped with full
                                             in § 179.202—i through 179.202—11, or                  height head shields with a minimum
HHFUTs must also be equipped with
                                             the performance standard requirements                  thickness of 1/2 inch.
advanced brake signal propagation
                                             of § 179.202—12.
systems as specified. Paragraph (a)(4)                                                              Section 179.202—6
states this new section also requires that Section 179.202—3
                                                                                                      Section 179.202—6 specifies that the
a tank car manufactured for use in a           Section 179.202—3 authorizes a DOT—                  DOT—117 specification tank car must be
HHfT must meet DOT Specification             117 tank car to be loaded to a gross                   equipped with a thermal protection
117, or 117P in part 179, subpart D of       weight on rail of up to 286,000 pounds                 system. The thermal protection system
  26716              federal Register/Vol. 80, No. 89/Friday, May 8, 2015 IRules and Regulations

  must conform to the performance               processes and procedures outlined in 49       Section 179.202—13
  standard in § 179.18 and include a            CFR part 232, subpart F.
 reclosing PRD in accordance with                                                               Section 179.202—13 prescribes the
                                                Section 179.202—11                           retrofit standards for existing non-
 § 173.31 of this subchapter.                                                                pressure tank cars. Non-pressure tank
 Section 179.202—7                                A table is provided in § 179.202—11 to     cars retrofitted to meet the standards
    Section 179.202—7 specifies that the        indicate the individual specification        prescribed in this section are designated
 thermal protection system on a DOT—            requirements for a DOT—117                   and marked “DOT—117R.” Paragraph (a)
 117 specification tank car must be             specification tank car.                      prescribes the applicability of the DOT—
 covered with a metal jacket of a                                                            117R tank car standards and specifies
                                                Section 179.202—12                           that each tank retrofitted under such
 thickness not less than 11 gauge A 1011
 steel or equivalent and flashed around              Section 179.202—12 provides an          specification must conform to the
 all openings to be weather tight. It also        optional performance standard that a       general requirements of § 179.200 and
 requires that a protective coating be            DOT—117 specification tank car may be      the retrofit standards in this section, or
 applied to the exterior surface of a             manufactured to and is designated and      the performance standard requirements
 carbon steel tank and the inside surface         marked as “DOT—117P.” Paragraph (a)         of § 179.202—12. Paragraph (b)
 of a carbon steel jacket.                        describes the approval process for the      authorizes a DOT—117 tank car to be
                                                  design, testing, and modeling results       loaded to a gross weight on rail of up
 Section 179.202—8
                                                  that must be reviewed and approved by to 286,000 pounds (129,727 kg) upon
   Section 179.202—8 prescribes                   the Associate Administrator for Railroad approval by the Associate Administrator
 minimum standards for bottom outlet              Safety/Chief Safety Officer of the FRA.    for Safety, Federal Railroad
 handle protection on a DOT—117                  Paragraph (b) describes the approval        Administration (FRA). Paragraph (c)
 specification tank car. In this final rule,     process to operate at 286,000 gross rail    requires that the original construction
 we are requiring that if the tank car is        load (GRL). Paragraph (c) specifies that    provided   a wall thickness after forming
 equipped with a bottom outlet, the              a DOT—117P specification tank car must
                                                                                             of the tank shell and heads at a
 handle must be removed prior to train                                                       minimum of /i of an inch, and
                                                 be equipped with a tank-head puncture-
 movement or be designed with                    resistance system in accordance with        constructed   with steel authorized by the
 protection safety system(s) to prevent                                                      HMR at the time of construction.
                                                 the performance standard in § 179.18.
 unintended actuation during train                                                           Paragraph (d) specifies that the DOT—
                                                 Paragraph (d) specifies that a DOT—117P
 accident scenarios.                                                                         117R specification tank car must have a
                                                 specification tank car must be equipped
                                                                                             tank head puncture resistance system
‘Section 179.202—9                               with a thermal protection system. The
                                                                                             constructed in conformance with
                                                 thermal protection system must be
   Section 179.202—9 prescribes the top
                                                 designed in accordance with the             § 179.16(c). Additionally, the section
fittings protection standard for DOT—                                                        specifies the tank car must be equipped
117 specification tamk cars. In this final       performance standard in § 179.18 and       with full height head shields with a
rule, we are adopting as proposed, to            include a reclosing PRD conforming to      minimum thickness of 1/2 inch.
incorporate by reference in § 171.7,             § 173.31 of this subchapter. Paragraph     Paragraph (e) specifies that the DOT—
Appendix E 10.2.1 of the 2010 version            (e) specifies that if the tank car is       117R specification tank car must be
of the AAR Manual of Standards and               equipped with a bottOm outlet, the         equipped with a thermal protection
Recommended Practices, Section C—               handle must be removed prior to train       system. The thermal protection system
Part III, Specifications for Tank Cars,          movement or be designed with               must conform to the performance
Specification M—1002, (AAR                      protection safety system(s) to prevent      standard in § 179.18 and include a
Specifications for Tank Cars). Thus, a          unintended actuation during train           reclosing PRD in accordance with
DOT—117 specification tank car must be          accident scenarios. Paragraph (f]
                                                specifies that the tank car tank must be
                                                                                            § 173.31 of this subchapter. Paragraph
equipped with top fittings protection in                                                    (I) specifies that the DOT—117R
accordance with the incorporated                equipped with top fittings protection       specification tank car must be covered
standard.                                       conforming to AAR Specifications Tank with a metal jacket of a thickness not
                                                Cars, appendix E paragraph 10.2.1.          less than 11 gauge A 1011 steel or
Section 179.102—10                              Paragraph (g) prescribes ECP braking       equivalent and flashed around all
   Section 179.102—10 prescribes ECP            construction standards for DOT—117P        openings to be weather tight. It also
braking construction standards for              specification tank cars. Specifically,     requires that a protective coating be
DOT—117 specification tank cars.                paragraph (g)(1) requires by January 1,    applied to the exterior surface of a
Specifically, paragraph (a) requires by         2021, each rail carrier operating a high-  carbon steel tank and the inside surface
January 1, 2021, each rail carrier              hazard flammable unit train as defined     of a carbon steel jacket. Paragraph (g)
operating a high-hazard flammable unit          in § 171.8, comprised of at least one      prescribes minimum standards for
train as defined in § 171.8, comprised of      tank car loaded with a Packing Group I      bottom outlet handle protection on a
at least one tank car loaded with a            material must ensure the train meets the DOT—117R specification tank car. In this
Packing Group I material must ensure           ECP braking capability requirements. In final rule, we are requiring that if the
the train meets the ECP braking                addition paragraph (g)(2) requires by       tank car is equipped with a bottom
capability requirements. In addition           May 1, 2023 each rail carrier operating     outlet, the handle must be removed
paragraph (b) requires by May 1, 2023,         a high-hazard flammable unit train as      prior to train movement or be designed
each rail carrier operating a high-hazard      defined in § 171.8, not described in       with protection safety system(s) to
flammable unit train as defined in             paragraph (g)(i) of this section must      prevent unintended actuation during
§ 171.8, and not described in paragraph        ensure the train meets the ECP braking     train accident scenarios. Paragraph (h)
(a) of this section, must ensure the train     capability requirements. Finally,          authorizes existing tank car tanks to rely
meets the ECP braking capability               paragraph (g)(3) permits alternate brake   on any top fittings protection installed
requirements. Finally, paragraph (c)           systems to be submitted for approval       at the time of original manufacture.
permits alternate brake systems to be          through the processes and procedures       Paragraph (i) prescribes ECP braking
submitted for approval through the             outlined in 49 CFR part 232, subpart F.    construction standards for DOT—117R
                      Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations                                      26717

    specification tank cars. Specifically,        inhalation as defined in Title 49 CFR            DOT-OST-2014-0025
    paragraph (i)(1] requires by January 1,       171.8, and including anhydrous
    2021, each rail carrier operating a high-                                                         This emergency order was published
                                                 ammonia (UN1005) and ammonia                      on February 25, 2014. Subsequently a
    hazard flammable unit train as defined       solutions (UN3318); or (2) 20 rail
    in § 171.8, comprised of at least one                                                          revised and amended emergency order
                                                 carloads or intermodal portable tank              was   published on March 6, 2014. This
    tank car loaded with a Packing Group I       loads of any one or any combination of
    material must ensure the train meets the materials listed                                      emergency order required those who
   ECP braking capability requirements. In                            in (1) above, or, any        offer crude oil for transportation by rail
                                                 Division 2.1 flammable gas, Class 3               to  ensure that the product is properly
    addition paragraph (i)(2) requires by
   May 1, 2023 each rail carrier operating       flammable liquid or combustible liquid, tested and classified in accordance with
   a high-hazard flammable unit train as         Class 1.1 or 1.2 explosive,’0’ or                 Federal safety regulations. Further the
   defined in § 171.8, not described in          hazardous      substance   listed  in  49  CFR    EO   required that all rail shipments of
   paragraph (i)(1) of this section must         173.31(f)(2). To see the specific                 crude oil are properly classed as a
   ensure the train meets the ECP braking        provisions of this emergency order see            flammable liquid in Packing Group (PG)
   capability requirements. Finally,             the August 7, 2013, Federal Register (78 Ill material be treated as a PG I or H
   paragraph (i)(3) permits alternate brake      FR 48218).b02                                     material, until further notice. The
   systems to be submitted for approval              While this final rulemaking does not          Amended     Emergency Order also
   through the processes and procedures          address train secuiement, on August 9,            authorized PG III materials to be
   outlined in 49 CFR part 232, subpart F.                                                         described as PG ifi for the purposes of
                                                 2014, ERA published an NPRM that
                                                                                                  hazard communication.
   IX. Impact of Adopted Regulation on           proposed amendments to the brake                     The primary intent of this emergency
  Existing Emergency Orders                      system safety standards for freight and          order was to address unsafe practices
      As previously mentioned Emergency          other non-passenger trains and                   related to the classification and
   Order authority is granted to the             equipment to strengthen the                      packaging of petroleum crude oil.
  Department and permits the Department requirements relating to the securement Misclassification is one of the most
  to take action on safety issues that          of unattended equipment. Specifically,            dangerous mistakes to be made when
  constitute an imminent hazard to the          FRA proposed to codify many of the                dealing with hazardous materials
  safe transportation of hazardous              requirements already included in                  because proper classification is the
  materials. Railroad transportation of         emergency order 28. FRA proposed to               critical first step in determining how to
  hazardous materials in commerce is            amend existing regulations to include             package, handle, communicate about,
  subject to the authority and jurisdiction additional securement requirements for and safely transport hazardous
  of the Secretary of Transportation            unattended equipment, primarily for               materials. Misclassification may
  (Secretary), including the authority to       trains transporting poisonous by                  indicate larger problems with company
  impose emergency restrictions,                inhalation hazardous materials or large          management, oversight, and quality
  prohibitions, recalls, or out-of-service     volumes of Division 2.1 (flammable                 control. Petroleum crude oil may
  orders, without notice or an opportunity gases), Class 3 (flammable or                         contain dissolved gases or other
  for hearing, to the extent necessary to      combustible liquids, including crude oil unanticipated hazardous constituents,
  abate the imminent hazard. 49 U.S.C.          and ethanol), and Class 1.1 or 1.2               may exhibit corrosive properties and
  5121(d). Therefore an emergency order         (explosives) hazardous materials. For            also may exhibit toxic properties.
  can be issued if the Secretary has found     these trains, ERA also proposed                       In this nilemaldng we have adopted
 that an unsafe condition or an unsafe         additional communication requirements requirements for a testing and sampling
 practice is causing or otherwise              relating to job briefings and securement          program to ensure better classification
 constitutes an imminent hazard to the         verification. Finally, ERA proposed to            and characterization of unrefined
 safe transportation of hazardous              require all locomotives left unattended           petroleum-based products. As part of
 materials.                                    outside of a yard to be equipped with             this requirement the HMR now require
     Currently the Department has four                                                           an offeror to prepare a written sampling
                                               an operative exterior locking
 emergency orders in affect that are                                                             and testing program for unrefined
 relevant to rail shipment of large            mechanism. Attendance on trains would
                                                                                                petroleum-based products. This
 quantities of flammable liquids. Below        be required on equipment not capable of program
                                                                                                            must address: (1) A frequency
 we will discuss those orders and how         being secured in accordance with the               of sampling and testing that accounts for
 the amendments adopted in this                proposed and existing requirements.              any appreciable variability of the
 rulemaking affect those Emergency                 As this final rulemaking does not            material (2) Sampling prior to the initial
 Orders. Emergency Orders remain in           address train securement emergency                offering of the material for
 effect until the Secretary determines        order 28 remains currently unaffected.            transportation and when changes that
that an imminent hazard no longer exits The upcoming final rule in response to                  may affect the properties of the material
or a change in applicable statute or          comments from FRA’s August 9, 2014                occur; (3) Sampling methods that
Federal regulation occurs that                NPRM that proposed amendments to the ensures a representative sample of the
supersedes the requirements of the            brake system safety standards for freight entire mixture, as offered, is collected;
Order, in which case the Secretary will       and other non-passenger trains and                (4) Testing methods that enable
issue a Rescission Order.                     equipment to strengthen the                       classification of the material under the
Emergency Order 28                            requirements relating to the securement ITh’W; (5) Quality control measures for
                                              of unattended equipment will address              sample frequencies; (6) Duplicate
     Emergency Order 28 was issued on                                                           samples or equivalent measures for
                                              the status of emergency order 28 upon
August 7, 2013 and addressed safety                                                             quality assurance; (7) Criteria for
issues related to securement of certain       adoption.
                                                                                                modifying the sampling and testing
hazardous materials trains. Specifically,         101 Should have read                          program; (8) Testing or other
this order requires trains with (1) Five                               “Division” instead of
                                               ‘Class.”                                         appropriate methods used to identify
or more tank carloads of any one or any           102    http://www.gpo.gov/fdsysfpkg/FR-2013-  properties of the mixture relevant to
combination of materials poisonous by         08-07/pdf/201 3-1 9215.pdf                        packaging requirements.
   2671$                Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

     Furthermore the offeror is required to         Therefore this emergency order will                  Executive Orders 12866 (“Regulatory
   certify that program is in place,                remain in effect until March 31, 2016.            Planning and Review”) and 13563
   document the testing and sampling                                                                  (“Improving Regulation and Regulatory
   program, and make program information           FRA Emergency Order No. 30
                                                                                                      Review”) require agencies to regulate in
   available to DOT personnel, upon                  FRA Emergency Order No. 30                       the “most cost-effective manner,” to
   request. The primary intent of this             (“Emergency Order 30” or “order”) was              make a “reasoned determination that
   requirement is of address unsafe               issued on April 27, 2015 and mandated               the benefits of the intended regulation
   practices related to the classification        that trains affected by this order not             justify its costs,” and to develop
   and packaging of mined products.               exceed 40 miles per hour (mph) in high-
     As the March 6, 2014 emergency                                                                   regulations that “impose the least
                                                  threat urban areas (HTUAs) as defined              burden on society.” Executive Order
   order and the requirements adopted in          in 49 CFR part 1580. Under the order,
  this rulemaking related to classification                                                           13610, issued May 10, 2012, urges
                                                  an affected train is one that contains: i)         agencies to conduct retrospective
  and characterization address the same           20 or more loaded tank cars in a
  safety issue the March 6, 2014                                                                     analyses of existing rules to examine
                                                  continuous block, or 35 or more loaded             whether they remain justified and
  emergency order is no longer necessary.         tank cars, of Class 3 flammable liquid;
  Therefore the requirements adopted in                                                              whether they should be modified or
                                                  and, 2) at least one DOT Specification             streamlined in light of changed
  this nile supersede the March 6, 2014           111 (DOT—ill) tank car (including
  emergency order and make it no longer                                                              circumstances, including the rise of new
                                                 those built in accordance with                      technologies. DOT believes that
  necessary once the rule becomes                Association of American Railroads
  effective.                                                                                         streamlined and clear regulations are
                                                 (AAR) Casualty Prevention Circular                  important to ensure compliance with
    DOT—O$T—2014—0067                            1232 (CPC—1232)) loaded with a Class 3             important safety regulations. As such
      This emergency order was published         flammable liquid. FRA determined at                DOT has developed a plan detailing
    on May 7, 2014. This emergency order         that time that public safety compelled             how such reviews are conducted.03
   required all railroads that operate trains the issuance of Emergency Order 30 due                    Additionally, Executive Orders 12866,
   containing one million gallons of             to the recent railroad accidents
                                                 involving trains transporting petroleum            13563, and 13610 require agencies to
   Bakken crude oil to notify SERCs about                                                           provide a meaningful opportunity for
   the operation of these trains through         crude oil and ethanol and the increasing
                                                reliance on railroads to transport                  public participation. Accordingly,
   their States. Specifically, this                                                                 PHMSA invited public comment twice
   notification should identify each             voluminous amounts of these flammable
                                                liquids in recent years. For more                   (the September 6, 2013, ANPRM and
   county, or a particular state or                                                                 August 1, 2014, NPRM) on these
   commonwealth’s equivalent jurisdiction information regarding this order, see the                 considerations, including any cost or
   (e.g., Louisiana parishes, Alaska            April 27, 2015, publication in the
                                                Federal Register (80 FR 23321).                     benefit figures or factors, alternative
   boroughs, Virginia independent cities),                                                      approaches, and relevant scientific,
   in the state through which the trains            The final rule will implement speed
                                                restrictions   for HHFTs,   including  a        technical and economic data. These
   will operate.                                                                                comments aided PHMSA and FRA in
      The primary intent of this emergency      maximum operating speed of 40 mph
                                                for  HHFTs    in HTUAs, with an effective       the  evaluation of the proposed
   order was to eliminate unsafe                                                                requirements. PHMSA and FRA have
   conditions and practices that create an      date  of July  7, 2015.  As such, the final
  imminent hazard to public health and          rule affects the same population of tank since revised our evaluation and
                                                cars as defined above and codifies the          analysis to address the public comments
  safety and the environment.                                                                  received.
  Specifically, this emergency order was        same   speed   restriction that was
  designed to inform communities of large implemented through Emergency Order                      Flammable liquids include a wide
  volumes of crude oil transported by rail      30. Thus, the final rule replaces              variety of chemical products. In
  through their areas and to provide           Emergency Order 30 upon the effective           accordance with this action, Class 3
  information to better prepare emergency date of the final rule.                              (Flammable liquids) are subject to the
 responders for accidents involving large X. Regulatory Review and Notices                     provisions contained in this final rule
 volumes of crude oil.                                                                         when shipped in a HHVr. Class 3
     In this rulemaking we have adopted        A. Executive Order 12866, Executive             (Combustible liquids) are not subject to
 notification requirements for large           Order 13563, Executive Order 13610              the provisions of the final rule (e.g.,
 volumes of crude oil transported by rail. and DOT Regulatory Policies and                     diesel fuel). Some materials like crude
 These requirements were designed to           Procedures                                      oil display a wide range of flash points
 codify the requirements of the May 7,             This final rule is considered an           and as such may not be subject to the
 2014 EQ. While some amendments to             economically significant regulatory            provisions in all cases. In other cases, a
 the original proposal are made, the           action under section 3(f) of Executive         flammable liquid may be mixed with a
 requirements adopted in this                  Order 12866 and was reviewed by the            non-hazardous material to the point that
 rulemaking align with the intent of the       Office of Management and Budget                the flash point is within the range of a
May 7, 2014 emergency order.                   (0MB), because it has an expected              Combustible liquid and would not be
     As the May 7, 2014 emergency order       annual impact of more than $100                 subject to the provisions of this final
and the requirements adopted in this          million. The final rule is considered a         rule (e.g., dilute solutions of alcohol).
rulemaking related to notification            significant regulatory action under the         Approximately 68% of the flammable
address the same safety issue, the May        Regulatory Policies and Procedures              liquids transported by rail are
7, 2014 emergency order is no longer          order issued by the Department of               comprised of crude oil, ethanol, and
necessary. Therefore the requirements         Transportation (DOT) (44 FR 11034,             petrochemical or petroleum refinery
adopted in this rule supersede the May        February 26, 1979). PHMSA prepared a           products. Further, ethanol and crude oil
7, 2014 emergency order and make it no        Regulatory Impact Analysis addressing
longer necessary once the information         the economic impact of this final rule,            ‘°3Departxnent of Transportation’s plan for
sharing portion of the routing                                                               retrospective regulatory reviews is available: http://
                                              and placed it in the docket for this           www.dot.gov/regulations/dot-retrospective-reviews
requirements come into full force.            rulemaking.                                    rules.
                         Federal Register/Vol. 80, No. 89/friday, May 8, 2015/Rules and Regulations                                                            26719
  comprise approximately 65% of the                     is transported by rail. The U.S. Energy                    shipments, volumes have been rising
  flammable liquids transported by rail.                Information Administration’s “Annual                      very rapidly. With a growing domestic
  Crude Oil Transport by Rail                            Survey of Domestic Oil and Gas                           supply, rail transportation, in particular,
                                                       Reserves” reports that in addition to                      has emerged as a flexible alternative to
     The U.S. is now the global leader in              North Dakota’s Bakken region, the shale                    transportation by pipeline or vessel. The
  crude oil production growth. With a                  plays in reserves in North America are                     transportation of large volumes of
  growing domestic supply, rail                        extensive.108                                              flammable liquids by poses a risk to life,
  transportation, in particular, has                      Expansion in oil production has led to                  property, and the environment. The
  emerged as a flexible alternative to                 increasing volumes of product                              volume of flammable liquids shipped by
  transportation by pipeline or vessel. The            transported to refineries. Traditionally,                  rail unit trains has been increasing
  volume of crude oil carried by rail                  pipelines and oceangoing tankers have                      rapidly since 2006, representing a
  increased 423 percent between 2011 and               delivered the vast majority of crude oil                   growing risk. Figure 1 (restated here)
  2012.’° 105 In 2013, as the number of                to U.S. refineries, accounting for                         provides the Average weekly U.S. rail
  rail carloads of crude oil surpassed                 approximately 93 percent of total                          carloads of crude oil and petroleum
  400,000.106                                          receipts (in barrels) in 2012. Although                    products from 2006 through 2014. The
   The Bakken region of the Williston                  other modes of transportation—rail,                        figure below visually demonstrates the
 basin is now producing over one million               barge, and truck—have accounted for a                      considerable increase in crude oil and
 barrels of oil per day 107, most of which             relatively minor portion of crude oil                      petroleum shipments by rail.’°9


          Figure 1: Average Weekly U.S. Rail Carloads of Crude Oil and Petroleum Products
             17,000                                                                11
             15,000        —
                                                                                 I t5

                13,000                                                                                                                             1.3

            ©
                11,000                                                                                                                             1.1
                 9,000                                                                                                                             09
                                                                                                                                                           C
           C     7,000                                                                                                                             07
                 5,000                                                                                                                             0.5
                                                                                                                                                          ‘N




          z           0 i                                         I            I                             I             I             I         0
                       2006          2007         2008         2009          2010          2011         2012             2013         2014
                                                                                                                                                 eia




      See U.S. Rail Transportation of crude Oil:         107 Information regarding
                                                                                    oil and gas production             U.S. Energy Information Administration, Rail
Background and Issues for Congress; http://fas.org/   is available at the following URL: hup://                  deliveries of U.S. oil continue to increase in 2014,
sgp/crs/misc/R43390.pdf                               www.eia.gov/petroleum/drilling/#tobs-summary-2.            (August 28, 2014) available at http:!/www.eio.gov/
  105 See Table 9 of EIA refineiy report http://         108 ETA “U.S. Crude Oil and Natural
                                                                                               Gas Proved        todayinenergy!detail.cfm?id=i 7751
www.eia.gov/petroleum/refineiycapacity/.
                                                      Reserves, 2013,” available at: http://www.eia.gov/
  10http://www.stb.dot.gov/stb/indusfry/
                                                      naturalgus/crudeoilresewes/pdf/uscrudeoil.pdf.
econ_waybill.html.
 26720                  Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

   Figure 4 shows the recent strong                   of rail carloads shipped. Figure 4 also          Administration (ETA) and PHMSA’s
 growth in crude oil production in the                shows forecasted domestic crude oil              projected strong demand for the rail
 U.S., as well as growth in the number                production from the Energy Information           shipment of crude oil.


                             Figure 4: U.S. Production and Rail Carloads of Crude Petroleum: 2000-
                                                                      2034
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                  450

           ij     400                                                                                                                   3.
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                    ‘                    l,    ‘                          ‘1                       ,
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          Vertical Axis present data on different scales.
                                                                               — —
                                                                                     —   Crude Carloads                   Crude Production

SOURCES AND NOTES: Originating Carloads for 2000—2013 obtained from the Surface Transportation Board waybill
                                                                                                                                   sample. Forecasts of
 overall domestic crude oil production and carload figures from 2014—2034 are taken from the report prepared by the Brattle Group
                                                                                                                                  on
 behalf of RSI [Table 14]. Production figures were derived from the ETA domestic crude production from 2014 Annual Energy Outlook
 then converted to carloads.
                    Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                 26721

   Rail accidents involving crude oil         crude oil production and rail shipments
 have risen along with the increase in        of crude oil. Figure 5 shows this rise.



      -          Figure 5: Carloads of Crude Oil Shipped and Rail Accidents (Derailments)
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                                                            2000-2014
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     .

              50                                                                                                            1

                0                                                                                                           0
                     2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014
     Vertical Axis present data on different scales             — — .Crude
                                                                               Carloads           Crude Derail


 SOURCES AND NOTES: Originating Carloads for 2000—2013 obtained from the Surface Transportation Board
                                                                                                      waybill sample 2014 originating
   carloads is an estimate based on EIA production forecast. Incident counts are from the PHMSA and FRA Incident Report
                                                                                                                        Databases.

  Based on these train accidents, the       crude oil, PHMSA concludes that the           train accident that would cause
projected continued growth of domestic      potential for a train accident involving      substantial damage to life, property, and
crude oil production, and the growing       crude oil has increased, which has            the environment.
number of train accidents involving         raised the likelihood of a catastrophic
  26722                      Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

  Ethanol Transport by Rail                            3.2 million gallons, and the larger barges depending on the amount of denaturant
     In the last ten years, the production of          can transport up to 2.5 million gallons.   used. Ethanol is still considered a
  ethanol has increased dramatically due                  Ethanol is a flammable colorless        flammable liquid in solutions as dilute
  to the demand for ethanol-blend fuels.               liquid; a polar solvent that is completely as 20%, with a flash point of 97 °F. At
  U.S. production of ethanol was 14.3                  miscible in water. It is heavier than air, colder temperatures (below about 51 °F),
  billion gallons in 2014.110 Ethanol is               and has a wider flammable range than       the vapor pressure of ethanol is outside
  largely shipped from production                      gasoline, with a Lower Explosive Limit     the flammable range. Ethanol is shipped
  facilities by rail and is now the largest            (LEL) to an Upper Explosive Limit          with a flammable liquids placard and
  volume hazardous material shipped by                 (UEL) range of 3.3% to 19%. The flash      North American 1987 designafion.hll As
  rail. Large volumes of ethanol are                   point for pure ethanol is 55 °F, and for   shown in the Figure 6, ETA projects
  commonly shipped by unit trains, up to               denatured ethanol it can be much lower strong demand for ethanol in the future.



                                   Figure 6: U.S. Production and Rail Carloads of Ethanol: 2000-2034

                      1.20                                                                                                             400.00

                                                                                                                                       350.00
                      1.00                                                                                                                         V.)
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                               o    N       tO   00      0     N           tO     00   0     N            tO     00   0     N                     -D
               I..             o    o   0   0    C)      t-    -4    i-4   ,-l    t-   N     N        N   N      N    m     m    m
                               o    0   0   0    0       0     0     0     0      0    0     0        0   0      0    0     0    0                 C)
              0                N    N   N   N    N       N     N     N     N      N    N     N        N   N      N    N     N    N
                     Vertical Axis present data on different
                                                                                 — .Ethanol Carloads                  Ethanol Production
                     scales. 700 barrels per car.

SOURCES AND NOTES: Originating Carloads for 2000—2013 were obtained from the Surface Transportation Board Waybill sample. Forecasts
     of overall domestic ethanol production are obtained from the ETA. The carload forecast from 2014—2034 is based on production using
     Excel’s Forecast function using an estimated linear trend of historic ethanol carloads based on historic production.


   According to a June 2012 white paper               increased by 650 percent. Similarly the                  plots the total number of rail accidents
by the AAR, U.S. ethanol production                   number of rail carloads of crude oil has                 involving ethanol during the last 13
has increased considerably during the                 also exponentially increased.                            years compared to the total carloads of
last 10 years and has generated similar               Unfortunately, this growth in rail traffic               ethanol. The left axis shows the total
growth in the transportation of ethanol               has been accompanied by an increase in                   number of rail derailments and the right
by rail. Between 2001 and 2012, the                   the number of rail accidents involving                   axis shows total carloads shipped.
number of rail carloads of ethanol                    ethanol and crude oil. Figure 7 below




  110 Source:
              U.S. Energy Information                 Data: wivsv.eia.gou/totalenergy/data/browser/            www.mass.gov/eopss/docs/dfs/emergencyresponse/
Administration: “January 2015 Monthly Energy          xls.cftn?tbl=T1 O.03&freq=m.                             special-ops/ethanobspill-fmpacts-and-response-7-
Review. U.S. Energy Information Administration          111 Large Volume Ethanol
                                                                                 Spills—Environmental          1f.pdf.
“Jsnuary 2015 Monthly Energy Review” Annual           Impacts and Response Options, MassDEP, hup://
                          Federal Register/Vol. 80, No. 89/friday, May 8, 2015 /Rules and Regulations                                    26723


                          Figure 7: Carloads of Ethanol Shipped and Rail Accidents
                                          (Derailments) 2000-2014
                   600                                                                                                        8
         0




        2300                                                                                                                  4
        —c                                                                                                                     4-
                                                                                                                                     0
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                  100
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        0
                      0                                                                                                      0
                            2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014

             Vertical Axis present data on different scales
                                                                                          Ethanol Carloads — — .Ethanol Derail


  SOURCES AND NOTES: Originating Carloads for 2000—2013 obtained from the Surface Transportation Board waybill
                                                                                                              sample 2014 originating
    carloads is an estimate based on ETA production forecast. Incident counts are from the PHMSA and FRA Incident Report Databases.


Summary of Regulatory Changes                  final rule is a system-wide approach      final rule. Table 4 (restated here) shows
    In the final RIA PHMSA and FRA             covering all requirement areas.           the costs and benefits by affected
 analyzed the impacts associated with a           PHMSA received over 3,200 public       section and rule provision over a 20-
 system-wide, comprehensive final nile         comments representing over 182,000        year period, discounted at a 7% rate.
 that addresses the risk associated with       signatories in response to the August 1,  Table 4 (restated here) also shows an
 the transportation of flammable liquids       2014 NPRM and initial RIA. This final     explanation of the comprehensive
 in HHFTs. Final rule provisions               rule has been revised in response to the  benefits and costs (i.e., the combined
 include:                                      comments received and the final RIA       effects of individual provisions), and the
   • Routing Requirements                     has been revised to align with the         estimated benefits, costs, and net
                                               changes made to the final rule.           benefits of each amendment.
   • Tank Car Specifications;                  Specifically, the RIA explains              Please also note that, given the
   • Speed Restrictions;                      adjustments to the methodology used to uncertainty associated with the risks of
   • Advanced Brake Signal Propagation        estimate the benefits and costs resulting HHFT shipments, Table 4 (restated here)
Systems; and                                  from the final rule.                      contains a range of benefits estimates.
   • Classification of Unrefined                 The analysis shows that expected       The low-end of the range of estimated
Petroleum-based Products.                     damages based on the historical safety    benefits estimates risk from 2015 to
   This approach is designed to mitigate      record are expected to exceed $4.1        2034 based on the U.S. safety record for
damages of rail accidents involving           billion (undiscounted) and that damages crude oil and ethanol from 2006 to
flammable materials, though some              from high-consequence events could        2013, adjusting for the projected
provisions could also prevent accidents.      reach $12.6 billion (undiscounted) over increase in shipment volume over the
The RTA discusses, consistent with this       a 20-year period in the absence of the    next 20 years. The upper end of the
final rule, five requirement areas.           rule.                                     range of estimated benefits is the 95th
Although we analyze the effects of               The revised RIA is in the docket and   percentile from a Monte Carlo
individual requirements separately, this      supports the amendments made in this      simulation.
         TABLE 4—20 YEAR CosTs AND BENEFITS BY STAND-ALONE REGULATORY AMENDMENTS 20152034 112

            Affected section                      Provision                         Benefits (7%)                          Costs (7%)
49 CFR 1 72.820                          Rail Routing+              Cost effective it routing were to reduce risk of $8.8 million.
                                                                     an incident by 0.47%.
49 CFR 773.41                            Classification Plan        Cost effective if this requirement reduces risk $78.9 million.
                                                                      by 7.29%.
   26724                  Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

      TABLE 4—20 YEAR CosTs AND BENEFITS BY STAND-ALONE REGULATORY AMENDME
                                                                                                                 NTS 2015—2034 112—Continued
              Affected section 113                       Provision                             Benefits (7%)                        Costs (7%)
   49 CFR 774.370                               Speed Restriction: 40 mph     $56 million—$242 million**                      $780 million.
                                                  speed limit in HTUA*.
                                                Advanced Brake Signal         $470.3 million—$1 ,1 14 million    **
                                                                                                                              $492 million.
                                                  Propagation Systems.
   49 CFR part 179                              Existing Tank Car RetrofiU    $426 million—$1,706 million**                   $1,747 million.
                                                  Retirement.
                                                New Car Construction          $23.9 million—$97.4 million   **
                                                                                                                              $34.8 million.
       Cumulative Total                                                       $972 million—$2,905 million**              $2,482 million.
       indicates voluntary compliance regarding crude oil trains in high-threat urban areas (HTUA).
     “+“indicates voluntary actions that will be taken by shippers and railroads.
         Indicates that the low end of the benefits range is based solely on lower consequence events, while
  benefits from mitigating high consequence events.                                                          the high end of the range includes


  B. Unfunded Mandates Reform Act                          Restrictions, Braking, and Classification concluded that the specifics of routing
       The Unfunded Mandates Reform Act                    of unrefined petroleum-based products. rail shipments of hazardous materials
    of 1995 (Public Law 104-4, 2 U.s.c.                       The final rule would result in costs to preempts all states, their political
    1531) (UIvIRA) requires each agency to                 the private sector that exceed $151            subdivisions, and Indian tribes from
   prepare a written statement for any                     million in any one year and those costs        prescribing or restricting routes for rail
   proposed or final rule that includes a                  and benefits associated with this              shipments of hazardous materials,
   “Federal mandate that may result in the rulemaking have been discussed under                          under Federal hazardous material
   expenditure by State, local, and Native                 paragraph A, Executive Order 12866,           transportation law (49 U.S.C. 5125) and
   American Indian tribal governments, in Executive Order 13563, Executive Order the Federal Rail Safety Act (49 U.S.C.
   the aggregate, or by the private sector, of 13610 and DOT Regulatory Policies and 20106). We would expect the same
   $100,000,000 or more (adjusted                         Procedures, of this section. In addition,      preemptive effect as a result of this
   animally for inflation) in any one year.” the RIA provides a detailed analysis of                     rulemaking, and thus, the consultation
  The value equivalent of $100 million in the public sector costs associated with                        and funding requirements of Executive
   1995, adjusted for inflation to 2012                   the proposed requirements. The RIA is          Orders 13132 and 13175 do not apply.
  levels, is $151 million. This final rule                available in the public docket for this        Nonetheless, we invited state and local
  will not impose enforceable duties on                   rulemaking. PHMSA invites comments             governments with an interest in this
  State, local, or Native American Indian                 on these considerations, including any         rulemaking to comment on any effect
  tribal governments. UIvWA was                           unfunded mandates related to this             that proposed requirements could have
  designed to ensure that Congress and                    rulemaking.                                   on them, if adopted.
  Executive Branch agencies consider the                  C. Executive Order 13132: Federalism             We received comments from state and
  impact of legislation and regulations on                                                              local governments representing
  States, local governments, and tribal                      Executive Order 13132 requires             approximately 200 signatories. State and
  governments, and the private sector.                   agencies to assure meaningful and              local governments unanimously
  With respect to States and localities,                 timely input by state and local officials      supported the goal of this rulemaking to
  UMRA was an important step in                          in the development of regulatory               enhance safety of rail transportation for
 recognizing State and local governments policies that may have “substantial                            flammable liquids. Many local and state
 as partners in our intergovernmental                    direct effects on the states, on the           governments acknowledged the
 system, rather than mere entities to be                 relationship between the national              preemption authority of the federal
 regulated or extensions of the Federal                  government and the States, or on the           government. Local and state
 government.                                             distribution of power and                      governments also provided comments
     As described in greater detail                      responsibilities among the various             on specific proposals in the NPRM,
 throughout this document, the final rule levels of government.”                                       which are discussed in the “Summary
 is a system-wide, comprehensive                            This final rule has been analyzed in       and Discussion of Comments” portion
 approach consistent with the risks                     accordance with the principles and             of this rulemaking. Therefore, the
 posed by high-hazard flammable                         criteria contained in Executive Orders         amendments in the final rule will not
                                                        13132 (“Federalism”). The amendments have
 materials transported by rail.                                                                               any direct effect on the states, or
 Specifically, requirements address: (i)                in   the final rule  will not have any direct their political subdivisions; it will
                                                        effect on the states, or their political                                              not
 Proper classification and                                                                             impose any compliance costs; and it
 characterization, (2) operational controls             subdivisions    ; it will not impose any       will not affect the relationships between
to lessen the likelihood and                            compliance costs; and it will not affect      the national government and the states,
consequences of train accidents and (3)                 the relationships between the national         or political subdivisions, or the
tank car integrity. The RIA discusses,                 government and the states, or political         thstribution of power and
consistent with this final rule, five                  subdivisions     , or the distribution of      responsibilities among the various
requirement areas: Rail Routing,                       power and responsibilities among the           levels of government.
Enhanced Tank Car Standards, Speed                     various levels of government.
                                                            Several of the issues addressed in this   D.   Executive Order 13175: Consultation
                                                       final rule are subject to our preemption       and Coordination With Indian Tribal
   112 All costs arid benefits are in millions over 20                                                Governments
years, and are discounted to present value using a     authority, i.e., classification, packaging,
seven percent rate and rounded.                        and rail routing. In regard to rail                Executive Order (E.O.) 13175
   113 All affected
                    sections of the code of Federal    routing, for example, in a March 25,           (“Consultation and Coordination with
Regulations (CFR) are in Title 49.                     2003 final rule (68 FR 14509), we              Indian Tribal Governments”) requires
                      Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                26725

     agencies to assure meaningful and             institutions. Overall, Indian tribal        substantial number of small entities.
     timely input from Indian tribal              governments supported enhanced               During the Notice of Proposed
     government representatives in the            notification requirements on the basis       Rulemaking (NPRM) stage, PHMSA and
     development of rules that significantly      that tribal governments or local             FRA had not determined whether the
     or uniquely affect Indian communities.       communities have the right-to-know           proposed rule would have a significant
     In complying with this E.O., agencies        about hazardous materials shipments          economic impact on a substantial
     must determine whether a proposed            within their jurisdictions. We also          number of small entities. Therefore,
     rulemaking has tribal implications,          received several comments from               PHMSA published an IRFA to aid the
     which include any rulemaking that            environmental groups and individuals         public in commenting on the potential
     imposes “substantial direct effects” on      that supported notification to ThRCS or small business impacts of the proposals
     one or more Indian communities, on the other tribal authorities. However, as              in the NPRM. All interested parties were
    relationship between the federal              stated in the “Summary and Discussion invited to submit data and information
    government and Indian tribes, or on the of Comments” PHMSA believes                       regarding the potential economic impact
    distribution of power between the             adopting the notification (and              that would result from adoption of the
    Federal Government and Indian tribes.         information sharing) requirements           proposals in the NPRM.
    Further, to the extent practicable and        under § 172.820 for HHFTs constitutes a        The Regulatory Flexibility Act also
    permitted by law, agencies cannot             better approach than adopting the           requires an agency to conduct a final
    promulgate two types of rules unless          notification requirements proposed in       regulatory flexibility assessment (FRFA)
    they meet certain conditions. The two        the NPRM. Section 172.820 requires           unless it determines and certifies that a
    types of rules are: (1) Rules with tribal     notification to Fusion Centers, which       rule is not expected to have a significant
    implications, substantial direct             includes an existing mechanism forrn         impact on a substantial number of small
   compliance costs on Indian tribal             Tribal Nations to interact with the          entities. PHMSA is not able to certify
   governments that are not required by          Fusion Centers through the State, Local, that the final rule will not have a
   statute; and (2) rules with tribal            Tribal and Territorial Government            significant economic impact on a
   implications that preempt tribal law.         Coordinating Council. Please refer to the substantial number of small entities.
       PHMSA analyzed this final rule in         aforementioned “Summary and                 PHMSA and FRA received comments
   accordance with the principles and            Discussion of Comments” section for          and data from several commenters on
   criteria prescribed in E.O. 13175. As a       additional summary and discussion           the WFA, and that information was used
   result, PHMSA has determined that this related to the notification issue.                 to make this determination. Therefore,
   rulemaking does not significantly or             Based upon on the discussion of          PHMSA is publishing this FRFA that
   uniquely affect tribes, and does not          comments throughout this rule,              discusses the requirement areas of this
   impose substantial direct effects or          including those of Indian Tribal            final rule and provides the rationale the
  compliance costs on such governments.          Governments, and the corresponding          agencies used for assessing what
  Moreover, under Federal hazardous              analysis of those comments, PHMSA           impacts will be borne by small entities.
  material transportation law (49 U.s.c.         and FRA are confident we have been          PHMSA considered comments received
  5125) and the Federal Rail Safety Act         responsive to the concerns of all our        in the public comment process when
  (49 u.s.c. 20106), the federal                stakeholders including Indian Tribal         making a determination in the FRFA.
  government has a superseding                  Governments. As previously stated, we           This fRFA was developed in
  preemption with regard to hazardous           expect that several issues addressed in      accordance with the Regulatory
  materials regulation and railroad safety. this final rule are subject to federal           Flexibility Act.
  Therefore, the funding and consultation preemption authority, i.e., classification,           (1) A succinct statement of the need
  requirements of E.O. 13175 do not             packaging, and rail routing.                for and objectives of the rule.
  apply, and a tribal summary impact            Furthermore, this rulemaking does not           PHMSA and FRA are promulgating
 statement is not required.                     significantly or uniquely affect Indian     the final rule in response to recent train
      We received approximately 6              tribal governments, and it does not          accidents involving the derailment of
 comments from tribal governments               impose substantial direct effects or        HHFTs. Shipments of large volumes of
 addressing the NPRM. All the comments compliance costs on such governments. flammable liquids pose a significant risk
 from Indian tribal governments                     Other NPRM proposals that were          to life, property, and the environment.
 addressed concerns about the                  discussed within the comments                For example, on December 30, 2013, a
 environmental, economic, and safety           submitted by Indian tribal governments train carrying crude oil derailed and
 impacts of crude oil train derailments in do not uniquely affect Indian tribal             ignited near Casselton, North Dakota,
 tribal lands. In general, comments from       governments and were addressed by a          prompting authorities to issue a
 Indian tribal governments provided            wide variety of commenters. PHMSA            voluntary evacuation of the city and
 support for specific proposals in the         has discussed these prOposals in the         surrounding area. On November 8, 2013,
 NPRM or suggested stricter measures           appropriate comment summaries found a train carrying crude oil to the Gulf
than proposed. For example, multiple           in other sections of this rulemaking.       Coast from North Dakota derailed in
tribal governments supported the 40-                                                       Alabama, spilling crude oil in a nearby
mph speed limit in all areas or                E.   Regulatory  Flexibility Act, Executive wetland and igniting into flames. On
recommended that speed restrictions be Order 13272, and DOT Policies and                   July 6, 2013, a catastrophic railroad
slower than proposed. Some comments           Procedures
                                                                                           accident occurred in Lac-Mógantic,
submitted by Indian tribal governments             The Regulatory Flexibility Act (5       Quebec, Canada when an unattended
provided recommendations that were            U.S.C. 601 et seq.) and Executive Order      freight train containing hazardous
beyond the scope of this rulemaking.          13272 require a review of proposed and       materials rolled down a descending
     In the August 1, 2014 NPRM               final rules to assess their impacts on       grade and subsequently derailed. The
preceding this rulemaking, PHMSA              small entities. An agency must prepare       derailment resulted in a fire and
asked for comment on the possible             an initial regulatory flexibility analysis   multiple energetic ruptures of tank cars,
impacts of the notification requirements (fflFA) unless it determines and certifies which, along with other
                                                                                                                      effects of the
on Tribal Emergency Response                  that a rule, if promulgated, would not       accident, caused the confirmed death of
Commissions (TERCs) or other tribal           have a significant impact on a               47 people. In addition, this derailment
  26726              Federal Register/Vol. 80, No. 89/friday, May 8, 2015 /Rules and Regulations

     caused extensive damage to the town        the rule will apply or an explanation of        United States do not transport
     center, clean-up costs, and the             why no such estimate is available.             hazardous materials. Based on
     evacuation of approximately 2,000             The universe of the entities                 comments from ASLRRA, the rule could
    people from the surrounding area.           considered in an FRFA generally                 potentially affect 160 small railroads
    Although this regulatory action would       includes only those small entities that         because they transport flammable
    not prevent such accidents involving        can reasonably expect to be directly            liquids in HHFTs. Therefore, this final
    unattended trains, the Lac-Mégantic         regulated by the regulatory action. Small rule would impact 22 percent of the
    incident demonstrates that very large       railroads and offerors are the types of         universe of 738 small railroads.
    economic losses occur with catastrophic small entities potentially affected by
    derailments. PHMSA is taking this           this final rule.                                Offerors
    regulatory action to minimize the risks       A “small entity” is defined in 5 U.s.c.           Almost all hazardous materials tank
    the damages of catastrophic accidents in 601(3) as having the same meaning as               cars, including those cars that transport
    the United States.                          “small business concern” under section crude oil, ethanol, and other flammable
       In this final nile, PHMSA and FRA        3 of the Small Business Act. This               liquids, are owned or leased by offerors.
    are adopting revisions to the FTMR to       includes any small business concern             The adopted requirements for a testing
   ensure that the rail requirements           that is independently owned and                  and sampling program will directly
   address the risks posed by the               operated, and is not dominant in its           affect shippers as they will now be
   transportation on railroads of HHFTs.       field of operation. Title 49 U.S.C. 601(4) required to create a document with a
   This rulemaking addresses risks in three likewise includes within the definition             sampling and testing program for
   areas: (1) Proper classification and        of small entities non-profit enterprises        unrefined petroleum-based products. In
   characterization of the product being       that are independently owned and                addition, some of the other provisions
   transported, (2) operational controls to    operated, and are not dominant in their         in this rulemaking may indirectly affect
   decrease the likelihood and                 field of operation.                             offerors. DOT believes that a majority, if
   consequences of train accidents, and (3)       The U.S. Small Business                      not all, of these offerors are large
   tank car integrity to decrease the          Administration (SBA) stipulates in its          entities. DOT used data from the DOT!
   consequences of train accidents.            size standards that the largest a “for-         PHMSA Hazardous Materials
   Promulgating this rulemaking in these       profit” railroad business firm may be,          Information System (HMIS) database to
   areas is consistent with the goals of the   and still be classified as a small entity,      screen for offerors that may be small
   HIvifi: (1) To ensure that hazardous        is 1,500 employees for “line haul               entities.
   materials are packaged and handled          operating railroads” and 500 employees              In analyzing the NPRM, from the
  safely and securely during                   for “switching and terminal                     DOT/PHMSA HMIS database and from
  transportation; (2) to provide effective     establishments.” Additionally, 5 U.S.C.         industry sources, DOT found 731 small
  communication to transportation              601(5) defines as small entities                offerors that might be impacted. Based
  workers and emergency responders of         governments of cities, counties, towns,          on further information available on the
  the hazardous materials being               townships,     villages, school  districts, or   companies’    Web sites, all other offerors
  transferred; and (3) to minimize the        special districts with populations less          appeared to be subsidiaries of large
  consequences of an incident should one than        50,000.                                   businesses. Also, in analyzing the
                                                  Federal agencies may adopt their own NPRM, PHMSA found that out of these
  occur.                                      size standards for small entities in             731, only 297 owned tank cars that
      (2) A summary of the significant        consultation with SBA and in                    would be affected. All the other 434
  issues raised by the public comments in conjunction with public comment.
                                                                                               offerors either did not own tank cars or
 response to the ]RFA, a summary of the       Pursuant to that authority, FRA has             have tank cars that would not be
  assessment of the agency of such issues, published a final Statement                        affected by the final rule. Additionally,
                                                                               of Agency
 and a statement of any changes made to Policy that formally
                                                                       establishes small      no small offerors commented on
 the proposed rule as a result of such        entities or small businesses as being           PHMSA’s ANPRM or NPRM for this
 comments.                                    railroads, contractors, and hazardous           proceeding. In both the ANPRM and the
      For an extensive review of the          materials offerors that meet the revenue NPRM, PHMSA invited commenters to
 comments raised please see the               requirements of a Class ifi railroad as set bring forth information that might assist
 preamble discussion for this rule. The       forth in 49 CFR 1201.1—1, which is $20          it in assessing the number of small
 only issue raised in direct response to     million or less in inflation-adjusted            offerors that may be economically
 the IRFA itself was the number of            annual revenues, and commuter                   impacted by the requirement set forth in
 entities that would be affected. Bridger,   railroads or small governmental                 the proposed rule for development of
 LLC expressed the concern that the use      jurisdictions that serve populations of         the FRFA, but received no comments.
 of “offerors” and “railroads” excluded      50,000 or less. See 68 FR 24891 (May 9,              In reviewing SBA guidance for
 entities such as bulk terminals. The        2003) (codified as appendix C to 49 CFR compliance with the Regulatory
 following section provides a detailed       part 209). The $20 million limit is based Flexibility Act, PHMSA determined that
 estimate of the number of entities          on the Surface Transportation Board’s           the appropriate standard for
 affected. Commenters also questioned        revenue threshold for a Class Ill               determining whether a small entity is
the number of small railroads that           railroad. Railroad revenue is adjusted          impacted by the final rule is not
would be affected. ASLRRA commented for inflation by applying a revenue                      whether the entity owns an affected
that 160 small railroads would be            deflator formula in accordance with 49          tank car, but whether the entity is
affected, not 64 as estimated in the         CFR 1201.1—1. This definition is what           required to provide a tank car that
IRFA. To the extent those railroads          PHMSA is using for the rulemaking.              conforms to the final rule when it loads
would be affected, as discussed below,                                                       the product. No entity, other the shipper
the only impact would be the cost of         Railroads                                       loading the product, is required to
conducting the required routing analysis         Not all small railroads would be            provide a tank car that conforms to the
and some rerouting.                          required to comply with the provisions          final rule. Thus an entity leasing a tank
     (3) A description and an estimate of    of this rule. Most of the approximately         car to load it is impacted as much as an
the number of small entities to which        738 small railroads that operate in the         entity owning a tank car to load it.
                      Federal Register/Vol. 80, No. 89/friday, May 8, 2015 I Rules and Regulations                                      26727

        In addition, offerors of unrefined       be impacted by the braking requirement. number of affected small entities
    petroleum-based products may be               Additionally, in a February 12, 2014,        affected this figure was used in the
    subject to the newly adopted sampling        letter to the Secretary, ASLRRA                FRFA as a conservative estimate.
    and testing plan for all modes of            announced that it recommended to its             The NPRM stated that the affected
    transportation. The DOT/PHMSA HMIS members to voluntarily operate unit                     Class III railroads are already compliant
    database lists 1,568 entities described      trains of crude oil at a top speed of no      with the routing requirements
    using NAICS 424710 for “Petroleum            more than 25 mph on all routes.               established by HM—232E (71 FR 76834),
    Bulk Stations and Terminals.” Of these,         PHMSA and FRA believe that offerors and there were no comments on this
    1,444, or 92.09 percent are small            may see modest increases in their lease       statement. In general, at the time that
    entities. In addition, offerors of           rates as a result of enhanced tank car        rule was promulgated, it was assumed
    unrefined petroleum-based products           standards. PHMSA and FRA recognize            that the small railroads impacted, due to
    may also include additional entities.        that new tank car standards could             their limited size, would, on average,
    The DOT/PHMSA HMIS database lists            potentially increase the rate charged to      have no more than two primary routes
    186 entities described using NAICS           lessees since tank cars will cost more to to analyze. Thus, the potential lack of an
    211111 for “Crude Petroleum and              construct and tank cars owners will seek alternative route to consider would
   Natural Gas Extraction.” Of these, 122        similar returns on their investments.         minimize the impact of this
    are small entities. The DOT/PHMSA           Given competition among suppliers of          requirement. Because the distance
   HMIS database lists 58 entities              tank cars, the rates charged will be the       covered by the small railroads’ routes is
    described using NAICS 211112 for            prevailing market rate, and there will be likely contained within a limited
   “Natural Gas Liquid Extraction.” Of          a tendency for this rate to decrease as       geographic region, the hours estimated
   these, 34 are small entities. It is          the supply of enhanced tank cars              for analyses are fewer than those
   impossible to tell from the database if an increases over time due to new                  estimated for the larger railroads.
   entity has been recorded multiple times manufacturing and effective retrofitting           Further, because the industry
   because of a name change or other            practices. To that effect, the                associations have developed simplified
   corporate reorganization, such as a          implementation timeline has been              forms for the routing analysis for use by
   merger or acquisition. Likewise, entities specifically designed to incorporate             small railroads, and because small
   that have ceased business may remain         industry data on the current       -          railroads usually have a very limited
   on the list. The important number is the manufacturing and retrofit capacity and number of routing choices, the level of
   percentage of entities, as both small       to minimize short run supply impacts           skill required to complete the routing
   entities and large entities may either      that may increase rates before the             analysis for a small railroad is much
   have multiple listings or have ceased       supply of enhanced tank cars expands.          lower than would be required on a
  business. For purposes of this analysis,         Further, commenters have noted that       larger railroad.
  PHMSA assumes that half of the 1,444         lease rates have gone up in recent years.         Finally, this final rule will also
  small entities recorded in the database,     PHMSA and FRA believe, and                    require any offeror who offers a
   or 722 small entities, are actually in      commenters have confirmed, that the           hazardous material for transportation to
  business and affected by the final rule.     primary driver of recent increases in         develop, implement, and update its
  In the analysis below, assuming a            lease rates is due to the growth of the       sampling and testing programs related
  smaller number of entities results in a      transport of crude oil by rail. In other      to classification and characterization of
  larger impact per entity, and is therefore words, increased demand for tank cars           the hazardous material if it is an
  more conservative.                           capable of carrying crude oil, relative to unrefined petroleum-based product.
      (4) A description of the projected      their supply, is responsible for most of      PHMSA believes that there would be an
  reporting, recordkeeping, and other         the increase in lease rates. Once this         initial cost for each offeror of
  compliance requirements of the rule,        regulation is promulgated and the             approximately $3,200 for the first year,
  including an estimate of the classes of     industry has certainty on the new car         and additional costs of $800 annually
 small entities that will be subject to the   standard for moving high volume               thereafter. PHMSA believes that this
 requirement and the type of professional flammable liquid shipments, we believe section would not significantly burden
 skills necessary for preparation of the      the industry will ramp up construction        any of these small entities.
 report or record.                            and lease rates will decrease.                     PHMSA estimates the total cost to
     For a thorough presentation of cost      Additionally, also in the February 12th       each small railroad to be $8,715 in the
 estimates, please refer to the RIA, which letter to the Secretary, the ASLRRA              first year and $3,637 for subsequent
 has been placed in the docket for this       noted that it will support and encourage years, with costs growing with increases
 rulemaking.                                  the development of new tank car               in real wages.’14 Based on small
     This rulemaking has requirements in      standards including, but not limited to,     railroads’ annual operating revenues,
 three areas that address the potential       adoption of a 9/16-inch tank car shell.      these costs are not significant. Small
 risks: (1) Proper classification and             Section 174.310(a) (3) would expand      railroads’ annual operating revenues
 characterization of the product being        hazardous materials route planning and range from $3 million to $20 million.
transported, (2) operational controls to      selection requirements for railroads.        Previously, FRA sampled small
 decrease the likelihood of accidents,        This would include HHFTs transporting railroads and found that revenue
and (3) tank car integrity. Requirements flammable materials and, where                    averaged approximately                   million
for braking, speed restrictions, and tank technically feasible, require rerouting to (not discounted) in 2006.$4.7
                                                                                                                                One percent of
car production would not impact any          avoid transportation of such hazardous        average annual revenue per small
small entities. Most small railroads         materials through populated and other         railroad is $47,000. Thus, the costs
affected by this rule do not operate at      sensitive areas. Approximately 160            associated with this rule amount to
speeds higher than those imposed for         short line and regional railroads carry
speed restrictions or travel long            crude oil and ethanol in train consists           “4Costs per railroad are derived in the RIA, with
distances over which the reduced speed large enough that they would                       line costs for all Class ifi railroads divided by the
would cause a significant economic           potentially be affected by this rule.         160 railroads affected. Those costs were $1,394,476
impact. Any small railroad that operates While PHMSA and FPA believe this                 for Year 1, and $581,991 for Year 2. Values for
at speeds 30 mph or less would also not number may be an overestimation of the subsequent              years are increased for anticipated
                                                                                          increases in real wages.
  26728              Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations

     significantly less than one percent of the crafted the definition with the idea of       independent verification and validation
     railroad’s annual operating revenue.         capturing the higher risk bulk              of the model.
     PHMSA realizes that some small               shipments seen in unit trains. Based on        The rail routing requirements
    railroads will have lower annual              FRA modeling and analysis, 20 tank          specified in § 172.820 are being
    revenue than $4.7 million. However,           cars in a continuous block loaded with      modified to apply to any HHFT, as the
    PHMSA is confident that this estimate         a flammable liquid and 35 tank cars or      term is defined in this final rule
    of total cost per small railroad provides     more total dispersed throughout a train     ( 171.8; See discussion in HHFT
    a good representation of the cost             loaded with a flammable liquid display      section). Rail carriers would be required
    applicable to small railroads, in general. consistent characteristics as to the           to assess available routes using, at a
        In conclusion, PHMSA believes that        number of tank cars likely to be            minimum, the 27 factors listed in
    although some small railroads will be        breached in a derailment. See                Appendix D to Part 172 of the HMR to
    directly impacted, they will not be           “Definition of High-Hazard Flammable        determine the safest, most secure routes
    impacted significantly as the impact         Train” section of this rule for a            for security-sensitive hazardous
    will amount to significantly less than        description of the modeling. The            materials. Additionally, the
    one percent of an average small              operating railroads commented that this requirements of § 172.820(g) require rail
    railroad’s annual operating revenue.         threshold will exclude lower risk            carriers to establish a point of contact
    Information available indicates that         manifest trains and focus on higher risk with state and/or regional Fusion
   none of the offerors will be significantly unit trains. It should be noted that            Centers who coordinate with state, local
   affected by the burdens of the rule.          commenters also suggested this               and tribal officials on security issues as
   Therefore, these requirements will            threshold, as it would eliminate the        well as state, local, and tribal officials
   likely not have a significant economic        inclusion of most manifest trains and       that may be affected by a rail carrier’s
   impact on any small entities’ operations. focus on unit trains.                           routing decisions and who directly
   In the NPRM, PHMSA had sought                    In addition to the above change that     contact the railroad to discuss routing
   information and comments from the             effects the entire rulemaking action,       decisions.
   industry that might assist in quantifying PHMSA is addressing six requirements               To assist railroads with evaluating
   the number of small offerors who may          areas in this final rule, and believes it   primary and alternative routes for
   be economically impacted by the               is appropriate to address the impacts on origin-destination (OD) pairs, the U.S.
   requirements set forth in the proposed        small entities separately for each          Department of Transportation awarded
   rule, but did not receive any comments. requirement area.                                 the Railroad Research Foundation
       (5) A description of the steps the                                                    (RRF), a non-profit affiliate of the AAR,
  agency has taken to minimize the               1. Requirement Area i—Rail Routing          a Railroad Safety Technology Grant for
  significant adverse economic impact on Adopted Action                                      a risk management tool that will help
  small entities consistent with the                                                         with the analysis of the 27 minimum
  objectives of applicable statutes,                PHMSA    and FRA are requiring rail      factors to consider. The grant provided
  including a statement of factual, policy, carriers develop and implement a plan            $1.54 million for enhancement and
  and legal reasons for selecting the           that will result in the use of a safer and   ongoing implementation of the Rail
  alternative adopted in the final rule, and more secure route for certain trains           Corridor Risk Management System
  why each of the other significant             transporting an HHFT. This may appear (RCRMS). RCRMS
                                                                                                                  was developed for
  alternatives to the rule considered by        more burdensome than it will be,            railroads with alternatjve routing and is,
  the agency was rejected.                      because FRA has helped to develop           therefore, not effective for smaller or
      PHMSA re-evaluated and re-defined         tools to facilitate analysis of routing,    Class II or Class ifi railroads with
  “High-Hazard Flammable Train” to              working with both the AAR and               limited or no alternative routes. These
  minimize the significant adverse              ASLRRA, ensuring that the tool will be      railroads were responsible for
 economic impact on small entities. This readily available to small railroads. To           developing their own analysis and
  definition served as the basis for many       assist railroads with evaluating primary documentation. Accordingly, the
 of the requirements in the NPRM and in and alternative routes for origin-                  Hazmat Transportation Analytical Risk
 this final rule. Be revising this              destination pairs, the U.S. Department      Model (H—TRAM) was developed
 definition we have narrowed the scope          of Transportation awarded the Railroad      through an FRA Grant provided to RRF
 of the rulemaking to more appropriately Research Foundation (RRF), a non-profit on behalf of the ASLRRA. Most recently,
 focus on the risks of the transport of        affiliate of AAR, a Railroad Safety          FRA funded an independent verification
 large volumes of flammable liquids by         Technology Grant for a risk management and validation of the model.
 rail. This narrowing of the scope also        tool that will help with the analysis of
 limits the impact on small entities. We       the 27 factors required in analyzing rail   Determination of Need
 believe the new definition excludes the       routing. The grant provided $1.54               There has long been considerable
 inclusion of manifest trains (which           million for enhancement and ongoing         public and Congressional interest in the
 could represent a larger portion of           implementation of the Rail Corridor         safe and secure rail routing of security-
 smaller railroads) from the requirements Risk Management System (RCRMS).                  sensitive hazardous materials. In 2008,
 of this rule.                                 RCRMS was developed for railroads           PHMSA, in coordination with FRA and
      Specifically, PHMSA and FRA revised with alternative routing and is therefore the Transportation Security
the definition from “20 or more tank           not effective for smaller or Class 11/111   Administration (TSA), issued a final
cars in a train loaded with a flammable        railroads with limited route or no          rule requiring, among other things, that
liquid” to “a continuous block of 20 or        alternative routes. These railroads were    rail carriers compile annual data on
more tank cars or 35 or more cars              responsible for developing their own        certain shipments of explosive, toxic by
dispersed through a train loaded with a        analysis and documentation.                 inhalation (TIH or PIH), and Class 7
flammable liquid” based on public              Accordingly the Hazmat Transportation (radioactive) materials; use the data to
comment.                                       Analytical Risk Model (H—TRAM)              analyze safety and security risks along
     PHMSA and FRA did not intend the          model was developed as a result of an       rail routes where those materials are
NPRM proposed definition to include            FRA Grant provided to RRF on behalf of transported; assess alternative routing
lower risk manifest trains and had             ASLRRA. More recently, FRA funded an options; and make routing decisions
                       Federal Register / Vol. 80, No. 69/ friday, May 8, 2015 /Rules and Regulations                                    26729
     based on those assessments, 73 FR             populated areas or other sensitive                   vast majority of commenters supporting
     20752. These requirements were                environments will continue. This option the proposal, PHMSA and FRA have
     codified at 49 CFR 172.820.                   would not result in any modification of chosen this alternative. It should be
        The 2008 rule also requires rail           § 172.820 to include HHFTs. PHMSA                   noted that the definition of HHFT has
    carriers transporting “security sensitive and FRA are not considering this                         been narrowed to a train carrying 20 or
    materials” to select the safest and most       alternative.                                        more loaded tank cars in a continuous
    secure route to be used in transporting                                                            block
                                                   Alternative     2:  Apply  Routing to HHFTs                 or 35 or more loaded tank cars
    those materials, based on the carrier’s                                                            throughout the train consist loaded with
    analysis of the safety and security risks        This alternative, adopted in the final            flammable liquids (see above for
    on primary and alternate transportation rule, applies safety and security routing discussion
                                                  assessments and rerouting to HHFTs.                               on HHF”fs). PHMSA and
    routes over which the carrier has                                                                  FRA anticipate that this will lessen the
    authority to operate.                         Railroads would be required to assess
                                                                                                       impact
       The NTSB report of January 23, 2014, current routing of these trains as well as short on small businesses such as
    stated that at a minimum, the route           practical alternative routes. Railroads                     line and regional railroads by
                                                  would have to choose the lowest risk                eliminating a large percentage of
    assessments, alternative route analysis,                                                          manifest or mixed freight trains.
    and route selection requirements should practical route to move Hl-IFTs. This
   be extended to key trains transporting         alternative focuses the routing                     Impact on Small Entities
   large volumes of flammable liquid             requirements on the flammable liquid                     The costs of this alternative are
   (NTSB Recommendation R—14—4).                  shipments that pose the greatest risk to            discussed in great detail in the RIA. The
   Additionally, in their comment on the         public safety. Additionally, the final               total burden on small railroads over 20
   NPRM, NTSB stated that the proposal to rule requires rail carriers to establish a                  years, for 160 small railroads affected,
   subject carriers transporting HHFTs to        point of contact with (1) state and/or
                                                 regional Fusion Centers who coordinate              the   cost, discounted at 7 percent. will be
   the routing requirements in 172.820                                                               $7,236,778. The average cost per small
   would satisfy the intent of R—14—4.           with state, local and tribal officials on
                                                 security issues and (2) state, local, and           railroad will be $45,230 over 20 years,
       Although Class I rail carriers                                                                discounted at 7 percent.
   committed to voluntarily apply routing        tribal officials that may be affected by a
   requirements to trains carrying 20            rail carrier’s routing decisions and who            2. Requirement Area 2—Tank Car
   carloads or more of crude oil as a result     directly contact the railroad to discuss            Adopted Action
  of the Secretary’s Call-to-Action:             routing decisions.
      • The voluntary actions do not extend         This alternative requires railroads to               In this final rule, we are adopting
  beyond Class I railroads;                      balance these factors to identify the               requirements for new tank cars
      • The voluntary actions do not apply route that poses the lower risk. As such, constructed after October 1, 2015, used
  to all HHFTs;                                 they may, in certain cases, choose a                to transport Class 3 flammable liquids in
      • The proposed routing requirements route that eliminates exposure in areas                   an HHFT to meet either the prescriptive
  would have provided a check on higher with high population densities but                          standards for the DOT Specification 117
  risk routes or companies; and                 poses a risk for more frequent events in            tank car (consistent with Option 2 of the
      • The routing requirements would          areas with very low densities. In other             NPRM except for the braking
  ensure that rail carriers continue their      cases the risk of derailment may be so              component) or the performance
  voluntary actions in the future.              low along a section of track that, even             standards for the DOT Specification
                                                though it runs through a densely                    117P tank car. Other authorized tank
  Alternatives Considered                       populated area, it poses the lowest total specification as specified in part 173,
  Alternative 1: No Action Alternative—        risk when severity and likeithood are                subpart F will also be permitted
  Status Quo                                    considered. Glickman’s estimate of                  however, manufacture of a DOT
                                               safety improvements achievable by                    specification 111 tank car for use in an
     Route planning and route selection        routing changes is based on an                       HHFT is prohibited. In this final rule,
 provisions currently required for             examination of how routing might vary                we are also adopting retrofit
 explosive, Pill, or Class 7 (radioactive)     as a rail carrier applies progressively             requirements for existing tank cars in
 materials are not required for HHFTs. If heavier weights on various safety                         accordance with proposed Option 3
 the rule is not adopted, railroads would factors.115 In practice, it is impossible
                                                                                               to from the NPRM (excluding top fittings
 not be required to conduct route risk         know how much weight rail carriers                  protection and steel grade). If existing
 analysis nor are they required to reroute will give to safety when making routing cars do not meet
 shipments over lower-risk routes.                                                                                       the retrofit standard,
                                               decisions. As noted above, based on                 they will not be authorized use in HHFT
 Specific identified criteria for the route    past routing plans submitted by rail                service after a packing group and tank
 and alternate route analyses may not be       carriers to FRA for approval, application car specification-based implementation
 uniformly considered by all railroads,        of the routing requirements resulted in             timeline. This in effect would adopt
 and written analyses of primary and           modest changes to company routing                   different constructions standards for
 alternate routes including safety and         decisions. It is therefore unclear to what new and retrofitted cars used in an
 security risks would not be required.         extent these requirements would                     HHFT.
While the railroads are expected to           improve safety. However, PHMSA                           Tank cars built to the new standards
continue voluntarily implementing             believes applying these routing                      as adopted in this final rule will be
these measures for crude oil, they have       requirements to HHFTs would result in                designated “DOT Specification 117.” In
not made a similar commitment for             a net positive safety benefit.                      addition, we are adopting a performance
ethanol trains (though PHMSA believes              Based on the determination of need,            standard for the design and construction
some of them may do so). The costs to         minimal cost of implementation and a                of new tank cars or retrofitting of
society, the government, and the rail                                                             existing tank cars equivalent to the
industry of an accident involving large          115 Glickrnan, Theodore S. Erkut, Effian, and
                                                                                                  prescriptive DOT Specification 117
shipments of flammable liquid are high. Zschocke, Mark S. 2007. The cost and risk impacts         standards. Thus, a new or retrofitted
If no action is taken, the threat of          of  rerouting railroad  shipments of hazardous
                                              materials. Accident Analysis and Prevention. 39.    tank car meeting the performance
catastrophic accidents in large               1015—1025.                                          criteria will be designated as “DOT
  26730             Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations

    Specification 117P.” Additionally, we      tank cars, including upgraded CPC—             manufactured tank cars and existing
    are adopting a retrofit standard for       1232 non-jacketed and jacketed tanic           tank cars used for flammable liquids in
    existing tank cars meeting the DOT         cars, for the transportation of crude oil      a HHFT. Tank cars could meet either the
   Specification 111 or CPC—1232               and ethanol. This alternative imposes          prescriptive or an equivalent
   standard. A retrofitted tank car meeting    no benefits or costs to society as it          performance standard. Under this
   the prescriptive standard will be           would require no change to the current         alternative, tank cars have most of the
   designated as “DOT Specification            crude oil and ethanol tank car                 safety features as the Option 1 tank car,
   117R.” Please see “Tank Car                 packaging.                                     including the same increase in shell
   Specification” portion of this                                                             thickness, but lack TN top fittings
   rulemaking for further detail.                Option 1: PHMSA and FRA Designed
                                                 Tank Car                                     protection and ECP brake equipment. In
   Determination of Need                                                                      essence, examining these cars side by
                                                    This alternative would mandate that       side in the following analysis provides
      Under the HMR, the offeror (shipper)       newly manufactured and existing tank         a de facto comparison of the costs and
   must select a packaging that is suitable      cars used for flammable liquids in a         benefits of equipping HHFTs with ECP
   for the properties of the material. The       HHFT meet the Option 1 prescriptive or braking.
  DOT Specification 111 tank car is one          performance standard after a certain           This alternative provides the second
  of several cars authorized by the HMR          date in accordance with the following:       highest benefits and the second highest
  for the rail transportation of many               • 286,000 lb. GRL tank car that is       costs of the three tank car options. This
  hazardous materials. The DOT                   designed and constructed in accordance option was selected for new
  Specification 111 tank car, which can be      with AAR Standard 286;                       constructions (See braking section for
  jacketed or unjacketed, is used for the           • Wall thickness after forming of the    discussion on braking required).
  almost all of crude oil and ethanol           tank shell and heads must be a
  service by rail.                              minimum of /r6-inch constructed from         Option 3: Enhanced Jacketed CPC—1232
     The alternatives proposed in the           TC—128 Grade B, normalized steel;            Tank Car (Selected as Retrofit Standard)
 August 1, 2014 NPRM were intended to               • Thermal protection system in              The third alternative considered is an
 address the survivability of a tank car        accordance with § 179.18, including a        enhanced, jacketed CPC—1232 tank car.
 and to mitigate the damages of rail            reclosing pressure relief device;            It also has the same improvements made
 accidents far superior to those of the            • Minimum 11-gauge jacket                 to the bottom outlet handle and pressure
 current DOT Specification 111 tank car.        constructed from AlOll steel or             relieve valve as the Option 1 and Option
 Specifically, the alternatives incorporate     equivalent. The jacket must be weather- 2 tank cars. This standard is the new
 several enhancements to increase tank          tight as required in § 179.200—4;           tank car configuration PHMSA believes
 head and shell puncture resistance;               • Full-height, 1/2.inch thick head       would have been built for HHFT service
 thermal protection to survive a pooi fire      shield meeting the requirements of          in the absence of regulation, based on
 environment; and improved top fifing           § 179.16(c)(1);                             commitments from two of the largest
 and bottom outlet protection during a             • Bottom outlet handle removed or        rail car manufacturers/leasers.
 derailment. These improvements are             designed to prevent unintended                  As proposed, the Option 3 car would
consistent with several NTSB safety            actuation during a train accident;           be required for both newly
recommendations. Under all                         • ECP brakes; and                        manufactured tank cars and existing
alternatives, the proposed system of               • Roll-over protection (i.e., tank car   tank cars used for flammable liquids in
design enhancements would reduce the           would be equipped with a top fittings        a HHFT. Tank cars must meet either the
consequences of a derailment of tank           protection system and nozzle capable of prescriptive or performance standard in
cars transporting flammable liquids in         sustaining, without failure, a rollover     accordance with the proposed phase-put
an HHfT. There will be fewer tank car          accident at a speed of 9 mph, in which      schedule. Because the industry has
punctures, fewer releases from service         the rolling protective housing strikes a    committed to building Enhanced
equipment (top and bottom fittings), and       stationary surface assumed to be flat,      Jacketed CPC—1232 standard tank cars
delayed release of flammable liquid            level, and rigid and the speed is           for HHFT service, this alternative would
from the tank cars through pressure            determined as a linear velocity,            not impose higher costs for newly
relief devices and thermal protection          measured at the geometric center of the     manufactured tank cars. It would,
systems.                                       loaded tank car as a transverse vector)     however, impose costs associated with
Alternatives Considered                        (not applicable to existing tank cars).     retrofitting older DOT Specification 111
                                                  This alternative achieves the highest    tank cars to the new prescriptive or
   On August 1, 2014, PHMSA, in                safety enhancements of any of the           performance standard.
consultation with the F’RA, issued an          options considered, and thus is                 This alternative tank car design car
NPRM in response to comments                  expected to yield the highest benefit to    has all of the safety features of the
submitted as a result of an ANPRM. In         safety and the environment. It also has     Option 2 car, except that it has 1/8inch
the NPEM, we proposed three                   the highest cost of any of the three tank   less shell thickness. Additionally, this
alternatives for newly manufactured           car alternatives.                           tank car has most of the safety features
tank cars to address the risks associated                                                 of the Option 1 tank car, but it also has
with the rail transportation of Class 3       Option 2: AAR 2014 Tank Car (Selected 1/8_inch
                                              for New Tank Car Construction)
                                                                                                     less shell thickness, does not
flammable liquids in HHFTs. In this                                                       have ECP brakes, and does not have TIH
final rule, PHMSA considered the three            The second alternative considered is    top fittings protection.
tank car options and the status quo to        described as the AAR 2014 car. This              Although this tank car design is a
address this emerging risk and they are       proposed standard was based on the          substantial safety improvement over the
as follows:                                   AAR’s updated new tank car standard,        current DOT Specification 111 tank car,
                                              and approximately 5,000 of these new        it does not achieve the same level of
No-Action Alternative
                                              cars have been ordered by BNSF Rail         safety as the first two mandated
  This alternative would continue to          Corporation.                                alternatives considered. It is, however,
authorize the use of th& non-jacketed            As proposed in the NPRM, the Option the least costly alternative considered.
and jacketed DOT Specification 111            2 car would be required for both newly      This option was selected for retrofitting
                      Federal Register I Vol. 80, No. 89/ Friday, May 8, 2015 I Rules and Regulations.
                                                                                                                                  26731
   existing tank cars (See braking section          believe the 50-mph maximum speed              ethanol. Given the projected continued
   for discussion on braking required).             limit for HHFTs will affect small             growth of domestic crude oil and
      Impact on Small Entities                      entities, including small offerors and        ethanol production and transport, and
                                                    small railroads that qualify as small        the  growing number of train accidents
        All small shippers will be directly        businesses. Small railroads (Class II and involving crude oil and ethanol,
      impacted by this requirement, as the         Class III railroads) customarily do not       PHMSA concludes that the potential for
     shipper is the regulated entity that must operate at speeds in excess of 50 mph,
     provide the packaging for shipping, in                                                      future severe train accidents involving
                                                   so the impact of reducing the maximum HHFTs has increased substantially. As
     this case, the tank cars. It does not         speed of HHFTs to 50 mph is expected          our organizational mission, PHMSA
     matter whether the small shipper owns         to be minimal and potentially costless.       seeks to improve the safety of the
     the tank cars or leases them. The burden         In further support of this view,           transportation of hazardous materials in
     of the rulemaking and therefore the cost PHMSA refers to a February 12, 2014                commerce, which includes reducing the
     of tank cars will be imposed on the          letter to the Secretary from the               incidence and severity of train
    shippers, either through purchase costs, American Short Line and Regional                    derailments involving hazardous
    retrofit costs, or through higher lease       Railroad Association (ASLRRA). In this        materials. Therefore, PHMSA has
    payments. The estimated cost per tank         letter, ASLRRA amiounced that they            adopted certain speed restrictions as a
    car is a good estimate of the final cost      would recommend a 25-mph speed                way to lessen damages that would occur
    to the shippers. A lease transaction only limit for unit trains carrying crude oil          in the event of a derailment and to
    changes the method by which a shipper on all routes. Thus, small railroads will             improve the overall safety of rail
    pays for the tank cars.                       not be burdened by the 50-mph speed           transportation of large quantities of
       As noted above, small shippers are         limit provided they are adhering to           Class 3 flammable liquids.
    about 92 percent of all shippers.             ASLRRA’s recommended speed
    PHMSA assumes that small shippers on restriction.                                           Alternatives Considered
    average ship half as much as the average          PHMSA is also requiring a 40-mph             PHMSA considered a range of
   shipper. Therefore, for this analysis,        speed limit for HHFTs within the limits alternatives relative to the adopted
   PHMSA estimates that small shippers           of a High Threat Urban Area (HTUA),            speed restrictions. Namely, PHMSA
   ship 46 percent, half of 92 percent of the unless all tank cars containing                   considered; the “no action” alternative,
   affected hazardous materials, and             flammable liquids meet or exceed the          the various speed restrictions proposed
   PHMSA assumes that they use the same retrofit standards or the standards for                in the NPRM, and different speed
   percentage of tank cars, and therefore        the DOT Specification 117 tank car.           restrictions proposed by commenters.
   incur as a group, the same percentage of Similar to the aforementioned 50-mph
   the total costs estimated in the              speed limit, the 40-mph speed limit for       Alternative 1: No Action Alternative—
   economic analysis for retrofit of all tank HHFTs in HTUAs is also generally                 Status Quo
   cars. PHMSA’s RJA cost estimate for the       consistent    with voluntary commitments          The “no action” alternative is the
  Final Rule tank car mandate is $1.78          made by AAR “Railroad Subscribers” as choice to uphold the status quo and
  billion discounted at 7 percent, and          a result of recent cooperation with the        forego new regulation related to speed
  $2.27 billion discounted at 3 percent.        Department. Further, given ASLRRA’s            restrictions. It is equivalent to the
  The total burden on small shippers will additional recommendation of a 25-mph current regulatory environment absent
  therefore be 46 percent of that, or $0.819 speed limit for certain short line and           this rulemaking. There is reason to
  billion discounted at 7 percent, and          regional trains carrying crude oil, small     believe that the “no action” alternative
  $1.04 billion discounted at 3 percent.        railroads should not be burdened by the has some merit. Chiefly, trade
  The average cost per small shipper            40-mph speed limit in HTUAs. PHMSA associations and the industry at-large
  would be $0.819 billion discounted at 7 believes that most small railroads are              have made significant efforts to improve
  percent, and $1.04 billion discounted at adhering to ASLRRA’s recommendation. railroad safety, including the issuance of
  3 percent divided by 722 shippers,            Determination of Need                         voluntary or recommended speed
 which yields costs per small shipper of                                                      restrictions. If voluntary speed
 $1134 million discounted at 7 percent,             Speed is a factor that contributes to    restrictions were indistinguishable to
 and $1.672 million discounted at 3             derailments.     Speed can influence the     the adopted speed restrictions, and
 percent. However, PHMSA believes that probability of an accident, as it may                 small railroads perfectly and uniformly
 small shippers can pass on those costs        allow for a brake application to stop the adhered to these voluntary speed
 to other parties in the supply chain,         train before a collision. Speed also          restrictions, PHMSA might not need to
 because all shippers face the same cost       increases the kinetic energy of a train       codify the adopted speed restrictions.
 constraints. PHMSA believes this is not resulting in a greater possibility of the           However, these voluntary or
 a substantial burden on any affected          tank cars being punctured in the event        recommended speed restrictions are
 entity.                                       of a derailment. As more tank cars are        inferior to the codified adopted speed
                                               punctured in a derailment, the                restrictions in that they do not carry the
 3. Requirement Area 3—Speed                   likelihood and severity of releases of        weight of law. Further, PHMSA was not
 Restrictions                                 hazardous materials into the                   provided with sufficient evidence to
 Adopted Action                               environment increases. Conversely,             show that 100 percent of small railroads
                                              lower speeds reduce kinetic energy,           were adhering to the voluntary or
    PHMSA is requiring a 50-mph               reducing the possibility of puncture in       recommended speed restrictions.
maximum speed limit for HHFTs in all          a derailment, which in turn reduces the PHMSA has assumed that this kind of
areas. This action aligns with existing       severity of hazardous material releases       adherence is occurring, but cannot
operational requirements imposed by           into the environment.                         certify it. Moreover, the adopted speed
AAR Circular No. OT-55-N. PHMSA                   The growth in the production and          restrictions are not indistinguishable to
expects there will be no costs associated transport of crude oil and ethanol in             the voluntary ones. The voluntary speed
with a speed restriction of. 50 mph, as       recent years has been accompanied by          restrictions apply to “Key Crude Oil
this action codifies current industry best an increase in the number of rail                Trains,” or similar trains, whereas
practices. As such, PHMSA does not            derailments involving crude oil and           PHMSA has expanded the scope of the
   26732              Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations

   rule to include different Class 3             speed limit in HTUAs (Option 3). This          speeds higher than 30 mph. Those
   flammable liquids and different high-         sentiment was echoed by many                   railroads do not originate HHFT, but let
   risk train configurations. Thus, the “no     commenters, including ASLRRA.                   the larger railroads operate HHFTs over
   action” alternative is not the best course   According to PHMSA’s cost/benefit              their track. Therefore there will be no
   of action.                                   analysis and commenter input, PHMSA speed restrictions imposed on these
    Alternative 2: 40-mph Speed Limits for      has reason to believe that the                 small railroads, only larger railroads
    HHFTs in all Areas                          implementation of Option 1 and Option operating over the small railroads’ track.
                                                2 would create an unjustifiable burden            The only Class Ill railroad which both
       The 40-mph speed limits for HHFTs        on small entities, as well as on large
    in all areas. This is option 1 in the                                                      has Class 4 or higher track (speeds
                                                railroads and offerors, and thus are not       above 40 mph) and also hauls crude oil
    NPRM. In this alternative, all HHFTs are practical alternatives for
                                                                           small
    limited to a maximum speed of 40 mph, Please refer to the Final RIA, entities.             or ethanol is also a commuter railroad
                                                                               as well as      serving a large city, and therefore not a
    unless all tank cars meet or exceed the     other sections of the rulemaking, for
    performance standards for the DOT                                                          small  entity. Thus, the speed
                                                further summary and discussion of the          restrictions will not result in any net
    Specification 117 tank car.                NPRM’s proposed 40-mph speed limits. impact on small entities.
    Alternative 3: 40-mph Speed Limit for          PHMSA is confident that the adopted
    HHFTs in Populations of More Than          speed restrictions—a 40-mph speed               4. Requirement Area 4—Braking
    100,000 People                             limit in HTUAs and a 50-mph speed               Adopted Action
                                               limit for all HHFTs—constitute the best
      The 40-mph speed limits for areas        course of action and small carriers will           PHMSA and FRA are requiring that
   with populations of more than 100,000       be able to comply without undue                rail carriers transporting certain
   people alternative is option 2 in the       burden. In fact, PHMSA expects that the quantities of flammable liquids to equip
   NPRM. In this alternative, all HHFTs—       adopted speed restrictions will impose         trains with advanced braking systems.
   unless all tank cars containing             only limited costs on small entities and       Specifically, this final rule requires all
   flanunable liquids meet or exceed the       will yield more safety benefits per unit       HHFTs operating in excess of 30 mph to
   standards for the DOT Specification 117 of cost than other alternatives over
   tank car—are limited to a maximum                                                 time. have enhanced braking systems. At a
                                               ASLRRA’s recommendation of a 25-mph baseline level, any train that contains a
   speed of 40 mph whi1 operating in an        speed limit to member railroads lends          continuous block of 20 or more loaded
   area that has a population of more than     concrete support to this outlook.              tank cars or a total of at least 35 loaded
   100,000 people.                                                                            tank cars throughout the train
                                              Alternative 5—Speed Restrictions Based containing Class 3 flammable consist
   Alternative 4: 40-mph Speed Limits for                                                                                       liquids
                                              on Other Geographical Criteria                  (an HHFT) must have in place, at a
  HHFTs in HTUAs
                                                  In addition to the alternatives            minimum, a functioning two-way EOT
      The 40-mph speed limits for HFWTs       proposed in the NPRM, various                  device or a DP system to assist in
  in HTUA. This is option 3 in the NPRM. commenters offered alternatives                     braking.
                                                                                  that
  In this alternative, all HHFTs—unless       could be applied to small entities, such           With longer, heavier trains it is
  all tank cars containing flammable          as small rail carriers. Various                necessary to factor in train control
  liquids meet or exceed the standards for commenters suggested that PHMSA                   issues. Therefore, PHMSA and FRA
  the DOT Specification 117 tank car—are align the speed restrictions with                   have specific braking requirements for
  limited to a maximum speed of 40 mph        different geographical criteria.               trains that are transporting 70 or more
  while the train travels within the          Nevertheless, ASLRRA and AAR did not loaded tank cars of Class 3 flammable
  geographical limits of HTUAs. This was suggest that different geographical                 liquids (referred to as high-hazard
 the most cost effective option proposed      criteria be applied specifically to small     flammable trains or “HHFUTs”) at
 in the rulemaking.                          rail carriers. On the contrary, ASLRRA’s speeds in excess of 30 mph. By January
     In the NFRM, PHMSA proposed three recommended 25-mph
 40-mph speed limits, including the                                     speed restriction 1, 2021, any HHFUT transporting one or
                                             specifically applied to short lines and        more tank car loaded with a Packing
 adopted 40-mph speed limit in HTUAs, regional rail lines                                   Group I flammable liquid will be
                                                                  carrying crude oil as
 as well as two other 40-mph speed           a “unit” on all routes. Thus, PHMSA            required operate using an ECP brake
 limits applicable to all areas and to       does not believe that different                system that complies with the
 areas with “a population of more than       geographical criteria would be a               requirements of 49 CFR part 232,
 100,000 people.” Thus, PHMSA’s              practical alternative for small entities.      subpart G. All other HHFUTs must be
 consideration of alternatives was                                                         equipped
                                             Impact on Small Entities                                    with operative ECP brake
 publicly stated at the NPRM stage, and                                                    systems by May 1, 2023, when traveling
PHMSA afforded the public an                     Most small railroads affected by this     in excess of 30 mph.
 opportunity to comment on the validity rule do not operate at speeds higher
 and expected impacts of these proposed than the speed restrictions required or            Determination of Need
speed limits. In the NPRM, the 40-mph       travel long distances over which the                Braking systems reduce kinetic energy
speed limit in HTUAs was cited as           reduced speed would cause a significant and therefore help prevent and mitigate
Option 3, and the 40-mph speed limit in impact. Additionally, in a February 12,            the effects of train accidents. Since the
all areas and the 40-mph speed limit in     2014, letter to the Secretary, ASLRRA          First Safety Appliance Act of March 2,
any area with a population of more than announced that they recommend to                   1893, freight train operations in the U.S.
100,000 people were cited as Option 1       their members to voluntarily operate          have traditionally relied on air brakes to
and Option 2, respectively.                 unit trains of crude oil at a top speed of slow and stop a train. This conventional
    Option 1 and Option 2 were not          no more than 25 mph on all routes.            air brake system has proven to be
adopted for a variety of reasons that           The only small railroads that are         reliable, but it has drawbacks. When a
affect small and large entities alike.      likely to be affected by the speed            train is long and heavy, as is typically
Option 1 and Option 2 are not as cost-      restrictions are those that have relatively the case in the context of an HHFT, a
effective and would be burdensome and short mileage connecting two or more                conventional air brake system can easily
overly restrictive relative to the 40-mph larger railroads, and that may operate at take over one-half
                                                                                                                 mile to bring a train
                       Federal Register/Vol. 80, No. 89/friday, May 8, 2015/Rules and Regulations                                    26733

      to a stop, even with the emergency              Alternative 2: Two-Way End of Train           two-way EOT device or a DP system to
      brakes applied. Moreover, the length of         Devices or Distributed Power                  assist in braking.
      a train will significantly affect the time
     it takes for the conventional air brakes           Alternative 2 would require each               With longer, heavier trains it is
     to apply to the entire consist. It can take HHFT to be equipped and operated with necessary to factor in train control
     a number of seconds for the air brake           either a two-way EOT device, as defined issues. Therefore, this alternative would
                                                     in 49 CFR 232.5 of this title, or DP, as       require specific braking requirements
     system to function as air is removed
                                                     defined in 49 CFR 229.5 of this title.         for trains that are transporting 70 or
     from the system to engage the brakes,           This alternative would not mandate a
     beginning with the cars nearest to the                                                         more loaded tank cars of Class 3
                                                     requirement for ECP braking systems.           flammable liquids at speeds in excess of
     locomotive and working towards the
                                                     Additionally, this alternative is closest      30 mph. Under this alternative, by
     rear of the train. For example, in a 100-       to the voluntary agreements differing in January
     car train it could take up to 16 seconds        that it applies to HHFTs and not a Key
                                                                                                             1, 2021, any high-hazard
     as the brakes fully apply sequentially                                                         flammable unit train (HHFUT]
                                                     Crude Oil train. PHMSA and FRA
     from front-to-back. This lag in air brake       believe this alternative would result in       containing one or more tank cars loaded
     application time from the front to the          decrease in the number of tank cars           with   a Packing Group I flammable
    back of the train also can result in             punctured in a derailment by 13—16%           liquid, operating in excess of 30 mph
    significant in-train buff and draft forces. compared to conventional                           must have a functioning ECP brake
    These in-train forces can lead to wheel                                      braking
                                                     systems. This alternative was                 system that complies with the
    damage (e.g. slid flat spots) and can           considered but was not chosen.                 requirements of 49 CFR part 232,
    negatively impact rail integrity as these                                                      subpart G. Whereas all other HHFUTs
    flat spots create a vertical impact force       Alternative 3 (Applicable to Tank Car          must be equipped with operative ECP
    (“pounding”) on the rails. These are            Option 1 Only): Alternative 2, Plus ECP        brake systems by May 1, 2023, when
    major contributing factors to                   on All Newly Constructed and                   traveling in excess of 30 mph. This was
    derailments, in-train forces resulting          Retrofitted DOT Specification 117 Cars        the selected option.
    from the application of conventional air           This is the alternative proposed in the
   brakes also can directly contribute to           NPRM. Alternative 3 would require an          Impacts on Small Entities
    derailments, particularly in emergency          HHFT to be equipped and operated with
    situations, as freight cars can be                                                                Most small railroads affected by this
                                                    either a two-way EOT device, as defined rule do not operate at speeds
   forcefully bunched together when the                                                                                            higher
                                                    in 49 CFR 232.5 of this title, or DP, as      than the speed restrictions required or
   train is brought to a stop quickly. These defined in 49 CER 229.5 of this title.
   forces may also be amplified by the                                                            travel long distances over which the
                                                   Additionally, a tank car manufactured          reduced speed would cause a significant
   longitudinal slosh effect of a liquid           in accordance with proposed § 179.202
   lading, such as crude oil or ethanol.                                                          impact. Any small railroad that operates
                                                   or § 179.202—11 for use in a HHVT
   Such factors have led PHMSA and FRA would be equipped with ECP brakes.                         at  speeds 30 mph or less would also not
   to consider advanced brake signal               HHFTs comprised entirely of tank cars          be impacted by the braking requirement.
   propagation systems as a way to                 manufactured in accordance with               Additionally, in a February 12, 2014,
  improve safety in the transportation of          proposed § 179.202 and § 179.202—11           letter to the Secretary, ASLERA
  Class 3 flammable liquids by rail,               (for Tank Car Option; the PHMSA and           announced that they recommend to
  particularly with respect to longer trains FRA Designed Car, only], except for                 their members to voluntarily operate
  transporting 70 or more tank cars loaded required buffer cars, would be operated               unit trains of crude oil at a top speed of
  with Class 3 flammable liquids. These            in ECP brake mode as defined by 49            no more than 25 mph on all routes.
  more advanced systems have the                   CFR 232.5. To reduce the burden on                ASLRRA commented to the docket
  capability to stop trains more quickly           small carriers that may not have the          that small railroads often operate older
  and reduce the number of braking-                capital available to install new braking      locomotives, and that retrofitting those
  induced derailments.                             systems, we proposed an exception. If a locomotives to work with ECP brakes
                                                  rail carrier does not comply with the         would be cost-prohibitive. PHMSA
 Alternatives Considered
                                                  proposed braking requirements above,          believes that the railroads that have the
 Alternative 1: No Action Alternative—            we proposed that the carrier may              older locomotives hauling HHFTs are
 Status Quo                                       continue to operate HHFTs at speeds           the same railroads that would not be
                                                  not to exceed 30 mph.                         adversely impacted by operating trains
      If the braking requirements were not
 adopted, the damages estimated in the            Alternative    4: Tiered Braking              at   speeds of 30 mph or less.
 absence of this rulemaking would not be Requirements Based on HHFTs and                             The only small railroads that are
 reduced, where possible, by advanced             HHFUTs (Selected Alternative)                 likely to be affected by the braking
 braking options. This alternative would              This alternative would require that      requirements are those that have
 also impose no costs. This alternative           rail carriers transporting certain           relatively short mileage connecting two
 would also not codify voluntary                  quantities of flammable liquids to equip or more larger railroads, and that may
agreements between the Class I railroads trains with advanced braking systems.                 operate at speeds higher than 30 mph.
and the Department for Key Crude Oil             Specifically, this alternative would          Those railroads do not originate HHFT,
trains. While those voluntary                    require all HHFTs operating in excess of but let the larger railroads operate
agreements would remain in place, it             30 mph to have enhanced braking               HHFTs over their track. PHMSA
would not expand the requirements for            systems. At a baseline level, any train       believes that all HHFTs from larger
advanced braking to other trains                 that contains a continuous block of 20        railroads will be assembled so that
transporting flammable liquids that              or more loaded tank cars or a total of at     locomotives and cars with ECP brakes
have been identified as high risk, nor           least 35 loaded tank cars throughout the are kept together, so there will be no
would it include a requirement for ECP           train consist containing Class 3              speed restrictions imposed. Thus, the
braking systems. PHMSA and FRA have flammable liquids (an HHFT) must have speed restrictions will not result in
                                                                                                                                        any
not chosen this alternative.                     in place, at a minimum, a functioning         net impact on small entities.
   26734              Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

       5. Requirement Area 5—Classification of Alternatives Considered                               This revised definition narrows the
       Unrefined Petroleum-Based Products                                                         scope of affected offerors from those
                                                     Alternative 1: No Action Alternative—
      Adopted Action                                 Status Quo                                   offering all “mined liquids and gases” to
          The final rule requires any offeror of                                                  only “unrefined petroleum-based
                                                       The industry would continue the            products.” While the savings from the
      unrefined petroleum-based products for status quo and sample the material
      transportation to develop, implement,                                                       proposed definitions are not quantified,
                                                     based on the existing classification and     the clarification ensures that additional
      and update a sampling and testing              characterization methods. Rail
      program related to the classification and derailment and other accidents                    offerors will not be inadvertently
      identification of properties for                                                            impacted.
                                                     involving shipments of crude oil or
     packaging selection of these materials          other unrefined petroleum-based              Impact on Small Entities
      (see “Summary and Discussion of                products that have been improperly
     Public Comments” for plan details).                                                            PHMSA believes that there would be
                                                    classified may create potential risks for     an initial cost for each offeror of
     PHM5A believes that there would be an emergency responders. If PHMSA had
     initial cost for each offeror of                                                             approximately $3,002 for the first year,
                                                    adopted alternative 1, then there would and additional costs
     approximately $3,002 for the first year,                                                                            of $810 annually
                                                    be no added costs or benefits to the rule. thereafter, for a total value, discounted
     and additional costs of $810 annually
     thereafter, for a total value, discounted      Alternative 2: Require Sampling and          at 7 percent over 20 years, of $10,514.
     at 7 percent over 20 years, of $10,514.        Testing Program for Mined Liquids and        PHMSA believes that this adopted
    PHMSA believes that this adopted                Gases as Proposed in NPRM                    section will not significantly burden any
    section will not significantly burden any          Under this alternative, PHMSA would of these small entities.
    of these small entities.                        require a documented sampling and            6. Requirement Area 6—Notification
    Determination of Need                           testing plan for shippers of these mined
                                                                                                 Adopted Action
                                                    gases and liquids in transportation. This
        The offeror’s responsibility to classify plan would enable PHMSA and                        On May 7, 2014, DOT issued an
    and describe a hazardous material is a          shippers of this commodity to more           Emergency Order 116 (“the Order”)
    key requirement under the HMR.                  easily ascertain the specific                requiring each railroad transporting one
    Improper classification and failure to          classification and characteristics of the    million gallons or more of Bakken crude
    identify applicable material properties        commodity and help to minimize                oil in a single train in commerce within
   can have significant negative impacts on potential risks when responding                     the U.S. to provide certain information
                                                                                        to a
   transportation safety. Proper                   derailment and accident. Offerors would in writing to the SERCs for each state in
   classification is necessary ensure proper also certify that program is in place,             which it operates such a train. The
   packaging, operational controls, and            document the testing and sampling            notification made under the Order
   hazard communication requirements are program, and make program
                                                                                  information included estimated frequencies of
   met, all of which are important to              available to DOT personnel, upon             affected trains transporting Bakken
   mitigate the negative effects of a train        request.                                     crude oil through each county in the
   derailment or other hazardous materials            This option was proposed in               state, the routes over which it is
   incident.                                       rulemaking, but only offerors                transported, a description of the
        Whilethe classification of                 petroleum-based products (i.e.               petroleum crude oil and applicable
  manufactured products is generally well petroleum crude oil, liquefied                        emergency response information, and
  understood and consistent, unrefined             petroleum gas, and natural gas] were        contact information for at least one
  petroleum-based products potentially             analyzed for the [EPA and in the draft      responsible party at the host railroads.
  have significant variability in their           RIA. Commenters did not provide              In addition, the Order required that
  properties as a function of history,            sufficient data to justify expanding the     railroads provide copies of notifications
  location, method of extraction,                 definition beyond petroleum-based            made to each SERC to FRA upon request
  temperature at time of extraction, and          products. A detailed analysis of this        and to update the notifications when
 the type and extent of conditioning or           option is provided in the final RIA,, but Bakken crude oil traffic materially
 processing of the material.                      it is not adopted in this final rule.        changes within a particular county or
 Manufactured goods and refined                                                                state (a material change consists of 25
 products, by definition, are at the other        Alternative    3: Require Sampling  and      percent or greater difference from the
 end of the spectrum from unrefined or            Testing Program for Unrefined
                                                                                               estimate conveyed to a state in the
 raw materials. This means that the               Petroleum Based Products.
                                                                                               current notification]. In the August 1,
 physical and chemical properties are                 This is the alternative adopted in this 2014 NPRM, PHMSA proposed to codify
 more predictable as they are pure                rulemaking. Under this alternative,          and clarify the requirements of the
 substances or well-studied mixtures.             PHMSA requires a documented                  Order and requested public comment on
 PHMSA and FRA audits of crude oil                sampling and testing plan for offerors of the various parts of the proposal.
 loading facilities, prior to the issuance        unrefined petroleum-based products in            After careful consideration of the
 of the February 26, 2014. Emergency             transportation. This plan will enable        comments and after discussions within
Restriction/Prohibition Order, indicated PHMSA and shippers of this commodity PHMSA and FRA, we believe that for
that the classification of crude oil being to more easily ascertain the specific              the final rule using the definition of the
transported by rail was often based              classification and properties of the         HHFT for notification applicability is a
solely on a Safety Data Sheet (SDS). The commodity and help to minimize                       more conservative approach for
information is generic, providing basic          potential risks when responding to a         affecting safer rail transportation of
data and ranges of values for a limited          derailment or other accident. Offerors       flammable liquid material; and is a more
number of material properties. In these          must also certify that program is in         consistent approach because it aligns
instances, it is likely no validation of         place, document the testing and              with the changes to other operational
the information is performed at an               sampling program, and make program           requirements, including routing.
interval that would allow for detection          information available to DOT personnel,
of variability in material properties.           upon request.                                   11 Docket No. DOT—OST—
                                                                                                                         2014—0067 (Order).
                       Federal Register/Vol. 80, No. 89/friday,_May 8, 2015 /Rules and Regulations
                                                                                                                                     26735
         The primary intent of the Order was        burdens on small entities, because rail         Impacted on Small Entities
      to eliminate unsafe conditions and            carriers are already subject to the Order.
      practices that create an imminent                                                                Small entities affected by this
      hazard to public health and safety and        Alternative 2: Utilizing Rail Routing           provision have been providing
      the environment. Specifically, the Order POC for HHFTs                                        notification for crude oil shipments
      was designed to inform communities of                                                        under the Emergency Order. As the
      large volumes of crude oil transported           This alternative utilizes the contact       notification utilizes the contact
     by rail through their areas and to             information   language requirement that        information language requirement that
     provide information to better prepare          is already part of the additional              is already part of the additional
     emergency responders for accidents             planning requirements for                      planning requirements for
     involving large volumes of crude oil           transportation by rail found in § 172.820 transportation by rail found in § 172.820
     DOT issued the Order under the                 of the HMR. As provided in                     of the HMR the impact on the small
     Secretary’s authority to stop imminent         § 172820(g), each HHFT must identify a entities is included in the routing
     hazards at 49 U.S.C. 5121(d). The Order point of contact (including the name,                 impacts. For a discussion of those
     was issued in response to the crude oil       title, phone number and email address)          impacts see the routing section of the
     railroad accidents previously described, related to routing of materials identified FRFA.
     and it is in effect until DOT rescinds the in § 172.820 in its security plan and              7. Total Burden on Small Entities
     Order or a final rule codifies                provide this information to: (i) State
    requirements and supplants the                 and/or regional Fusion Centers                  Small Offerors Other Than Shippers
    requirements in the Order.                     (established to coordinate with state,             There will be no burden on small
        The adopted action is that DOT is          local and tribal officials on security         offerors that are not shippers, except
    removing the notification requirement          issues and which are located within the those who must classify mined liquids
    language proposed in the NPRM and is          area encompassed by the rail carrier’s          and gases. Those small entities will face
    instead using as a substitute the contact system); and (2) State, local, and tribal           a total cost, discounted at 7 percent over
    information language requirement that         officials in jurisdictions that may be          20 years, of $10,514 per small entity.
    is already part of the additional             affected by a rail carrier’s routing
                                                                                                  Small Shippers
    planning requirements for                     decisions and who directly contact the
   transportation by rail found in § 172.820 railroad to discuss routing decisions.                   The total impact per small shipper,
   of the HIvifi that now applies to HHFTs.                                                       before considering market forces,
                                                      This is the favored alternative since it
   As provided in § 172.820(g), each HHFT adds no additional cost and provides for discounted at 7 percent over twenty
   must identify a point of contact                                                               years, will be $1.134 million discounted
                                                  consistency of notification requirements at 7
   (including the name, title, phone                                                                    percent, and $1.672 million
                                                  for rail carriers transporting material         discounted at 3 percent, the costs of
   number and email address) related to          subject to routing requirements, i.e.
   routing of materials identified in                                                             upgrading tank cars. However, PHMSA
                                                 trains carrying: (1) More than 2,268 kg         believes   that small shippers can pass on
   § 172.820 in its security plan and            (5,000 lbs.) in a single carload of a           those costs to other parties in the supply
   provide this information to: (1) State        Division 1.1, 1.2 or 1.3 explosive; (2) a
   and/or regional Fusion Centers                                                                chain, because all shippers face the
                                                 quantity of a material poisonous by             same cost constraints.
   (established to coordinate with state,        inhalation in a single bulk packaging;
  local and tribal officials on security         (3) a highway route-controlled quantity         Small    Railroads
  issues and which are located within the of a Class 7 (radioactive) material;
                                                                                        and          The total impact per small railroad,
  area encompassed by the rail carrier’s         now (4) Class 3 flammable liquid as part discounted at 7 percent over twenty
  system); and (2) State, local, and tribal      of a high-hazard flammable train (as            years, will be $45,230, the cost of
  officials in jurisdictions that may be         defined in § 171.8). This option also           routing analysis.
  affected by a rail carrier’s routing           addresses security sensitive and                   PHMSA has identified no additional
  decisions and who directly contact the         business related confidentiality issues        significant alternative to this final rule
  railroad to discuss routing decisions.        that many comments addressed.                   that meets the agency’s objective in
  Determination of Need                                                                         promulgating this rule, and that would
                                                Alternative 3: Rescinding Emergency             further reduce the economic impact of
      Recent accidents have demonstrated        Order With No Corresponding                     the rulemaking on small entities.
 the need for action in the form of             Regulatory Change
 additional communication between                                                               F. Paperwork Reduction Act
 railroads and emergency responders to               This alternative effectively would
                                                                                                    Under the Paperwork Reduction Act
                                                return to the status quo prior to the
 ensure that the emergency responders                                                           of   1995, no person is required to
 are aware of train movements carrying          publication of the emergency order.
                                                                                                respond to an information collection
 large quantities of flammable liquid           This    EO  was  designed  to inform            unless it has been approved by 0MB
 through their communities in order to          communities of large volumes of crude           and displays a valid 0MB control
better prepare emergency responders for oil transported by rail through their                  number. Section 1320.8(d) of Title 5 of
accident response.                              areas and to provide information to            the CFR requires that PHMSA provide
                                                better prepare emergency responders for interested members of
Alternatives Considered                                                                                                   the public and
                                                accidents involving large volumes of           affected agencies an opportunity to
Alternative 1: No Action Alternative—           crude oil. As the primary intent of this       comment on information and
Status Quo                                     EO was to eliminate unsafe conditions           recordkeeping requests. In the August 1,
                                               and practices that created an imminent          2014 NPRM, PHMSA requested a new
     This alternative would maintain           hazard to public health and safety and          information collection from the Office of
implementation of the Order issued on          the environment removal of this order           Management and Budget (0MB) under
May 7, 2014. PHMSA estimated there             without a corresponding action to               0MB Control No. 2137—0628 entitled
are essentially no new costs associated        reduce the risk is not acceptable and           “Flammable Hazardous Materials by
with this alternative, and thus no             thus not selected.                              Rail Transportation.” PHMSA stated
   26736              Federal Register / Vol. 80, No. 89/ friday, May 8, 2015 / Rules and Regulations

      that the NPRM may result in an increase development and adherence to a                     prepare an information collection
      in annual burden and costs under 0MB         consistent and comprehensive sampling notice.
      Control No. 2137—0628 due to proposed and testing program, and to provide
      requirements pertaining to the creation      oversight for such a program.                 George Washington University
      of a sampling and testing program for                                                        The George Washington University
      mined gas or liquid and rail routing for     Waterkeeper Alliance
                                                                                                 urged PHMSA to be consistent with the
      HHFTs, routing requirements for rail            The Waterkeeper Alliance noted that        requirements of the Paperwork
     operators, and the reporting of incidents according to the proposed regulations,            Reduction Act, and with the text of its
     that may occur from HFFTs.                    the new sampling and testing program          proposal. The George Washington
        In the NPRM, we requested comment must be “documented in writing and                    University added PHMSA should
     on whether PHMSA should require               retained while it remains in effect.”        commit to collecting the information
     reporting of data on the total damages        Specifically, PHMSA is requiring that        needed to measure the rule’s success.
     that occui as a result of train accidents     offerors keep on hand the most recent
     involving releases of hazardous              versions of the program documentation, Sampling and Testing Plans
     material, including damages related to       provide that version to employees                In the NPRM PHMSA used data from
     fatalities, injuries, property damage,       responsible for conducting the testing,       the Hazmat Intelligence Portal from June
     environmental damage and clean-up            and provide documentation to the DOT          2014. For the Final Rule PHMSA pulled
     costs,. loss of business and other           upon request. Waterkeeper                     updated data from November 2014 and
     economic activity, and evacuation-           recommended that PHMSA should, at a now estimates that there will be
    related costs. Currently, PHMSA only          minimum, require that this information approximately 1,804 respondents up
    collects some of this information, and        be submitted to FRA (and the public,          from 1,538, based on a review of
    data verification is inconsistent.            upon request) and be kept on hand with relevant active registrations on the
    Further, we requested comments on             the railroad or offeror so that               PHMSA Hazmat Intelligence Portal,
    whether PHMSA should require                  responsible packaging decisions can be        each developing an average of one
    reporting on every car carrying               made based on that data.                     sampling and testing plan each year.
   hazardous material that derails, whether          PHMSA did not propose requiring           First year hourly burden is estimated at
    that car loses product or not. Such          third-party involvement with testing or       40 hours per response, or 72,160 burden
   reporting would assist PHMSA in               submitting test results to a third party in hours; hourly burden for each
   assessing the effectiveness of different      the NPRM and, as such, is not adopting        subsequent year is estimated at 10 hours
   kinds of cars in containing the               any such requirements. PHMSA did not per response. or 18,040 burden hours.
   hazardous materials that they carry. In       propose regulatory changes to                 PHMSA assumes a Chemical Engineer is
   response to the NPRM, PHMSA received classification test procedures, and as                 the labor category most appropriate to
   general comments from the following           such, is not adopting any such                describe sampling methodologies,
   individuals related to information            requirements. Furthermore, in the            testing protocols, and present test
   collection:                                   NPRM, PHMSA stated that we are not           results. The mean hourly wage for a
   American Fuel & Petrochemical                 proposing a requirement for the              Chemical Engineer was $45.56 in 2014,
   Manufacturers (AFPM)                          retention of test results.                   according to the Bureau of Labor
                                                 Bridger LLC                                  Statistics. We inflate this wage by 60
       The AFPM commented that the                                                            percent to account for fringe benefits
   criteria for modifying the sampling and          In the August;, 2014 NPRM, PHMSA and overhead
  testing program and what it seeks to                                                                         of $27.94 per hour, for a
                                                 posed the question, “PHMSA assumes           total weighted hourly wage of $75.05. At
  address is vague. It adds that this will      no unjacketed tank cars would be in PG an average
  be another unnecessary paperwork                                                                         hourly cost of $75.05 per
                                                I service in 2015 and 2016, in the            hour, first year burden cost for this
  requirement with no corresponding             absence of this rule. Does this
  benefit. The AFPM survey and other                                                          proposed requirement is estimated at
                                                assumption match the expected service         $5,415,605.00; burden cost for each
  studies confirm that Bakken Crude oils        of unjacketed tank cars?” Bridger firmly subsequent
  are correctly classified. They maintain                                                                  year is estimated at
                                                answered no, and in its comments              $1,353,902.0
  that identification of flammable liquids                                                                  0.
                                                asserted, “Bridger note [dl that PHMSA
  by geographic, regional, or even a            assumes no non-jacketed tank cars            Routing—Collection by Line Segment
  particular country of origin serves no        would be in PG I service in 2015 and             PHMSA estimates that there will be
  known purpose except to impose                2016, in the absence of this rule. Bridger approximately 170 respondents (10 for
 unnecessary paperwork requirements.            adds that, “PHMSA is under a mistaken Class II Railroads; 160 for Class Ill
      We disagree that expanding existing       belief that railcar manufacturers have       Railroads) each submitting an average of
 classification requirements will not           stopped marketing railcars that are not      one routing collection response each
 impact transportation safety. PHMSA            Enhanced CPC—1232 railcars.” Further,        year, and each subsequent year. Hourly
 and FRA audits of crude oil facilities         Bridger LLC stated that “before PHMSA burden is assumed to be 40 hours per
 indicated the classification of crude oil      makes this key assumption regarding          response, or 6,800 burden hours each
 transported by rail was often based           the rule, it should require the railcar      year. PHMSA used a labor rate that
 solely on a SDS. While the classification manufacturers to provide accurate data           combines two employee groups listed in
 of manufactured products is generally         and information regarding its marketing the Bureau of Labor Statistics May 2012
well-understood and consistent,                and manufacturing activities, issuing an Industry-Specific Occupational
unrefined petroleum-based products             information collection notice if             Employment and Wage Estimates:
potentially have significant variability       necessary.” Based on the substantive         NAICS 482000—Rail Transportation
in their properties as a function of time, public comment received in response to occupational
location, method of extraction,                                                                             code 11—0000
                                               the NPRM, in this final rule, PHMSA is       “Management Occupations” and
temperature at time of extraction, and         confident its revised assumptions            occupation code 43—6011 “Executive
the type and extent of conditioning or         regarding fleet composition and new          Secretaries and Executive
processing of the material. As such, we        and existing outstanding tank car order      Administrative Assistants.” A
feel it is necessary to require                configurations precludes the need to         combination of these two groups will
                       Federal Register / Vol. 80, No. 89 / Friday, May 8, 2015 / Rules and Regulations                                 26737
      probably be utilized to perform the         cost of $62.95 per hour, subsequent year                  Total Annual Number of
      requirements in this proposed rule. The burden cost for Class II Railroads is                      Respondents: 1,989.
      average annual wages for these groups       estimated at $49,800.00. Class Ill                       Total Annual Responses: 2,559.
     are $100,820 and $54,520 respectively.      Railroads are expected to submit 320                      Total Annual Burden Hours: 29,029.
     The resulting average hourly wage rate,     routing security analysis responses per                   Total Annual Burden Cost:
     including a 60 percent increase to          year, with each response taking                         $2,037,988.
     account for overhead and fringe             approximately 8 hours, or 2,560 hours.                    Requests for a copy of this
     benefits, is $62.25. At an average hourly At an average hourly cost of $62.95 per                   information collection should be
     cost of $62.25 per hour, burden cost for    hour, first year burden cost for Class III             directed to Steven Andrews or T. Glenn
     the first year and each subsequent year     Railroads is estimated at $159,360.00.                 Foster, Office of Hazardous Materials
     is estimated at $423,300.00.                Railroads will also be required to                     Standards (PHH—12), Pipeline and
    Routing Security Analysis                    provide an alternate routing security                  Hazardous Materials Safety
                                                 analysis. For each subsequent year,                    Administration, 1200 New Jersey
        For the first year, PHMSA estimates      PHMSA estimates that there will be                     Avenue SE., Washington, DC 20590-
    that there will be approximately 170                                                                0001, Telephone (202) 366—8553.
                                                 approximately 170 respondents (10 for
    respondents (10 for Class II Railroads;
                                                 Class II Railroads; 160 for Class ifi                  G. Environmental Assessment
    160 for Class ifi Railroads). Class II
    Railroads are expected to submit 170         Railroads). Class II Railroads are
                                                 expected to submit 40 routing alternate                   The National Environmental Policy
    routing security analysis responses per                                                             Act of 1969 (NEPA) (42 U.S.C. 4321—
    year, based on the number of feasible        security  analysis   responses      per  year,
                                                 with each response taking                              4375), requires that Federal agencies
    alternate routes to consider after future                                                           analyze the environmental impacts of
    possible network changes, with each          approximately 12 hours each, or 480
                                                 hours.  At  an  average   hourly                       proposed actions. If an agency does not
    response taking approximately 80 hours                                           cost   of
                                                $62.95 per hour, subsequent year                        anticipate that a proposed action will
   each, or 4,000 hours. At an average                                                                 have   a significant impact on the
   hourly cost of $62.25 per hour, first year burden cost for Class II Railroads is                    environment, the Council on
   burden cost for Class II Railroads is        estimated    at $29,800.00.      Class  Ill
                                                Railroads are expected to submit 160                   Environmental Quality (CEOJ
   estimated at $249,000.00. Class UT                                                                  regulations provide for the preparation
   Railroads are expected to submit 320         alternate routing security analysis
                                                responses per year, with each response                 of an environmental assessment tEA) to
   routing security analysis responses per                                                             determine     whether a proposed action
   year, with each response taking              taking   approximatel     y  2 hours, or 320
                                                hours. At an average hourly cost of                    has significant effects and therefore
   approximately 40 hours, or 12,800                                                                   requires an environmental impact
   hours. At an average hourly cost of          $62.95 per hour, first year burden cost
                                                for  Class Ill Railroads     is estimated at           statement or finding of no significant
  $62.25 per hour, first year burden cost                                                              impact (FONSI]. The EA must include
   for Class Ill Railroads is estimated at      $19,920.00.
                                                                                                       discussions of (i) the need for the
  $796,800.00. Railroads will also be           Incident Reporting                                    proposed action, (2) alternatives to the
  required to provide an alternate routing                                                            proposed action as required by NEPA
  security analysis. Class II Railroads are        PHMSA estimates there will be 289
                                               incidents    over   20 years,    for an average        section 102(2)(E), (3) the environmental
  expected to submit 40 routing security                                                              impacts of the proposed action and
  analysis responses per year, based on        of 15 incidents per year, involving the
                                               derailment and release of crude oil!                   alternatives, and (4) the agencies and
  the number of feasible alternate routes                                                             persons consulted (40 CF’R 1508.9(b)).
  to consider after future possible network ethanol. Each report would be                                 This Final EA includes responses to
 changes, with each response taking            submitted     by  a single   respondent      and
                                               would take approximately 2 additional                  public comments received on the EA in
 approximately 120 hours eich, or 4,800
 hours. At an average hourly cost of           hours to submit per response, compared the NPRM. One change in the Final EA
                                               to  the current requirements. At an                    is the addition of an alternative in
 $62.25 per hour, first year burden cost                                                              response to various comments for
 for Class II Railroads is estimated at        average hourly cost of $62.95 per hour,
                                               burden cost is estimated at $1,825.55.                 expedited DOT Specification lii (DOT—
 $298,800.00. Class Ill Railroads are
 expected to submit 160 alternate routing      We    do not  currently    have    sufficient   data ill) tank car usage discontinuance,
                                              to estimate the number of respondents                   “Alternative of 2018 Removal of DOT—
 security analysis responses per year,                                                                111 Tank Cars from Service.” PHMSA
 with each response taking                     and   responses    that  would     be required    if
                                                                                                     has likewise not carried the “ANPRM
 approximately 20 hours, or 3,200 hours. PEflvISA extended incident reporting                        Alternative,” found in the NPRM draft
 At an average hourly cost of $62.25 per      requirements to derailments not
                                              involving    a  product    release.                    EA, forward in this Final EA. This is
 hour, first year burden cost for Class III
                                                                                                     because the ANPRM included several
 Railroads is estimated at $199,200.00.       Total
      PHMSA assumes that new route                                                                   actions that are not within the scope of
 analyses are necessary each year based           We estimate that the total information this rulemaking. As discussed below,
 on changes in commodity flow, but that collection and recordkeeping burden for PHMSA considered, but eliminated
after the first year’s route analyses are     the requirements as specified in this                  from detailed consideration, an
completed, analyses performed on the          final   rule will  be  as follows:                     immediate      removal of DOT—ill tank
same routes in subsequent years will              0MB No. 2137—0628, “Flammable                      cars. Lastly, this Final EA now also
take less time. For each subsequent year, Hazardous Materials by Rail                               includes additional data and
PHMSA estimates that there will be            Transportatio     n”  First  Year    Annual           calculations      to support discussions.
approximately 170 respondents (10 for         Burden:
                                                  Total Annual Number of                            1.   Need   for the  Proposal
Class II Railroads; 160 for Class Ill                                                                    The purpose of this rulemaking is to
                                              Respondents: 1,989.
Railroads]. Class II Railroads are                Total Annual Responses: 2,559.                    address serious safety and
expected to submit 50 routing security            Total Annual Burden Hours: 103,789. environmental concerns revealed by
analysis responses per year, with each           Total Annual Burden Cost:                          recent train accidents involving high
response taking approximately 16 hours $7,384,533.55.                                               hazard flammable trains (HHFTs]. This
each, or $00 hours. At an average hourly         Subsequent Year Burden:                            final rule is designed to lessen the
   2673$                   federal Register/Vol. 80, No. 89/friday, May 8, 2015/Rules and Regulations

    frequency and consequences of train         recommendations regarding accurate                Finally, no action would continue the
    accidents involving the unintentional       classification, enhanced tank car             status quo with regard to braking
    release flammable liquids from HHFTs.       integrity, rail routing, and oversight.       systems. The final rule proposes a two-
    The purpose of the regulations for                                                        tiered, cost-effective and risk-based
    enhanced tank car standards and             2.  Alternatives
                                                                                              solution to reduce the number of cars
    operational controls for high-hazard           In developing this rule, PHMSA             and energy associated with train
    flammable trains is to prevent spills by   considered the following alternatives:
   keeping flammable liquids, including                                                       accidents. Without action, the current
                                               No Action Alternative                          braking systems would continue to be
   crude oil and ethanol, in rail tank cars
   and mitigating the severity of incidents                                                   used and the highest-risk train sets
   should they occur.                              In the no action  alternative, PFIIvISA    (larger HHFTs) would continue using
      U.S. crude oil production has risen      would not issue a final rule, and the          the same braking systems.
   sharply in recent years, with much of       current regulatory standards would             Selected Alternative
   the increased output moving by rail. In     remain in effect. This would allow for
   2008, U.S. Class I railroads originated     the indefinite continued use of the               The selected alternative, which was
   9,500 carloads of crude oil. In 2013, the  DOT—ill tank cars to transport crude           originally discussed in the draft EA, and
   number of rail carloads of crude oil       oil and ethanol.                               is more fully discussed in the preamble
   surpassed 400,000. The Association of           In addition, the no action alternative    has a phase-out schedule depicted in
  American Railroads (AAR) reported           would result in no new operational             Table EA1 below. The amendments
   229,798 carloads in the first half of      controls. Specifically, a classification       included in this alternative are more
  2014. In 2013, there were over 290,000      and sampling plan would not be                 fully addressed in the preamble and
  carloads of ethanol originated in the       adopted. Selection of the no action            regulatory text sections of this final rule.
  United States. This data suggests an        alternative would not include mandates However, they generally include:
  increasing need to transport flammable      to sample and test materials, and                  • New defined term of “High-hazard
  liquids by rail.                            carriers/offerors might engage or              flammable train;”
      The growing reliance on trains to       continue to engage in the practice of              • Rail routing requirements as
  transport large volumes of flammable       using inaccurate safety data sheets             specified in Part 172, Subpart I of the
  liquids, particularly crude oil and         (SDSs) to classify their products. HHFT        HMR;
  ethanol, under the current regulatory      carriers also would not be required to
  framework, poses a risk to life, property, consider the 27 safety and security                • Sampling and testing program
 and the environment. These risks of         factors to determine routing. Moreover,        designed to ensure proper classification
 HHFTs have been highlighted by the                                                         and characterization of unrefined
                                             if PHMSA selected the no action
 recent derailments of trains carrying       alternative, the requirement to                petroleum-ba    sed products;
 crude oil in Casselton, North Dakota;       communicate with state and/or regional             • Phase in requirements for updated
 Aliceville, Alabama; Lac-Mégantic,          fusion centers about routing decisions         braking devices and braking systems;
 Quebec, Canada and Mount Carbon,            would not take effect, and information             • Speed restrictions for rail cars that
 West Virginia and recent derailments of would not be as easily available to                do not meet the safer DOT—117
 trains carrying ethanol in Arcadia, Ohio authorized personnel.h17 If PHMSA                 standard; and
 and Cherry Valley, Illinois. This rule      selected the no action alternative, no            • Phase-out DOT—ill cars in HHFTs
 also addresses the National                 new speed restrictions would take              and require DOT—l;7 for such HHFTs,
 Transportation Safety Board (NTSB)          effect.                                       -as follows.h18
        TABLE EAY—TIMELINE FOR CONTINUED USE OF DOT SPECIFICATION lii (DOT—ill)
                                                                                                                    TANKS FOR USE IN HHFTs
                                                  Tank car type/service                                                                 Retrofit deadline
 Non Jacketed DOT—ill tank cars in PG I service
                                                                                                                             (January 1, 2017).
Jacketed DOT—if 1 tank cars in PG I service                                                                                  January 1, 2018.
Non-Jacketed CPC—1 232 tank cars in PG I service                                                                             March 1, 2018.
Non Jacketed DOT—ill tank cars in PG II service                                                                              April 1, 2020.
Jacketed DOT—li 1 tank cars in PG II service                                                                                 May 1, 2023.
Non-Jacketed CPC—l 232 tank cars in PG II service                                                                            May 1, 2023.
Jacketed CPC—1232 tank cars in PG I and PG II service** and all remaining tank cars carrying                                 July 1, 2023.
                                                                                                     PG Ill materials in an May 1, 2025.
  HHFt (pressure relief valve and valve handles).
  *The January 1, 2017 date would trigger a retrofit reporting
                                                                   requirement, and tank car owners of affected cars would have to report to DOT the
number of tank cars that they own that have been retrofitted, and the number that have not
    We anticipate these will be spread out throughout the 120 months and the retrofits will yet
   **                                                                                              been retrofitted.
                                                                                                take place during normal requalification and mainte
nance schedule, which will likely result in fleet being retrofit sooner.


Alternative of 2018 Removal of DOT—               accelerated schedule than the selected               Jacketed DOT—ill tank cars in PG II
ill Tank Cars From Service                        alternative. Specifically, for the                   service, and Jacketed DOT—ill tank cars
  This alternative includes the same              purposes of analyzing this alternative in            in PG I and PG II service would all be
amendments as the selected alternative            the environmental assessment, the                    expedited to meet a deadline of October
above, but would discontinue the use              retrofit deadlines for Non Jacketed                  1, 2018 (41 months]. In this
DOT—ill cars in HHFTs on a more                   DOT—ill tank cars in PG I service, Non               environmental assessment and its
  117 Fusion
             centers serve as first responder       118    preferred alternative in the NFRM           for PG I service, October 1, 2018, for PG I service,
emergency communication networks.                 included a compliance deadline of October 1, 2017,   and October 1, 2020, for PG III service.
                     federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations                           26739

  analysis, all references to an expedited      construction. This would lead to market mitigation is to decrease impacts to
  phase-out of DOT—ill tank cars by 2018        uncertainty and leave important safety       environmental media such as air and
  refer to this specific population of DOT—     benefits unrealized.                         water.
  111 tank cars in PG I and PG II service          If PHMSA selected the no action              Next, the requirement for offerors to
  only.                                         alternative, the safety benefits of the      develop sampling and testing plans is
    Alternatives Considered but Not Carried sampling program would not be                    intended to ensure that unrefined
    Forward                                     realized. These requirements are             petroleum products are properly
                                                intended to ensure the proper safety         characterized to ensure that: (1) The
      PHMSA received a range of comments precautions are applied to each carload. proper regulatory requirements are
    asking that it consider an immediate ban Without these protections, first                applied to each shipment to minimize
    or other expedited discontinuance of all responders could face greater challenges the risk of incident, (2) first responders
    DOT—ill tank cars for crude and             in responding to incidents, and their        have accurate information in the event
   ethanol transport. PHMSA considered          efforts could be less effective at           of a train accident, and (3) the
   the impacts of immediately banning the mitigating the impacts of a release.               characteristics of the material are known
   use of the DOT—ill tank car in HHFTs.           Selection of the no action alternative    and fully considered so that offerers and
   However, PHMSA concluded in the             would also not include requirements to        carriers are aware of and can mitigate
   regulatory impact analysis (RIA)            share routing selection information with potential threats to the integrity of rail
   included in this rulemaking that an         state authorities and/or fusion centers.     tank cars. PHMSA believes that this
   inmiediate ban of the DOT—ill tank car This requirement is intended to aid first provision will reduce the risk of release
   is not a reasonable alternative because     responders to best respond to incidents       of these materials.
   the rail industry could not replace rail    to mitigate the effects of a release.           PHMSA has calculated in the RIA that
   cars immediately and would not be able         If PHMSA selected the no action           braking and speed restrictions,
   to immediately switch to other              alternative, speed restrictions would not especially for older DOT—ill tank cars,
   transportation modes. This would cause take effect. Speed restrictions decrease          will reduce the likelihood of train
  supply chain disruptions, increased          the kinetic energy involved in accidents accidents that result in the release of
  shipping costs, and increased reliance       and are intended to decrease the amount flammable liquids. PHMSA has also
  on trucks to make up for lost transport      of hazardous materials released when a       shown that the braking requirements
  capacity. This increased reliance on         derailment or incident occurs.               could improve fuel efficiency, thereby
  trucks could have detrimental                Similarly, the no action alternative         reducing greenhouse gas emissions. The
  environmental and safety implications.       would not include the safety benefits of effective use of braking on a freight train
  As such, PHMSA concluded that a ban          more advanced braking systems to             can result in some accident avoidance.
  by 2016 would be impractical.                reduce the likelihood or severity of         In addition, the effective use of braking
  Therefore, PHMSA more fully examined derailments.                                         on a freight train can potentially lessen
  the impacts of a schedule that would                                                     the consequences of an accident by
  phase out the use of all DOT—ill tank       Selected   Alternative
                                                                                            diminishing in-train forces, kinetic
  cars in PG I and PG II service by 2018,         In considering the various                energy, etc., which can reduce the
 which is more aggressive than the            alternatives, PHMSA analyzed the              likelihood of a tank car being punctured
 selected alternative.                        following potential environmental            and decrease the likelihood of a
                                              impacts of each amendment in the             derailment. Lessening the likelihood of
  3. Environmental Impacts of the             selected alternative.
 Selected Action and Alternatives No-                                                      derailments translates into a reduction
                                                  The extension of the existing rail       in the probability of releases into the
 Action Alternative:                          routing requirements in 49 CFR 172.820 environment.
     If PHMSA were to select the no-action to include HHFTs will require that rail            These benefits are amplified when a
 alternative, current regulations would       carriers consider safety and security risk train operates in ECP brake mode,
 remain in place, and no new provisions factors such as population density along particularly as train length increases to
 would be added. However, the safety          the route; environmentally-sensitive or      70 or more cars. The system-wide
 and environmental threats that result        significant areas; venues along the route implementation of ECP brakes on high-
 from the increasing use of HHFTs would (stations, events, places of                       hazard flammable unit trains also will
 not be addressed. The existing threat of     congregation); emergency response            potentially improve the efficiency of the
 derailment and resulting fire, as            capability along the route; etc., when      rail system by permitting trains to run
 exhibited in serious accidents like Lac      analyzing and selecting routes for those closer together because of the improved
 Mégantic, Quebec, which resulted in 47 trains. Use of routes that are less                performance of the brake system. The
 fatalities, and Aliceville, Alabama,        sensitive could mitigate the safety and       final rule cites business benefits related
 where we estimate that 630,000 gallons      environmental consequences of a train        to operating in ECP brake mode (e.g.,
 of crude oil entered navigable waters,      accident and release, were one to occur. reduced fuel consumption, longer
 destroying a several acres of wetlands      It is possible that this requirement and     inspection intervals, real time
 and forest, would continue. Clean-up is     consideration of the listed risk factors     diagnostics, greater control stopping and
 ongoing for both of these accidents. For    could cause rail carriers to choose          starting etc.) Additionally, system-wide
more information on safety and               routes that are less direct, potentially     implementation of ECP brakes will
environmental risks, please see the RIA. increasing the emission of greenhouse            improve the efficiency of the rail system
     As noted in the Final Rule, NTSB has gases and other air pollutants. PHtvISA,        by permitting trains to run closer
identified these tank cars as vulnerable     however, concluded that the reduction        together because of the improved
to puncture. No action would allow for       in risk to sensitive areas outweighs a       performance of the brake system.
the long term continuation of                slight increase in greenhouse gases.             PHMSA concluded that the phasing-
transportation of flammable liquids by       Furthermore, consideration of                out of DOT—ill tank cars in HHFTs will
rail in large volumes in the DOT—ill         emergency response capabilities along        reduce risk of release because of the
tank car. In addition, if no action were     the route could result in better             improved integrity and safety features of
taken PHMSA would not adopt the              environmental mitigation in the event of the DOT-117. The DOT-ll7 will
DOT—117 tank car standard for new            a release. The purpose of environmental provide bottom outlet protection and a
  26740               federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations

    high capacity pressure relief valve. To       of tank cars will be built to the new                 Highway transportation is more
     improve integrity and puncture               standard.                                             polluting both in terms of air pollutants
    resistance of the tank, DOT—i 17 has a                                                              and hazardous materials released due to
    full-height /2 inch minimum thickness         Alternative of 2018 Removal of DOT—
                                                  ill Tank Cars from Crude Oil and                      incidents. Furthermore, highway
    head shield, an 11-gauge jacket, and a                                                              transportation has higher fatality and
    s/re inch shell. This is a significant
                                                  Ethanol Service
                                                                                                        injury rates. PHMSA’s analysis
    improvement compared to the existing             If PHMSA were to select the                        concluded that a 2018 removal of the
    DOT—li;, which has no head shield, or provisions of this additional Final EA                        DOT—ills would cause increased air
    jacket requirement and is constructed         alternative, we recognize that some                   pollutant emissions in 2019, for both
    with a /i inch thick shell.                   safety   and environmental risks could be rail and truck modes of transportation.
       The DOT—117 tank car must have a           reduced in the short-term. For example,
                                                                                                          Furthermore, PHMSA had to consider
   thermal protection system, capable of          due to improved integrity of new tank                 the costs of such a drastic regulatory
    surviving a 100-minute pooi fire after a      cars,  such    as puncture     resistance and         change to industry, energy production,
   train accident. The 100-minute                thermal protection, rail incidents would
                                                 be   less  likely                                      and the public. Comments submitted by
   survivability period is intended to                              to result   in  release  of
   provide emergency responders time to          crude oil or ethanol to the environment. industry indicated that costs imposed
                                                                                                        by a 2018 complete removal of the
   assess an accident, establish perimeters, Also, the releases that still occurred                     entire DOT 111 fleet would be
   and evacuate the public as needed. This       would     likely   be smaller    in  volume.
                                                                                                        prohibitive and that such an action
   thermal protection is critical in limiting These avoided or decreased release                       would   potentially disrupt supply,
   human health risks to the public and          amounts would avoid increased water,
                                                 soil,  and    air pollution.    PHMSA                 which could affect the public in the
   first responders and limiting                                                                       form of higher energy prices. Further,
   environmental damage in the event of a recognizes that derailment of HHFTs                          such a sudden removal would greatly
   train accident. The introduction of the       has resulted in water, soil, and air
                                                 pollution.      Such  releases    also  pose   risk   constrain the capacity of manufacture
   new DOT—117, along with the phase-out                                                               and repair required for other tank cars,
   of the DOT—ill used in HHFTs will             to human health and public safety.
                                                     PHMSA       examined     and    performed a       potentially  resulting in shortages for
  result in the manufacturing of some new                                                              transport of other commodities.
                                                 quantitative analysis of a 2018 phase-
  tank cars to replace retirements and to                                                                 PHMSA weighed the benefit of
                                                 out alternative in this Final EA, which
  accommodate new investment. PHMSA includes                                                           reductions in releases from rail
  recognizes that performed a quantitative                    an expedited phase out of all
                                                 DOT—ills                                              accidents that would result from the
  analysis the newer tank cars are heavier PHMSA in PG 1 and PG II service.                            2018 removal of DOT—ill tank cars
                                                              used this alternative, which
  such that their transport will result in      requires removal from service of all                   against increased air pollution and
  somewhat greater use of fuel and in turn DOT—ill                                                     highway accidents, often resulting in
  greater release of air pollutants,
                                                                tank cars for transport of
                                                crude oil and ethanol by the end of                    releases, that would result from a
  including carbon dioxide. However,             2018, as a quantitative baseline. In its             temporary modal shift, along with
  PHMSA has discussed in the RIA that           analysis of the full impacts of removal                extremely high cost to industry and the
  the increased integrity of the tank cars,     of DOT—ill tank cars by the end of                    public, and the other regulatory
  designed to reduce the risk of release of 2018, PHMSA found disadvantage                            provisions in this rulemaking that are
                                                                                               s to
  high-hazard flammable materials to the        this alternative. As explained more                   also aimed at reducing derailments and
  environment, causing air and likely           specifically in Appendix A, the                       releases. Upon consideration of all these
  water pollution, positively outweighs a       transportation capacity lost to the                   factors, PHMSA recognizes the need to
 relatively small increase in air               retirement of the DOT—Ill tank cars                   upgrade the rail car fleet, but found that
 pollution.                                     would likely cause crude and ethanol                  a targeted phase-out of the DOT—ill
      While the nature of the phase-out is      transportation to be shifted to truck!                tank cars was the most prudent and
 intended to minimize the unintended            highway transportation (i.e. “modal                   protective approach.
 impacts of an accelerated phase-out,           shift”). Trucks already figure
 increased manufacture of replacement           prominently into the supply chains for                4.  Discussion of Environmental hnpacts
 rail tank cars could nevertheless result      both crude’19 and                                      in  Response to Comments
                                                                          ethanol,120    although
 in greater short-term release of              so far there has been limited evidence                    PHMSA received various comments
 greenhouse gases and use of resources          of large scale long-haul shipments of                 on this rulemaking. Some commented
 needed to make the new tank cars, such crude oil from wells to refineries.121 A                      directly on the NPRM EA, while others
 as steel. PHMSA, however, concluded           shortage of rail tank cars would make                  commented more generally on the rule
 that these possible temporary increases       highway transportation a more viable                   while focusing their comments on
are far outweighed by the increased            option for long-haul transportation.                   environmental mailers. We have tried to
 safety and integrity of each railcar and                                                             address both types of comments here.
each train and the decreased risk of               ‘10See: Davies, Phil (2013). “Busting bottlenecks
release of crude oil and ethanol to the        in the Bakken.” Federal Reserve Bank of               Rail Capacity/Modal Shift/Rail Tank Car
environment. The phase out of older           Minneapolis. https://www.minneapolisfed.org/           Phase-Out
                                              publications/fedgazefte/busting-boftlenecks-in-the
tank cars will not create a solid waste       bakken. Over 70 percent of crude oil in North              The RSI’s comments suggested that
burden on the environment because             Dakota is shipped to a pipeline or rail terminal by    PHMSA’s proposed retrofit schedule
they will be recycled. Any                    truck.                                                 could result in modal shift. RSI
environmental burdens will be limited             “°See: Bevil, Kris (2011). “By Train, By Truck.
                                              or By Boat: How Ethanol Moves and Where it’s           suggested that from 2015—2025, over-
to energy inputs and pollutants from the Going.” Ethanol Producer Magazine. The                      the-road trucks needed to replace railcar
recycling and manufacture processes,          percentage of ethanol moved by long-haul truck is      capacity would emit 6.41 million more
which we do not expect to be significant believed to be 20 percent.                                  tons of carbon dioxide (C02) than the
since in the absence of this rule, the            121 See: Sheppard,
                                                                      David, and Nichols, Bruce      railcars would have had they been
same number of tank cars would                (2011). “Insight: Oil Convoy Blues: Trucking Game
                                              Foils Crude Traders.” New York: Reuters. http://       permitted to remain in service. PHMSA
eventually be built. The only difference      www.reuters.com/artic1e/201 1/7 0/14/us-cushing-       received similar comments from Archer
under this rule is that the same number       trucks-1dUSTRE 79D00P201 11074.                        Daniels Midland (ADM).
                        Federal Register/Vol. 80, No. 89/Friday, May 8, 2015/Rules and Regulations                                                26741

    The selected alternative considers        lost rail car capacity that would require                  manufacturers. Because crude oil and
  comments submitted by the RSI with          more shipments by truck), and thus no                      ethanol producers would still need to
  regard to the retrofit capacity of rail     modal shift will occur under the final                     move their products, the lack of suitable
  yards and the build capacity of tank car nile; the final rule was carefully drafted                    tank cars would likely result in modal
  manufacturers. PHMSA has carefully         to avoid modal shift.
 considered retrofit and build capacity,                                                                 shift from rail transportation to highway
                                                Nonetheless, in order to better address                  transportation, which would result in
 and concluded that its selected             comments received in response to the
 alternative will not result in any shift to NPRM (relating to environmental                             greater air pollution. The backlog of
 highway transportation due to shortages matters) and NPRM EA, PHMSA                                     orders would be eliminated after 2019,
 of compliant tank cars. PHMSA agrees        simulated the impact of a schedule in                       which would result in a shift back to
 that shifting transportation to highway     which DOT—ill tank cars in PG I and                         rail, eliminating related increased
 would increase emissions and the risk       PG II service would be phased out by                        emissions. Under the selected
 of incidents due to higher rates of         2018, which was proposed in the NPRM                        alternative, a mode shift does not occur.
 highway traffic incidents than rail         and supported by some environmental                         Table EA2 provides PHMSA’s analysis
 incidents. However, under this final        organizations. The full details of this                     of increased emissions resulting from a
 nile, as explained in more detail below, analysis are provided in Appendix A.                           2018 phase-out of DOT—ill tank cars.
 PHMSA concluded that there will not         Such a scenario would lead to increased                     As stated previously, due to increased
 be any losses of capacity from retrofits    retirements and unplanned new orders                        modal shifts that would be necessitated,
 or excessive retirements of tank cars that of tank cars. Initially, these new orders                    we expect magnified pollution and
 will lead to a backlog of new tank car      plus existing planned orders would                          negative safety effects for phase-outs
 orders (such a backlog would represent      exceed the build capacity of rail car                       prior to 2018.
        TABLE EA2—EXcE5S EMISSIONS OF CRITERIA AIR POLLUTANTS AND CARBON DIOXIDE UNDER 2018 PHASE-OUT
                                      SCHEDULE OF DOT—ill TANK CARS

                                                                Hydrocarbons            Carbon           Oxides of         Particulate        Carbon
                         Year/tons                              (HC, including         monoxide          nitrogen            matter           dioxide
                                                               volatile for truck)       (CO)             (NOx)              (PM)              (CO2)
 2075                                                                           0                 0                0                  0
 2016                                                                                                                                                  0
                                                                                0                 0                0                  0                0
 2077                                                                           0                 0                0                  0                0
 2078                                                                           0                 0                0                  0
 2019                                                                                                                                                  0
                                                                            2,584             9,931           34,633              1,577        4,759,930


    RSI cites analyses prepared for them        transportation. PHMSA’s analysis also                  2014.123 Given these facts, PHMSA
  by the Braille Group (a consulting firm       does not concur with RSI that the less                 calculates that RSI overestimates the
  specializing in economic analysis)            stringent phase-out schedule in the                    number of additional trucks needed.
  estimating that replacing lost rail           selected alternative would lead to 6.41
  capacity in 2017 with truck                   million additional tons of CO2                            The Center for Biological Diversity
 transportation for crude oil and ethanol       emissions. PHMSA disagrees with RSI’s (CBD), Clean Water Action, Delaware
 shipments in North America would              projections for the number of additional River Keeper, Earthjustice, Environment
 require approximately 20,000 trucks           trucks needed to account for lost DOT—                 New Jersey, and Powder River Basin
 carrying over 370,000 truckloads on            111 capacity. PHMSA’s analysis                         Resource Council have all expressed
 North American highways. In 2018, the         indicates that 20,000 additional trucks                concern about the integrity of the DOT—
 year in which the loss of capacity would (i.e., the amount cited by RSI as required 111 tank cars and propose that these
 be fully felt, RSI further cites the Braille to replace lost rail capacity in 2017)                  cars be removed from service
 Group, indicating that replacement            would be capable of handling about half immediately, as opposed to PHMSA’s
 transportation would require                  of all the crude and ethanol shipped in                planned phase-out.’24 As discussed
 approximately 70,000 trucks carrying          DOT—ill tank cars in a given year.’22                  above, PHMSA recognizes commenters’
 almost 1.6 million loads and that over        Moreover 70,000 trucks (i.e., the amount concerns regarding DOT—ill phase-out
 the road (0Th) truckers spilled 58            cited by RSI as required to replace lost               schedule, but PHMSA deemed this
 percent more total liquid hazardous           rail capacity in 2018) could handle                    option to be impractical because of
 material from 2002—2 009 than railroads       123,375 ton miles of crude and ethanol,                negative impacts from modal shift,
 per year and per billion ton-miles. AAR or almost all of the total crude and                         including increased incidents resulting
has also expressed concern that, “[tjhe        ethanol ton miles Braille provided for                 in release of hazardous materials and
result would be the diversion of traffic                                                             increased fatalities, as illustrated in
off the rail network and onto less safe           122 if one assumes
                                                                      that a semi-truck/tank-trailer Tables     EA3 and EA4.
and less environmentally friendly             and semi-truck/trailer combinations are both able to
modes of transportation.” AAR also            haul   about   47,000 pounds   of cargo 150,000  miles
                                              per year. divided by 2 to account for empty return
commented that rail is an                     trips, or 1.76 million ton-miles per year. Currently,
environmentally superior form of              about 98.5 percent (just over 40,000 million ton
transportation.                               miles) of ethanol transported by rail is in DOT—ill       123 Brattle concludes
                                                                                                                              85,062 million ton miles of
                                              tank cars, and 29 percent of crude oil (or about
   PHMSA’s calculations for increased         30,000 million ton miles) by rail is in DOT—ill        crude oil in 2014 and 46,243 million ton miles of
emissions were lower than those               tanks cars. An additional 20,000 trucks could          ethanol. PHMSA concludes that 70,000 trucks
                                              handle     35,250 million ton miles        million     would be able to transport 94 percent of that
provided by RSI. In particular,                                                    (1.76         x
                                                                                                     volume.
                                              20,000) of hazardous material, and 70,000 trucks
PHMSA’s selected alternative would            could handle 123,375 million ton miles (1.76              124 The Friends of
                                                                                                                           the Gorge and the Adirondack
result in no shift to highway                 million x 70,000) of hazardous material.               Mountain Club were co-commenters with CBD.
  26742                Federal Register! Vol. 80, No. 89 / Friday, May 8, 2015 / Rules and Regulations

    TABLE EA3—ADDITI0NAL HAzARDOus completed for this EA, PHMSA does not                              definition of HHFT to “20 or more
     MATERIAL INCIDENTS AND RELEASES agree that this rulemaking could result                         loaded tank cars of a Class 3 flammable
     FROM MODAL SHIFT                  in significant environmental impacts                          liquid in a continuous block or a single
      [2018 DOT—ill Tank Car Phase-Out that would require the preparation of an                      train carrying 35 or more loaded tank
                 Scenario]             EIS, and therefore PHMSA intends to                           cars of a Class 3 flammable liquid
                                                    issue a FONSI.                                   throughout the train.” While the point
        Year             Year           Year           The CBD noted in its comments that            regarding the potential environmental
                                                    PHMSA should initiate an Endangered              impacts associated the transport 19 or
    2015                       2015         2015 Species Act consultation with FWS/                  less tank cars of flammable liquid cars
    2016                       2016         2016 NMFS in order to fully assess areas
    2017                       2017
                                                                                                     is valid, the focus of the final rule is on
                                            2017 where HHFTs have the potential to
    2018                       2018         2018 impact listed species and critical
                                                                                                     trains in which the flammable liquid
    2019                       2019         2019 habitat. As stated above,                           cars are concentrated in large blocks.
                                                                               the intent of
                                                    this rule is to prevent releases of              Environmental Justice and Other
     TABLE EA4—ADDmONAL FATALITIES                 hazardous chemicals to the                        Environmental Factors
       AND INJURIES FROM MODE SHIFT                 environment. This rulemaking is not                 Commenters, such as ADM, Clean
         [2018 DOT—ill Tank Car Phase-Out
                                                    authorizing any new impacts to                  Water Action Pennsylvania, and
                      Scenario]                    protected species or habitats, as rail           Earthjustice commented that an
                                                   transportation of hazardous materials            Environmental Justice (EJ) assessment
           Year         Fatalities    Injuries     and high-hazard flammable material is            should be included in the EA.
                                                   ongoing and rail infrastructure already          Earthjustice’s 125 comments alleged that
    2015                       0.00         0.00 exists. Increased regulation of ongoing            low income and minority communities
   2016                        0.00         0.00 transportation of hazardous materials              would face double the impact of other
   2017                        0.00         0.00 will not jeopardize continued existence
   2018                        0.00
                                                                                                    communities because many occur
                                            0.00 of any species and will not result in the
   2019                      94.68     2,359.83 destruction of habitat. Therefore,                  within one-mile blast zones of train
                                                                                        no          tracks subject to this rulemaking. Both
      PHMSA expects additional air
                                                   consultation is required. While the              Earthjustice and Clean Water Action
                                                   routing provisions included in this              (Pennsylvania) also commented that
   emissions, spills and fatalities in 2019
   as a result of the shift to highway             rulemaking could alter the routes                PHMSA should have performed a
                                                   HHFTs take, the “Rail Risk Analysis              complete EJ assessment for this
   transportation. Our analyses indicate           Factors” that rail operators must
   that the amendments in this final rule                                                          rulemaking.
                                                   consider in selecting routes include the            This rulemaking has no role in the
  will actually realize much greater               consideration of “environmentally
   savings in these areas over the long-                                                            siting of already existing railroad lines.
                                                  sensitive and significant areas.” See            This rulemaking also does not authorize
  term. The RIA prepared for this final           Appendix D to Part 172. Therefore,
  rule examines a period from 2015 to                                                              new hazardous materials transportation;
                                                  PHMSA concluded that improved                    these activities are ongoing. The
  2034, but benefits would continue to
                                                  routing selection and the eventual               purpose of the rulemaking is to decrease
  accrue beyond this analysis period. We          universal use of safer tank cars will
  have therefore decided that it is not                                                            the risk of release of crude oil and
                                                  result in a reduction in risk to                 ethanol. PHMSA has calculated in the
  prudent to modify the regulation in             endangered species.
  response to these comments.                                                                      RIA that consideration of the Rail Risk
                                                      Riverkeeper 2266 stated its concerns         Analysis Factors will reduce risk of
  NEPA Requirements                               regarding potential oil spills entering          release in general, especially in densely
                                                  the Hudson Rivers Riverkeeper asserted           populated areas, as railroad operators
     The CBD and ADM commented that              that the characteristics of the River
  an Environmental Impact Statement                                                                will now be required to consider
                                                 would make cleanup especially difficult           population density, places of
  (EIS), as opposed to an EA, is required        and complicated. Riverkeeper 2266 also
 under NEPA. PHMSA determined that                                                                 congregation, and presence of passenger
                                                 commented that spills could hurt the
 an EA was appropriate to determine                                                               traffic, among other factors to encourage
                                                 tourist-based economy, wildlife, and
 whether to prepare an EIS or a FONSI.                                                             selection of the most prudent routes.
                                                 riverfront communities. Lastly,
 An EIS is necessary when a proposed             Riverkeeper 2266 and others expressed            PHMSA, therefore, does not agree that
 action will have significant                    concerns that PHMSA’s new safety                 there is potential for this rulemaking to
 environmental impacts. At the outset,           standards only apply to trains of 20 cars        have a disparate impact on low income
 PHMSA performed a NEPA best practice or more with Class 3 flammable liquids,                     or minority populations. Consideration
 environmental checklist analysis for this even though devastating effects                        of the Rail Risk Analysis Factors will
                                                                                     to the       reduce risk of release in densely
 rulemaking, examining all facets of the         environment could also occur for trains
 environment that could potentially be           with 19 or fewer cars.                           populated areas where low income and
 impacted. This rulemaking does not                  In the NPRM, PHMSA proposed to               minority populations are likely to be
 authorize and will not result in new            define HHFT to mean a single train               located.
construction of rail infrastructure or           carrying 20 or more carloads of a Class              This rulemaking also has no impact
new transportation of hazardous                  3 flammable liquid. This definition             on historic preservation or wetlands and
materials. These factors, which impact           aligns with the definition of “Key              floodplains because it does not
the environment, are already in                 Train” in OT—55N. Many commenters                authorize any new construction. It is
existence and are ongoing. Since the            raised concerns regarding the ambiguity          also not reasonable that this rulemaking
primary purpose and function of the              of this definition as it would be applied       would indirectly or cumulatively result
rulemaking is to decrease the already           to crude oil and ethanol trains and              in new construction. It simply attempts
existing risk of releases of crude oil and suggested that this definition would                  to make existing hazardous materials
ethanol, the rulemaking does not result         inadvertently include manifest trains          125 forest Ethics,
in any significant new environmental                                                                              Sierra Club, NRDC and Oil
                                                that did not pose as high a risk as unit     Change International were co-commenters with
impacts. Based on the analysis                  trains. PHMSA subsequently revised the Earthjustice.
                           Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                                       26743

   transportation safer for the environment                alternative because no shift to highway                   considered an upper limit on potential
   and public safety.                                      transportation is anticipated.                            environmental impacts.
   5. Agencies Consulted                                   Selected Alternative                                        Per ton-mile of transportation, cargo tank
                                                                                                                     motor vehicles (CTMVs) emit significantly
     PHMSA worked closely with the FRA,     The schedule for retrofitting DOT—ill and                                higher levels of volatile organic compounds,
  EPA, and DHS/TSA in the development CPC—1232 tank cars and mandating use of                                        non-volatile hydrocarbons, carbon monoxide,
  of this final rulemaking for technical tank cars that comply with the new standards                                oxides of nitrogen, carbon dioxide, and
                                         is not expected to reduce tank car capacity                                 particulate matter than freight rail. In
  and policy guidance. PHMSA also        for shipping crude and ethanol.
  considered the views expressed in                                                                                  addition, the fatality and injury rate per ton-
                                         Consequently, the deleterious effects of
  comments to the ANPRM and NPRM                                                                                     mile from accidents is significantly higher
                                         shipments being shifted to highway
  submitted by members of the public,                                                                                than from freight rail. In estimating the size
                                         transportation on trucks will be avoided. The
  state and local governments, and       new tank car standards and other provisions                                 of this modal shift, PHMSA employs several
                                         of the rule are expected to reduce the risk of                              key assumptions.
  industry.
                                                          hazardous materials incidents, and the                       1. There are approximately 33,000 DOT—
 6. Conclusion                                            severity of those incidents that do occur. As              iii tank cars in service that transport high-
                                                          discussed under “Selected alternative” in                 hazard flammable material.
    The provisions of this rule build on                                                                               2. Rail tank car manufacturers have an
 current regulatory requirements to                       Section 3 of the Final EA, this alternative is
                                                          anticipated to provide positive benefits for              annual build capacity of roughly 24,000
 enhance the transportation safety and                                                                              cars.126 Manufacturers will not permanently
                                                          the environment and safety.
 security of shipments of hazardous                                                                                 increase capacity to deal with short-run
 materials transported by rail, thereby                   2018 Phase-Out of DOT—fl 1 Tank Cars                      spikes in demand.
 reducing the risks of release of crude oil               Alternative                                                  3. Under this alternative, a total phase-out
 and ethanol and consequent                                  The alternative of prohibiting use of all              of DOT—ills would occur by the end of
 environmental damage. PHMSA has                          DOT—ill tank cars in 2018 is the scenario                 2018. Shippers would find alternative
 calculated that this rulemaking will                     that PHMSA staff could envision as                        methods to transport their products to
 decrease current risk of release of crude                physically possible that would both (a)                   account for any of the 33,000 DOT—ills not
 oil and ethanol to the environment.                      negatively impact railroads and shippers’                 replaced by this time.
 Therefore, PHMSA finds that there are                    ability to continue transport of crude oil and              4. Shippers or carriers will spread out
                                                          ethanol by rail and (b) have the greatest                 replacing/removing from service DOT—ill
 no significant environmental impacts                     chance of resulting in modal shift. PHMSA                 tank cars over time.
 associated with this final rule.                         calculates that a modal shift resulting from a               Please see the RIA prepared for this rule for
 Appendix A                                               decrease in the number of tank cars                       additional information on these assumptions.
                                                          authorized to transport flammable liquids,                   Based on these assumptions, PHMSA
 Environmental Assessment Supporting                      notably crude oil and ethanol, would have                 estimated that at the end of 2018, there
 Calculations                                             significant deleterious effects on safety and             would be a backlog of 12,239 DOT—Ill tank
   PHMSA performed calculations to analyze                the environment. The evaluation of this                   cars that would not meet the retrofit
 the additional air emissions, hazardous                  scenario assumes that there will be a                     deadline, but that these would be replaced by
 materials incidents, quantity of hazardous               sufficient number of trucks and drivers to                new, compliant tank cars by the end of 2019.
 material spilled, fatalities, and injuries from          handle the additional volume of crude oil                 In the meantime, their carrying capacity
 two options to phase-out DOT—ill rail tanks              and ethanol. Because it is unclear whether                would shift to CTMVs. The capacity and
 cars. As discussed, PHMSA calculated these               this additional trucking capacity would                   backlog of tank cars is presented in the table
 impacts to be minimal for the selected                   actually be available, these results can be               below.
                   TABLE EA5—DOT—l 11 REPLAcEMENT SCHEDULE, 2018 PHASE-OUT OF DOT—ill TANK CARS
                                                              .


                                                                                                               ..                  Actual            Backlog of
                                                Year                                                                             DOT—il is           DOT—il is
                                                                                                        DOT1          S
                                                                                                                                  replaced            replaced
2015                                                                                                                32,831                   0               32,831
2016                                                                                                                     0               4,413               28,418
2017                                                                                                                     0               7,941               20,477
2018                                                                                                                     0               8,238               12,239


Table BA 6 below shows the relative amounts
of emissions in grams per ton-mile for freight
rail and CTMV.

    TABLE EA6—EMISSION RATES BY MODE, GRAMS PER MILLION TON MILEs,127 2018 PHASE-OUT OF DOT—ill TANK
                                                                               CARS

                          Mode/Pollutant                               HC(VOC tot
                                                                                               co                    NO                PM                CO2
Railroad*                                                                   0.01 8201          0.055600               0.353600         0.01 0251       21.140000
Truck*                                                                      0.100000           0.370000               1.450000         0.060000       171.830000


   ‘26R51 concluded that over 21,000 new deliveries      two figures, PHMSA has concluded that build            2009. Arlington, VA: National Waterways
of CPC—1232 tank cars will occur in 2014. In             capacity is at least 24,000 cars per year.             Foimdation. Retrieved from http://notional
addition, over 600 new jacketed DOT—ills were              127 }(ruse, C.
                                                                          J., Protopapas, A., and Olson, L      watenvaysfoundotion.org/study/FinalReport
delivered in the first quarter of 2014. Based on these   (2012). A Modal Comparison of Domestic freight
                                                                                                                TTI.pdf
                                                         Transportation Effects on the General Public: 2001—
   26744                 Federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations

     PFIMSA concluded that 47,000 million Ion            ethanol (96% x 47,000) and 31,500 million                     Rail car manufacturers have excess
   miles of ethanol would be transported per             ton miles of crude oil (29% x 108,000). All                 capacity for replacing some, but not all, of
   year by rail between 2015 and 2018, and that          told, about 76,869 million ton miles of crude              older DOT—ills. The backlog presented by a
   about 108,000 million ton miles of crude oil          and ethanol would be shipped in DOT—ill                     complete DOT—ill phase out by 2018
  will be transported on average per year.                                                                          translates into lost DOT—ill rail-car capacity
                                                         tank cars on average per year, and each of the
  PHMSA concluded that about 96 percent of                                                                          that would have to be handled by CTMVs.
  ethanol transported by rail is currently               32,831 DOT—ill tank cars in crude and
                                                         ethanol service would handle on average 1.7                Table EA7 equates the lost capacity to ton-
  shipped in DOT—ill tank cars, and that                                                                            miles shifted to CTMV. It is important to note
  about 29 percent of crude oil transported by           million ton miles per year. That is, the loss
                                                                                                                    that these are the maximum amounts of ton-
  rail is shipped in these tank cars. Assuming           of each individual DOT—ill tank car would                  miles that could be shifted to truck. These
  these proportions in the hypothetical                  require a shift of 1.7 million ton miles of                amounts will be constrained by the
  scenario, DOT—ills would be used to                    crude or ethanol per rail tank car to another              availability of trucks and drivers to handle
  transport about 45,300 million ton miles of            mode.                                                      these additional loads.128
      TABLE EA7—T0N-MILE5 OF CRUDE AND ETHANOL SHIFTED TO CTMV, 2018 PHASE-OUT OF DOT—ill TANK CARS

                                                                                                                Percent DOT—                                  DOT—ill ton-
                                                 Year                                                                                 0 a   DOT—
                                                                                                                 111 ton miles                                miles shifted to
                                                                                                               shifted to CTMV               mi es
                                                                                                                                                                  CTMV
  2016                                                                                                                     0.0               76,869
  2017
                                                                                                                                                                          0
                                                                                                                          0.0                76,869                     0
  2018                                                                                                                    0.0                76,869                     0
  2019                                                                                                                   37.28               76,869                28,655.75


    PHMSA applied the ton-miles shifted to               EA6 to calculate the additional emissions                 by an expedited 2018 retirement schedule for
  CTMV presented in Table EA7 to the                     that result from constraining rail car capacity           DOT-ills.
  emissions per ton-mile presented in Table

         TABLE EA8—ADDITIONAL TONS OF EMISSIONS FROM MODE SHIFT, 2018 PHASE-OUT OF DOT—ill TANK CARS

                            Year/Tons                                 HC (VOC for
                                                                                                CO                    NO                    PM                     CO2

 2015                                                                              0                     0                    0                           0                   0
 2016                                                                              0                     0                    0                           0                   0
 2017                                                                              0                     0                    0                           0                0
 2018                                                                              0                     0                    0                      0
 2019
                                                                                                                                                                           0
                                                                               2,584                 9,931               34,633                  1,571             4,759,930


   PHMSA examined the additional                         occur from a mode shift to CTMVs. Table                   gallons of hazardous material released per
 hazardous material incidents and quantities             EA9 below presents the spill rates and                    miffion ton miles by rail and highway modes.
 of hazardous material released that could

  TABLE EA9—HA2ARD0Us MATERIALS INCIDENT AND SPILL RATES PER MILLION ToN-MILES, 2018 PHASE-OUT OF DOT—
                                            ill TANK CARS

                                                                                                                                                  .           Number gal-
                                                           Mod e                                                                     miion ton
                                                                                                                                       .
                                                                                                                                                      -       Ions spilled
                                                                                                                                       miles                   million ton-
                                                                                                                                                                  miles
Railroad                                                                                                                                   0.000339                4.889386
Truck                                                                                                                                      0.001371               10.411803
Difference                                                                                                                                 0.001032                5.522417


  Multiplying the annual the ton-miles (the          material incidents and quantity of hazardous                 to nearly 30 additional hazardous material
“Percent DOT—ill Ton-Miles Shifted to                material incident released, which are                        incidents and over 158,000 additional gallons
CTMV” column) presented in Table EA7 by              presented in Table EA1O. PHMSA concluded
the “difference” row for hazardous material                                                                       of hazardous material per incident released
                                                     that a shift to truck for transporting crude oil
incident and release rates in Table EA9                                                                           in 2019.
                                                     and ethanol that would have been
yields the additional number of hazardous            transported in DOT—ill tank cars would lead


   128 An estimate
                    of the number of trucks needed     2. A fully utilized tractor trailer travels up to 500      ethanol per year. A mode shift of 15,200 million ton
can be calculated using the following assumptions    miles per day for up to 300 days per year, or a total        miles would require an additional 8,86i trucks.
and parameters:                                      of 150,000 miles per year.                                   This is a relatively small addition to the current
   1. A standard semi-truck weighs 20,000 pounds,      3. Trucks will make return trips empty, so their           number of such vehicle combinations currently
a tank trailer weighs about 13,000 pounds, and the   maximum annual transport capacity is halved.                 operating. PHMSA concluded that the availability
maximum gross vehicle weight rating for a tractor-      A typical semi-truck/tank-trailer combination can         of trucks is unlikely to constrain the amount of
trailer is 80,000 pounds. Each truck can transport   transport up to 1.7652 million ((((47,000 x 150,000)         crude oil and ethanol that could be shifted to
up to 47,000 pounds of ethanol or crude oil.         + 2,000) ÷2)÷ 1,000,000) ton miles of crude or               highway transportation.
                          Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations                                               26745

      TABLE EA1 0—ANTIcIPATED ADDITIONAL HAzARDous MATERIAL INCIDENTS AND RELEASES FROM MODE SHIFT, 2018
                                       PHASE-OUT OF DOT—ill TANK CARS

                                                           Year                                                              Spills               Gallons
  2Q15                                                                                                                                 0                   0
  2016                                                                                                                                 0                   0
  2017                                                                                                                                 0                   0
  2018                                                                                                                                 0                   0
  2019                                                                                                                                29.57          158,249


     Lastly, PHMSA examined the additional             could occur from a mode shift to CTMVs.          injury rates per million ton mile for rail and
  transportation fatalities, and injuries that         Table EA1I presents accident, fatality, and      CTMV.
  TABLE EA1 1—ADDITIONAL ACCIDENT, INJURY, AND FATALITY RATES PER MILLION TON MILES BY MoDE,129 2078 PHASE
                                         OUT OF DOT—ill TANK CARS

                                                           Mod e                                                           Additional         Additional
                                                                                                                           fatalities          injuries
 Railroad                                                                                                                     0.000525             0.005183
 Truck                                                                                                                        0.003829             0.087534
 Difference                                                                                                                   0.003304             0.082351


    Multiplying the ton-miles presented in             additional number of fatalities and injuries    would have been transported in DOT—llI
 Table EA7 (the “Percent DOT—Ill Ton-Miles             from truck transportation instead of rail       tank cars would lead to nearly 95 additional
 Shifted to CTMV” column) by the                       transportation, which are presented in Table    deaths and about 2,300 additional injuries in
 “difference” row for fatality and injury rates        EAI2. PHMSA concluded that a shift to truck
 in Table EM; yields the anticipated                                                                   2019.
                                                       for transporting crude oil and ethanol that
   TABLE EA1 2—ADDITIONAL FATALITIES AND INJURIES FROM MODAL SHIFT, 2018 PHASE-OUT OF DOT—ill TANK CARS

                                                         Year                                                            Fatalities           Injuries
 2015                                                                                                                            0                     0
 2016                                                                                                                            0                     0
 2017                                                                                                                            0                     0
 2018                                                                                                                            0                     0
 2019                                                                                                                           94.68              2,359.83


H. Privacy Act                            and other issues, regulatory approaches                     standards and, where appropriate, that
   In accordance with 5 U.S.C. 55 3(c),   developed through international                             they be the basis for U.S. standards.
DOT solicits comments from the public     cooperation can provide equivalent                             PHMSA participates in the
to better inform its rulemaking process.  protection to standards developed                           establishment of international standards
DOT posts these comments, without         independently while also minimizing                         in order to protect the safety of the
edit, including any personal information  unnecessary differences.                                    American public, and we have assessed
the commenter provides, to                   Similarly, the Trade Agreements Act                      the effects of the proposed rule to
www.regulations.gov, as described in      of 1979 (Public Law 96—3 9), as amended                     ensure that it does not cause
the system of records notice (DOT/ALL—    by the Uruguay Round Agreements Act                         unnecessary obstacles to foreign trade.
14 FDMS), which can be reviewed at                                                                    Accordingly, this rulemaking is
                                          (Public Law 103—465), prohibits Federal
www.dot.gov/privacy.                                                                                  consistent with Executive Order 13609
                                          agencies from establishing any
I. Executive Order 13609 and              standards or engaging in related                            and PHMSA’s obligations under the
International Trade Analysis             activities that create unnecessary                           Trade Agreement Act, as amended.
                                                                                                         For further discussion on the impacts
   Under Executive Order 13609,          obstacles to the foreign commerce of the
                                                                                                      of harmonization see the
agencies must consider whether the       United States. For purposes of these                         “Harmonization” portion of
impacts associated with significant      requirements, Federal agencies may                           “Miscellaneous Relevant Comments”
variations between domestic and          participate in the establishment of                          Section of this rulemaking.
international regulatory approaches are  international standards, so long as the
unnecessary or may impair the ability of standards have a legitimate domestic                         J. Statutory/Legal Authority for This
American businesses to export and        objective, such as providing for safety,                     Rulemaking
compete internationally. In meeting      and do not operate to exclude imports                          This final rule is published under the
shared challenges involving health,      that meet this objective. The statute also                   authority of 49 U.S.C. 5103(b), which
safety, labor, security, environmental,  requires consideration of international                      authorizes the Secretary of
  129Kruse, C. J., Protopapas, A., and Olson, L.      2009. Arlington, VA: National Waterways         nation a] waterwaysfoundati on org/study!
(2012). A Modal Comparison of Domestic Freight        Foundation. Retrieved from http://              FinalReportTTl.pdf
Transportation Effects on the General Public: 2001—
   26746              Federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations

    Transportation to “prescribe regulations        49 GFR Part 172
    for the safe transportation, including                                                      loaded tank cars of a Class 3 flammable
   security, of hazardous materials in               Hazardous materials transportation,        liquid throughout the train consist.
                                                   Hazardous waste, Labeling, Packaging            High-hazard flammable unit train
   intrastate, interstate, and foreign                                                          (HHFUT) means a single train
                                                   and containers, Reporting and
   commerce.” The amendments in this                                                            transporting 70 or more loaded tank cars
                                                   recordkeeping requirements, Security
   rule address safety and security                                                             containing Class 3 flammable liquid.
                                                   measures.
   vulnerabilities regarding the
   transportation of hazardous materials in        49 CFR Part 173
   commerce.                                         Hazardous materials transportation,       PART 172—HAZARDOUS MATERIALS
  K. Regulation Identifier Number (RIN]            Packaging and containers, Radioactive       TABLE, SPECIAL PROVISIONS,
                                                   materials, Reporting and recordkeeping      HAZARDOUS MATERIALS
      A regulation identifier number (RThJ)        requirements, Uranium.                      COMMUNICATIONS, EMERGENCY
   is assigned to each regulatory action           49 CFR part 174
                                                                                               RESPONSE INFORMATION, TRAINING
  listed in the Unified Agenda of Federal                                                      REQUIREMENTS, AND SECURITY
  Regulations. The Regulatory Information            Hazardous materials transportation,       PLANS
  Service Center publishes the Unified             Rail carriers, Reporting and
  Agenda in April and October of each              recordkeeping requirements, Security        • 4. The authority citation for part 172
  year. The RThJ contained in the heading          measures.                                   continues to read as follows:
  of this document can be used to cross-           49 CFR Part 179                               Authority: 49 U.S.C. 5 101—5128; 44701; 49
  reference this action with the Unified                                                       CFR 1.81 and 1.97.
                                                     Hazardous materials transportation,
  Agenda.                                          Incorporation by reference, Railroad        • 5. In § 172.820:
                                                   safety, Reporting and recordkeeping         • a. In paragraph (a)(2), remove the
  L. Executive Order 13211
                                                   requirements.                               word “or” from the end;
    Executive Order 13211                                                                      • b. In paragraph (a)(3), remove the
                                requires
   Federal agencies to prepare a Statement The Final Rule                                      period and add “; or” to the end; and
   of Energy Effects for any “significant          In consideration of the foregoing, we       • c. Add paragraphs (a)(4) and (b)(i)(i)
   energy action.” 66 FR 28355, May 22,         are amending title 49, chapter I,              and (ii).
                                                subchapter C, as follows:                        The additions read as follows:
   2001. Under the Executive Order, a
   “significant energy action” is defined as                                                   §172.820 Additional planning
   any action by an agency (normally            PART 171—GENERAL INFORMATION,                  requirements tot transportation by rail.
   published in the Federal Register) that      REGULATIO      NS, AND DEFINITIONS               (a) * *     *

   promulgates, or is expected to lead to       m 1. The authority citation for part 171        (4) A high-hazard flammable train
  the promulgation of, a final rule or          continues to read as follows:                 (H}{F’T) as defined in § 171.8 of this
  regulation (including a notice of                                                           subchapter.
  inquiry, advance NPRM, and NPRM)                Authority: 49 U.S.C. 5101—5128, 44701;        (b) * * *
                                                Pub. L. 101—410 section 4 (28 U.S.C. 2461        (i) *   *   *
  that (1)(i) is a significant regulatory      note); Pub. L. 104—121, sections 212—213;
  action under Executive Order 12866 or                                                          (i) A rail carrier subject to additional
                                               Pub. L. 104—134, section 31001; 49 CfR 1.81    planning requirements of this section
  any successor order and (ii) is likely to    and 1.97.
 have a significant adverse effect on the                                                     based on paragraph (a)(4) of this section,
                                               • 2. In 171.7, redesignate paragraphs          must complete the initial process by
  supply, distribution, or use of energy; or
                                               (k)(2) through (4) as (k](3) through (5)       March 31, 2016, using data for the six
  (2) is designated by the Administrator of
                                               and add new paragraph (k)(2) to read as        month period from July 1, 2015 to
 the Office of Information and Regulatory follows:
 Affairs as a significant energy action.                                                     December 31, 2015; or
                                                                                                (ii) A rail carrier subject to additional
    PHMSA has evaluated this action in        § 171.7 Reference material.                    planning requirements of this section
 accordance with Executive Order 13211. *              *    *     *      *
                                                                                             based on paragraph (a)(4) of this section,
 See the environmental assessment                 (k) * * *                                  must complete the initial process by
 section for a more thorough discussion           (2) AAR Manual of Standards and            March 31, 2016, using data for all of
 of environmental impacts and the             Recommended Practices, Section C—ffl,          2015, provided the rail carrier indicates
 supply, distribution, or use of energy.      Specifications for Tank Cars,                  in their initial analysis that it has
PHMSA has determined that this action Specification M—1002 (AAR                              chosen this option.
will not have a significant adverse effect Specifications for Tank Cars), Appendix                                    *
on the supply, distribution, or use of        E, Design Details, implemented April
energy. Consequently, PHMSA has              2010; into § 179.202—9, and 179.202—
                                                                                             PART 173—SHIPPERS—GENERAL
determined that this regulatory action is 12(f).                                             REQUIREMENTS FOR SHIPMENTS
                                              *       *    *
not a “significant energy action” within                         *      *
                                                                                             AND PACKAGINGS
the meaning of Executive Order 13211.        • 3. In § 171.8 definitions of “High-
                                             hazard flammable train” and “High-              •6. The authority citation for part 173
XI. Regulatory Text                                                                          continues to read as follows:
                                             hazard flammable unit train” are added
List of Subjects                             in alphabetical order to read as follows:         Authority: 49 U.S.C. 5 101—5128, 44701; 49
                                                                                             CFR 1.81 and 1.97.
49 CFR Part 171                               § 171.8 Definitions.
                                               *      *     *    *    *
                                                                                             • 7. Section 173.41 is added to subpart
  Exports, Hazardous materials                     High-hazard flammable train (HHFT)        B to read as follows:
transportation, Hazardous waste,             means a single train transporting 20 or
Imports, Incorporation by reference,                                                         § 773.41 Sampling and testing program for
                                             more loaded tank cars of a Class 3              unrefined petroleum-based products.
Reporting and recordkeeping                  flammable liquid in a continuous block             (a) General. Unrefined petroleum-
requirements.                                or a single train carrying 35 or more           based products offered for
                               Federal Register! Vol. 80, No. 89/ friday, May 8, 2015 / Rules and Regulations
                                                                                                                                           26747
        transportation must be properly classed           (b) Certification. Each person who        location to an authorized official of the
        and described as prescribed in § 173.22, offers a hazardous material for
                                                                                                    Department of Transportation.
        in accordance with a sampling and             transportation shall certify, as
        testing program, which specifies at a         prescribed by § 172.204 of this               • 8. In § 173.241, paragraph (a) is
        minimum:                                      subchapter, that the material is offered      revised to read as follows:
            (1) A frequency of sampling and           for transportation in accordance with
        testing that accounts for any appreciable this subchapter, including the                    § 1 73.241 Bulk packagings for certain low-
                                                                                                   hazard liquid and solid materials.
       variability of the material (e.g., history,    requirements prescribed by paragraph          *       *    *     *     *
       temperature, method of extraction              (a) of this section.
        [including chemical use], location of            (c) Documentation, retention, review,         (a) Rail cars: Class DOT 103, 104, 105,
       extraction, time of year, length of time      and dissemination of program. The             109, 111, 112, 114, 115, 117, or 120 tank
       between shipments);                           sampling and testing program must be          car tanks; Class 106 or 110 multi-unit
            (2) Sampling prior to the initial        documented in writing (i.e. hardcopy or tank car tanks; and AAR Class 203W,
       offering of the material for                  electronic file thereof) and must be          206W, and 211W tank car tanks.
       transportation and when changes that          retained for as long as the sampling and Additional operational requirements
      may affect the properties of the material testing program remains in effect, or a            apply to high-hazard flammable trains
      occur (i.e., mixing of the material from       minimum of one year. The sampling             (see § 171.8 of this subchapter) as
      multiple sources, or further processing        and testing program must be reviewed at prescribed in § 174.310 of this
      and then subsequent transportation);           least annually and revised and/or             subchapter. Except as otherwise
           (3) Sampling methods that ensure a       updated as necessary to reflect changed provided in this section, DOT
      representative sample of the entire           circumstances. The most recent version Specification 111 tank cars and DOT
      mixture, as offered, is collected;            of the sampling and testing program           Specification 111 tank cars built to the
                                                    must     be available to the employees who    CPC—1232 industry standard are no
           (4) Testing methods that enable
      classification of the material under the      are responsible for implementing it.          longer authorized to transport Class 3
      HMR;                                          When the sampling and testing program (flammable liquids) in Packing Group
                                                    is updated or revised, all employees          Ill, for use in high-hazard flammable
          (5) Quality control measures for                                                        train service, unless retrofitted to the
      sample frequencies;                           responsible     for implementin g it must be
                                                    notified, and the most recent version         DOT Specification 117R retrofit
          (6) Duplicate sampling methods or                                                       standards or the DOT Specification
                                                    must be made available.
      equivalent measures for quality                   (d) Access by DOT to program              117P performance standards provided
     assurance;                                     documentation. Each person required to in part 179, subpart D of this
          (7) Criteria for modifying the            develop and implement a sampling and subchapter.
     sampling and testing program; and             testing program must maintain a copy of            (1) DOT Specification 111 tank cars
         (8) Testing or other appropriate          the sampling and testing program              and DOT Specification 111 tank cars
     methods used to identify properties of        documentation (or an electronic file          built to the CPC—1232 industry standard
     the mixture relevant to packaging             thereof) that is accessible at, or through, are no longer authorized for use in high-
     requirements (e.g., compatibility with        its principal place of business, and must hazard flammable train service unless
     packaging, identifying specific gravity       make the documentation available upon retrofitted prior to the dates in the
     for filling packages).                        request at a reasonable time and              following table:
               Packing group        I             DOT 111 not authorized on or after                   DOT 111 built to the CPC—1232 not
                                                                                                             authorized on or after
     III                                May 1, 2025                                           May 1, 2025.


    (2) Conforming retrofitted tank cars                  tank car tanks; Class 106 or 110 multi-  flammable train service, unless
 are to be marked “DOT—117R.”                             unit tank car tanks and AAR Class 206W retrofitted to the DOT Specification
   (3) Conforming performance standard                   tank car tanks. Additional operational    117R retrofit standards, or the DOT
 tank cars are to be marked “DOT—117P.”                  requirements apply to high-hazard         Specification 117P performance
 *         *       *     *      *                        flammable trains (see § 171.8 of this    standards provided in part 179, subpart
I 9. In § 173.242, paragraph (a)                         subchapter) as prescribed in § 174.310
                                                                                                  D of this subchapter.
revised to read as follows:                              of this subchapter. Except as otherwise
                                                         provided in this section, DOT               (1) DOT Specification 111 tank cars
§173.242 Bulk packagings for certain                     Specification 111 tank cars and DOT      and DOT Specification 111 tank cars
medium hazard liquids and solids,                        Specification 111 tank cars built to the built to the CPC—1232 industry standard
including solids with dual hazards.
 *
                                                         CPC—1232 industry standard are no        are no longer authorized for use in high
           *       *     *      *
                                                         longer authorized to transport Class 3   hazard flammable train service unless
  (a) Rail cars: Class DOT 103, 104, 105,                (flammable liquids) in Packing Group II retrofitted prior to the dates in the
109, 111, 111, 112, 114, 115, 117, or 120                and III, for use in high-hazard          following table:

           Packing group                         DOT 111 not authorized on or after      I DOT 111 built to the CPC—1 232 industry standard not
                                                                                          i
                                                                                                             authorized on or after
II                                      May 1, 2023 (jacketed and non-jacketed)            July, 1 2023 (non-jacketed).
Ill                                                                                      i May 1, 2025 (jacketed).
                                    May 1, 2025                                            May 1, 2025.
     2674$                 Federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

         (2) Conforming retrofitted tank cars       fusion-welded tank car tanks; and Class     for use in high-hazard flammable train
     are to be marked “DOT—117R.”                   106 or 110 multi-unit tank car tanks.       service, unless retrofitted to the DOT
   (3) Conforming performance standard              Additional operational requirements         Specification 117R retrofit standards or
 tank cars are to be marked “DOT—117P.”             apply to high-hazard flammable trains       the DOT Specification 117P
     *      *     *    *      *
                                                    (see § 171.8 of this subchapter) as         performance standards provided in part
 • 10. In § 173.243, paragraph (a) is               prescribed in § 174.310 of this             179, subpart D of this subchapter.
 revised to read as follows:                        subchapter. Except as otherwise                (1) DOT Specification 111 tank cars
 § 173.243 Bulk packaging for certain high-         provided in this section, DOT               and DOT Specification 111 tank cars
 hazard liquids and dual-hazard materials           Specification 111 tank cars and DOT         built to the CPC—1232 industry standard
 that pose a moderate hazard.                       Specification 111 tank cars built to the    are no longer authorized for use in high
     *      *    *     *      *                     CPC—1232 industry standard are no           hazard flammable train service unless
   (a) Rail cars: Class DOT 103, 104, 105,          longer authorized to transport Class 3      retrofitted prior to the dates in the
 109, 111, 112, 114, 115, 117, or 120               (flammable liquids) in Packing Group I,     following table:

            Packing group                   DOT 111 not authorized on or after          DOT 171 built to the CPC—1 232 industry standard not
                                                                                                        authorized on or after
 I                                January 1, 2017 (non-jacketed report trigger)        April 1, 2020 (non-jacketed).
                                                                                       May 1, 2025 (jacketed).
                                  January 1, 2018 (non-jacketed)
                                  Match 1, 2078 (jacketed).


   (2) Conforming retrofitted tank cars      must ensure the train is equipped and                   (ii) An authorized tank specification
 are to be marked “DOT—117R”                 operated with either a two-way end-of-              as specified in part 173, subpart F of
   (3) Conforming performance standard       train (EOT) device, as defined in 49 CFR            this subchapter.
 tank cars are to be marked “DOT—117P.”      232.5, or a distributed power (DP)
  *                                                                                                  (5) Retrofit reporting Owners of non-
         *     *     *      *
                                             system, as defined in 49 CFR 229.5.
                                                                                                 jacketed DOT—ill tank cars in PG I
                                                 (ii) By January 1, 2021, each rail
  PART 774—CARRIAGE BY RAIL                                                                      service in an HHFT, who are unable to
                                             carrier operating a high-hazard
                                             flammable unit train (HHFUT)                        meet the January 1, 2017, retrofit
  • 11. The authority citation for part 174                                                      deadline specified in § 173.243 (a)(1) are
  continues to read as follows:              comprised of at least one tank car
                                             loaded with a Packing Group I material,             required to submit a report by March 1,
     Authority: 49 U.S.C. 5101—5128; 49 CFR  at a speed exceeding 30 mph must                    2017, to Department of Transportation.
  1.81 and 1.97.                                                                                A group representing owners may
                                             ensure the train is equipped with ECP
 • 12. Section 174.310 is added to           brakes that meet the requirements of 49             submit a consolidated report to the
  subpart G to read as follows:              CFR part 232, subpart G, except for                Department of Transportation in lieu of
                                             buffer cars, and must be operated in ECP           individual reports from each tank car
 §774.310 Requirements for the operation                                                        owner. The report must include the
 of high-hazard flammable trains.            brake mode as established in 49 CFR
                                             part 232, subpart G.                               following information regarding the
     (a) Applicability. Each rail carrier                                                       retrofitting progress:
 operating a high-hazard flammable train        (iii) By May 1, 2023, each rail carrier
 (as defined in § 171.8 of this subchapter) operating a high-hazard flammable unit                  (1) The total number of tank cars
 must comply with each of the following train (HHFUT) not described in                          retrofitted to meet the DOT—117R
 additional safety requirements with        paragraph (a)(3)(ii) of this section, at a          specification;
 respect to each high-hazard flammable      speed exceeding 30 mph must ensure
                                            the    train is equipped with ECP brakes                (ii) The total number of tank cars built
train that it operates:                                                                         or retrofitted to meet the DOT—117P
     (1) Routing. The additional planning   that meet the requirements of 49 CFR
                                            part 232, subpart G, except for buffer              specification;
requirements for transportation by rail
 in accordance with part 172, subpart I     cars, and must be operated in ECP brake                 (iii) The total number of DOT—ill
 of this subchapter;                        mode as established in 49 CFR part 232,             tank cars (including those built to CPC—
    (2) Speed restrictions. All trains are  subpartG.                                           1232 industry standard) that have not
limited to a maximum speed of 50 mph.           (iv) Each buffer car in an high-hazard         been modified;
The train is further limited to a           flammable unit train that is not                        (iv) The total number of tank cars
maximum speed of 40 mph while that          equipped with ECP brakes will be
                                                                                               built to meet the DOT—117 specification;
train travels within the limits of high-    counted in determining the percentage
                                                                                               and
threat urban areas (HTUAs) as defined       of cars with effective and operative
in § 1580.3 of this title, unless all tank  brakes during the operation of the train,              (v) The total number of tank cars built
cars containing a Class 3 flammable         as required under 49 CFR 232.609.                  or retrofitted to a DOT—l17, 117R or
liquid meet or exceed the DOT                  (v) Alternate brake systems may be              117P specification that are ECP brake
Specification 117 standards, the DOT        submitted for approval through the                 ready or ECP brake equipped.
Specification 117P performance              processes and procedures outlined in 49                (vi) Entities required to submit a
standards, or the DOT Specification         CFR part 232, subpart F.                           report under this paragraph shall submit
117R retrofit standards provided in part       (4) New tank cars. After October 1,             subsequent follow-up reports containing
179, subpart D of this subchapter.          2015, tank cars manufactured for use in            the information identified in this
    (3) Braking. (i) Each rail carrier      a HHFT must meet:                                  paragraph within 60 days of being
operating a high-hazard flammable train        (1) DOT Specification 117, or 117P              notified by PHMSA and FRA.
(as defined in § 171.8 of this subchapter) performance standard in part 179,
operating at a speed in excess of 30 mph subpart D of this subchapter; or                          (b) [Reservedl
                         Federal Register / Vol. 80, No. 89/ Friday, May 8, 2015 / Rules and Regulations                                  26749

 PART 179—SPECIFICATIONS FOR                     § 179.202—3 Approval to operate at 286,000       § 779.202—8 Bottom outlets.
 TANK CARS                                       gross rail load (GRL).
                                                                                                     If the tank car is equipped with a
                                                   A tank car may be loaded to a gross            bottom outlet, the handle must be
 S 13. The authority citation for part 179
                                                 weight on rail of up to 286,000 pounds           removed prior to train movement or be
 continues to read as follows:                   (129,727 kg) upon approval by the                designed with protection safety
   Authority: 49 U.S.C. 5101—5128; 49 CFR        Associate Administrator for Safety,
 1.81 and 1.97.                                                                                   system(s) to prevent unintended
                                                 Federal Railroad Administration (FRA).           actuation during train accident
                                                 See § 179.13.                                    scenarios.
 Subpart D—Specifications for Non-
 Pressure Tank Car Tanks (Classes                § 1 79.202—4 Thickness of plates.
 DOT—ill AW, 11 5AW, and 11 7AW)
                                                                                                  § 179.202—9 Top fittings protection.
                                                    The wall thickness after the forming            The tank car tank must be equipped
 • 14. The heading for subpart U is              of the tank shell and heads must be, at          with top fittings protection conforming
 revised to read as set forth above.             a minimum, 9/16 of an inch AAR TC—               to AAR Specifications for Tank cars,
 • 15. The heading for § 179.200 is              128 Grade B, normalized steel, in                appendix E paragraph 10.2.1 (IBR, see
 revised to read as follows:                     accordance with § 179.200—7(b).                  §171.7 of this subchapter).
                                                 §179.202—5 Tank head puncture
 § 179.200 General specifications                                                                 § 179.1 02—10 ECP brakes.
 applicable to non-pressure tank car tanks       resistance system.
 (Class DOT—f if, DOT—f 17).                       The DOT—117 specification tank car                 (a) By January 1, 2021, each rail
 *     *       *     *      *                    must have a tank head puncture                   carrier operating a high-hazard
                                                 resistance system in conformance with            flammable unit train as defined in
 • 16. The heading for § 179.200—1 is
 revised to read as follows:                     § 179.16(c). The full height head shields        § 171.8, comprised of at least one tank
                                                 must have a minimum thickness of 1/2             car loaded with a Packing Group I
 §179.200—1 Tank built under these
                                                 inch.                                            material must ensure the train meets the
 specifications must meet the applicable                                                          ECP braking capability requirements as
 requirements in this part.                     § 779.202—6     Thermal protection system.        prescribed in § 174.310 of this
 *     *       *     *      *
                                                  The DOT—117 specification tank car              subchapter.
 • 17. Sections 179.202 and 179.202—1           must have a thermal protection system.               (b)By May 1, 2023, each rail carrier
 are added to read as follows:                  The thermal protection system must                operating a high-hazard flammable unit
                                                conform to § 179.18 and include a                 train as defined in § 171.8, not described
§ 179.202 Individual specification                                                                in paragraph (a) of this section must
requirements applicable to DOT—f 17 tank        reclosing pressure relief device in
car tanks.                                      accordance with § 173.31 of this                  ensure the train meets the ECP braking
                                                subchapter.                                       capability requirements as prescribed in
§ 179.202—1 Applicability.                                                                        § 174.310 of this subchapter.
   Each tank built under these         § 7 79.202—7 Jackets.                                         (c) Alternate brake systems may be
specifications must conform to the        The entire thermal protection system                    submitted for approval through the
general requirements of § 179.200 and  must be covered with a metal jacket of                     processes and procedures outlined in 49
the prescriptive standards in          a thickness not less than 11 gauge                         CER part 232, subpart F.
§ 179.202—1 through 179.202—11, or the AlOll steel or equivalent; and flashed
performance standard requirements of   around all openings so as to be weather                   § 179.202—17 Individual specification
§ 179.202—12.                          tight. A protective coating must be                       requirements.
• 18. Sections 179.202—3 through       applied to the exterior surface of a                        In addition to § 179.200, the
§ 179.202—13 are added to read as      carbon steel tank and the inside surface                  individual specification requirements
follows:                               of a carbon steel jacket.                                 are as follows:
                                                                             Bursting        Minimum plate
           DOT specification                      Insulation                 pressure          thickness     Te s1p
                                                                                                                 t tess ure     Bottom outlet
                                                                              (psig)            (Inches)
117A100W                             Optional                                  500               9/16             100         Optional.


§ 179.202—12 Performance standard               Federal Railroad Administration (FRA).           the performance standard prescribed in
requirements.                                   See § 179.13.                                    § 179.18 and include a reclosing
 (a) Approval. Design, testing, and                 (c) Puncture resistance. (1) Minimum         pressure relief device in accordance
modeling results must be reviewed and            side impact speed: 12 mph when                  with § 173.31 of this subchapter.
approved by the Associate                       impacted at the longitudinal and                   (e) Bottom outlet. If the tank car is
Administrator for Railroad Safety/chief         vertical center of the shell by a rigid 12-      equipped with a bottom outlet, the
Safety Officer, Federal Railroad                inch by 12-inch indenter with a weight           handle must be removed prior to train
Administration (FRA), 1200 New Jersey           of 286,000 pounds.                               movement or be designed with
                                                   (2) Minimum head impact speed: 18             protection safety system(s) to prevent
Ave. SE., Washington, DC 20590.
                                                mph when impacted at the center of the           unintended actuation during train
  (5) Approval to operate at 286,000            head by a rigid 12-inch by 12-inch               accident scenarios.
gross rail load (GRL]. In addition to the       indenter with a weight of 286,000                   (f] Top fittings protection. The tank
requirements of paragraph (a) of this           pounds.                                          car tank must be equipped with top
section, a tank car may be loaded to a             (d) Thermal protection systems. The           fittings protection conforming to AAR
gross weight on rail of up to 286,000           tank car must be equipped with a                 Specifications for Tank Cars, appendix
pounds (129,727 kg] upon approval by            thermal protection system. The thermal           E paragraph 10.2.1 (IBR, see § 171.7 of
the Associate Administrator for Safety,         protection system must be equivalent to          this subchapter).
26750             federal Register/Vol. 80, No. 89/Friday, May 8, 2015 /Rules and Regulations

                                         for Safety, Federal Railroad
   (g) ECP brakes. (1) By January 1, 2021,                                           protection safety system(s) to prevent
each rail carrier operating a high-hazardAdministration (FRA). See § 179.13.         unintended actuation during train
flammable unit train as defined in          (c) Thickness of plates. The wall        accident scenarios.
§ 171.8, comprised of at least one tank  thickness after forming of the tank shell      (h) Top fittings protection. Existing
car loaded with a Packing Group I        and heads must be, at a minimum, 7/16       tank car tanks may continue to rely on
material must ensure the train meets the of an inch, and constructed with steel      the equipment installed at the time of
ECP braking capability requirements as   authorized by the HMR at the time of        manufacture.
prescribed in § 174.310 of this          construction.                                  (i) ECP brakes. (1) By January 1, 2021,
subchapter.                                 (d) Tank head puncture resistance
                                                                                     each rail carrier operating a high-hazard
                                         system. The DOT—117R specification
   (2) By May 1, 2023, each rail carrier                                             flammable unit train as defined in
operating a high-hazard flammable unit   tank car must have a tank head puncture
                                         resistance system in conformance with       § 171.8, comprised of at least one tank
train as defined in § 171.8, not described                                           car loaded with a Packing Group I
in paragraph (g)(1) of this section must § 179.16(c). The full height head shields   material must ensure the train meets the
                                         must have a minimum thickness of 1/2
ensure the train meets the ECP braking                                               ECP braking capability requirements as
                                         inch.
capability requirements as prescribed in    (e) Thermal protection system. The       prescribed in § 174.310 of this
§ 174.310 of this subchapter.            DOT—Il 7R specification tank car must       subchapter.
   (3) Alternate brake systems may be    have a thermal protection system. The          (2) By May 1, 2023, each rail carrier
submitted for approval through the       thermal protection system must conform      operating a high-hazard flammable unit
processes and procedures outlined in 49  to § 179.18 and include a reclosing         train as defined in § 171.8, not described
CFR part 232, subpart F.                 pressure relief device in accordance        in paragraph (i)(1) of this section must
                        standard         with § 173.31 of this subchapter.           ensure the train meets the ECP braking
§ 179.202—13   Retrofit
requirements (DOT—f 17R).                   (fJ Jackets. The entire thermal          capability requirements as prescribed in
                                         protection system must be covered with      § 174.310 of this subchapter.
   (a) Applicability. Each tank retrofit a metal jacket of a thickness not less        (3) Alternate brake systems may be
under these specifications must conform than 11 gauge AlOll steel or equivalent;     submitted for approval through the
to the general requirements of § 179.200 and flashed around all openings so as to    processes and procedures outlined in 49
and the prescriptive standards in        be weather fight. The exterior surface of   CFR part 232, subpart F.
§ 179.202—13, or the performance         a carbon steel tank and the inside
standard requirements of § 179.202—12.                                                 Issued in Washington, DC on May 1, 2015,
                                         surface of a carbon steel jacket must be    under the authority of 49 U.S.C. 5103(b).
   [b) Approval to operate at 286,000    given a protective coating.
                                            (g) Bottom outlets. If the tank car is   Anthony R. foxx,
gross rail load (GRL). A tank car maybe
loaded to a gross weight on rail of up   equipped with a bottom outlet, the          Secret my of Transportation.
to 286,000 pounds (129,727 kg) upon      handle must be removed prior to train       [FR Doc. 2015—10670 Filed 5—7—15; 8:45 am]
approval by the Associate Administrator movement or be designed with                 BILLING CODE 4910-60-P
           EXHIBIT 2

Response to Appeals (Nov. 5, 2015)
Billing Code: 4910-60-P

DEPARTMENT OF TRANSPORTATION

Pipeline and Hazardous Materials Safety Administration

49 CFR Parts 171, 172, 173, 174, and 179

[Docket No. PHMSA-2012-0082 (W4-251)]

RIN 2137-AE91

Hazardous Materials: Enhanced Tank Car Standards and Operational Controls for High-

Hazard Flammable Trains

AGENCY: Pipeline and Hazardous Materials Safety Administration (PHMSA), Department of

Transportation (DOT).

ACTION: Response to appeals.

SU1VEMARY: On May 8, 2015, the Pipeline and Hazardous Materials Safety Administration, in

coordination with the Federal Railroad Administration (FRA), published a final rule entitled

“Hazardous Materials: Enhanced Tank Car Standards and Operational Controls for High-Hazard

Flammable Trains,” which adopted requirements designed to reduce the consequences and, in

some instances, reduce the probability of accidents involving trains transporting large quantities

of Class 3 flammable liquids. The Hazardous Materials Regulations provide a person the

opportunity to appeal a PHMSA action, including a final rule. PHMSA received six appeals

regarding the final rule, one of which was withdrawn. This document responds to the five

remaining appeals submitted by the Dangerous Goods Advisory Council (DGAC), American

Chemistry Council (ACC), Association of American Railroads (AAR), American Fuel &

Petrochemical Manufacturers (AFPM), and jointly the Umatilla, Yakama, Warm Springs, and
                                           1
Nez Perce tribes (Columbia River Treaty Tribes) and the Quinault Indian Nation (Northwest

Treaty Tribes).

ADDRESSES: You may find information on this rulemaking and the associated appeals

(Docket No. PHMSA-2012-00$2) at the Federal eRulemaking Portal:

http://www.regulcirions.gov.

FOR FURTHER INFORMATION CONTACT: Ben Supko, (202) 366-8553, Standards and

Rulemaking Division, Pipeline and Hazardous Materials Safety Administration or Karl Alexy,

(202) 493-6245, Office of Safety Assurance and Compliance, federal Railroad Administration,

1200 New Jersey Ave., SE., Washington, DC 20590.

SUPPLEMENTARY INFORMATION:

Table of Contents of Supplementary Information

I.     Background
H.     Response to Appeals
       A.    Scope of Rulemaking
                 Dangerous Goods Advisory Council
                 American Chemistry Council
                 Association of American Railroads
                 PHMSA and FRA Response
       B.    Tribal Impacts and Consultation
                 Columbia River Treaty Tribes and Northwest Treaty Tribes
                 PHMSA and FRA Response
       C.    Information Sharing/Notification
                 Columbia River Treaty Tribes and Northwest Treaty Tribes
                 PIIMSA and FRA Response
       D.    Testing and Sampling Program
                 Dangerous Goods Advisory Council
                 PHMSA and FRA Response
       E.    Retrofit Timeline and lank Car Reporting Requirements
                 American Fuel & Petrochemical Manufacturers
                 PHMSA and FRA Response
       F.    Thermal Protection for Tank Cars
                 Association of American Railroads
                                          2
                     PHMSA and FRA Response
             G.   Advanced Brake Signal Propagation Systems
                     Dangerous Goods Advisory Council
                     PHMSA and FRA Response
                     Association of American Railroads
                     PHMSA and FRA Response
    Ill.     Summary

    I.       Background

            Under 49 C.f.R. § 106.110-106.130,’ a person may appeal a PHMSA action, including

    a fmal rule. Appeals must reach PHMSA no later than 30 days afler the date PHMSA published

    the regulation. On May 8, 2015, PHMSA, in coordination with FRA, published a final rule

    entitled “Hazardous Materials: Enhanced Tank Car Standards and Operational Controls for

    High-Hazard Flammable Trains” (HM-25 1, 80 FR 26644) (the final rule). The final rule adopted

requirements designed to reduce the consequences and, in some instances, reduce the probability

of, accidents involving trains transporting large quantities of flammable liquids. The final rule

defines certain trains transporting large volumes of flammable liquids as “high-hazard flammable

trains” (HHFT)2 and regulates their operation in terms of enhanced tank car designs, speed

restrictions, braking systems, and routing. In response to the fmal rule, PHMSA received six

appeals, one of which was withdrawn. The five active appeals were submitted by the DGAC,




    All references to sections of the regulations in this document refer to title 49 CfR.
2
 HHfT “means a single train transporting 20 or more loaded tank cars of a Class 3 flammable liquid in a continuous
block or a single train carrying 35 or more loaded tank cars of a Class 3 flammable liquid throughout the train
consist.” § 171.8.




                                                            3
ACC, AAR, AFPM, and jointly the Columbia River Treaty Tribes and the Northwest Treaty

Tribes.

          Section 106.130 requires PHMSA to notify those who appeal, in writing, of the action on

the appeal, within 90 days after the date that PHMSA published the action being appealed.

Based on the final rule’s publication date of May 8, 2015, PHMSA was required to provide a

response or notice of delay by August 6, 2015. On August 6, 2015, PHMSA posted a notice of

delay on its web site and subsequently published that notice in the Federal Register on August

10, 2015 (Notice 15-14; 80 FR 479$7)•3

          This document summarizes and responds to the appeals of the DGAC, ACC, AAR,

AFPM, and jointly the Columbia River Treaty Tribes and the Northwest Treaty Tribes. PHMSA

has consolidated the appeals and structured this document to address the content of the appeals

by topic area. The topic areas include (1) Scope of Rulemaking; (2) Tribal Impacts and

Consultation; (3) Information Sharing/Notification; (4) Testing and Sampling Programs; (5)

Retrofit Timeline and Tank Car Reporting Requirements; (6) Thermal Protection for Tank Cars;

and (7) Advanced Brake Signal Propagation Systems. In each section, PBMSA summarizes the

pertinent appeals on the topic area, by appellant, and then provides PFIMSA and FRA’s response




3http://www.phmsa.dot.gov/pv_obj_cache/pv_obj_id_79961459E55D0ADB8FF5 1OCF4A93EC93E3A00000/filena
me/Notice_No_15_14_Delay_in_Appeals.pdf




                                               4
to the appeals on that topic area. The document concludes with a summary of further actions in

response to the appeals.

IL       Response to Appeals

         A.       Scope of Rulemaking

Dangerous Goods Advisory Council

         DGAC expresses concern that the definition of “HHFT” as adopted in the final rule

would subject manifest trains4 to the applicable additional requirements for HHFTs. DGAC

contends that shippers cannot know if tank cars they offer to a carrier will be assembled into a

manifest train that meets the definition of HHFT, triggering requirements for those tank cars to

meet the enhanced standards the final rule establishes. Additionally, DGAC states that at the

time of pick-up, railroads cannot make this determination either. DGAC expects that the

inability of both shippers and carriers to determine if a future manifest train will be an Fll{FT

will necessitate approximately 40,000 additional DOT Specification ill (DOT-ill) tank cars to

be retrofitted to the DOT Specification 1 17R (DOT-i 17R) requirements or replaced with the

new DOT Specification 117 (DOT-117) tank cars under the fmal rule. DGAC believes that the

definition of HHFT in the fmal rule is harmfully broad and should be revised to limit its

applicability to railroad operations only and not to determine a tank car specification.




 A “manifest train” means a freight train with a mixture of car types and cargoes.




                                                        5
         DGAC also states that both the term and definition for a “high-hazard flammable unit

train” (HHFUT)5 were not proposed in the NPRM. DGAC believes the addition of a new

definition for HHFUT is unnecessary and requests that the definition be eliminated.

         DGAC also believes that speed restrictions in the fmal rule should apply only to crude oil

and ethanol trains. It states speed restrictions on all flammable liquids may cause delays in rail

service for other rail operations, which could cause significant safety impacts. DGAC opines

that more time in transit, more or longer trains, and more overall congestion could cause more

incidents.

         DGAC also states that the scope of the final rule is not harmonized with applicable

Canadian regulations. While it believes Canada has taken a “commodity-based approach” to the

phase-out of legacy DOT-ill tank cars and corresponding retrofit timeline, it states that the U.S.

approach is based on classification and packing group. DGAC believes that a commodity-based

approach, addressing crude oil and ethanol, makes the most sense because it would address the

material being transported in unit trains from a reasonable risk approach. DGAC also continues

to encourage PHMSA, FRA, and Transport Canada (TC) to better identify the root causes of

crashes and derailments involving these flammable liquids.




 HHfUT “means a single train transporting 70 or more loaded tank cars containing Class 3 flammable liquid.”
§ 171.8




                                                     6
        th summary, DGAC contends that the applicability of the final rule should be limited to

the transportation of crude oil and ethanol trains, which, it says, was the stated intention of the

rule. DGAC argues that, if the Department wishes to pursue enhanced tank car standards and

operational requirements for other Class 3 (flammable liquid) materials, it should do so in a

separate rulemaking.

American Chemistry Council

       ACC requests that PHMSA revise the final rule to ensure that the requirement to retrofit

existing tank cars applies only to cars carrying crude oil and ethanol. Other than tank cars

transporting crude oil or ethanol, ACC states that the preamble and the Regulatory Impact

Analysis (RIA) show that PHMSA’s final rule did not intend to require retrofits of most tank cars

transporting other flammable liquids.

       ACC requests “that the FIHFT defmition be reserved for regulations that apply to railroad

train operations, not to tank car design.” They assert that the RNFT definition should not trigger

design standards that would apply to most tank cars intended to contain Class 3 flammable

liquids. ACC does not contest the application of the HNFT concept to operational controls, such

as establishing speed limits or braking requirements.




                                                7
           Furthermore, like DGAC, ACC contends that the final rule will necessitate that

    approximately 40,0006 additional DOT-ill tank cars either be retrofitted to meet the DOT-i 17R

    requirements or be replaced with the new DOT-i 17 tank cars. ACC suggests that this is in

    contrast to the stated focus on crude oil and ethanol. ACC echoes DGAC, stating that the

    shipper has no control over how railroads pick up cars and assemble manifest trains. While

    chemical shippers can, and oflen do, tender fewer than 20 tank cars loaded with flammable

liquids at a time, there is no certainty that those chemicals will always be on a manifest train with

fewer than 35 tank cars loaded with a flammable liquid. ACC asserts that the final rule does not

alignwith the increased risk of derailment associated with unit trains and notes that flammable

liquid chemicals are not shipped in unit trains. For that reason, ACC considers the HHFT

definition to be overly broad and not aligned with the increased risk of derailment associated

with unit trains. ACC urges that the scope be clarified so that the final rule will apply to crude

oil unit trains, citing the relevant discussion in the Notice of Proposed Rulemaking. See 79 FR

45040. ACC indicates that because even a single tank car loaded with a Class 3 (flammable

liquid) material tendered by one of its members may be placed in an RFIFT, all tank cars




6
  The members of “the [Railway Supply Institute] RSI Committee on Tank Cars.. .collectively build more than
ninety-five percent (95%) of all new railroad tank cars and own and provide for lease over seventy percent (70%) of
railroad tank cars operating in North America.” On page 56 of those comments, in Table C-3, RSI estimated that at
the end of 2015 tank car fleets will contain the following:
          • 87,507 tank cars (of all types) used for the movement of crude oil;
          • 27,899 tank cars (of all types) in ethanol service; and
          • 39,122 tank cars that carry flammable liquids other than crude oil or ethanol.




                                                       8
 intended to contain Class 3 (flammable liquid) materials will have to meet the design criteria set

 forth in the final rule. Furthermore, ACC explains that afier publication of the final rule,

 railroads explicitly told ACC members that they will not manage manifest train operations to

 avoid triggering the regulatory requirements of the HHFT definition.

         ACC contends that removing the retrofitting requirements for Class 3 flammable liquids

 that are not crude oil or ethanol would alleviate shop capacity problems and provide greater

 harmonization with TC’s analogous retrofit schedule. ACC contends that PHMSA’s adherence

 to using packing group, rather than to using risk, severely complicates the implementation of the

 rules in the two countries. ACC states that some of the Class 3 flammable liquid materials that

 will be affected by the final rule are classified in Packing Group (PG) I, so those tank cars will

reach PHMSA’s deadlines for retrofit or replacement before the tank cars that carry either

ethanol or PG II crude oil. ACC states that the different prioritizations chosen by TC and by

PHMSA will exacerbate conflicts over tank car shop space.

        In sum, ACC believes that the scope of the final rule will inadvertently affect nearly

40,000 legacy DOT-ill tank cars that transport Class 3 flammable liquids that were not

accounted for in the accompanying RIA. ACC states that because a shipper cannot know how a

carrier will assemble a train, the possibility that a shipper’s tank car will be placed into an HHFT

will force all shippers of Class 3 materials to retrofit or purchase tank cars to meet the DOT

1 17R or DOT-i 17 specification. ACC believes that, coupled with a retrofit timeline that does

not match the Canadian timeline, the final rule will fail to properly address the risks associated

with hazardous materials offered and transported in unit trains.



                                                9
Association ofAmerican Railroads

        AAR contests the scope of the final rule because it permits shippers to continue to

package Class 3 flammable liquid materials in tank cars that do not meet the new DOT-i 17 tank

car standard. AAR states that PHMSA has created two poois of tank cars, those that meet the

heightened standard for HRFTs and those that do not. As a result, AAR asserts, shippers may

continue to offer Class 3 flammable liquid materials in DOT-ill tank cars as long as the

DOT-i ii is not placed in an HHFT. According to AAR, this places an unjustified burden on the

railroads to continuously analyze the composition of each train transporting Class 3 flammable

liquid materials in DOT-ill tank cars. AAR claims that PHMSA’s argument, that through fleet

management the railroads can avoid this issue, is baseless. AAR believes that PRMSA should

harmonize with Canada by banning the use of DOT-ill tank cars for transporting any Class 3

flammable liquid materials. By failing to harmonize with Canada in this respect, AAR contends

that the U.S. market will become flooded with legacy DOT-ill tank cars, which will further

exacerbate the fleet management challenges U.S. railroads will face to construct trains to avoid

meeting the definition of an RHFT.

       To support its appeal, AAR submitted waybill data from its subsidiary Railinc showing

numbers of flammable liquid shipments tendered in smaller groups of cars that do not by

themselves meet the definition of an IIHFT. Data from the first quarter of 2015 illustrate that

37,000 cars of flammable liquids (other than crude oil and ethanol) were tendered in blocks of 20

cars or fewer. During the same period, 37,576 tank cars of other flammable liquids (other than

the 25,009 tank cars of crude oil or 39,956 tank cars of ethanol) were tendered in groups of fewer

than 35 cars. According to AAR, had the final rule been in effect, a total of 102,541 cars of
                                               10
 flammable liquids could have moved in existing DOT-il is.7 AAR contends that PHMSA

 should specify a sunset date for discontinuing the use of DOT-ill tank cars for hazardous

 materials not in an HRFT.

PHM$A and FRA Response

         In regards to DGAC’s, ACC’s, and AAR’s appeals on the scope of the final rule, we

disagree with those appellants’ assertions and maintain that the method we determined to apply

the new regulatory requirements and the regulatory analysis to support those decisions were

conducted through careful consideration of the risks flammable liquids pose and the comments

received during the rulemaking process. The position these appellants are taking in the appeals

is based on anecdotal evidence and an interpretation of tank car fleet numbers that exaggerates

the scope of the rulemaking. While we respect the argument that both shippers and carriers of

Class 3 flammable liquids by rail will face new challenges in the wake of these regulations, we

maintain that they are capable of working together to comply with the requirements established

by the final rule.

        DGAC, AAR, and ACC contend that both shippers and carriers cannot predict whether

tank cars offered for transportation will be placed in a train set meeting the definition of an

FIHFT. By relying on this rationale, DGAC and ACC contend that the final rule will require




 The detailed figures AAR provided can be found in its appeal under Docket No. PHMSA-2012-0082.




                                                   11
    nearly 40,000 tank cars to be replaced with the new DOT-117 tank car or be retrofitted to the

    DOT-i 17R requirements because a tank car possibly placed in an FifIFT. These numbers are

    based on the 2015 Railway Supply Institute (RSI) fleet forecast predicting the number of DOT-

    111 tank cars transporting Class 3 flammable liquids (other than crude oil and ethanol). The

    solution they urge is limiting the scope of the rule to crude oil and ethanol.

           We disagree. We believe that limiting the scope of the rulemaking to crude oil and

ethanol would not align with the intent and applicability of the Hazardous Materials Regulations

(HMR; 49 CFR parts 171-180). The HMR are risk based and focus on the hazards presented

during transportation. Focusing only on a subset of flammable liquids is a short-sighted

regulatory approach and has the potential to lead to inconsistencies and safety concerns in the

future. PHMSA’s goal is to provide regulatory certainty that addresses the risks posed by all

FFHFTs.

           In the NPRM, PHMSA proposed a defmition of an I-fIlET with a threshold of 20 cars in a

train. This aligned with AAR’s “Key Train” definition in its circular OT-55-N, indicating the

railroads currently recognize that trains of this make-up represent a high risk.8 Additionally, the

NPRM tied the applicability of the new tank car specification to the I-il-JET definition. In

response to the NPRM, PHMSA received numerous comments suggesting that both shippers and




$
  http:!/www.boe.aar.corn/CPC-1258%200T-55-N%208-5-13.pdf. Note that the current circular is OT-55-O:
http://www.boe.aar.comICPC-13 12%200T-55-O%201.27.2015.pdf




                                                    12
carriers would be placed in an untenable position because it is impossible to determine when

tank cars would be in an HHFT. To address commenters’ concerns, we revised the definition of

HHFT to 20 cars in a block or 35 throughout the train. The risk-based equivalency of 20 cars in

a block and 35 cars throughout the train is calculated in the RIA on page 323. PHMSA based

this change on calculations finding that 20 cars in a block is roughly equivalent to 35 cars placed

throughout a train, as well as AAR’s comments noting that such a change would alleviate

concerns about manifest trains operating in High Threat Urban Areas (HTUAs).

        Similarly, PNMSA denies DGAC’s request to remove the definition of HHFUT. Again,

PHMSA developed the definition based on an analysis of comments received on the NPRM and

careful cost analysis. While the definition of NNFUT was not expressly proposed in the NPRM,

the NPRM did propose requirements for enhanced brake signal propagation systems for all trains

meeting the definition of HHFT. PHMSA believes that the HRFUT definition captures the

subset of FIIIFTs that represent the highest risk and where the most benefits from ECP braking

will be gained and that the definition is within the scope of the NPRM proposals.

       Regarding the appellants’ concerns that the tank car specification is linked to the number

of cars in the train, PHMSA understands that railroads have significant fleet management

programs in place. On page 221 of the RIA, PHMSA details the agency’s understanding of




 PHMSA-20 12-0082-3442




                                               13
 railroads’ capability to conduct fleet management. We are aware that both shippers and carriers

 have fleet managers to predict or control whether a given tank car will be used in manifest train

 service or unit train service. Despite these fleet management capabilities and programs, the

appellants indicate they have little control over the number of cars loaded with Class 3

(flammable liquid) materials in a train. To argue that neither party can predict a train’s

composition—particularly when transporting hazardous materials—implies an alarming lack of

awareness in appellants’ own operations. Indeed, train crews are actually required to maintain a

document that reflects the current position in the train of each rail car containing a hazardous

material. See § 174.26.

        AAR contends that all cars transporting flammable liquids should be retrofitted to the

DOT-il 7R requirements. On the other hand, the shippers contend no cars, other than those

transporting crude oil and ethanol, should be retrofitted. PHMSA believes the final rule strikes

the correct balance by requiring retrofits of all tank cars in crude oil and ethanol service plus the

354 tank cars in PG III service by estimating roughly 10 percent of trains transporting PG III

commodities might meet the HEFT definition, and thus, that 10 percent of the cars would require

retrofitting.’0 further, PHMSA expects that the railroads will manage the assembly of loaded




  PHMSA-2012-OO$2-3442 at p. 15.




                              V
                                                14
 tank cars and manage the classification of trains to exclude tank cars from FIHFTs that do not

 meet the new DOT-i 17 and DOT-i 17R tank car specifications.

        Therefore, as previously stated, the estimated number of tank cars in PG III flammable

 liquid service that would be used to make up HHFTs, and hence have to meet the new

 requirements, is 354 tank cars, not the nearly 40,000 DGAC and ACC allege. The costs

presented in the RIA were based on an analysis of public waybill data and include the costs of

retrofitting the 354 tank cars mentioned above. The analysis showed that no other flammable

liquid commodities of any packing group—other than crude oil or ethanol—were shipped in

quantities that would trigger the HEFT requirements.

        further, our analysis of the waybill data indicated that far fewer than 10 percent of PG III

cars would be affected by the HHFT definition. Nevertheless, to be conservative, we assumed

roughly 10 percent of trains transporting PG III commodities might meet the HHFT defmition,

therefore 10 percent of the cars would require retrofitting. After adjusting for retirement of some

cars and accounting for Canada’s fleet share, we calculated that 10 percent of the remaining cars

equaled the 354 cars that we incorporated into the cost analysis.

        ACC’s assertion that nearly 40,000 tank cars would have to be retrofitted or replaced to

meet the enhanced tank car standards due to their possible placement in an HEFT is grossly

exacerbated by the railroads advising ACC that they will not manage fleets to avoid their

shipments becoming subject to the new regulations. PHMSA does not agree that this is a valid

basis for revising the scope of the final rule’s requirements. We explicitly limited the reach of

the final rule to trains transporting large quantities of flammable liquids, and defined HHFT to

exclude typical manifest trains that do not transport the large quantities of flammable liquids.
                                                15
For railroads to state that they will not manage train sets undermines the risk-based goal of the

fmal rule to exclude commodities not typically shipped in large quantities.

        DGAC, ACC, and AAR also contend that the U.S. packing group approach is not

harmonized with Canada’s commodity-based approach to the phase out of DOT-ill tank cars

and corresponding retrofit timeline. Again, we disagree. By designating DOT-ill tank cars for

phase out by packing group, we are aligned with Canada. While the Canadian approach

expressly states crude oil and ethanol, we chose to use PG I, which encapsulates crude oil, and

PG II, which encapsulates ethanol. DOT and TC were in constant communication while

developing the respective rulemaking actions.

       AAR also appealed the rule for not specifying a sunset date for the continued use of

DOT-ill tank cars for all Class 3 flammable liquids. AAR contends that this will cause the non-

retrofitted Canadian fleet to flood the U.S. market, making it increasingly difficult to manage the

operational complexities of two poois of tank cars. Even if AAR’s contention is true, we chose

to authorize the continued use of DOT-ill tank cars for the transportation of hazardous

materials not in an HHFT because it would have been cost prohibitive to prohibit all Class 3

flammable liquids in DOT-ill tank cars. As stated in the RIA and fmal rule preamble, we

believe that we appropriately addressed the risk of continued use of such cars by prohibiting the

use of legacy DOT-ill tank cars for FLHFT service. For these reasons, the DGAC, ACC, and

AAR appeals on the scope of the final rule are denied.




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        B.      Tribal Impacts and Consultation

 Columbia River Treaty Tribes and Northwest Treaty Tribes

        The Columbia River Treaty Tribes and the Northwest Treaty Tribes (“Treaty Tribes”)

 submitted an appeal to the Secretary on June 5, 2015. The Treaty Tribes’ arguments suggest that

 by omitting formal tribal consultation, DOT did not follow Executive Order (E.O.) 13175 and.

 DOT guidance. By way of remedy, the Treaty Tribes urge PFIMSA to “reopen a notice and

comment period for the Tank Car Rule [and) carry out tribal consultations on all aspects of the

Tank Car Rule.”

        The Treaty Tribes’ appeal lays out various arguments for tribal consultation under E.O.

13175 and DOT guidance. First, the appeal argues that PHMSA erred in concluding that the

rulemaking “does not significantly or uniquely affect tribes.” Second, the Treaty Tribes’ appeal

argues that the final rule “impose[s] substantial direct effects or compliance costs” on Indian

tribal governments. Third, the Treaty Tribes’ appeal finds fault with PHMSA’s discussion of its

“superseding preemption” authority for hazardous materials regulations in the final rule’s

discussion of tribal consultation.

PHM$A and FRA Response

       We appreciate the comments the Treaty Tribes and other Tribes provided to the NPRM,

which are addressed in the fmal rule. However, PHMSA respectfully disagrees with the Treaty

Tribes appellants and maintains that the appellants’ concerns were addressed during the

rulemaking process. Overall, the comments from Indian tribal governments to the NPRM

expressed concerns about the potential environmental, economic, and safety impacts of crude oil


                                               17
 train derailments on tribal lands. PRMSA responded to those concerns by adopting a final rule

 designed to reduce the severity of and/or prevent derailments in an effort to improve public

 safety and protection of the environment. PBMSA and FRA conducted an extensive and

thorough review of all comments received, and considered the concerns of all stakeholders,

 including Indian tribal governments. In the final rule, PHMSA summarized and discussed the

comments of our stakeholders, including in-depth discussions of the comments of Indian tribal

governments, and provided justifications for our adopted proposals and for those proposals we

did not adopt.

Executive Order 13175

           E.O. 13175 establishes processes for when a Federal agency is “formulating and

implementirtg policies that have tribal implications.”” This E.O., re-affirmed by President

Obama in a November 5, 2009, “Tribal Consultation” memorandum,’2 states that “[pJolicies that

have tribal implications” refers to “regulations, legislative comments or proposed legislation, and

other policy statements or actions that have substantial direct effects on one or more Indian

tribes, on the relationship between the Federal Government and Indian tribes, or on the

distribution of power and responsibilities between the Federal Government and Indian tribes.” In

addition, under DOT Order 5301.1 and other DOT tribal policies, components of DOT must




‘
     “Consultation and Coordination with Indian Tribal Governments,” 65 FR 67249 (Nov. 9, 2000).
12
     “Memorandum on Tribal Consultation,” 74 FR 57881.




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consult with Indian tribal governments before taking any actions that “significantly or uniquely”

affect them.’3 In the final rule, PHMSA discussed E.O. 13175, and reasonably concluded that

the rulemaking did not: (1) have tribal implications; (2) significantly or uniquely affect tribes; or

(3) impose substantial direct effects or compliance costs on tribal governments.’4

Significant or Unique Tribal Effects

         The Treaty Tribes argue that consultation was required because of alleged unique and

substantial effects of the fmal rule on the Treaty Tribes and their interests. Specifically, the

Treaty Tribes’ appeal discusses the unique history of their fishing rights and states, “[h]ad

PHMSA consulted with the Northwest treaty tribes, it would have learned of the tribal and

federal interests in their collective usual and accustomed fishing areas and potential impacts

resulting from the proposed Tank Car Rule.” The Treaty Tribes discussed their concerns with

the rail routing analysis discussion of environmentally sensitive areas. Though the Treaty

Tribes’ fishing rights may be unique, the trigger for the consultation requirement is a federal

action that has a significant or unique effect upon tribes. Here, no such federal action exists.

The enhanced safety provisions in the fmal rule, are designed to decrease the likelihood and




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  “U.S. Dept. of Transportation, Office of the Secretary of Transportation, Department of Transportation Programs,
Policies, and Procedures Affecting American Indians, Alaska Natives, and Tribes,” Order No. DOT 5303.1 (Nov.
16, 1999).
             PHMSA did not explicitly invoke DOT Order 5303.1, PHMSA analyzed the applicability of tribal
consultation using the Order’s applicability to actions that “significantly or uniquely” affect Indian tribal
governments.




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 severity of derailments and resulting spills, in an effort to improve public safety and protect the

 environment. The requirements adopted in the final rule do not apply directly to tribes. They

 apply to railroads and hazardous materials shippers. Any potential effect on tribes would take

 place several stages removed from the federal action of the final rule.

        PHMSA believes that these regulations work to the benefit of all communities and areas

affected by the rail transportation of flammable liquids. For this reason, PHMSA affirms that the

 impact of the final rule is not “significant” or “unique” to communities or resources under the

jurisdiction of tribal govermnents.

Relationship between Tribes and United States

        The Treaty Tribes argue that the rule affects the relationship between tribes and the U.S.,

triggering the consultation provisions of E.O. 13175. The NPRM requested comments on

whether the railroad’s notification requirements should proceed through tribal emergency

response commissions. This proposal was not adopted in the final rule. The tribes argue that

this impacted the relationship between the tribes and the federal government. However, the

information-sharing provisions would have directed the railroads to share information with the

tribes. Although this may or may not affect the tribes’ relationships with the railroads, it would

not affect the relationship between tribes and the federal government.

       As further discussed in the Notification Section of this document, the Treaty Tribes

asked that PFIMSA reinstitute the notice provisions of the Secretary’s May 7, 2014 Emergency

Order. DOT has kept in place the May 2014 Emergency Order that requires railroads to provide

Bakken crude oil information directly to State Emergency Response Commissions (SERCs).

PHMSA plans to revisit these provisions in an upcoming rulemaking and has pledged to
                                                20
maintain the Emergency Order until such a rulemaking codifying these provisions is published.

Accordingly, for the reasons previously stated, this rulemaking has not affected the relationship

between tribes and the federal government.

Preemption!Distribution of Power and Responsibilities

        Finally, the Treaty Tribes argue that “PHMSA asserts the preemption provisions of 49

U.S.C. § 5126 and 20106 supersede” the need for tribal consultation. This is an inaccurate

characterization of PHMSA’s position. In the final rule, we state that “PHMSA has determined

that this rulemaking does not significantly or uniquely affect tribes, and does not impose

substantial direct effects or compliance costs on such governments.” Although the rule

referenced the preemption authorities of PHMSA and FRA, the basis for the decision to forgo

tribal consultation was the lack of direct tribal impacts. In this case, PHMSA reasonably

determined that a consultation with tribal officials was not necessary under the guidelines of E.O.

13175 and DOT policies.

Remedy

       Moreover, the Treaty Tribes’ appeal asked that PHMSA “reopen a notice and comment

period for the Tank Car Rule [andJ carry out tribal consultations on all aspects of the Tank Car

Rule.” Independent of the arguments discussed above, PHMSA and FRA suggest that granting

this aspect of the Treaty Tribes’ appeal would result in further rulemaking proceedings that

would frustrate implementation of the final rule’s safety advancements and potentially delay

safety improvements due to regulatory uncertainty.

Outreach


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          While PHMSA does not believe E.O. 13175 required a consultation for the HHFT

 rulemaking, PHMSA recognizes the importance of government-to-government relationships with

tribes. To this end, PHMSA has expanded its tribal outreach efforts. For example, in March

2015, DOT representatives met with representatives from the Prairie Island Tribe to discuss

tribal concerns with the movement of Bakken crude oil through their community. In August

2015, PHMSA representatives attended the Northwest Tribal Emergency Management Council’s

annual meeting in Spokane, Washington. This provided an opportunity to speak directly with

tribal emergency management leaders and emphasize the importance of effective tribal and

federal cooperation. In addition, PHMSA provides hazardous materials emergency preparedness

grant funding to tribes to carry out planning and training activities to ensure that State, local, and

tribal emergency responders are properly prepared and trained to respond to hazardous materials

transportation incidents. For these reasons, the Treaty Tribes appeal to reopen a notice and

comment period for the fmal rule and carry out tribal consultations on all aspects of the rule is

denied.

          C.     Information Sharing/Notification

Columbia River Treaty Tribes and Northwest Treaty Tribes

          The Treaty Tribes also appealed the notification provisions of the final rule. They have

stated, “On its face, the Tank Car Rule could be read to abandon the Emergency Order and cut

back on both emergency responder and tribal access to train route and emergency response

information.” According to the Treaty Tribes, the notification provisions adopted in the fmal

Rule “weaken the notification scheme in a number of ways” since the information provided is


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 “far less informative” and its dissemination is limited to “those with a need-to-know in an anti-

terrorism context.” For these reasons, the Treaty Tribes asked that PHIVISA reinstitute the

notice provisions of the Secretary’s May 7, 2014 Emergency Order.

PHMSA and FRA Response

        We agree with the Treaty Tribes. As discussed in the Treaty Tribes’ petition, on May 7,

2014, the Secretary issued an Emergency Order in Docket No. DOT-O$T-2014-0067 (“May

2014 Emergency Order” or “Order”). That Order requires each railroad transporting in

commerce within the U.S. 1,000,000 gallons or more of Bakken crude oil in a single train to

provide certain information in writing to the SERCs for each State in which it operates such a

train. The Order requires railroads to provide: (1) the expected volume and frequency of

affected trains transporting Bakken crude oil through each county in a State; (2) the routes over

which the identified trains are expected to operate; (3) a description of the petroleum crude oil

and applicable emergency response information; and (4) contact information for at least one

responsible party at the raifroad. In addition, the Order requires that railroads provide copies of

notifications made to each SERC to FRA upon request and to provide SERCs updated

notifications when there is a “material change” in the volume of affected trains. Subsequent to

issuing the Order, in August 2014, PHMSA published the HHFT NPRM, which, in part,

proposed to codify and clarify the requirements of the Order, and requested public comment on

the proposal.

       Based on the comments received to the NPRM, along with PHMSA and FRA’s analysis

of the issues involved in the FIHFT final rule, PHMSA did not adopt the notification

requirements of the proposed rule. PHMSA determined expansion of the existing route analysis
                                               23
 and consultation requirements of § 172.820 to include HHfTs was the best approach to ensure

 emergency responders and others involved with emergency response planning and preparedness

 would have access to sufficient information regarding crude oil shipments moving through their

 jurisdictions to adequately plan and prepare from an emergency response perspective. Thus, the

 final rule expanded the applicability of § 172.820 to HHFTs. As part of these additional safety

 and security planning requirements, the final rule requires rail carriers operating H}IFTs to

 comply with § 172.820(g), which requires that railroads “identify a point of contact on routing

 issues and provide that contact’s information (including his or her name, title, phone number and

 e-mail address):

        (1) State and/or regional Fusion Centers that have been established to coordinate
        with state, local and tribal officials on security issues which are located within
        the area encompassed by the rail carrier’s rail system; and (2) State, local, and
        tribal officials in jurisdictions that may be affected by a rail carrier’s routing
        decisions and who directly contact the railroad to discuss routing decisions.

        Thus, these notification provisions require railroads to proactively provide this contact

information to “State and/or regional Fusion Centers” and ensure that “state, local, and tribal

officials.. .who directly contact the railroad to discuss routing decisions” are provided the same

information. Tribal officials can also coordinate with Fusion Centers to obtain this information.

At the time of the final rule’s publication, the notification provisions discussed above were set to

supersede the May 2014 Emergency Order, once codified notification provisions are hilly

implemented (i.e., March 31, 2016).

       Subsequent to publication of the final rule, PHMSA received feedback from stakeholders

(including tribal authorities) expressing intense concern about the Department’s decision to forgo

the proactive notification requirements of the Order and in the NPRM. Generally, these
                                                24
stakeholders expressed the view that given the unique risks posed by the frequent rail

transportation of large volumes of flammable liquids, including Bakken crude oil, PHMSA

should not eliminate the proactive information sharing provisions of the Order and rely solely on

the consultation and communication requirements in existing § 172.820. These stakeholders

expressed concern that the final rule may limit the availability of emergency response

information by superseding the May 2014 Emergency Order.

        In response to these concerns and after further evaluating the issue within the

Department, in a May 28, 2015 notice (Notice), PHMSA announced that it would extend the

Order indefinitely, while it considered options for codifying the disclosure requirement

permanently.15 furthermore, on July 22, 2015, FRA issued a public letter instructing railroads

transporting crude oil that they must continue to notify SERCs of the expected movement of

Bakken crude oil trains through individual states.’6

        The Treaty Tribes’ appeal reiterates these concerns about the codified notification

provisions, stating that they “cut back on both emergency responder and tribal access to train

route and emergency response information.” In light of the May 28, 2015 PHM$A Notice and

other DOT communications, PHMSA believes that we have adequately addressed the Treaty




15
  http://www.phmsa.dot.gov/hazrn.atiphmsa-notice-regardin-ernergencv-response-noti fications-for-shiprnents-of
petroleum-crude-oil-by-rail
16



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 Tribes’ concerns about the information sharing provisions of the final rule and the Treaty Tribes’

 explicit support for the notification procedures in the May 2014 Emergency Order. Since DOT

 has already re-examined the decision to allow the final rule to supersede the May 2014

 Emergency Order and determined that the Order will remain in full force and effect until the

 agency considers options for codifying it on a permanent basis, PHMSA believes we have been

responsive to this aspect of the Treaty Tribes’ appeal. In accordance with the Notice, PRMSA

continues to consider options for codifying the central aspects of the Order permanently in a

future rulemaking action. The treaty tribes will have the opportunity to comment on these future

regulatory proposals in the course of that rulemaking proceeding. In addition, PHMSA is

seeking opportunities similar to attending the Northwest Tribal Emergency Management

Council’s meeting held in Spokane, Washington, to engage further with the tribal communities

affected by our regulations. Continued opportunities to reach out directly to tribal emergency

management leaders will improve the cooperation between PHMSA and the tribes.


        D.     Testing and Sampling Program

Dangerous Goods Advisoiy Councit

       DGAC does not believe the sampling and testing program adopted in § 173.41 is justified

or warranted and requests that we eliminate this provision. DGAC asserts that the classification

sampling and testing program would not change the tank car selection or emergency response

guidebook responses. DGAC also expresses concern that sampling during transportation could

create a safety risk as closed packages are re-opened.



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        If PHMSA does not repeal the program, DGAC requests additional clarification.

Specifically, DGAC requests that we revise the final rule to include a definition for “unrefmed

petroleum-based products,” consistent with the discussion in the preamble. See $0 FR 26704.

DGAC further requests additional guidance on the provision in § 173.41(a)(2), which states

“and when changes that may affect the properties of the material may occur   ...,“   and additional

guidance on the recordkeeping requirements.

        Finally, DGAC requests that we provide a delayed compliance date of March 31, 2016

for implementation of the requirements in § 173.41 if the requirement is maintained. This date

aligns with the delayed compliance date of March 31, 2016, provided for a rail carrier to

complete the initial plaiming process required in § 172.820. DGAC believes that a delayed

compliance date is necessary because “affected parties have certain testing procedures in place,

the development, distribution and training of affected hazardous materials employees in a more

‘formal’ program by July 7, 2015 is not reasonable.”

PHM$A and FRA Response

       In regards to DGAC’s appeal on the sampling and testing program, PHMSA maintains

that that sampling and testing program is justified and necessary. In its safety recommendation,

R-14-6, the National Transportation Safety Board (NTSB) recognized the importance of

requiring “shippers to sufficiently test and document the physical and chemical characteristics of

hazardous materials to ensure the proper classification, packaging, and record-keeping of

products offered in transportation.” The entire premise of the HMR is built around the shipper’s

responsibility to properly classify a hazardous material. Under § 17 1.2(e), “No person may offer

or accept a hazardous material for transportation in commerce unless the hazardous material is
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 properly classed, described, packaged, marked, labeled, and in condition for shipment as

 required or authorized by applicable requirements of this subchapter.” Proper classification

 ensures the correct regulatory provisions are being followed both when the material is initially

 offered and during downstream shipments. The HMR requires correct classification and

communication, even when the shipper has the option to use a more stringent packaging.

Classification also includes ensuring that all correct hazard classes are identified. Many

provisions in the FIMR also require the shipper to have knowledge about the material that

exceeds the information provided by the shipping papers or Emergency Response Guidebook

(ERG). For example, it is forbidden to offer “a material in the same packaging, freight container,

or overpack with another material, the mixing of which is likely to cause a dangerous evolution

of heat, or flammable or poisonous gases or vapors, or to produce corrosive materials” under §

173.21(e). For petroleum crude oil, the shipper may additionally need to identify properties such

as corrosivity, vapor pressure, specific gravity at loading and reference temperatures, and the

presence and concentration of specific compounds (e.g., sulfur), depending on the different

packaging options selected and the conditions under which the material is being offered.

Considering the challenges posed by materials with variable composition and potentially variable

properties, such as crude oil, providing criteria for sampling and testing of unrefined petroleum

based products is a critical first step in safe transportation of these materials. Proper

classification and the assignment of a packing group for a hazardous material determines what

packaging is appropriate for that material.

       Industry also recognizes the importance and unique challenges of properly classifying

petroleum crude oil. The American Petroleum Institute spearheaded efforts to develop an
                                                28
 industry standard for the classification of petroleum crude oil, resulting in the development of

 American National Standards Institute (ANSI)/American Petroleum Institute (API) Recommend

 Practices (RP) 3000, “Classifying and Loading of Crude Oil into Rail Tank Cars.” This API

 standard went through a public comment period during its development in order to be designated

 as an American National Standard.

           We also disagree that providing more specificity or guidance to the program is necessary.

 The term “unrefined petroleum-based products” is clear as written. “Petroleum” is used

throughout the HMR. The term “unrefined” is sufficiently clear in the context of the petroleum

industry. Therefore, the term “unrefined petroleum-based products” would be any material that

is petroleum based, and has not undergone refinement. For example, heat treating to reduce

vapor pressure or to remove the dissolved gases in crude oil so that it may be transported for

refinement would not meet the American Fuel & Petrochemical Manufacturers (AfPM) or other

industry definitions of “refining.”7

           We disagree that additional guidance is necessary, as the requirement in § 173.41(e) to

document and maintain records of the sampling and testing program is clear. In both the NPRM

and final rule, we stated respectively that we are not proposing or adopting a requirement for the




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     http:Iwww.afprn .omrfhe-Refinerv-Process/




                                                 29
  retention of test results. Therefore, the documentation in paragraph
                                                                          (e) must describe the
  program itself.

          We also disagree that the requirements of when to sample are unclea
                                                                                    r or present a safety
  risk. The sampling and testing program is only required prior to the
                                                                          offering of the material for
  transportation. This is further clarified in § 173.41(a) (2), which states,
                                                                                “Sampling prior to the
  initial offering of the material for transportation and when changes
                                                                         that may affect the properties
 of the material occur (i.e., mixing of the material from multiple source
                                                                         s, or further processing
 and then subsequent transportation).” Therefore, sampling would
                                                                       be required before the initial
 offering for transportation, and in some situations when the material
                                                                          is re-offered for
 transportation. The examples in the description provide flexibility
                                                                        to accommodate changing
 industry practices, and should not be replaced with a prescriptive
                                                                      list. Overall, API RP 3000
 provides a more specific example of how the sampling requirements
                                                                         of § 173.41 may be met. As
 we stated in the final rule,

        Shippers must continue to use the testing methods for classification
                                                                             of flammable liquids
        outlined in § 173.120 and flammable gases in 173.115. However,
                                                       §                     API RP 3000 is
        otherwise consistent with the sampling program requirements in
                                                                            173.4 1(a)(1)-(6) and
        may be used to satisfy these adopted sampling provisions. further§
                                                                           more, voluntary use of
        API RP 3000 provides guidance for compliance with these provisions,
                                                                                but still allows
        flexibility for meeting requirements through other methods.

See 80 FR 26706.

        finally, we disagree that a delayed compliance date of March 31,
                                                                                2016 should be
provided for implementation of the requirements in
                                                       § 173.41 to provide shippers adequate time
to implement changes for training and documentation. The date
                                                                    established for rail routing
requirements allows for the collection of six months of data and comple
                                                                           tion of a risk assessment.

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 The sampling and testing requirements are simply a mechanism to document existing regulatory

 requirements for proper classification of energy products. In addition, the Department issued

 Emergency Order DOT-OST-2014-0025 on February 25, 2014 (EO 25), which was subsequently

 revised and amended on March 6, 2014.18 EO 25 required those who offer crude oil for

transportation by rail to ensure that the product is properly tested and classified in accordance

with federal safety regulations. Further, EO 25 required that all rail shipments of crude oil that

are properly classed as a flammable liquid in PG III material be treated as a PG I or II material.

The Amended EO 25 also authorized PG III materials to be described as PG III for the purposes

of hazard communication. The Amended EO 25 differs from the original in that it prohibits

persons who ordinarily offer petroleum crude oil for shipment as UN 1267, petroleum crude oil,

Class 3, PG I, II, or III from reclassifying such crude oil with the intent to circumvent the

requirements of this Amended Order. As discussed in the final rule, the sampling and testing

program requirements superseded EO 25 and made it no longer necessary. By extending the

compliance date, PHMSA would create a safety gap which was previously covered under EO 25

as amended. For these reasons, the appeal submitted by DGAC on the sampling and testing

program is denied.




18
   The March 6, 2014 “Amended and Restated Emergency Restriction and Prohibition Order (Amended Order)”
sought to clarify the original february 25, 2014 Order and superseded and replaced it in its entirety. See
http://www.phmsa.dot.gov/pv_obj_cache/pv_objjd_DO3C7AIE$59361738D79137$ 144472Bf368f 0200/filename!
Amended_Emergency_Order_0306 14.pdf




                                                   31
           E.       Retrofit Timeline and Tank Car Reporting Requirements.

American fuel and Petrochemical Manufacturers

           AFPM supports PHMSA and FRA’s plan to establish a reporting obligation on retrofit

progress and shop capacity. However, it asserts that the final rule’s reporting requirement is

insufficient to accomplish its intended purpose. In its appeal, AFPM recommends a substantial

expansion of reporting timelines and requested data to ensure all types of tank car retrofits are

evaluated and not just non-jacketed DOT-ill legacy tank cars in Packing Group I service.

PHMSA and FRA Response

        In regards to AFPM’s appeal, PHMSA believes that the final rule’s established industry

reporting obligation on retrofit progress and shop capacity will achieve the stated goals. The first

phase of the retrofit timeline includes a January 1, 2017, deadline for retrofitting non-jacketed

DOT-ill tank cars in PG I service. Owners of non-jacketed DOT-ill tank cars in PG I service

for use in an HHFT who are unable to meet the January 1, 2017, retrofit deadline specified in

§173.243 (a)(i), are required to submit a report by March 1, 2017, to the Department. Groups

representing tank car owners may submit a consolidated report to the Department in lieu of

individual reports from each tank car owner. The report must include the following information

regarding retrofitting progress:

       •        The total number of tank cars retrofitted to meet the DOT-i 17R standard;
       •        The total number of tank cars built or retrofitted to meet the DOT-i 17P standard;
       •        The total number of DOT-ill tank cars (including those built to CPC-1232 industry
                standard) that have not been modified;
       •        The total number of tank cars built to meet the DOT-i 17 standard; and
       •        The total number of tank cars built or retrofitted to aDOT-117, il7R or 117P that
                are electronically controlled pneumatic (ECP) brake ready or ECP brake equipped.


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         In developing the retrofit schedule, PRMSA and FRA examined the available shop

 capacity, the comments received, historical performance of the rail industry dealing with retrofit

 requirements, and the potential impacts associated with the retrofit schedule. The final rule also

 stated the Department could request additional reports with reasonable notice if necessary to

 facilitate the timely retrofits of those tank cars posing the highest risk. PHMSA and FRA are

 confident that the adopted reporting requirements are sufficient in that they will achieve the

 Department’s stated goals. In addition, the Department may request additional reports as needed

to verify industry progress toward retrofitting requirements. For the reasons stated, the appeal

submitted by AFPM on the retrofit and tank car reporting of the final ruleis denied.

        F.     Thermal Protection for Tank Cars

Association ofAmerican Railroads

        In its appeal, AAR requests that we require enhanced thermal protection when new or

retrofitted tank cars are built with jackets. That thermal protection would be beyond what is

required in the final rule and allow further tank car survivability in a pooi fire scenario. AAR

asserts that PHMSA should require an enhanced thermal blanket with thermal conductivity no

greater than 2.65 BTU per inch, per hour, per square foot, and per degree Fahrenheit at a

temperature of 2000 F, + 100F.

PHM$A and FRA Response

       In regards to AAR’s appeal, PHMSA believes AAR has not presented a compelling basis

for amending this aspect of the final rule. The final rule requires tank cars in HHFTs to have

thermal protection that meets the requirements of § 179.1$, while also having a pressure relief


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 device that complies with § 173.31. Section 179.18 establishes a performance standard that

 requires a tank to be able to withstand a pooi fire for at least 100 minutes and a torch fire for at

 least 30 minutes. The 100-minute standard is intended to provide time for emergency response

 and accident assessment. Section 173.31 requires a reclosing pressure relief device for any tank

 car transporting a Class 3 (flammable liquid). further, the pressure relief device “must be made

 of materials compatible with the lading, having sufficient flow capacity to prevent pressure

 build-up in the tank to no more than the flow rating pressure of the pressure relief device in fire

 conditions as defined in Appendix A of the AAR Specifications for Tank Cars.”
                                                                                           § 179.15.
 AAR contends that PHMSA should adopt a different standard. Specifically, AAR argues that

 PHMSA should require that all tank cars transporting flammable liquids be equipped with a

thermal blanket that allows for thermal conductivity not to exceed 2.65 BTU per inch, per hour,

per square foot, and per degree Fahrenheit at a temperature of 2,000°F, ± 100°f. Using the

standard AAR proposes would potentially provide 800 minutes of protection in a pool fire.

Further, it contends that PHMSA should require that all tank cars transporting flammable liquids

be equipped with a pressure relief device that will allow the release of only enough quantity to

prevent a thermal tear.

       AAR’s suggestion that its thermal blanket proposal would provide greater protection than

that currently HMR requirements, raises a number of concerns. First, the units for thermal

conductivity are incorrect. Although it may seem counter-intuitive, increasing the thickness of

the thermal blanket using the method provided by AAR, would actually increase the thermal

conductivity and decrease the performance of the thermal protection system. Additionally, there

is no experiential or experimental basis for AAR’s use of a 2,000°f fire temperature. The
                                                34
  current requirement of a 1,600°f pooi fire temperature is based on experimental data from
                                                                                               a pool
  fire test involving liquefied petroleum gas (LPG). The experimental data, including the heat

  flux, were normalized over the entire surface of the car to represent total engulfment in a pool

 fire.

          furthermore, it is unclear whether existing thermal blankets would meet AAR’s proposed

 standard or even whether AAR’s proposed standard requiring thermal blankets would provide
                                                                                                     an
 added benefit compared to that prescribed by PHMSA. AAR provided no evidence that

 requiring a thermal blanket and specifying the properties of the material will enhance safety.

 AAR asserts that, based on AFfTAC modeling, a tank car equipped with a thermal blanke
                                                                                              t can
 withstand a pooi fire for hours, or in some circumstances, a tank car could indefinitely withsta
                                                                                                     nd
 a pool fire without failure and loss of lading. PHMSA and FRA have two concerns with this

 assertion. As an initial mailer, while thermal conductivity is an input to the AFFTAC model,
                                                                                                  the
model does not account for degradation of the material in a pool fire, and therefore it assumes
                                                                                                  the
thermal conductivity is constant for the duration of a pooi fire. However, if the thermal

protection begins to degrade soon after 100 minutes (assuming constant properties) the results

AFfTAC would be overly optimistic. Additionally, AFFTAC is not capable of analyzing a

lading comprised of more than two components, such as crude oil. It has been suggested that

two component materials can be used as a surrogate for crude oil. Before the design of the
                                                                                              AAR
proposed thermal protection system meeting the DOT-i 17 standard can be approved, the

accuracy of using a two-component system as a surrogate for crude oil must be demonstrated.

         Assuming that AAR’s proposal would add time—an assumption that, at this point, is

unsupported by any objective data—AAR has not provided any evidence that there is a practical
                                               35
  benefit to extending the time period before the lading is released from a locatio
                                                                                       n other than from
  the pressure relief device. The primary intent of the 100-minute requirement
                                                                                     in the HMR is to
  provide first responders time to assess the accident and initiate remedial actions
                                                                                        such as
  evacuating an area. There has not been any evidence presented that the curren
                                                                                      t requirement is
  insufficient for achieving these goals.

         Finally, AAR’s proposal sets up a technical standard, but it does not necessarily
                                                                                                  establish
 a minimum time requirement for survivability of the tank car. The potential for
                                                                                       variability under
 the AAR proposal would present added uncertainty. In developing a first respon
                                                                                        se strategy, a
 minimum level of certainty is needed, and controlling the anticipated variabl
                                                                              es is vital. This
 information is vital for first responders, who need to have a reasonable unders
                                                                                    tanding of the
 expected time frame after an event to establish an effective plan that can be execut
                                                                                         ed within the
 baseline time that is available.

        PHMSA addressed its rationale for choosing a minimum standard that require
                                                                                   s a DOT-
 1 17/DOT-i 17R tank car to withstand a pool fire for at least 100 minutes and torch
                                                                                         fire for at
least 30 minutes in the preamble to the final rule.      80 FR at 26670-2667 1. It noted that

AAR’s T87.6 Task Force agreed that a survivability time of 100 minutes in a
                                                                                    pooi fire should be
used as a benchmark for adequate performance. Additionally, the 100-minute
                                                                                    pooi fire baseline
is consistent with the current federal regulations for pressure cars transporting
                                                                                    Class 2 materials,
and serves as the existing performance standard for pressure tank cars equipp
                                                                                ed with a thermal
protection system. PHMSA also noted that the 100-minute pooi fire baselin
                                                                         e had been
“established to provide emergency responders with adequate time to assess
                                                                          a derailment,
establish perimeters, and evacuate the public as needed, while also giving time
                                                                                    to vent the
                                                36
hazardous material from the tank and prevent an energetic failure of the tank car.”       80 FR

26671.

         With respect to pressure relief devices, which are designed to work in conjunction with

the thermal protection system, PHMSA noted that there was widespread concurrence among

commenters for a redesigned pressure relief device for DOT-i 17 cars.         80 FR at 26670-

2667 1. The simulations performed by PHMSA indicated that a reclosing pressure relief valve

was of primary importance, because when a tank car is exposed to a pooi fire the PRD will

maintain a low pressure in the tank and potentially extend the time before a tank car will

thermally rupture. PNMSA also determined that high-flow capacity, reclosing pressure relief

devices can be acquired reasonably in the market and they can be installed on new or retrofitted

tank cars. These factors support the performance standard chosen by PHMSA for pressure relief

devices. For the reasons stated, the appeal submitted by AAR on thermal protection in the final

rule is denied.

         G.       Advanced Brake Signal Propagation Systems

Dangerous Goods Advisory Council

         DGAC appeals to PHM$A requesting the elimination of the electronically controlled

pneumatic (ECP) brake requirement from the fmal rule. The DGAC appeal rests on three main

arguments. First, DGAC agrees with the comments AAR and API submitted in response to the

NPRM. Second, DGAC argues that the timeline for implementing the ECP brake requirement is

inconsistent with the retrofit schedule adopted in the final rule and will require ECP brakes to be




                                                37
 installed before retrofitting. Third, DGAC alleges there will be difficulties moving HHFUTs

 from Canada to the U.S. because Canada has not adopted similar ECP brake requirements.

 PHM$A and fRA Response

           In regards to DGAC’s appeal to eliminate the ECP brake requirement, PHMSA maintains

 that the retrofit schedule is consistent, and that the final rule will not lead to the unspecified

 difficulties that concern DGAC. further, we respectflully disagree with DGAC’s first argument

 agreeing with AAR and API regarding this issue. PHMSA considered the comments submitted

 by AAR and API in drafting the final rule, and as part of its appeal, DGAC provides no new

 information to support the AAR and API comments. Rather than restating its previous analysis

here, PHMSA directs DGAC to the discussion of the ECP brake requirement in the final rule and

the RIA. See $0 FR 26692-26703; and RJA, p. 33-36, 207-278.

        The timeline for implementing ECP brakes on HHFUTs will allow the rail industry to

orderly schedule retrofits to comply with both requirements. PHMSA expects that in most

instances ECP brakes will be installed when a tank car is sent to the service shop for retrofitting.

This will avoid taking the car out of service more than is absolutely necessary. There should be

no need to install ECP brakes on a tank car prior to retrofitting the car. The RIA to the final rule

estimates that about 60,000 tank cars will need to have ECP brakes installed. Approximately

one-third of these cars will be new construction, and the remaining cars, retrofits. See RIA, pp.

218-219.

       Currently, crude oil and ethanol are the only Class 3 (flammable liquids) transported in

trains that fall within the HHFUT defmition. These hazardous materials are assigned to a



                                                 3$
 packing group based on their flash point and initial boiling point. Crude oil may be classified as

PG I (high danger), PG II (medium danger), or PG III (low danger).

         The final rule requires all DOT-ill and non-jacketed CPC-1232 tank cars used in PG I

service to be retrofitted no later than April 1, 2020.’ PHMSA anticipates that the industry will

apply a vast majority of those retrofitted cars to unit train serice because it makes financial

sense to put the first retrofitted cars to use in the highest priority service. The ECP brake

requirement for an HNFUT transporting at least one tank car loaded with PG I material does not

go into effect until January 1, 2021. Therefore, PHMSA and FRA believe that the combination

of new cars and retrofits completed prior to January 1, 2021, should be sufficient to supply the

tank cars needed to operate in ECP brake mode. See RIA, p. 146.

         The same is true with respect to those HHFUTs transporting loaded tank cars of ethanol

or crude oil not in PG I service. These trains must operate in ECP brake mode as of May 1, 2023,

when traveling in excess of 30 mph. The fmal rule requires retrofitting all DOT-ill tank cars

used in PG II service no later than May i, 2023. Non-jacketed CPC-1232 tank cars used in PG II

follow closely behind with a retrofit deadline of July 1, 2023. For the reasons stated above,




‘9Non-jacketed DOT-ill tank cars used in PG I service must be retrofitted by January 1, 2017 (or, under a
schedule, not later than January 1, 2018). Jacketed DOT-ill tank cars used in PG. I service must be retrofitted by
March 1, 2018: Non-jacketed CPC-1232 tank cars used in PG I service must be retrofitted by April 1, 2020.




                                                        39
 PHMSA reaffirms its position and disagrees that the timeline for implementing the ECP brake

 requirement is inconsistent with the retrofit schedule adopted in the final rule.   RIA, p. 146.

        Lastly, PHMSA discussed U.S./Canada harmonization efforts in the final rule. .Scc 80

 FR 26662. PHMSA recognizes that the transportation of flammable liquids by rail is a cross-

 border issue. th developing the fmal rule, U.S. DOT and TC worked closely to ensure that the

 new tank car standards for HHFTs do not create barriers to movement, but harmonization is not

 required in every instance. PRMSA and FRA strongly believe that the ECP brake requirement

 for RRFUTs is an important measure to help protect public safety and the environment in the

U.S. That said, PHMSA and FRA carefully considered cross-border issues with respect to ECP

braking, particularly when a train is crossing from Canada into the U.S., and provided

authorization in the final rule for continued transportation. If an HHFUT without ECP brakes

arrives in the U.S. from Canada, that train may continue in transportation at a speed that does not

exceed 30 mph. This solution eliminates cross-border barriers to transportation and should

alleviate any of the unspecified difficulties that concern DGAC. For these reasons, DGAC’s

appeal to eliminate the ECP brake requirement of the fmal rule is denied.

Association ofAmerican Railroads

       AAR also asks us to eliminate the new ECP brake standard for NHFUTs traveling in

excess of 30 mph. AAR contends that PHMSA should remove the ECP brake requirement from

the final rule, and provides 10 arguments that purportedly support its position.

PHYSA and FRA Response

       In regards to AAR’s appeal with respect to ECP braking, AAR’s arguments do not

present a compelling basis for repealing the ECP brake requirement in the final rule. PHMSA
                                                40
  stands by the Final Rule’s established two-tiered approach to braking systems that focuses on

  increasing safety for trains transporting large quantities of flammable liquids. All HHFTs

 traveling in excess of 30 mph must operate using a two-way end-of-train (EOT) device or a

 distributed power system. All HHFUTs traveling in excess of 30 mph must operate using ECP

 brakes. The ECP brake requirement begins on January 1, 2021, for any HHfUT transporting at

 least one loaded tank car of PG I material. For all other HHFUTs, the ECP brake requirement is

 mandatory beginning May 1, 2023.

         The basis for the ECP brake requirement was thoroughly researched prior to publication

 of the fmal rule. ECP brakes allow for shorter stopping distances and reduced in-train forces. In

 the ECP brake mode of operation, all cars brake simultaneously by way of an electronic signal.

 ECP brake systems simultaneously apply and release freight car air brakes through a hardwired

 electronic pathway down the length of the train, and allow the engineer to “back off’ or reduce

the braking effort to match the track grade and curvature, without having to completely release

the brakes and having to recharge the main reservoirs before another brake application can be

made. These differences in the operation of the two braking systems give ECP brakes several

business benefits. Operationally, ECP brakes have the potential to save fuel and reduce

emissions, reduce wear and stress on wheels and brake shoes, and provide train engineers greater

control on the braking characteristics of trains. From a safety perspective, ECP brakes greatly

reduce the risk of runaway trains due to a diminished reservoir air supply, and reduce the

probability of an incident by providing 40 to 60 percent shorter stopping distances. ECP brake

wiring also provides the train a platform for the gradual addition of other train-performance

monitoring devices using sensor-based technology to maintain a continuous feedback loop on the
                                               41
     train’s condition for the train crew. PHMSA is highly confident that this requirement will

     minimize the effects of derailments involving HHFUTs by limiting the number of cars involved

     in the derailment and decreasing the probability of tank car punctures. Indeed, an NTSB study

     published after PHMSA published the final rule supports the safety basis for ECP brakes, finding

     that ECP brakes provide better stopping performance than conventional air brakes and

     distributed power (DP) units in full service and emergency braking applications.20

     1. North American experience with ECP brakes

            AAR’s initial assertion is that PHMSA ignores the actual experience of North American

 railroads in operating trains equipped with ECP brakes. It contends that the experience of these

 railroads demonstrates that ECP brakes are unreliable. Additionally, AAR states that ECP

 brakes do not function materially better than trains with conventional air brakes that make
                                                                                                                   use of
 DP and dynamic braking. Finally, AAR claims that neither PHMSA nor FRA made any effort
                                                                                                                           to
 collect information from railroads about their experiences with ECP brakes and that PBMS
                                                                                                                   A
failed to incorporate the data that was gathered into its analysis.

           We disagree. In coordination with FRA, PHMSA did consider the experience of North

American railroads when we developed the requirement for ECP brakes on HHFUTs that operate




20
   NTSB recently published the results of its simulation study of train braking as part of its
                                                                                               investigation into the
December 30, 2013, incident in Casselton, ND, where a crude oil unit train collided with derailed
                                                                                             a          car resulting in
the derailment of2l tank cars. See Train Braking Simulation Study, Renze, K.J., July 20,
                                                                                               2015, at
http:J/drns.ntsb.gov!public/55500-55999/55926/577439.pdf.




                                                          42
  in excess of 30 mph. Both the final rule and the RIA discuss at length the North American

 experience with ECP brakes.        RIA, pp. 2 16-236; 80 FR 26997-26998. The information

 relied upon by PHMSA and FRA included comments from the railroads and suppliers, reports

 and papers presented by railroad officials discussing ECP brake effectiveness, and testimony at

 previous public hearings held by FRA. Examples of comments that PHMSA and FRA relied

 upon include AAR’s comments on dynamic braking and RSI’s comments on the costs of

 installing ECP brakes on newly constructed and retrofitted tank cars. See RIA,
                                                                                  pp. 216-217, 218,
 239, and 262-263.

        Examples of reports and presentations from railroad personnel include the following:

    •   “Electronically-Controlled Pneumatic (ECP) Brake Experience at Canadian Pacific,”
        Wachs, K., et aL, which was presented at the 2011 International Heavy Haul Association
        (IIIHA) Conference, in Calgary, AB, Canada. See RIA, pp. 216-2 17, 263, and 267.

    •   “Norfolk Southern ECP Brake Pilot Project Update,” Forrester, I., presented at the 2010
        National Coal Transportation Association 0 & M Committee Meeting in Cöeur d’Alene
        ID. See RIA, pp. 236-237.

    •   “ECP Perspectives,” Maryott, D. presented at the 2008 Air Brake Association
        Proceedings of the 100th Annual Convention and Technical Conference in Chicago, IL.
            RJA, pp. 236.

Much of the value of these reports, which were initiated and completed outside this rulemaking,

was that PHMSA and FRA received hard numbers and data resulting from the direct testing of

North American railroad operations using ECP brakes. The data from these reports included

information on fleet reductions, rail wear, wheel wear, stop time, restart time, and stopping

distances. Additionally, PHMSA and FRA relied on statements at two FRA public hearings held

on October 4, 2007, and October 19, 2007, that were held during FRA’s rulemaking process

establishing ECP brake system standards. The public hearing included comments from Mr.
                                               43
     Michael Men, an official of Union Pacific Railroad Company (UP), who described an example of

 how regulatory relief from brake inspections on trains with ECP brakes would help to save fuel

 while also reducing congestion (by allowing an ECP-equipped train to overtake slower trains that

 require more frequent brake inspections).2’ Based on the totality of the evidence available,

 PHMSA and FRA unanimously concluded that applying an ECP braking requirement to a

 limited subset of trains, HHFUTs, is warranted when transporting extremely large quantities of

 Class 3 (flammable liquids).22

           AAR relies on a report titled “Assessment of the Enhanced Braking Requirements in the

 Hazardous Materials: Enhanced Tank Car Standards and Operational Controls for High-Hazard

Flammable Trains Final Rule of May 1, 2015” (hereinafler referred to as the “Oliver Wyman

Report”), which lists a number of purported quotes from interviews with unnamed railroad

officials in support of the contention that PHMSA and FRA did not incorporate the railroads’




21
   PHMSA recognizes that Mr. Iden also provided a statement as part of UP’s comment to the docket for this
rulemaking.       PHMSA-2012-0082-255$. In that statement, he restated his caution that “ECP braking should
begin with high-mileage high-utilization cars.” PHMSA agrees, which is why it has limited ECP braking to the
highest use type trains. However, Mr. Iden now maintains that distributed power delivers comparable benefits to
ECP brakes. In making this determination, Mr. Iden states that UP came to this conclusion through in-depth
examination of event recorders of test trains. UP has not published the data or the analysis upon which this report
was based. It did not provide this information to Booz Allen, which was actively collecting ECP brake information
at the time of UP’s tests, and it did not produce the information to PHM$A or FRA during this rulemaking.
22
   PHMSA’s view also is supported by a 2014 presentation prepared by AAR’s transportation research and testing
organization, the Transportation Technology Center Inc. (TTCI). This presentation has been added to the docket.
The TTCI ECP Brakes presentation is informative on the issue of the North American ECP braking experience and
provides a distinct counterpoint to AAR’s own arguments in this forum against the ECP braking provisions in the
final rule. The presentation is broadly consistent with PHMSA’s analysis in the MA, confirming the many of the
benefits of ECP brakes while also noting some of the difficulties acknowledged by PHM$A.




                                                       44
 negative comments about ECP brakes into its analysis. These anecdotes (from UP, Canadian

 Pacific Railway (CP), and CSX Transportation, Inc.) essentially suggest that ECP brakes were

 fried and abandoned a number of years ago. These statements are not persuasive, as PHMSA

and FRA acknowledged in the RIA at pages 223-225 that there may be problems at the outset

with using ECP brakes, just as there are with any newer technology. There is evidence that ECP

brake technology has advanced since these railroads stopped operating trains using ECP brakes,

see RIA, pp. 225-226, but there is no discussion in the Oliver Wyman Report about whether

these railroads have considered re-adopting ECP brakes in limited circumstances, such as with

captive unit train fleets.

        The purported quotes in the Oliver Wyman Report from officials of BNSF Railway

Company (BNSf) and Norfolk Southern Railway Company (NS), while current, provide

conclusions rather than analysis. In the rare instances where the Oliver Wyman Report does

provide tangible numbers, there are no references that would allow PHMSA and FRA to research

and verify the information and assess its applicability. See e.g., pp. 8, concerning the rate of

failures on BN$f. If these railroads have actual data reflecting the real-world effectiveness of

ECP brakes in North America, they have not provided it in the course of this appeal or the




                                               45
  rulemaking process.23 Similarly, FRA has not received a written status report from BNSF on the

 progress of the testing for the 5,000 Mile ECP test train that has been due to the agency since

 April 2015.24 Therefore, AAR’s unsupported contentions concerning the North American

 experience with ECP brakes do not present a compelling reason to revisit PHMSA and FRA’s

 ECP brake requirement for HHFUTs on trains traveling in excess of 30 mph.,

 2. foreign experience with ECP brakes

          AAR raises two issues about PHMSA’s reliance on international experiences with ECP

 brakes. first, AAR contends that it was inappropriate for PHMSA to rely on the experiences of

 Australian and other foreign railroads with ECP brakes. AAR believes the ECP brake operations

 in these other countries are dissimilar to operations in the U.S. AAR states this is because the




23
    The Oliver Wyman Report contends that FRA committed to collect data from ECP brake testing during the past
 eight years. This statement mischaracterizes FRA’s statements. FRA’s ECP brake rulemaking contains no such
 statements. See 73 FR 61512. FRA did contract with Booz Allen to collect and analyze ECP brake data, but that
 contract closed in 2010, and was not renewed largely because the railroads failed to provide data for analysis. Of
 course, the railroads have been free to provide data to FRA or publish papers expanding and reflecting upon their
 understanding of the effectiveness of ECP braking since 2010, but—except for the 2011 CP paper referenced
 earlier—the record is devoid of such documents.
 24
    On August 18, 2015, BNSF and NS did make an oral presentation to FRA concerning the 5,000-mile pilot train.
However, no written or electronic reports have been provided to the agency for review (the railroads cited the need
for legal review). This oral presentation identified concerns related to unanticipated penalty brake applications and
repair times. FRA has not received written documentation to support the oral presentation or assess the integrity of
the results and determine the underlying cause of these alleged events (for example, it may be helpful to compare the
results to normal ECP-equipped trains that operate 3,500 miles between brake tests or how the pilot train compared
to lines where there is more experience handling ECP-equipped trains). But, at Least some of the problems BN$F
presented orally appear to be “teething” issues that should be resolved as railroad personnel servicing the 5,000-mile
pilot train along its route become more familiar with ECP brake technology and as equipment to service the train
becomes more available.




                                                        46
 international systems discussed tend to be closed-loop mining railroads that do not interchange

 with other railroads and rarely break apart the trainsets. Second, AAR claims that PHMSA and

 FRA mischaracterize the conclusions of the Sismey and Day Report, published in 2014, that

 conducted a survey of Australian railroads using ECP brakes to gauge their experiences with

 ECP brakes. See “The ECP Brake—Now it’s Arrived, What’s the Consensus?,” Sismey, B. and

 Day, L., presented to the Conference on Railway Excellence, 2014, Adelaide, Australia. Neither

 of these issues supports eliminating the ECP brake requirement from the fmal rule.

        PHMSA and FRA believe that AAR’s argument overstates the differences between the

 international ECP brake model and unit trains in the U.S., particularly HFWUTs. As noted on

page 220 of the RJA, PHMSA and FRA expect that the limited number of HRFUTs will stay

together for an extended period of time to meet the demand for service. The tank cars in an

BHFUT are not regularly being switched to different destinations. These types of trains are not

acting like a typical manifest train that commonly enters a yard to be broken up and have its cars

reclassified and redirected into other trains. Instead, they are making continuous ioops to and

from the loading and unloading facilities. This is how these trains are currently marketed.

RIA, pp. 220, 232-233. The final rule builds off of that model. Of course, there may be facilities

that cannot take an entire unit train at once. This may necessitate breaking the train apart for the

limited purpose of serving the facility. PHMSA and FRA account for this circumstance by

recognizing that U.S. railroads will likely use overlay ECP brake systems. This would allow

operations at a facility without using ECP brakes, ensuring a measure of flexibility. Once that

service is completed, PHMSA reasonably expects that the cut of tank cars will retake its place in



                                                47
the HHFUT to make its return trip. These similarities make the Australian (and other

international experiences) relevant.

        The claim that PHMSA mischaracterizes the Sismey and Day Report is surprising in light

of PHMSA and FRA’s reading of the Oliver Wyman Report. The Oliver Wyman Report cites to

selective information from the Sismey and Day Report, which mischaracterizes its findings. To

be clear, PHMSA and FRA accurately cite to the Sismey and Day Report in the RIA. See pp.

34-36. On page 34 of the RIA, PHMSA and fRA note that the report details how ECP brakes

have performed in practice since Australian railroads began using the technology. PHMSA and

FRA fully recognize in the RIA that the report highlights the benefits of ECP brakes and the

associated challenges experienced by Australian railroads. In summarizing the conclusion of the

Sismey and Day report, PHMSA and FRA note that “{tJhe report concludes that the challenges

experienced in practice are largely resolved and that there is a business case to expand the use of

ECP brakes into intermodal service.” PHMSA and FRA do not see the basis for AAR’s claims

given the “Conclusion” of the Sismey and Day Report, which is as follows:

       ECP is here to stay and is becoming more widely accepted and understood. There
       have been issues in the introduction and implementation of ECP brakes which can
       be categorized as manufacturing / teething issues and unexpected surprises.

       These have not been experienced by all operators of ECP brakes. Solutions have
       now largely been identified to allow them to be managed to the point where their
       impact on operations is reduced or eliminated.

       There is as yet untapped potential for ECP brakes to improve train operations on
       Australia’s rail networks.

       Watershed events for the future of ECP brakes and the rail industry:

          •   Introduction of ECP brakes on unit mineral trains which happened from
              2005 onwards.
                                               4$
             •   Retrofit of ECP brakes on unit mineral trains which are underway in the
                 Pilbara from 2012 onwards.

             •   The emergence of viable business cases for Introduction of ECP brakes
                 onto intermodal unit trains and onto the wider wagon fleet used in general
                 service.

 See p. 30, “The ECP Brake—Now it’s Arrived, What’s the Consensus?”.

        There is one additional issue raised by AAR through the Oliver Wyman Report that

merits discussion. This is the highlighting of purported difficulties experienced by international

users who commingled trains using ECP brakes with trains using conventional air brakes. The

Oliver Wyman Report claims, based on an anecdotal report of a single unnamed employee, that

the former Quebec Cartier Mining Railroad or QCM (now AccelorMittal) has experienced

difficulties with operations where three of the company’s eight trains are equipped with ECP

brakes while the other five trains have conventional brakes. The report claims that severe

problems have occurred when trying to pick up bad order cars when some cars are equipped with

ECP brakes while others are equipped with ccIventional air brakes. The Oliver Wyman Report

then attributes to the unnamed employee a statement that the railroad is considering

standardizing braking using just ECP brakes or just conventional air brakes.

       To be clear, the Oliver Wyman Report provides no hard evidence that QCM has

instituted a plan to eliminate its fleet of trains equipped with ECP brakes or its trains equipped




                                                49
     with conventional air brakes.25 However, the situation described above with bad ordered cars

     would not present the same problem for an HHFUT equipped with ECP brakes in the U.S. The

     QCM uses a stand-alone ECP brake system on its trains. The stand-alone ECP brake system

     eliminates the ability to revert to conventional air brake mode. PHMSA expects that U.S.

     railroads will use an overlay ECP brake system, which allows a car to be transported in ECP

     brake or conventional air brake mode. This was discussed extensively in the RIA. See
                                                                                                     pp. 219-
 220, 225, and 230.

            PHMSA also notes that QCM made a business decision to introduce trains equipped with

 ECP brakes onto its line in 199$. This means that QCM has voluntarily operated with a mixed

 allotment of ECP brake trains and conventional air brake trains for about 17 years. If the

 purported difficulties of maintaining ECP trains along with conventional air brake trains were as

 severe as the Oliver Wyman Report suggests, then PHMSA and FRA expect that QCM would

have abandoned either ECP brakes or conventional air brakes long before June 12, 2015, which

is the date of the Oliver Wyman Report.

3. Business benefits of ECP brakes

           AAR argues that “PHMSA relied on the purported business benefits of ECP braking as

predicted in a 2006 report by Booz Allen Hamilton,” and did not make an effort to verify




25
  The Oliver Wyman Report does not state whether QCM would convert to all ECP brakes or all conventional air
brakes.




                                                     50
 whether real-world experience with ECP brakes validated the Booz Allen predictions. It is

 AAR’s view “that the benefits predicted by Booz Allen nine years ago did not materialize in

 subsequent field tests in North America and operations in foreign countries.” Therefore, it states

 that PHMSA and FRA erred by calculating business benefits based on the Booz Allen analysis.

 AAR relies on the Oliver Wyman Report to support its contentions, see pp. 24-48, but its

 contentions simply are not supported by the facts. PHMSA and FRA considered a number of

 sources in addition to the Booz Allen Report to develop the final rule, including comments to the

 NPRM, reports and presentations analyzing ECP brake operations in North America and abroad,

 and testimony during two FRA public hearings on ECP brakes.

        Fuel Savings: The Oliver Wyman Report states that there are likely some fuel savings,

but they are not “validated.” The Oliver Wyman Report states that the 5.4 percent fuel savings

on CP occurred, but that the actual savings over an entire system would be less, because the

terrain over which it realized the 5.4 percent savings was advantageous. The Oliver Wyman

Report then states that PHMSA’s 2.5 percent estimate of fuel savings, less than half that realized

by CP, and half of that predicted by the Booz Allen Report, was arbitrary, with no basis.

       As explained in the RIA on pages 216-217, 262-263, and 267, PHMSA and FRA

assumed a reduction of more than 50 percent from the real-world CP experience because

PHMSA recognized that the terrain where the testing occurred maximized fuel benefits. This

was very conservative, and a larger estimate of fuel savings could have been justified. At no

point does the Qliver Wyman Report present hard evidence that railroads would experience less

fuel savings than the 2.5 percent PHMSA and FRA estimate. Instead, the Oliver Wyman Report

offers something from the Sismey and Day Report that stated “the general feeling was that there
                                              51
 may be some fuel savings with ECP braked trains but no one would hazard a guess on the

 magnitude.” The Oliver Wyman Report also quotes an unnamed employee from the QCM to

 support its position. This employee purportedly commented to Oliver Wyman that there had

 been no fuel consumption benefits from ECP brakes compared to conventional systems. This

 anecdotal evidence from an unnamed source is directly contradicted by independent published

 reports that we cited in the final rule about QCM, noting that its ECP-equipped trains had led to a

 decrease in fuel use of 5.7 percent. See 80 FR 26697. This evidence supports the reasonableness

 of PHMSA and FRA’s fuel savings estimate, with the likelihood that any errors were to the

 conservative side. Even if we accepted the Oliver Wyman Report’s unsubstantiated statement

that ECP brakes would result in “some fuel savings,” the 2.5 percent we used for fuel savings in

the final rule is a reasonable estimate of “some savings.” Therefore, we decline to reduce that

estimate to zero as AAR urges.

        Wheel Savings:

        The Oliver Wyman Report states at p. 96:

        [w]heel impact load detectors (WILD) have found wheels on ECP brake-
       equipped trains with defects such as tread build up, flat spots, and wheel
       shelling. In the current ECP brake operation, these trains are handled as
       unit trains and are less subject to switching operations, therefore it
       appears, from BN$F’s ECP experience, that higher brake usage is leading
       to increased wear and stress on wheels than might otherwise be seen on
       conventional air brake equivalent trains.

The Oliver Wyman Report merely makes the statement above but does not present evidence to

support that ECP-equipped trains have experienced more of these types of defects than

equivalent unit trains with conventional air brakes operating under the same conditions on the

same track. Notwithstanding, some initial increase in wheel wear, such as thermal mechanical
                                               52
 shelling, is explainable—and, possibly, expected—during the familiarization phase when new

train crews gather knowledge about the braking capabilities of ECP braking. PHMSA and FRA

addressed this issue in the RIA on page 217. However, the Oliver Wyman Report does not

provide the necessary context for the information to allow PHM$A and FRA to draw any

judgments about its statements. To adequately evaluate such reports, it is important to untangle

the potential causes so that we can determine whether the reported wheel wear was caused by

issues related to ECP braking. The Oliver Wyman Report does not do that. As a result, it is

impossible to conclude that the reported wheel wear is caused by ECP braking as opposed to

factors related to track conditions or usage.

        PHMSA and FRA do note that the phrase “higher brake usage” possibly could explain

the greater wheel wear found by some ECP brake operations. The wheel wear per unit time per

car is higher because the cars tend to operate more miles. The savings in wheel wear, detailed on

pages 263-266 of the RIA, are based on car-miles, as explained in the flow assumptions on pages

252-254 of the RIA. There is no evidence to suggest the cars with ECP brakes have more wheel

wear per car-mile. As an example, if the cars have more wheel wear per unit of time and are

experiencing a 50 percent reduction in wheel wear, that implies the cars are used for more than

twice as many miles per car-year as cars not equipped with ECP brakes. PHMSA and FRA

believe this is a reasonable inference to draw from the data and notes that it further contradicts

other AAR assertions that more ECP-equipped tank cars will be needed. Evidence that ECP

equipped wheel temperatures are more even, as offered in the Oliver Wyman Report, makes it

likely that savings per car mile are being realized in ECP-equipped trains. Neither AAR, nor the



                                                53
     Oliver Wyman Report, offers any evidence of less wheel savings per car-mile than estimated in

     the RIA.

            The Oliver Wyman Report also states that rail renewal will not be coordinated with wheel

 maintenance because the tank car maintenance will be the responsibility of the tank car owners,

 not the railroad. FRA staff, including inspectors with recent employment experience on

 railroads, are not aware of any efforts to coordinate wheel maintenance with rail renewal on any

 operating railroads. This seems doubly irrelevant, as the RJA does not estimate rail savings as a

 quantifiable business benefit, while the Oliver Wyman Report describes a failure to coordinate

 maintenance in a way that is not current railroad practice.

           Brake Inspections: The Oliver Wyman Report contends that North American operations

have produced no data to support PHMSA’s claim that the overall tank car fleet size can be

reduced because cycle times will improve due to longer intervals between brake inspection stops

with ECP brake equipment.                                                                             -




           The Oliver Wyman Report contention does not comport with reality. Railroads do see

advantages from increasing the current 1,000-mile brake inspection distance to 3,500 miles.26

FRA allowed the longer distance between inspections in its 2008 ECP Brake rule at the request




26
  The recent TFCI ECP Brakes presentation notes that permitting 3,500 miles between brake inspections results in
about 50 fewer inspections per year for high-mileage cars. TTCI concluded that the current regulatory relief on
brake inspections for trains with ECP brakes is a “reliable’ benefit for high mileage cars ($220/car/year),” with a
potential peak of $300/car/year. These estimates are comparable—although slightly less—to the $330/car/year
benefits PHMSA estimated.




                                                        54
 of railroads as an incentive to the railroads to test ECP brake equipment and because of the

 safety features inherent in ECP brake systems. $ 73 FR 61512 (Oct. 16, 2008). FRA has

 recently granted a request from BNSF and NS allowing these railroads to move forward with a

 pilot program that increases the distance between brake inspections to 5,000 miles on certain

 ECP-equipped trains. This pilot program allows BNSf and NS to conduct test operations using

 an ECP-equipped train from the Powder River Basin to Macon, Georgia with only one brake

 inspection per trip compared to four inspections (one Class I and three Class TA inspections) for

 the same train operated using conventional brakes. It follows that if the railroads did not

 envision a benefit to the decreased frequency of brake inspections, they would not be pursuing

 the 5,000-mile waiver.

        Cycle Times: The Oliver Wyman Report argues that PHMSA’s assumptions regarding

reduced cycle times and reductions in car fleet size are overstated because trains must still

regularly stop for servicing events and crew changes. Additionally, the Oliver Wyman Report

contends that the speed of a single train will be influenced by other trains on the system, and

skipping inspections does not exempt a train from network congestion. These arguments, which

are addressed in part above, do not present a compelling rationale for eliminating the ECP brake

requirement for HFWUTs.

        Class TA brake tests can take several hours, and are usually performed in yards. If the

ECP-equipped train is ready for departure eight hours earlier than usual, the train may be

dispatched ahead of other trains that would have been dispatched before it in that eight-hour

window, and, it will, on average, arrive at the next yard eight hours earlier, as congestion effects

are likely to be random. Also, there is no reason to revise the estimated reduction in tank car
                                                55
  fleet size assumed by PHMSA and FRA. Train crew changes do not require
                                                                                Class TA brake
  tests, and are not relevant to this issue. Further, the Oliver Wyman Report
                                                                             ’s suggestion that
  wheel wear is increased because of increased usage would indicate that unit
                                                                                trains are
  experiencing shorter cycle times.

         Brake Shoe Savings: The Oliver Wyman Report contends based on a singula
                                                                                         r statement
 from an unnamed BNSF employee that it is unlikely that any brake shoe saving
                                                                                   s would be
 possible for ECP brakes compared to conventionally braked trains.

         While PHMSA and FRA did not calculate any savings for brake shoes in its
                                                                                       analysis of
 business benefits, it appears that there might be a benefit, based on the comme
                                                                                 nt in the Sismey
 and Day Report, cited in the Oliver Wyman Report, that shoe wear was very
                                                                                even on ECP
 equipped trains when compared to trains with conventional air brakes. Thus,
                                                                             the concer       ns raised
 by the Oliver Wyman Report in this area are not relevant to PNMSA and FRA’s
                                                                                   determinations
 about ECP brakes.

        Network Capacity Benefits: The Oliver Wyman Report questions the RIA
                                                                                     to the extent
that it includes a statement that “FRA found that ECP brakes offered major
                                                                             benefits in train
handling, car maintenance, fuel savings, and increased capacity under the
                                                                            operating conditions
present.” The Oliver Wyman Report is unclear about the basis for this claim
                                                                            becaus    e it contends
that “FRA has not publically reported on any data collection and analysis
                                                                            from North American
railroad test operations using ECP brakes.”

       The increased capacity discussed in the RIA comes from a statement in the
                                                                                    Booz Allen
Report. However, those benefits were based on ECP brakes being installed
                                                                             on a large proportion
of the trains on a line. PHMSA and FRA do not expect the same situation with
                                                                                 respect to
                                              56
 HHFUTs. As a result, PHMSA and FRA did not include capacity benefits in the quantified

 business benefits.

 4. Reliance on business benefits compared to safety benefits of ECP brakes

        AAR contends that PHMSA must rely on theoretical business benefits, even if not

 supported by actual experience, because AAR believes the costs far exceed the potential safety

benefits of the final rule. We disagree. The safety benefits of ECP brakes are integral to the

final rule. As such, PHMSA and FRA relied on both the business benefits and safety benefits to

support the ECP brake requirement adopted in the final rule.

        PNMSA and FRA consider the safety benefits to be a fundamental element of the overall

benefits and believe that the safety benefits estimated in the RIA are reasonable based on the

evidence. The safety benefits of ECP brakes are thoroughly described in detail in the RIA on

pages 78-120 discussing both low consequence events and high consequence events. This

discussion examines the probability of these events occurring and includes a range of benefits.

Furthermore, the RIA thoroughly examines the effectiveness rate for ECP brakes on pages 246-

251 in the context of accident mitigation and avoidance, finding that ECP brakes reduce the

probability of tank car punctures in the event of derailment by about 20 percent.

       With respect to AAR’s argument that PHMSA overly relied on theoretical business

benefits, PHM$A and FRA requested comments from the industry in the NPRM. Industry did




                                               57
     not submit any data to contradict our findings.27 Moreover, between the NPRM and final rule,

     PHMSA and FRA continued to conduct research to determine benefits that would be most

     accurate looking at real world experiences. The business benefits relied upon by PHMSA came

     from documented sources, including testimony and reports from Class I railroads. These sources

 include reports addressing operations on CP, BNSF, Quebec Cartier Mining, UP, and NS, as well

 as operations on international railroads. PHMSA and FRA’s views were also informed by

 review of the Booz Allen report prepared for FRA in 2006. All these reports are cited in the RIA

 on pages 34, 217, 235, 236, and 263.

           These sources discuss the actual effects of ECP brake usage on multiple railroads.

 Indeed, long before PHMSA began the rulemaking process for the final rule, BNSF reported

 fleet reductions on trains equipped with ECP brakes. Similarly, NS reported that ECP-equipped

trains experienced a reduction in dwell time, operated at track speed for longer periods of time,

were able to better control their speed, and had faster loading processes and better car loading

performances than trains with conventional braking. This information is consistent with the

recent TTCI ECP Brakes presentation noted above, which found among other things that ECP

brakes could increase equipment utilization, allow for longer trains, and permit higher train

speeds. While this presentation was not used in the development of the final rule, it is helpffil in




27
  Even in the appeal process, the Oliver Wyman Report provides little verifiable data to support its fmdings.
Instead, the report reliesalmost exclusively on interviews conducted with various unnamed railroad employees.




                                                      5$
 informing the current discussion on ECP brakes. However, even without the TTCI ECP Brakes

 presentation, PHMSA is confident the information cited in the RIA supports its analysis.

 5. Cost related to implementation of ECP brakes

        AAR argues that PHMSA underestimated the cost of implementing ECP braking in the

 final rule, and that the actual cost to implement ECP brakes on HHFUTs is more than six times

PHMSA’s estimate. This argument is based on AAR’s contention that ECP brake-equipped tank

cars and locomotives will not run in dedicated sets, segregated from the rest of the fleet. AAR

contends that segregated fleets are not operationally possible. As a result, it suggests that 10

times as many locomotives will need to be equipped with ECP brakes as we estimated and that

PHMSA underestimated the number of tank cars needed for ECP brake service on HHFUTs by

more than 25 percent. See Oliver Wyman Report, pp. 49-70.

        These arguments are not new. PHMSA and FRA considered AAR’s comments to the

NPRM on this subject. We expect that railroads will be able to manage H}{FUT fleets, which

can be kept as captive fleet unit trains. Similar to unit coal trains that currently operate with ECP

brakes, HHFUTs are expected to stay together, including the locomotive. See RIA, p. 220.

While railroads may regularly shift locomotives under current operations, PHMSA and FRA are

confident that, like coal unit trains, railroads can manage a specialized fleet of ECP-equipped

locomotives to handle HHFUTs.          RIA, p. 221. In this sense, managing locomotives for

BHFUTs likely is similar to managing distributed power locomotives, which is already a

common practice. Not all trains have distributed power, but the railroads have a history of being

able to manage these assets efficiently.



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          PHMSA and FRA do recognize there are costs associated with keeping a fleet of HHFUT

 locomotives. As a result, PHMSA and fRA estimated that it would cost around $80 million

 (undiscounted) to equip all the necessary locomotives with ECP brakes. This included equipping

 four locomotives for every train, even though we expect that railroads will only need an average

 of three locomotives for operations. We also included the cost of wrap-around cables to provide

 a backup preventing the lack of locomotives from becoming a bottleneck. Wrap-around cables

 allow a train to operate in ECP brake mode even when one or more locomotives or cars are not

 equipped with ECP brakes. Additionally, PHMSA and FRA accounted for fleet management

costs.

         The Oliver Wyman Report assumes that all locomotives will be equipped with ECP

brakes, with a total cost of about $1.8 billion. This appears to overestimate the costs, as it

assumes that railroads cannot manage their locomotive fleets. Given the railroads’ history of

effectively managing their equipment, it is unlikely that railroads will equip all locomotives.

However, if a railroad chooses to equip all locomotives, it will be an operating practices decision

and not due to the regulation.

         The costs that PHM$A and FRA used are well documented in the RIA. They incorporate

the comments PHMSA received to the NPRM. Many of these comments came from the rail

industry, including AAR, R$I, and car manufacturers. For example, we estimated that it would

cost $7,800 to retrofit a tank car with ECP brakes and $7,300 to equip a new car with ECP

brakes. This was based on comments from RSI. The average cost—based on the estimated

number of new construction tank cars needed compared to the number of retrofit tank cars

needed—was $7,633. AAR in its “Supplemental Comments,” which were posted to the docket
                                                60
 on January 30, 2015, stated that the cost of ECP brakes per tank car is $7,665. The Oliver

 Wyman Report states that the cost per tank car for ECP brakes is $9,665. See
                                                                                p. 58. Based on
 the evidence available, PHMSA made a reasonable estimate of the cost of equipping each

 required tank car with ECP brakes.

        With respect to the cost of locomotives, the Oliver Wyman Report estimates the cost of

 equipping a current locomotive to be $88,300 and provides no estimate for equipping new

 locomotives. PHMSA and FRA anticipate that 2,532 locomotives would be needed to operate all

 HHFUTs in ECP brake mode. As discussed, this number is based on an average of three

 locomotives per HHFUT plus an additional locomotive for each HHFUT to act as a buffer when

 another locomotive is shopped. Therefore, based on current production, PHMSA and FRA

expect that the railroads will be able to operate HRFUTs using new locomotives. We estimate

the incremental cost of equipping a new locomotive with ECP brakes over current technology

electronic brakes (i.e. Wabtec Fastbrake or New York Air Brake CCB-2) to be about $40,000.

This information was provided by FRA’s Motive Power and Equipment Division, and was based

on the Division’s background knowledge resulting from information from the manufacturers. As

a result, PHMSA and FRA are confident that the estimate is reasonable.

       The Oliver Wyman Report also assumes that every employee must be trained on ECP

brake systems. PHMSA and FRA believe the ECP brake requirements in the final rule can

reasonably be accomplished without training every employee. Indeed, we significantly increased

the number of employees we estimated would need to be trained from the NPRM to the final

rule. This was because PFIMSA and FRA reassessed their initial position from the NPRM based

on the public comments. Using the waybill sample, we determined that approximately 68
                                              61
     percent of the total ton-miles were on routes that had crude oil or ethanol unit trains. As a result,

     PHMSA and FRA adjusted the number of employees to include 68 percent of the total crews.

     According to these estimates, around 51,500 employees would need to be trained, as described

     on page 242 of the RJA.

             The Oliver Wyman Report also states that it takes significantly more time to make repairs

     on trains equipped with ECP brakes. We acknowledged that the lack of training and

 unfamiliarity with the ECP brake components likely contribute to such delays.28
                                                                                                     $ RIA, pp.
 223-224. However, once all employees who work at locations with ECP-equipped HHFUTs are

 adequately trained, PHMSA and FRA expect the repair time will be reduced to match that of

 conventional brakes.

 6. Potential for network disruption

            AAR contends that mandating ECP brakes will cause significant collateral damage

 because ECP brakes are unreliable. AAR similarly believes that deployment of ECP brakes will

disrupt major arteries in the national railroad network, thereby degrading the performance and

capacity of the network. further, AAR argues that the ECP brake requirement could delay

Positive Train Control (PTC) implementation, which has been deemed safety-critical.




28
     The current lack of availability of the necessary ECP brake system components can also contribute to delays.




                                                          62
          PHMSA and FRA addressed these arguments in the RIA in our discussion on the

  reliability of ECP brakes.      RIA, pp. 222-226. PHMSA and FRA conducted substantial

  research into the implementation of ECP brakes and found no examples of damag
                                                                                        e to the
  network where ECP brakes were properly integrated. As a result, we expect that with
                                                                                             the correct
  infrastructure in place—such as sufficient training of railroad personnel and proper
                                                                                          deployment
 of equipment and ECP brake components to ensure that they are readily available when

 needed—railroads can manage the ECP brake implementation without a disruption
                                                                                          to the
 network. As noted in the RIA, at least one manufacturer has stated that the issue
                                                                                       with ECP brake
 systems “is not reliability, but rather, availability of power and shops.” “The Scienc
                                                                                          e of Train
 Handling”, William C. Vantuono, Railway Age, June 2012, at 25-26. Because of
                                                                                        these issues,
 PHMSA recognized that there may be delays associated with ECP brake implementatio
                                                                                   n            at the
 initial stages, as there would be during the roll-out of any newer technology. Howev
                                                                                          er, given
that the ECP brake operations are not required on Fil-IFUTs until January 1, 2021,
                                                                                        for trains
transporting a loaded tank car of Class 3, PG 1, flammable liquid, and May 1, 2023,
                                                                                    for all other
1*WUTs transporting Class 3 flammable liquids, PHMSA believes there is suffici
                                                                               ent time            built
into the implementation to ensure the network is not significantly disrupted by delays
                                                                                           attributable
to ECP braking technology.

        AAR’s reliance on the Oliver Wyman Report does not alter PHMSA and FRA’s positio
                                                                                                       n.
The Oliver Wyman Report claims that “[a]dding a second braking technology to
                                                                                   a large portion
of the North American rolling stock fleet will materially increase the operational comple
                                                                                             xity of
the railroad industry, and will reverse gains in productivity achieved over the past
                                                                                       35 years.” See
Oliver Wyman Report, p. 79. We analyzed the size of the fleet that would be require
                                                                                         d to be
                                               63
 equipped with ECP brakes in the RIA. The number of cars and locomotives required to operate

 an HHFUT fleet equipped with ECP brakes likely would be relatively small and captive (a

 maximum of 633 unit trains on the network at any given time, see P1k, p. 219) when compared

 to the total universe of train movements.

        The Oliver Wyman Report also raises a number of issues, including concerns about ECP

cables, ECP brake-equipped locomotives, ECP brake car components, crosstalk, and unexpected

stopping. None of these purported issues support eliminating the ECP brake requirement in the

final rule. Much of what is presented is anecdotal evidence based on reports from unnamed

railroad personnel that are lacking in data or analysis. Further, some of the railroads cited as

providing information on their ECP braking experience have no experience with the current

version of ECP brakes that is compliant with July 2014 update to the AAR Standard S-4200

series. For example, CP has not used ECP braking since removing it from limited operations in

2012, while UP has not operated ECP-equipped trains in approximately six years.

        AAR raised the ECP brake cable issue in its comments to the NPRM and PHMSA and

FRA addressed those comments in the final rule. See $0 FR 26702. AAR commented that the

cables and batteries for ECP brakes would need to be replaced every five years. PHMSA and

FRA accounted for this cost in the RIA on page 228.

       We also addressed the crosstalk issue in the RIA at page 225. Crosstalk occurs when

there is an interruption in the signal, usually caused when two ECP brake trains pass in close

proximity, which results in an ECP-equipped train going into emergency brake mode. PHMSA

and FRA acknowledged that this was an issue in earlier iterations of ECP brake systems, but

software updates to the ECP brake programming had resolved the problem. See “The ECP
                                               64
 Brake—Now it’s Arrived, What’s the Consensus?” Indeed, AAR acknowledged this by

 incorporating the software update into the AAR Standard S-4200 series in July 2014.

        The Oliver Wyman Report further contends that PHMSA and FRA incorrectly assessed

 the effect of ECP brakes on wheel wear. The basis for this contention appears to be some recent

 “test operations” on BNSF where wheel defects such as tread build up, flat spots, and wheel

 shelling have been found. See Oliver Wyman Report, p. 94. PHMSA and FRA note that the

 quoted “BNSF 14 Run Overview 2014” has not been provided for reference, and, as discussed

above, the report does not present any evidence that ECP-cquipped trains actually experience

more of these types of defects than equivalent trains with conventional air brakes operating under

the same conditions over the same track. Although some initial increase in wheel wear, such as

thermal mechanical shelling, would be explainable during the familiarization phase when new

train crews gather knowledge about the braking capabilities of ECP brakes,      R1A, p. 217, the

Oliver Wyman Report does not put its information in a context that allows PHMSA and FRA to

draw any judgments about that information. The same is true with respect to the reporting of a

recent situation where a single train had 14 separate wheel exceptions taken. The Oliver Wyman

Report merely concludes the wheel exceptions were due to ECP braking without examining the

potential causes to determine whether the reported wheel wear was actually caused by issues

related to ECP braking or something else. Therefore, as presented, there is no evidence that the

reported wheel wear is caused by ECP braking as opposed to factors related to usage or other

track conditions. This is important because wheel wear is a function of use. Further, as noted

above, the phrase “higher brake usage” possibly explains the greater wheel wear found in some

operations. The wheel wear per unit time per car is higher because the cars operate more miles.
                                              65
 PHMSA and FRA calculated the savings in wheel wear, detailed on pages 263-266 of the RIA,

 based on car-miles, as explained in the flow assumptions on pages 252-254 of the RIA. There is

 no evidence to suggest these cars have more wheel wear per car-mile.

        The Oliver Wyman Report also argues that PFUVISA and FRA did not address potential

 problems with buffer cars for HHFUTs. In the RIA, p. 238, we address the costs associated with

equipping the buffer cars with wrap around cables. This was considered the lowest cost option.

PHMSA and FRA recognized that there are other options, as the Oliver Wyman Report details.

The Oliver Wyman Report option of equipping a fleet of buffer cars with ECP brakes is

significantly more expensive than the reasonable alternative we provided. If railroads chose to

use a permanent fleet of ECP-equipped buffer cars, that would be a business decision, not a

regulatory requirement.

        Finally, AAR contends that the ECP brake requirements in the fmal rule may delay

implementation of PlC. Railroads are currently required by statute to implement PTC by the

end of the year 2015. The ECP brake requirement for HHFUTs does not become effective until

January 1, 2021, or May 1, 2023, depending on the commodity being transported. This means

that railroads should have PTC implemented well in advance of the ECP brake requirement.

Thus, we do not foresee a situation where the ECP brake requirements will delay PTC

implementation.

7. Reliance on the Sharma Report

       AAR contends that PHMSA and FRA erred in using the new Sharma & Associates report

(Sharma Report) to calculate the benefits due to the reduced probability of punctures on

HIIFUTs operating in ECP brake mode. It argues that the assumptions used in the Sharma
                                               66
 Report are flawed in numerous ways. AAR provides the “Summary Report Review of Analysis

 Supporting ‘Hazardous Materials: Enhanced Tank Car Standards and Operational Controls for

 High-Hazard Flammable Trains’ Final Rule” (TfCI Summary Report), which ITCI personnel

 prepared, as a supporting document. We disagree with AAR’s contentions. For the reasons

 discussed below, PHMSA and FRA find that AAR’s arguments do not support eliminating the

 ECP brake requirement in the final rule.

        Statistical approach: The statistical approach used in the Sharrna Report to analyze the

potential benefits of ECP brakes in the final RIA is not flawed. The confidence band suggested

by the TTCI Summary Report is applicable to situations where a minimum value is being

specified. The confidence band is needed to understand the range of values and the potential for

values to fall below the specified value. For example, when specifying tensile strength of a

material (based on average test values) it is important to know the potential variability, in the

form of a confidence band, of the strength. In the case of the RIA, PHMSA and FRA’s analysis

determined the effectiveness of ECP brakes based on the average of the calculated number of

punctures. Implicit in a comparison of averages is that in some cases the effectiveness will be

less than the average and in others greater than the average.

       Consider the notion of “test” versus “simulation.” As an example, if one were

conducting a physical test to determine the effect of a change in thickness on the impact energy

of a specimen, one might have to conduct several tests and then apply statistical techniques to the

measured values to arrive at the results. On the other hand, if one were using a fmite clement

simulation to measure the same condition, one set of simulations would be sufficient. In fact,



                                                67
every simulation with the same set of input parameters would produce the same output. The

variability that is associated with “testing” is not there.

        Another problem with using the conventional statistical methods, such as confidence

intervals and margins of error, is that the cases PHMSA is “sampling” are not random. In fact,

they were deliberately chosen to represent a range of input conditions. Additionally, the methods

suggested in the TTCI Summary Report would not be appropriate because there is no variance in

the “measured” results of our trials. Each trial (a simulation with a specific set of inputs) always

produces the exact same set of outputs. Hence, our “variation” is not produced by the random

variation of factors beyond our control; it is essentially the result of specific input conditions,

though the outputs are not predictable from the outset.

        The Sharma Report considers all different combinations of initial speed and number of

cars behind the point of derailment (POD). The sample size for the conventional and ECP brake

systems consists of 162 cases (separate derailment simulations) each. for the two-way EOT

brake configuration, 90 cases were considered. As indicated above, these cases were used to

simulate average derailment conditions using each brake configuration. The methodology is not

trying to predict the outcome of a specific derailment within some margin of error, nor is it being

used to assure that all outcomes meet some minimum requirement within some confidence

interval (such as how a set of tensile tests would be used to establish a design stress for a

material). For these reasons, the TTCI Summary Report analogy of an election is, again, flawed,

as the system is not trying to predict the results of one particular event.

       Inconsistent values in tables: The TTCI Summary Report also points to number of

inconsistencies in the values reported for the most likely number of punctures and the analyses in
                                                 6$
which they are used throughout the RJA. PHMSA recognizes that there was a transcription error

in Table BR4 of the RIA, see p. 210, and corrects those errors here. Table BR4 should read as

follows:




                                        •                                       •       V
                                                                                            V




                                              Most-Likely Number of Punctures                                    % 1rnprovëmentie
                                                                                                                 ‘to ECP Brakes Only’
                                                                                                                       .‘,.‘-.——•
                                                           k           .                                                            ‘t___       ‘—‘

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                                                           V,




                                                                           ‘N
                                                                                                                 Conipaa’to t.vo- way
                 Speed,        Conventional             two-way EOT                                              >$_   ••.   -
  TankType                                                                          -
                                                                                                .)
                                                                                                     ra es
                                                                                                         •




                  mph            Brakes                (DP: lead + rear)

  7/16” TC128,       30       3.75                              3.25                             2.91                  10.5%
  ligauge                                                                                                    V




 jacket, W’          40                     6.80                6.14                             4.64                   24.4%
 full-height
                 V
                     so                     931                 7.$6                             7.23                    8.0%
  9/16”TCY28,        30                     3.03                2.66                             2.12                   20.3%
  11 gauge                    VVV
                                    V


                                                       V                   V
                                                                                                     V           V




 jacket W            40   V   ff’ 564                  V
                                                                509                              3 78                   257%            ‘-
                                                                                                                                            V
                                                                                                                                                4
 full-height
 head shield         50                     7.82                6.57                             6.01                    8.5%

The TTCI Summary Report suggested that the effectiveness rate calculated in Table BR7 would

change as a result of the transcription error in Table BR4. However, this is incorrect because

Table BR7 calculates the effectiveness of ECP brakes afier the effectiveness of the tank car

upgrades is calculated. In other words, the ECP brake effectiveness values reported in Table

BR7 reflect the effectiveness of ECP brakes in derailments involving DOT-i 17 and DOT-117R

specification tank cars. As a result, Table BR7 continues to read as follows:




                                                               69
 Table BR7: Effectiveness Rate of ECP Brakes Weighted by Volume of Product Spilled in a
 Derailment

                  Number of      Total Spill     Share of Total                        Cumulative
                                                                   Effectiveness
                  Incidents       Volume           Volume                             Effectiveness
                                                                      Rate at
                                                                  3O, 40, 50 mph          Rate
 Below 34 mph          33         798,433            22.8%            20.10%                 4.6%
!3544 mph              8 :         %88,35O 192%. k1 1 25.Q%                                  12.7%
                                c24
  45 mph and           5          980,180            28%                8.60%                2.4%
     above
     Total            46       ‘499,656             j00%-                                197%

        Modeling used in the final rule: The fCI Summary Report contends the modeling and

analytical approach used in the final rule is sufficiently different from the modeling and

analytical approach used in the NPRM, suggesting that reliance on the fmal Sharma report for

the final rule warranted additional notice and comment. Yet AAR discussed this very work in

detail in its comments to the NPRM review. AAR’s comments to the NPRM appended a 13-

page critique of the LS-Dyna methodology authored by Dr. Steven Kirkpatrick of Applied

Research Associates. In addition, the main body of AAR’s comments to the NPRM contained

several references to both Dr. Kirkpatrick’s critique as well as Sharma’s reliance on the LS-Dyna

work. In developing the final rule, we refined the modeling and analytical approach used in the

NPRM to account for and take into consideration many elements of AAR’s comments and

Dr. Kirkpatrick’s critique, for example, the modeling conducted during preparation of the

NPRM was limited to modeling the results of a derailment of a 100-car train, assuming the

derailment occurred at the first car behind a train’s locomotive. In response to AAR’s comments

and Dr. Kirkpatrick’s critique, in developing the final rule, we conducted additional modeling


                                               70
 again using a 100-car train model, but this time to more accurately represent real life derailment

 scenarios, we modeled and analyzed the effects of cars derailing throughout the train consist (i.e.,

 assuming the 20th 50th and 80th cars in a consist derail), not just the first car. Similarly, to

 address AAR and Dr. Kirkpatrick’s concerns regarding the impactor size used in the modeling,

 we conducted a sensitivity analysis using both smaller and larger-sized impactors than used in

 the NPRM modeling. This sensitivity analysis demonstrated that impactor size affected the

 number of tank cars punctured and the velocity at which those cars punctured only negligibly.

        One element of the analysis that was introduced for the final rule was the mechanism for

 calculating overall effectiveness based on the distribution of PODs along the train. This addition

to the analysis was in response to the critique of the technique by AAR/TTCI in comments to the

NPRM suggesting that this distribution be accounted for in the analysis. This element was added

to the analysis in the fmal rule stage in response to AAR’s comments critiquing the NPRM.

        The Sharma Report model was validated in both the number of cars derailed and number

of punctures in real life derailments such as Aliceville. Indeed, the rear car distance traveled in

one set of Dyna simulations matched the Aliceville locomotive’s event recorder data with a

difference of less than four percent. This indicates that, in spite of all the potential variations, the

derailment simulations closely matched what actually occurred in the Aliceville accident as

evidenced by the event recorder download. g RIA, p. 214.

       On the issue of impactor size distribution, the TTCI Summary Report notes that “the

distribution of impactor size was very similar.” PHMSA and fRA disagree. The average

impactor size variation between the three distributions was 58 percent. We would not

characterize that as “similar.” Past work on tank car puncture resistance—including substantial
                                                 71
 work conducted by Dr. Kirkpatrick (and funded by the industry/AAR)—shows that the effect of

 a 58 percent variation in impactor size is quite significant.

            Furthermore, the review of $harma’s modeling in AAR’s comment to the NPRM

 suggested that the distribution presented above might be skewed towards smaller impactors.

 However, as noted by Dr. Kirkpatrick in his earlier work, when the combinations of complex

 impactor shapes (such as couplers and broken rail) and off-axis impactor orientations are

 considered, many objects will have the puncture potential of an impactor with a characteristic

 size that is less than 6 inches.          “Detailed Puncture Analysis of Tank Cars: Analyses of

Different Impactor Threats and Impact Conditions,” Kirkpatrick, S.W., DOT/FRA/ORD-13/17,

March 2013.29 The impactor distributions considered in PHMSA and FRA’s analysis in the final

rule are consistent with this notion.

           Need for additional study: The TTCI Summary Report contends that the modeling and

analysis utilize a number of assumptions and simplifications, the effects of which need further

study. AAR made a similar commentin its comments on the NPRM, and the extended analysis

in the fmal rule addressed these issues by studying/reviewing several additional elements of the

methodology. PUMSA and FRA addressed several prior criticisms submitted in connection with

the NPRM, including:




29
     https://www.fra.dot.gov/eLib/details/L04420




                                                     72
        •   The effect of varying the POD along the length of the train

        •   The effect of alternate train lengths

        •   The effect of varying internal pressures

        •   The effect of varying impactor sizing, etc.

        In addition, the RIA for the final rule includes justification for many of the assumptions

made in the analysis, including the friction coefficients used, the coupler model, and the lateral

derailment load values. See RLA, pp. 63-72, 207-212, 213-216, and 246-247. In other words,

this is similar to AAR’s earlier critique on the topic and we addressed most elements of that

critique in the RIA.

        Derailment location: The TfCI Summary report states that “the probability distribution

for derailment location within the train does not appear to take train length into account,” thus

exaggerating the benefit of operating in ECP brake mode. The Shanna Report estimated the

distribution of PODs using the best available data, which included all reasonable derailments.

Any “exaggeration” of benefits towards ECP brakes due to the PODs being skewed towards the

front of the train would tend to exaggerate the benefit of DP trains even more. Thus, even if the

distribution was skewed towards the front, the Sharma Report does not exaggerate the relative

benefits of ECP brakes compared to DP trains.

       Use of derailment data from all train types: The TTCI Summary Report asserts that the

analysis performed on the probability of derailments occurring throughout the train seems to use

data from all train types to derive a distribution of derailment locations. This is true. The

locations of train derailments are more uniformly spread under mixed traffic conditions

compared to unit trains. This tends to push the average location of POD further towards the rear
                                                73
 of the train. In fact, the POD, as a percent of the length of train for unit trains, is about half that

 of freight trains (21% compared to 4 1%). As a result, PHMSA and FRA expect that the use of

 derailment data of all train types (as opposed to unit trains only), results in a prediction of lower

 benefits for ECP braking. Using PODs from unit trains only would have led to ECP brake

 benefits being higher. We considered this during development of the final rule and determined

 our assumptions were conservative.

         Analyzing the number of cars trailing POD: The TTCI Summary. Report notes that “[t]he

 critical parameter is not the first car in the train that was derailed, but rather the number of cars

trailing the first car derailed.” PHMSA and FRA agree. This is exactly how all the LS-Dyna

modeling was done. We modeled 100 cars, 80 cars, 50 cars, and 20 cars behind the POD, and

interpolated the results for the other cases.

        Net braking ratios: The TTCI Summary report notes that PHMSA and FRA make

multiple references in the RIA to the use of higher net braking ratios (NBR) with ECP brakes.

While the RIA does make reference to a higher NBR, the LS-Dyna simulations were all

performed with the same braking ratio. The results presented in the RIA are based on ECP

brakes with 12 percent NBR, the same used for the other brake systems considered. See RIA,

pp. 324. So, the benefits attributed to ECP brakes regarding the reduced number of cars

punctured do not include any contribution from increased braking ratio.

        However, it is important to note that even though the NBR allowed for the different brake

systems are theoretically the same, the use of ECP brakes does, as a practical matter, allow a

train to better approach the high end of the limit. This is because features inherent to ECP brake

design allow a more uniform and consistent effective brake cylinder pressure to be maintained as
                                                 74
     compared to conventional pneumatic brakes.3° Closed loop feedback control of the cylinder

     pressure is an inherently more reliable method of obtaining the commanded pressure than the

     open loop, volume displacement method used in conventional brake systems. furthermore,

 trains equipped with ECP brakes can detect and report low brake cylinder pressure malfunctions

 on individual cars, which can then be addressed. In contrast, a malfunctioning pneumatic control

 valve generating lower than commanded pressure may go unnoticed indefinitely. Additionally,

 the overall braking ratio of a train equipped with ECP brakes can be much closer to the allowable

 upper limit than a conventionally-braked train because the cars in an ECP-equipped train arc all

 braking at the same effective brake ratio (to the extent that the physical capacity of their

 individual construction allows). The brake ratios of cars in a conventionally-braked train can

vary over the allowable range (8.5 percent to 14 percent loaded NBR), so the train average brake

ratio is limited by this variation already built into the existing fleet. for these reasons, PHMSA

and FRA expect that DOT-i 17/DOT-117R cars (with ECP brakes) can be built (or converted

from existing cars) with an NBR close to 14 percent and operated (in ECP trains) with a train

average brake ratio also very close to 14 percent. In contrast, the train average brake ratio of a




30
   The NTSB’s recent study notes that ECP brake systems can provide the same target NER for each car in the
consist and apply a consistent braking force to each car nearly simultaneously, which allows all cars to decelerate at
a similar rate. This minimizes mn-in forces, and therefore reduces the likelihood of a wheel derailment and the
sliding of braked wheels. All of these factors potentially allow ECP brakes to operate nearer to AAR’s upper limit
for NBR.        “Train Braking Simulation Study,” pp. 10-11.




                                                        75
 train with conventional air brakes is likely to be significantly lower, even if some of the cars

 have close to a 14 percent NBR.

         Control of unit trains: The ITCI report takes issue with a statement in the RIA to the

 final rule concerning unit train operations being more difficult to control than other types of

 trains. The excerpts, and ITCI’s comments, are qualitative characterizations of unit train

 operations. However, the excerpt from the RIA did not influence the objective analysis we

 performed in support of this rule.

        Peak ECP brake benefits: TTCI takes issue with the modeling that shows ECP brake

 effectiveness peaking at 40 mph. The TTCI Summary reports states,” [i]ntuitively, it would

seem that the benefit of ECP brakes would either increase or decrease as speed increases.”

Derailment performance is the result of several physical phenomena. Consider a derailment that

happens at a very slow speed. Given the physical strength of the tanks and the energy levels

involved, there would be no punctures for either a conventionally braked train or an ECP

equipped train. As a result, there would be no perceived derailment benefit to ECP brakes at

very low speeds when the benefit is measured by puncture probability. As the speeds increase,

and one starts seeing multiple punctures as a resUlt of the derailment, the benefits of ECP braking

become more apparent. However, at higher speeds, the percentage of braking time spent in the

“propagation mode” (where ECP brakes offer the most benefit) is a smaller portion of the overall

time spent braking. Consequently, the relative benefits of ECP braking start to diminish at

speeds over 40 mph.

       Derailment rates: The derailment rate we used was based on the most recent five

complete years of data: 2009-20 13. Using the most recent years to construct this rate largely
                                               76
 incorporates the factor of 10 decrease in the observed derailment rate cited by TTCI into our

 estimate of future derailments. It is not realistic to expect tenfold decreases in the derailment

 rate to continue indefinitely. In ourjudgement, the rate decrease may have bottomed out, so we

 used a constant rate based on the most recent data, which reduces the rate to the fewest

 derailments per carload observed in the available data, to forecast future derailments.

        Criticism of Train Operation and Energy Simulator (TOES) modeling: The TTCI

 Summary Report attempts to respond to perceived criticism of the TOES modeling TTCI used to

evaluate emergency braking scenarios involving ECP brakes. As an example, the TFCI

Summary Report takes issue with the statement in the RIA that TTCI’s modeling “only captures

a part of the benefit of ECP.” ç RIA, p. 70. TTCI contends that

        [tjhis statement implies that the ECP braking system has an effect on other
        aspects of the derailment dynamics that were included in the DOT analysis, such
        as impactor size distributions and tank car puncture resistance. In fact, the
        amount of energy is the only thing that ECP brakes (or any brake system, for that
        matter) can directly affect.

The TTCI Summary Report’s contention, however, ignores the reduced coupler force benefits of

ECP braking. The lower coupler forces inherent to an ECP brake application reduce the

chaos/energy input into the simulation. The TTCI Summary Report did not consider or even

acknowledge the benefits associated with this aspect of ECP braking.

        The TTCI Summary Report also takes issue with statements in the RIA discussing

PNMSA and FRA’s conclusion that AAR’s predictions of two-way EOT or DP performance are

overestimated. See RIA, pp. 68 and 70. This is because AAR’s comments, which rely on a

ITCI Summary Report, expect that DP and two-way EOT devices offer a benefit if the

derailment occurs in the rear half of the train. This is incorrect. There is no benefit to DP if the
                                                77
     POD is in the second half of the train. Under derailment conditions (where trains break in two),

     DP offers no benefit over conventional brakes. By keeping the train together in their

     simulations, AAR attributed benefits to DP and two-way EOT devices where none exist. Indeed,

     this issue is addressed in NTSB’s Train Brake Simulation Study, published on July 20, 2015.

     See p. 12. While this newly issued study was not used in the development of the final rule, it is

 informative on ECP brake performance in emergency braking compared to DP emergency

 braking. Indeed, the NT$B specifically looked at derailments with air hose separation and train

 separation occurring in the second half of the train and found “there is no benefit to DP if the

 emergency is initiated in the second half of the train.”3’ Thus, the NTSB study determined that

 trains operating in ECP brake mode “[are] not substantially affected by the location of the

 emergency initiation.”

            Finally, The TTCI Summary Report argues that “there is no analysis produced that shows

that reducing the number of cars in the Miceville derailment from 26 to 24.5 (or even 24) cars

would have resulted in a significant—or any—benefit in terms of reduced severity of the

accident.” We disagree. The reduction of the number of cars punctured is fundamental to

improving tank car safety. All the comments from AAR and the industry, whether it is adding

head shields, jackets, or thickness, have aimed exactly for this result: reducing the number of




31
  NTSB also notes that this scenario is more consistent with recent tank car derailments than a derailment where
there is no train separation.




                                                       7$
cars punctured. One way to reduce the number of cars punctured is to stop them from entering

the pile-up in the first place. By TfCI’s own analysis, which is skewed towards overestimating

the benefits of DP, ECP braking provides an eight percent reduction in the number of cars

entering the pile-up, and a further twelve percent reduction in kinetic energy, a combined benefit

of about 20 percent due to ECP braking. If one then combines this benefit with the structural

benefit such as jackets and head shields, one starts seeing cumulative significant reductions in

damage severity, which is the intent of the final rule.

8. Integration of ECP brakes with positive train control (PTC)

       Relying on the Oliver Wyman Report, AAR asserts that requiring ECP brakes on

HHFUTs will present integration challenges with PTC for two reasons. First, implementation of

the ECP brake requirement will require new braking algorithms. Second, there will be

difficulties associated with installing two complex technologies on locomotives simultaneously.

PHM$A and FRA addressed both of these arguments in the final rule and do not find either

argument compelling.

       The Oliver Wyman Report states that braking algorithms will need to be modified and

that there will be great difficulty and expense creating algorithms for PTC for ECP trains.

PHMSA and FRA previously addressed this argument in the preamble to the fmal rule. See 80

FR 26702-26703. We recognize that PTC coupled with ECP brakes may result in significant

business benefits—such as increased. fluidity and higher throughputs—but there is simply no

regulatory requirement directing that ECP brake systems be integrated with PlC. Further, the

Oliver Wyman Report assertion that integration is necessary for safety reasons is not supported

by data or analysis. PlC operates on a block system with forced braking to ensure that a single
                                                79
 block is not occupied by two trains at once. In other words, if one train is occupying the block,

 then a trailing train cannot enter the block. An algorithm based on a conventionally braked train

 will provide a conservative cushion for the stopping distance for a train operating in ECP brake

 mode, but it does not change the fact that under PTC only one train will occupy the block at a

 time. Operations during this time could be used to safely collect the data needed to develop the

 algorithm to apply to trains operating in ECP brake mode. Of course, once developed, the

 benefits of shorter stopping distances can then be safely integrated into the system, but such

 actions would be voluntary business decisions by a railroad based on a belief that integration

 between ECP brakes and PTC will provide efficiencies not otherwise available.

         The Oliver Wyman Report further contends that there will be costs associated with

placing locomotives in the shop to install ECP brake systems in addition to PTC programming.

PFIM$A and FRA accounted for the costs of installing ECP brakes on locomotives on page 219-

220 of the RIA, assigning a cost of $40,000 per locomotive.32 This is for new locomotives,

because PHMSA and FRA expect that the allotment of locomotives needed to operate HHFUTs

will come from new builds. As a result, shop time likely will be reserved for regular inspections




32
  PHMSA notes that its $40,000 estimate is consistent with a recent TTCI ECP Brakes presentation. In that
presentation, TTCI estimated the cost of equipping a locomotive with ECP brakes at $40,000 based on a 2011 study.
That is less than half the cost estimated in the Oliver Wyman Report. PHMSA recognizes that costs can change
over time, but the presentation is instructive on the issue of costs.




                                                      80
 (e.g., 92-day and 368-day inspections), at which time the railroads may take the opportunity, to

 the extent necessary, to focus on PTC installation issues.

        The Oliver Wyman Report attempts to buttress its argument on costs by stating that there

will be hidden costs due to the complexity of integrating PTC and ECP brakes on the same

locomotive. Such comments are purely anecdotal and not supported by any data or analysis.

The purported costs are unquantified in the Oliver Wyman Report and appear to be based solely

on the comments of an unnamed UP mechanical officer. PRMSA notes that UP has minimal

experience with ECP brakes, using the technology for about eight months over six years ago.

        finally, PHMSA and FRA note that the Oliver Wyman Report states ECP braking is not

a mature technology and, therefore, “will increase operational disruption and failures that

compromise safety.” PHMSA and FRA addressed contentions about technological readiness in

the RIA at page 222-225. It is unclear why the Oliver Wyman Report insists on characterizing

ECP brake technology as “immature.” Such statements are unsupported and, indeed,

contradicted by various other sources. In the RLA, we cited an independent report calling ECP a

“mature” technology. To place the quote in context, PHMSA and FRA now cite to the entire

paragraph:

       Application of ECP-brakes in freight trains is a technology that can reduce
       derailment frequency. The technology for ECP-brakes is mature and such brakes
       are applied in passenger trains and in block trains for freight in Spoomet, South




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          Africa and by Burlington Northern Santa Fe (BNSF) and Norfolk Southern (NS)
          in the USA. ECP-brakes in freight trains would reduce the longitudinal forces in
          the train during braking and brake release, and in particular for low speed braking
          it would significantly reduce the risk of derailment.33

          PHMSA and FRA recognize that ECP brakes are not in widespread use in the U.S., but

 that is not a proxy for maturity of the technology. AAR first began developing interchange

 standards for ECP brake systems in 1993. As noted in the RIA, North American railroads have

 used ECP brakes in some form since at least 1998. Australian railroads began widespread use of

 ECP brakes in 2005. The technology has grown and improved over that time as the industry has

 worked to resolve “crosstalk” and “interoperability” issues. Even TTCI, in its recent ECP

 Brakes presentation, notes that AAR “agrees that ECP is a mature technology.” Of course, this

 is not to suggest that no issues will arise with ECP brakes as railroads implement the braking

system on HHFUTs. However, PHMSA and FRA account for such issues in the RIA,

recognizing there will need to be significant investment in training and to ensure sufficient

equipment is on hand to address normal operational issues. Therefore the accumulation of

business benefits was assumed to be demonstrated one year after ECP trains are put into service,

recognizing that this change in operating culture will take time. ç RIA pg. 218.




  See “Assessment of freight train derailment risk reduction measures: A4 New Technologies and Approaches,
                                                                      —
                                                                                                           ”,
Report for European Railway Agency, Report No. BA 000777/05, April 19, 2011, at 9,
hUp://www.era.europa.eulDocument-Register/Documents/DNV%20Study%20-%2Ofinal%20A4%2OReport%20-
%20201 10419%20-%2OPubllc.pdf.




                                                    82
 brakes. While the initial cost to the car owner is slightly higher than a stand-alone ECP brake

 system, we expect that the added flexibility of an overlay system makes it the most likely

 alternative to be chosen by car owners. Aa a result, any small railroad that accepts a unit train of

 crude oil would be able to use their own power (locomotives) because the trains would travel at a

 maximum speed of3O mph and would be able to use conventional air brakes. Second, PHMSA

 and FRA also anticipate that Class I and smaller railroads will make use of alternatives, such as

 trackage rights or interchange agreements, which will allow smaller railroads to avoid equipping

 their locomotives with ECP brakes. Under this type of scenario, Class I railroad crews operating

 an RHFUT in ECP brake mode could continue operating over the smaller railroad’s line, and the

 RRFUT would pass through the interchange with the train intact.

        AAR also raised the concern that short line railroads would be assuming the

responsibility for troubleshooting ECP brake-related problems by accepting HHFUTs from Class

I railroads. AAR states that this type of troubleshooting requires expertise beyond that of most

small railroads because they do not have the resources to hire trained electronic engineers with

the necessary expertise to identifS’ the source of ECP system failures. PHMSA and FRA

addressed the need for training on small railroads in the RIA on page 220. Because the final rule

includes the less burdensome alternatives discussed above, PHMSA and FRA believe that there

are effective methods for avoiding the type of training described.

       Finally, AAR states that where an interchange agreement requires the small railroads to

use existing power, there would be an enormous expense for the small raifroad because that

railroad would need to equip locomotives with ECP brakes for handling interchanged unit trains.

AAR asserts that this is a particularly large problem because most small railroads have older
                                               84
  locomotives that are not processor-based and that lack the required space to install an ECP brake

  system. It estimates it would cost approximately $250,000 to equip a non-processor based

  locomotive with ECP brakes. For the reasons discussed above, PHMSA and FRA do not

 anticipate that older locomotives would need to be equipped.

  10. Conflict with the statute requiring two-way EOT devices

         AAR argues that the ECP brake requirement in the final rule is prohibited by 49 U.S.C.

 20141. This statute provides that “[tJhe Secretary shall require two-way end-of-train devices (or

 devices able to perform the same function) on road trains, except locals, road switchers, or work

 trains, to enable the initiation of emergency braking from the rear of a train.” The statute further

 requires the Secretary to establish performance based regulations to govern the use of two-way

 EOT devices and allows the Secretary “to allow for the use of alternative technologies that meet

 the same basIc performance requirements.” çç 49 U.S.C. 2014 1(b)(2). AAR contends that

PHMSA and FRA’s ECP braking requirement is defective because it directs freight railroads to

use ECP brake systems instead of two-way EOT devices. This argument is without merit

because any HHFUT operating in ECP brake mode must comply with the ECP-EOT

requirements in part 232, subpart G.       § 174.31 0(a)(3); 80 FR 26748.
        fRA initially issued regulations governing the use of conventional two-way EOT devices

in 1997. Sec 62 FR 278 (Jan. 2, 1997). These regulations are in part 232, subpart E, and are

targeted at trains with conventional air brakes. Subpart E requires a conventionally braked train

to have a two-way EOT device or an alternative technology unless it meets one of the explicit

exceptions identified in § 232.407(e). For example, under § 232.407(e), a conventionally braked

train is not required to operate with a two-way EOT device if a locomotive or locomotive consist
                                                85
  is located at the rear of the train that is capable of making an emergency brake from the rear—as

  would occur with a lined and operative DP locomotive located at the rear of the train—or when

 the train does not operate over heavy grade and the speed of the train is limited to 30 mph.34

          AAR appears to be under the misconception that the final rule fails to comply with 49

 U.S.C. 20141 because it foregoes the requirements in part 232, subpart E, for RHFUTs operating

 in excess of 30 mph. However, the final rule pertaining to ECP brakes does comply with 49

 U.S.C. 20141. It mandates compliance with part 232, subpart G, for any HHFUT operating in

 ECP brake mode. Indeed, subpart G contains EOT device requirements that are specific to trains

 operating in ECP brake mode.               § 232.6 13.
          The ECP-EOT device requirements in section 232.6 13 were promulgated as part of

 FRA’s ECP regulations in 2008.               73 FR 60512 (Oct. 16, 2008). These regulations were

 issued, in part, under 49 U.S.C. 20141. See 73 FR at 61552. While ECP-EOT devices perform

many of the same functions as conventional two-way EOT devices, FRA recognized that ECP




   See 49 CFR 232.407(e), identifying additional exceptions to the two-way EOT requirement for trains
                                                                                                         with
conventional air brakes.
   It is worth noting that F RA’s ECP regulations were also issued under 49 U.S.C. 20306. This provision
                                                                                                           allows the
Secretary to waive the statutory provisions in 49 u.s.c. ch. 203 “when those requirements preclude
                                                                                                     the development
or implementation of more efficient railroad transportation equipment or other transportation innovations
                                                                                                          under
existing law.” FRA held public hearings on October 4, 2007, and October 19, 2007, which included
                                                                                                      comments and
discussion about ECP-EOT devices. Based on the comments received during these public hearings
                                                                                                    and a related
public hearing on January 16, 2007, FRA determined it was appropriate to exercise the Secretary’s
                                                                                                   authority under
49 u.s.c. 20306 to promulgate its ECP regulations.




                                                        86
 EOT devices also have different features than those required for trains operated using

 conventional air brakes:

        In addition to serving as the final node on the ECP brake system’s train line cable
        termination circuit and as the system’s ‘heart beat’ monitoring and confirming
        train, brake pipe, power supply line, and digital communications cable continuity,
        the ECP-EOT device transmits to the [head end unit or] HEU a status message
        that includes the brake pipe pressure, the train line cable’s voltage, and the ECP
        EOT device’s battery power level.

     73 FR 61545. Although FRA noted that the ECP-EOT device operates differently than a

 conventional two-way EOT device, the ECP-EOT device does ensure that an automatic

emergency brake application occurs in the event of a communication breakdown:

         Since the ECP-EOT device—unlike a conventional EOT device—will
        communicate with the lIEU exclusively through the digital communications cable
        and not via a radio signal, it does not need to perform the function of venting the
        brake pipe to atmospheric pressure to engage an emergency brake application.
        However, ECP-EOT devices do verify the integrity of the train line cable and
        provide a means of monitoring the brake pipe pressure and gradient, providing the
        basis for an automatic—rather than engineer commanded—response if the system
        is not adequately charged. In the case of ECP brakes, the brake pipe becomes a
        redundant—rather than primary—path for sending emergency brake application
        commands. Under certain communication break downs between the ECP-EOT
        device, the HEU, and any number of CCDs, the system will self-initiate an
        emergency brake application.

j4, Section 232.6 13 requires the ECP-EOT device to send a beacon every second from the rear

unit of the train to the controlling locomotive. The EOT beacon works as a kind of fail-safe. It

functions virtually identically to the radio signal of a conventional two-way EOT device with one

important exception: if the EOT Beacon is lost for six seconds on a train operated in ECP brake

mode, then the train goes into penalty brake application, which will brake all cars in the train

simultaneously. In contrast, a two-way EOT device may lose communication for up to 16

minutes, 30 seconds, at which point the train speed must be reduced to 30 mph.
                                                87
        Based on these factors, PHMSA and FRA conclude that the ECP brake component of the

fmal rule complies with the requirements of 49 U.S.C. 20141. AAR should be aware that

HHFUTs operating in ECP brake mode must have an ECP-EOT or an appropriate alternative,

such as an ECP-equipped locomotive, at the rear of the train. This requirement is consistent with

FRA’s ECP brake regulations at part 232, subpart G.

        For the above reasons, AAR’s appeal to eliminate the new ECP brake standard of the

fmal rule is denied.


III.    Summary

       PHMSA denies the appellants’ (DGAC, ACC, AAR, AFPM, and Treaty Tribes) appeals

on Scope of Rulemaking, Tribal Impacts and Consultation, Retrofit Timeline and Tank Car

Reporting Requirements, Thermal Protection for Tank Cars, and Advanced Brake Signal

Propagation Systems. We conclude we reasonably determined how to apply new regulations and

provided the regulatory analysis to support those decisions. While we understand that shippers,

carriers, and tank car manufacturers for Class 3 flammable liquids will face new challenges in

the wake of these regulations, we maintain that they are capable of complying with the final rule.

       We also deny DGAC’s appeal to eliminate or provide further guidance for the Sampling

and Testing program. The sampling and testing program is reasonable, justified, necessary, and

clear as written. Additionally, we disagree that a delayed compliance date of March 31, 2016

should be provided for implementation of the requirements in § 173.41 for shippers to implement

changes for training and documentation.




                                               88
        With respect to Information Sharing/Notification, PHMSA announced in a May 2$, 2015,

notice that it would extend the Emergency Order applicable to the topic of Information

Sharing/Notification indefinitely, while it considered options for codifying the disclosure

requirement permanently. Furthermore, on July 22, 2015, FRA issued a public letter instructing

railroads transporting crude oil that they must continue to notify SERCs of the expected

movement of Bakken crude oil trains through individual States. While the treaty tribes and other

stakeholders wIll have the opportunity to comment on these future regulatory proposals in the

course of that rulemaking proceeding, PHM$A will continue to seek opportunities to reach out to

the tribes and consultation from tribal leaders.



       Issued in Washington, DC on November 5, 2015.

‘\%% Uv%L
Marie Therese Dominguez
Administrator
Pipeline and Hazardous Materials Safety Administration




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                  EXHIBIT 3

Letter from S. Cummings, Interim Ex. Dir., PHM$A,
       to Kathryn D. Kirmayer, Gen. Counsel,
          Ass’n of Am. R.R.s (June 5, 2015)
C.
U.S. Department                                                         1200 New Jersey Avenue, S.E.
of Transportation                                                       Zone E26 (PHC-10)
                                                                        Washington, D.C. 20590-0001
Pipeline and Hazardous                                                  Phone: (202) 366-4400
Materials Safety Administration                                         Fax:    (202) 366-7041




                                                 June5,2015

  Via email (kkirmayer@aar.com) and first-class mail

  Kathryn D. Kirmayer
  General Counsel
  Association of American Railroads
  425 Third Street, S.W.
  Washington, D.C. 20024

  Dear Ms. Kirmayer:

  Thank you for your letter dated May 20, 2015, requesting an extension to file an
  administrative appeal of the fmal rule Enhanced Tank Car Standards and Operational
  Controlsfor High-Hazard Flammable Trains, (HM-251), $0 fed. Reg. 26644.

  The Department of Transportation appreciates AAR’s concerns regarding the importance of
  revising the standards for tank cars and how this rule affects multiple industries and the public.
  PHMSA reviewed over 3,300 comments in drafting the final nile. These comments included the
  multiple industries and general public that you mention in your extension request. It is
  imperative that PHMSA expeditiously improve the tank car design in an effort to decrease the
  likelihood of releases of hazardous materials during or after a train derailment. This final rule
  is one step in the direction to achieve safety to the oil transportation network and timing is of the
  essence.

  Pursuant to 49 C.f.R. §106.120, the time to file an agency appeal is 30 days from the date of
  publication in the federal Register. You have correctly identified that the fmal day to appeal the
  final rule is June 8, 2015. Your request for an extension to file an agency appeal is partially
  granted. AAR must submit an administrative appeal by June 12, 2015. After that time, PHMSA
  will consider your appeal to be a petition for rulemaking under 49 C.F.R. §106.100.
                                                                                               2
Pursuant to 49 C.F.R. §106.115, your appeal of a final rule must include the following
information:

       (1) The docket number of the rulemaking you are concerned about, clearly set out at the
           beginning of your appeal. (PHMSA-2012-0082)
       (2) A brief statement of your concern about the final rule.
       (3) An explanation of why compliance with the final rule is not practical, reasonable, or
           in the public interest.
       (4) If you want PHMSA to consider more facts, the reason why you did not present those
           facts within the time given during the rulemaking process for public comment.

Send your appeal to: Docket Management System, U.S. Department of Transportation, West
Building Ground floor, Room W12-140, 1200 New Jersey Avenue, SE, Washington, DC 20590-
0001.

I hope that you find this information helpful.




                                                 Stacy Cummings
                                                 Interim Executive Director
